                                                               Case 08-29769-MAMFORM
                                                                                  Doc   882 Filed 07/30/13
                                                                                     1 "EXHIBIT A"schedules
                                                                                                                                            Page 1 of 320
                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       1
                                                                                                 ASSET CASES
Case No:            08-29769         PGH Judge: PAUL G. HYMAN                                                                             Trustee Name:                      DREW M. DILLWORTH
Case Name:          GINN-LA ST. LUCIE LTD., LLLP                                                                                         Date Filed (f) or Converted (c):    12/23/08 (f)
                                                                                                                                         341(a) Meeting Date:                01/30/09
For Period Ending: 06/30/13                                                                                                              Claims Bar Date:                    04/30/09



                                          1                                              2                          3                         4                         5                                  6
                                                                                                           Estimated Net Value
                                                                                     Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                     Unscheduled          Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                            Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. Track K within Tesoro Resort Residential resort in                                         0.00                 10,155,565.00                                      10,155,565.00                    FA
     Remaining Tesoro Community Real Property and related assets
     including, primarily, 353 lots of residential real estate, golf courses,
     racquet ball club, golf


 2. Petty Cash                                                                               300.00                           0.00                                                0.00                  FA
     Sold with asset 1


 3. Cash Held in escrow for Weitz Golf International                                   561,171.41                       568,402.60                                          568,402.60                  FA


 4. Acct. No. 8044844705 Colonial Bank 1899 S. Clyde M                                         0.24                           0.00                                                0.00                  FA


 5. Web site (Tesoro)                                                                          0.00                           0.00                                                0.00                  FA
     sold with asset 1


 6. Clubhouse bird's eye view (Tesoro) (Reg. No. VAu00                                         0.00                           0.00                                                0.00                  FA
     transfered to purchaser of asset 1


 7. Aeriel 136: no. 7 tee (Tesoro) (Reg. No. VAu000656                                         0.00                           0.00                                                0.00                  FA
     transferred to purchaser of asset 1


 8. Clubhouse front elevation (Tesoro) (Reg. No. VAu00                                         0.00                           0.00                                                0.00                  FA
     transferred to purchaser of asset 1


 9. Trademark (U.S. Registration No. 2,814,999; Sectio                                         0.00                           0.00                                                0.00                  FA
     transferred to purchaser of asset 1




LFORM1                                                                                                                                                                                                                 Ver: 17.02e
                                                          Case 08-29769-MAMFORM
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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       2
                                                                                   ASSET CASES
Case No:            08-29769        PGH Judge: PAUL G. HYMAN                                                               Trustee Name:                      DREW M. DILLWORTH
Case Name:          GINN-LA ST. LUCIE LTD., LLLP                                                                          Date Filed (f) or Converted (c):    12/23/08 (f)
                                                                                                                          341(a) Meeting Date:                01/30/09
                                                                                                                          Claims Bar Date:                    04/30/09



                                       1                                   2                         3                         4                         5                                  6
                                                                                            Estimated Net Value
                                                                       Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                       Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)              Values               and Other Costs)          OA=554(a) Abandon             the Estate


 10. Trademark (U.S. Reg. No. 2,715,572; Section 8 & 15                         0.00                           0.00                                                0.00                  FA


 11. Trademark (Pending U.S. Appl. No. 77146903)                                0.00                           0.00                                                0.00                  FA


 12. VIN #2T2HA31U24C003315 2004 Lexus RX330 Port St. L                         0.00                           0.00                                                0.00                  FA
     transferred to purchaser of asset 1


 13. Miscellaneous computer equipment                                    127,797.39                            0.00                                                0.00                  FA
     transferred to purchaser of asset 1


 14. Miscellaneous equipment used in golf club and faci                 2,854,289.40                           0.00           OA                                   0.00                  FA


 15. FPL REFUND (u)                                                        Unknown                         9,487.93                                            9,487.93                  FA


 16. Taxes (u)                                                             Unknown                       488,110.34                                          488,110.34                  FA
     St. Lucie County Tax Collector refund


 17. OTHER MISCELLANEOUS (u)                                                    0.00                     329,417.77                                          329,417.77                  FA
     fund received on behalf of orphaned Testoro POA


 18. Litigation Recovery (u)                                               Unknown                       120,000.00                                          120,000.00                  FA
     Dillworth v. Austin Outdoor, 10-3806-PGH-A


 19. Leasehold interest in golf course, pro shop, bar a                         0.00                           0.00                                                0.00                  FA




LFORM1                                                                                                                                                                                                  Ver: 17.02e
                                                          Case 08-29769-MAMFORM
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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       3
                                                                                   ASSET CASES
Case No:            08-29769     PGH Judge: PAUL G. HYMAN                                                                    Trustee Name:                     DREW M. DILLWORTH
Case Name:          GINN-LA ST. LUCIE LTD., LLLP                                                                            Date Filed (f) or Converted (c):   12/23/08 (f)
                                                                                                                            341(a) Meeting Date:               01/30/09
                                                                                                                            Claims Bar Date:                   04/30/09



                                     1                                     2                          3                          4                         5                                 6
                                                                                             Estimated Net Value
                                                                       Petition/        (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                        Unscheduled          Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)               Values                and Other Costs)           OA=554(a) Abandon             the Estate

 20. Cash on Hand                                                           7,230.00                              0.00                                              0.00                  FA


 21. Acct. No. 8044845611 Colonial Bank 1899 S. Clyde M                   56,654.40                         77,712.63                                          77,712.63                  FA


 22. Acct. No. 8044845637 (Imprest Account) Colonial Ba                     1,000.00                          1,000.00                                          1,000.00                  FA


 23. Acct. No. 8044845629 (Merchant Account) Colonial B                          0.00                             0.00                                              0.00                  FA


 24. Florida Power & Light General Mail Facility Miami,                   37,576.00                               0.00                                              0.00                  FA


 25. Acct. No. 47774-48590 Grand Clubhouse                                  7,048.00                              0.00                                              0.00                  FA


 26. Acct. No. 47774-48590 Grand Clubhouse                                  8,405.00                              0.00                                              0.00                  FA


 27. Acct. No. 24937-80221 Pro shop fountain                                   240.00                             0.00                                              0.00                  FA


 28. Acct. No. 45600-29268 New pump station                                 5,177.00                              0.00                                              0.00                  FA


 29. Acct. No. 48196-91272 GCM & S/R pkng. lot                                 146.00                             0.00                                              0.00                  FA


 30. Acct. No. 28910-54482 GCM Bldg.                                           230.00                             0.00                                              0.00                  FA


 31. Acct. No. 47774-48590 Grand clubhouse                                16,330.00                               0.00                                              0.00                  FA


 32. Member Receivables                                                 8,866,611.69                      1,333,929.01                                     1,333,929.01                   FA




LFORM1                                                                                                                                                                                                   Ver: 17.02e
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                                                                                   ASSET CASES
Case No:           08-29769       PGH Judge: PAUL G. HYMAN                                                                  Trustee Name:                     DREW M. DILLWORTH
Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Date Filed (f) or Converted (c):   12/23/08 (f)
                                                                                                                           341(a) Meeting Date:               01/30/09
                                                                                                                           Claims Bar Date:                   04/30/09



                                      1                                    2                          3                         4                         5                                 6
                                                                                             Estimated Net Value
                                                                       Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                        Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)               Values                and Other Costs)          OA=554(a) Abandon             the Estate

 33. Miscellaneous Recievables                                            15,044.92                       35,012.71                                           35,012.71                  FA


 34. 59 domain names registered with GoDaddy.com                                 0.00                           0.00                                               0.00                  FA


 35. Cert. No. 125478/XX-XXXXXXX (Ginn Home Services) C                         30.05                           0.00                                               0.00                  FA


 36. Cert. No. 7299-20050801 (Ginn Home Services) St. L                         14.40                           0.00                                               0.00                  FA


 37. Cert. No. 7299-20050800 (Ginn Home Services) St. L                         14.40                           0.00                                               0.00                  FA


 38. Cert. No. SEA6602738 (Tesoro Club) Div. Hotels & R                        262.00                           0.00                                               0.00                  FA


 39. Cert. No. NOS6602739 (Tesoro Club) Div. Hotels & R                        242.00                           0.00                                               0.00                  FA


 40. Cert. No. 84459 (Tesoro Club) Elevator Certificate                         75.00                           0.00                                               0.00                  FA


 41. Cert. No. BEV 6602686 (Swim & Racquet Club) Div. A                        400.00                           0.00                                               0.00                  FA


 42. Cert. No. SEA6602833 (Swim & Racquet Club) Div. of                        273.00                           0.00                                               0.00                  FA


 43. Cert. No. 56-60-00406 (Swim & Racquet Club) Dept.                         105.00                           0.00                                               0.00                  FA


 44. Cert. No. 56-60-0047 (Swim & Racquet Club) Dept. o                        105.00                           0.00                                               0.00                  FA


 45. Cert. No. BEV6602547 (Tesoro Clubhouse) Div. Alcoh                        400.00                           0.00                                               0.00                  FA




LFORM1                                                                                                                                                                                                  Ver: 17.02e
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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       5
                                                                                   ASSET CASES
Case No:           08-29769       PGH Judge: PAUL G. HYMAN                                                                  Trustee Name:                     DREW M. DILLWORTH
Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Date Filed (f) or Converted (c):   12/23/08 (f)
                                                                                                                           341(a) Meeting Date:               01/30/09
                                                                                                                           Claims Bar Date:                   04/30/09



                                     1                                     2                          3                         4                         5                                 6
                                                                                             Estimated Net Value
                                                                       Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                        Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)               Values                and Other Costs)          OA=554(a) Abandon             the Estate

 46. Cert. No. SEA 6602756 (Tesoro Clubhouse) Div. Hote                        315.00                           0.00                                               0.00                  FA


 47. Cert. No. SEA6602757 (Tesoro Clubhouse) Div. Hotel                        315.00                           0.00                                               0.00                  FA


 48. Cert. No. 56-60-00393 (Tesoro Clubhouse) Dept. of                         105.00                           0.00                                               0.00                  FA


 49. Cert. No. 56-60-00394 (Tesoro Clubhouse) Dept. of                         105.00                           0.00                                               0.00                  FA


 50. Cert. No 84665 (Tesoro Clubhouse) Elevator Certifi                         75.00                           0.00                                               0.00                  FA


 51. Cert. No. 90630 (Tesoro Clubhouse) Elevator Certif                         75.00                           0.00                                               0.00                  FA


 52. Cert. No. 90632 (Tesoro Clubhouse) Elevator Certif                         75.00                           0.00                                               0.00                  FA


 53. Cert. No. 123445 (Tesoro Clubhouse) City of Port S                        121.55                           0.00                                               0.00                  FA


 54. Cert. No. 123445 (Tesoro Clubhouse) City of Port S                        675.95                           0.00                                               0.00                  FA


 55. Cert. No. 5812-20040027 (Tesoro Clubhouse) St. Luc                         27.55                           0.00                                               0.00                  FA


 56. Cert. No. 5999-20040225 (Tesoro Clubhouse) St. Luc                         27.55                           0.00                                               0.00                  FA


 57. Cert. No. MM20662 (Tesoro Clubhouse) Dept. of Heal                        305.00                           0.00                                               0.00                  FA


 58. Cert. No. CE 9972966 (Tesoro Clubhouse) Dept. of B                        105.00                           0.00                                               0.00                  FA




LFORM1                                                                                                                                                                                                  Ver: 17.02e
                                                          Case 08-29769-MAMFORM
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                                                                                   ASSET CASES
Case No:            08-29769      PGH Judge: PAUL G. HYMAN                                                                 Trustee Name:                     DREW M. DILLWORTH
Case Name:          GINN-LA ST. LUCIE LTD., LLLP                                                                          Date Filed (f) or Converted (c):   12/23/08 (f)
                                                                                                                          341(a) Meeting Date:               01/30/09
                                                                                                                          Claims Bar Date:                   04/30/09



                                     1                                     2                        3                          4                         5                                 6
                                                                                           Estimated Net Value
                                                                       Petition/      (Value Determined by Trustee,     Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                             Asset Description                        Unscheduled        Less Liens, Exemptions,           Abandoned                Received by             Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)           OA=554(a) Abandon             the Estate

 59. Cert. No. 28641 (Tesoro Clubhouse) St. Lucie Count                        0.00                             0.00                                              0.00                  FA


 60. VIN #JL6AAE1S25K006979 2005 Mitsubishi FE83D Tilt                    12,125.64                             0.00                                              0.00                  FA


 61. VIN #3GNFK16Z25G214319 2005 Chevrolet Suburban Por                   15,706.67                             0.00                                              0.00                  FA


 62. Miscellaneous office equipment, furnishings and su                   19,539.74                             0.00                                              0.00                  FA


 63. Computer software                                                    19,911.12                             0.00                                              0.00                  FA


 64. Computer equipment                                                   23,198.74                             0.00                                              0.00                  FA


 65. Miscellaneous equipment used in golf club and faci                   89,698.23                             0.00                                              0.00                  FA


 66. ProShop                                                              43,087.38                             0.00                                              0.00                  FA


 67. Tennis                                                               10,324.69                             0.00                                              0.00                  FA


 68. Spa                                                                  12,852.27                             0.00                                              0.00                  FA


 69. Food                                                                 21,825.03                             0.00                                              0.00                  FA


 70. Beverages/spirits                                                    61,312.35                             0.00                                              0.00                  FA


 71. OTHER MISCELLANEOUS (u)                                                   0.00                     1,075,000.00                                     1,075,000.00                   FA
     TIP loan from Credit Suisse Cayman Islands Branch



LFORM1                                                                                                                                                                                                 Ver: 17.02e
                                                              Case 08-29769-MAMFORM
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                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        7
                                                                                                ASSET CASES
Case No:             08-29769       PGH Judge: PAUL G. HYMAN                                                                                    Trustee Name:                      DREW M. DILLWORTH
Case Name:           GINN-LA ST. LUCIE LTD., LLLP                                                                                              Date Filed (f) or Converted (c):    12/23/08 (f)
                                                                                                                                               341(a) Meeting Date:                01/30/09
                                                                                                                                               Claims Bar Date:                    04/30/09



                                        1                                                   2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                       Petition/         (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                       Unscheduled           Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                              Values                 and Other Costs)             OA=554(a) Abandon             the Estate


 72. OTHER MISCELLANEOUS (u)                                                                     0.00                        100,000.00                                           100,000.00                     FA
     Additional Consideration paid by WCI in connection with Tesoro Estate
     sale;


 73. Litigation Recovery (u)                                                                Unknown                      23,800,000.00                                       25,000,000.00                       FA
     Dillworth v. Ginn et. al., 10-2976-PGH-A


 74. VOID (u)                                                                               Unknown                                 0.00                                                0.00                     FA


 INT. Post-Petition Interest Deposits (u)                                                   Unknown                                 N/A                                             1,118.05                 Unknown

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                    $12,899,081.76                    $38,093,637.99                                      $39,294,756.04                              $0.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   All assets have been liquidated and the trustee is in process of reconciling claims;
   Nearly all claim objecitons have been filed;


   Initial Projected Date of Final Report (TFR): 12/31/11            Current Projected Date of Final Report (TFR): 12/15/13


   __________________________________________ Date: __________________
   DREW M. DILLWORTH




LFORM1                                                                                                                                                                                                                          Ver: 17.02e
                                                         Case 08-29769-MAM             Doc 882         Filed 07/30/13        Page 8 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                Page:     1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF KANSAS CITY
                                                                                                                          Account Number / CD #:           *******0179 Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                               4                                            5                     6                 7
    Transaction      Check or                                                                                                    Uniform                                                  Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                         0.00


          06/22/12               Trsf In From BANK OF AMERICA, N.A.              INITIAL WIRE TRANSFER IN                       9999-000                   64.72                                        64.72


          06/22/12               Trsf In From BANK OF AMERICA, N.A.              INITIAL WIRE TRANSFER IN                       9999-000               24,416.58                                  24,481.30


          06/22/12               Trsf In From BANK OF AMERICA, N.A.              INITIAL WIRE TRANSFER IN                       9999-000              125,002.63                              149,483.93


          07/16/12               BANK OF KANSAS CITY                             BANK SERVICE FEE                               2600-000                                         49.62        149,434.31


          08/14/12               BANK OF KANSAS CITY                             BANK SERVICE FEE                               2600-000                                        170.90        149,263.41


          09/17/12               BANK OF KANSAS CITY                             BANK SERVICE FEE                               2600-000                                        170.76        149,092.65


          10/15/12               BANK OF KANSAS CITY                             BANK SERVICE FEE                               2600-000                                        165.08        148,927.57


          11/15/12               Drew M. Dillworth, Trustee                      Order dated 8/12/09 ECF 308                                          234,377.20                              383,304.77
                                 150 W, Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          11/15/12               BANK OF KANSAS CITY                             BANK SERVICE FEE                               2600-000                                        170.38        383,134.39


          12/06/12      73       National Union Fire Ins. Co.                    Order dated 11/14/12 ECF 668                   1249-000            4,000,000.00                             4,383,134.39
                                 of Pittsburgh
                                 Chartis
                                 P.O. Box 2017
                                 Jersey City, NJ 07303-2017



                                                                                                                          Page Subtotals            4,383,861.13                 726.74
                                                                                                                                                                                                  Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM             Doc 882          Filed 07/30/13       Page 9 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                   Page:    2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF KANSAS CITY
                                                                                                                         Account Number / CD #:           *******0179 Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                              3                                               4                                            5                       6                  7
    Transaction      Check or                                                                                                   Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)          Balance ($)
          12/14/12    003001     Drew M. Dillworth, Trustee                     Order dated 11/14/12 ECF 668                   9999-000                                    1,200,000.00        3,183,134.39
                                 150 W. Flagler St.                             Deposited into Ginn-LA Quail West
                                 Suite 2200
                                 Miami, FL 33130


          12/14/12               BANK OF KANSAS CITY                            BANK SERVICE FEE                               2600-000                                           268.44       3,182,865.95


          12/19/12      73       Berger Singerman LLP                           Order dated 11/14/12 ECF 668                   1249-000           21,000,000.00                               24,182,865.95
                                 1450 Brickell Ave.
                                 #1900
                                 Miami, FL 33131


          12/19/12    003002     Stearns Weaver Miller Weissler                 Order dated 11/14/12 ECF 668                   3110-000                                    7,140,000.00       17,042,865.95
                                 Alhadeff & Sitterson, P.A.
                                 150 W. Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          12/19/12    003003     Stearns Weaver Miller Weissler                 Order dated 11/14/12 ECF 668                   3120-000                                     127,384.00        16,915,481.95
                                 Alhadeff & Sitterson, P.A.
                                 150 W. Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          01/16/13               BANK OF KANSAS CITY                            BANK SERVICE FEE                               2600-000                                          4,002.05     16,911,479.90


          02/14/13               BANK OF KANSAS CITY                            BANK SERVICE FEE                               2600-000                                          4,002.05     16,907,477.85


          03/14/13               BANK OF KANSAS CITY                            BANK SERVICE FEE                               2600-000                                          2,684.93     16,904,792.92


                                                                                                                         Page Subtotals           21,000,000.00             8,478,341.47
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
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                                                                                     FORM 2 "EXHIBIT B"                                                                                      Page:    3
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF KANSAS CITY
                                                                                                                         Account Number / CD #:           *******0179 Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                             3                                             4                                               5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          04/12/13               BANK OF KANSAS CITY                            BANK SERVICE FEE                               2600-000                                          2,972.60      16,901,820.32


          04/30/13               Bank of Kansas City                            BANK SERVICE FEES                              2600-000                                          2,876.71      16,898,943.61


          05/31/13               BANK OF KANSAS CITY                            BANK SERVICE FEE                               2600-000                                          2,972.60      16,895,971.01


          06/28/13               BANK OF KANSAS CITY                            BANK SERVICE FEE                               2600-000                                          2,876.71      16,893,094.30



                                                                                                     COLUMN TOTALS                                25,383,861.13             8,490,766.83        16,893,094.30
                                                                                                         Less: Bank Transfers/CD's                   149,483.93                     0.00
                                                                                                     Subtotal                                     25,234,377.20             8,490,766.83
                                                                                                         Less: Payments to Debtors                                                  0.00
                                                                                                     Net
                                                                                                                                                  25,234,377.20             8,490,766.83




                                                                                                                         Page Subtotals                        0.00              11,698.62
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM              Doc 882          Filed 07/30/13           Page 11 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                    Page:     4
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF KANSAS CITY
                                                                                                                              Account Number / CD #:           *******0190 Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                              3                                                 4                                               5                     6                 7
    Transaction      Check or                                                                                                        Uniform                                                  Account / CD
       Date          Reference               Paid To / Received From                          Description Of Transaction            Tran. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                                BALANCE FORWARD                                                                                                             0.00


          06/22/12               Trsf In From BANK OF AMERICA, N.A.             INITIAL WIRE TRANSFER IN                            9999-000               21,096.72                                  21,096.72


          06/22/12               Trsf In From BANK OF AMERICA, N.A.             INITIAL WIRE TRANSFER IN                            9999-000               35,555.18                                  56,651.90


          06/22/12               Trsf In From BANK OF AMERICA, N.A.             INITIAL WIRE TRANSFER IN                            9999-000              177,725.30                              234,377.20


          11/15/12    003001     Drew M. Dillworth, Trustee                     Transfer of funds to                                7100-000                                    234,377.20                  0.00
                                 150 W. Flagler St.                             Ginn-LA St. Lucie
                                 Suite 2200
                                 Miami, FL 33130



                                                                                                          COLUMN TOTALS                                   234,377.20            234,377.20                   0.00
                                                                                                              Less: Bank Transfers/CD's                   234,377.20                  0.00
                                                                                                          Subtotal                                              0.00            234,377.20
                                                                                                              Less: Payments to Debtors                                               0.00
                                                                                                          Net
                                                                                                                                                                0.00            234,377.20




                                                                                                                              Page Subtotals              234,377.20             234,377.20
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM             Doc 882          Filed 07/30/13       Page 12 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:       5
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                                 BALANCE FORWARD                                                                                                            0.00


          12/29/08      17       Linnes Finney, Jr.                              Turnover of membership dues                    1290-000                    532.50                                       532.50
                                 Sonya Finney
                                 10960 Pine Creek Lane
                                 Port St. Lucie, FL 34986


          12/29/08      17       Linnes Finney, Jr.                              Turnover of membership dues                    1290-000                    931.88                                     1,464.38
                                 Sonya Finney
                                 10960 Pine Creek Lane
                                 Port St. Lucie, Fl 34986


          12/29/08      17       Stanley Zabytko                                 Turnover of membership dues                    1290-000                    651.28                                     2,115.66
                                 222 SE Bella Strano
                                 Tesoro
                                 Port St. Lucie, FL 34984


          12/29/08      17       Roy Langenbach                                  Turnover of membership dues                    1290-000                   2,123.74                                    4,239.40
                                 Judith Langenbach
                                 120 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          12/29/08      17       Paul Edwards                                    Turnover of membership dues                    1290-000                   2,461.76                                    6,701.16
                                 Jennifer Edwards
                                 4260 Apple Valley Lane
                                 West Bloomfield, MI 48323


          12/29/08      17       Paul Edwards                                    turnover of membership dues                    1290-000                    532.50                                     7,233.66
                                 Jennifer Edwards


                                                                                                                          Page Subtotals                   7,233.66                  0.00
                                                                                                                                                                                                       Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM            Doc 882          Filed 07/30/13        Page 13 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                     Page:      6
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 4260 Apple Valley Lane
                                 West Bloomfield, MI 48323


          01/07/09      17       Richard Stover                                  Membership dues                                 1290-000                    991.00                                      8,224.66
                                 10 Exeter Lane
                                 Morris Township, NJ 07960-6382


          01/07/09      17       John Marre                                      Membership dues                                 1290-000                   2,165.00                                    10,389.66
                                 105 SE Santa Gardenia
                                 Port Saint Lucie, FL 34984


          01/07/09      17       Lawrence Jerz                                   Membership dues                                 1290-000                   2,716.41                                    13,106.07
                                 198 SE Via Sanremo
                                 Tesoro
                                 Port St. Lucie, FL 34984


          01/07/09      17       Nicholas Lahowchic                              Membership dues                                 1290-000                   6,062.00                                    19,168.07
                                 196 SE Via San Remo
                                 Port St. Lucie, FL 34984


          01/07/09      17       Miranda Victor                                  Membership dues                                 1290-000                   3,123.00                                    22,291.07
                                 124 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          01/07/09      17       Paul Stecko                                     Membership dues                                 1290-000                    546.00                                     22,837.07
                                 1320 Ridge Rd.
                                 Lake Forest, IL 60045


          01/07/09    003001     The Tesoro Club                                 Teroro Dues (#1-6) mist. dep to POA             1290-000                                          7,233.66             15,603.41


                                                                                                                           Page Subtotals               15,603.41                   7,233.66
                                                                                                                                                                                                        Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM             Doc 882           Filed 07/30/13            Page 14 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                        Page:        7
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                              Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                               Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                                Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                   Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1             2                                  3                                             4                                                 5                       6                    7
     Transaction     Check or                                                                                                           Uniform                                                   Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction               Tran. Code      Deposits ($)         Disbursements ($)      Balance ($)
                                 c/o Drew M. Dillworth, Trustee                  These funds are a composite of deposits 1 through 6
                                 150 West Flagler St.                            on 12/29/2008 belong to The Tesoro Club case. They
                                 Suite 2200                                      were incorrectly deposited into this account.
                                 Miami, FL 33130


          01/08/09      17       Frank Ciavarella                                POA Dues                                              1290-000                  1,046.00                                    16,649.41
                                 18291 SE Ridgeview Dr.
                                 Tequesta, FL 33469


          01/08/09      17       Stewart Property Holdings                       POA Dues                                              1290-000                  8,886.00                                    25,535.41
                                 49 E. 4th St. STE 521
                                 Cincinnati, OH 45202


          01/08/09      17       Nassar Hallaji                                  POA Dues                                              1290-000                  1,197.00                                    26,732.41
                                 4639 Reid Rd.
                                 Elon, NC 27244


          01/08/09      17       Michael Cetta                                   POA Dues                                              1290-000                  3,187.90                                    29,920.31


 *        01/08/09               Olga Cartwright                                 POA Dues                                              1290-003                  1,169.00                                    31,089.31


          01/08/09      17       James Valdes                                    POA Dues                                              1290-000                   500.00                                     31,589.31
                                 1837 7th St.
                                 Santa Monica, CA 90401


          01/08/09      17       Roy Langenbach                                  POA Dues                                              1290-000                  1,041.00                                    32,630.31
                                 120 SE Rio Casarano
                                 Port St. Lucie, FL 34984




                                                                                                                                Page Subtotals               17,026.90                     0.00
                                                                                                                                                                                                             Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM         Doc 882         Filed 07/30/13        Page 15 of 320
                                                                                      FORM 2 "EXHIBIT B"                                                                                  Page:        8
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          01/08/09      17       Free Spool Group LLC                           POA Dues                                      1290-000                   3,138.69                                    35,769.00
                                 PO Box 334
                                 Centerport, NY 11721


          01/08/09      17       Rayne Poussard                                 POA Dues                                      1290-000                    785.66                                     36,554.66
                                 321 Creswell Rd.
                                 Severna Park, MD 21146


          01/08/09      17       Daniel Zivney                                  POA Dues                                      1290-000                    415.00                                     36,969.66
                                 1156 Fieldview Dr.
                                 Reston, VA 20194


          01/08/09      17       Barbara Murray                                 POA Dues                                      1290-000                   2,599.00                                    39,568.66


          01/08/09      17       Barbara Murray                                 POA Dues                                      1290-000                   2,450.22                                    42,018.88


          01/08/09      17       Christopher Thompson                           POA Dues                                      1290-000                   1,207.00                                    43,225.88
                                 401 Wahackme Rd.
                                 New Canaan, CT 06840


          01/08/09      17       Prabhakar Rumalla                              POA Dues                                      1290-000                   1,207.00                                    44,432.88
                                 1330 SE 73 Place
                                 Ocala, FL 34480


          01/08/09      17       Beeravolu Ramesh                               POA Dues                                      1290-000                   1,207.00                                    45,639.88
                                 5744 Lakeshore
                                 Fort Gratiot, MI 48259


          01/08/09      17       ZRP Associates, LLC                            POA Dues                                      1290-000                   1,207.00                                    46,846.88


                                                                                                                        Page Subtotals               14,216.57                     0.00
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 16 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                  Page:        9
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 1222-10th Ave.
                                 Port Huron, MI 48060


          01/08/09      17       G. Robert Marcus                                POA Dues                                      1290-000                   1,207.00                                    48,053.88
                                 11 Butternut Lane
                                 Basking Ridge, NJ 07920


          01/08/09      17       Paul Hyman                                      POA Dues                                      1290-000                   1,197.00                                    49,250.88
                                 8 Winthrop Dr.
                                 Dix Hills, NY 11746


          01/08/09      17       Paul Hyman                                      POA Dues                                      1290-000                   2,357.00                                    51,607.88
                                 8 Winthrop Dr.
                                 Dix Hills, NY 11746


          01/08/09      17       Paul Hyman                                      POA Dues                                      1290-000                   1,177.00                                    52,784.88
                                 8 Winthrop Dr
                                 Dix Hills, NY 11746


          01/08/09               Miranda Victor                                  POA Dues                                      1221-000                   1,207.00                                    53,991.88
                                 124 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          01/08/09               Robert Ilcsik                                   POA Dues                                      1221-000                   1,197.00                                    55,188.88
                                 619 Pepperbrush Ct.
                                 Willmington, DE 19808


          01/08/09               Alan Ross                                       POA Dues                                      1221-000                   1,144.00                                    56,332.88
                                 23217 Ranch Rd.


                                                                                                                         Page Subtotals                   9,486.00                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                         Case 08-29769-MAM          Doc 882         Filed 07/30/13        Page 17 of 320
                                                                                      FORM 2 "EXHIBIT B"                                                                                  Page:       10
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Beachwood, OH 44122


          01/08/09               Norbert Reich                                  POA Dues                                      1221-000                   2,357.00                                    58,689.88
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          01/08/09               Mark Grudzielanek                              POA Dues                                      1221-000                   1,215.00                                    59,904.88
                                 POB 1581
                                 Rancho Santa Fe, CA 92067


          01/08/09               Susan Goble                                    POA Dues                                      1221-000                    151.00                                     60,055.88
                                 5283 Old Hickory Dr.
                                 Brighton, MI 48116


          01/08/09               Gerry Ross                                     POA Dues                                      1221-000                   1,271.00                                    61,326.88
                                 9235 SW 63 Ct
                                 Miami, FL 33156


          01/08/09               Lois Kain                                      POA Dues                                      1221-000                   1,141.00                                    62,467.88
                                 4663 SE Bridgetown Ct.
                                 Stuart, FL 34997


          01/08/09               Daytona Land Co.                               POA Dues                                      1221-000                   2,486.00                                    64,953.88
                                 2665 N. Atlantic Ave.
                                 Ste 300
                                 Daytona Beach, FL 32118


          01/08/09               Eurostone Imports                              POA Dues                                      1221-000                   1,269.00                                    66,222.88
                                 2165 W. Atlantic Ave.


                                                                                                                        Page Subtotals                   9,890.00                  0.00
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 18 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                  Page:       11
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Delray Beach, FL 33445


          01/08/09               Eurostone Imports                               POA Dues                                      1221-000                   3,123.00                                    69,345.88
                                 2165 W. Atlantic Ave.
                                 Delray Beach, FL 33445


          01/08/09               Robert Budnick                                  POA Dues                                      1221-000                   1,000.00                                    70,345.88
                                 108 SE Saint Lucia
                                 Port St. Lucie, FL 34984


          01/08/09               Gordon Chiu                                     POA Dues                                      1221-000                   1,207.00                                    71,552.88
                                 12601 SW 77 St.
                                 Miami, FL 33183


          01/08/09               Harvey Liftin                                   POA Dues                                      1221-000                   1,215.00                                    72,767.88
                                 16705 Sapphire Springs
                                 Weston, FL 33331


          01/08/09               William Snyder                                  POA Dues                                      1221-000                   1,147.00                                    73,914.88
                                 19058 Point Dr.
                                 Tequesta, FL 33469


          01/08/09               Philip D'Angelo                                 POA Dues                                      1221-000                   2,823.00                                    76,737.88
                                 6948 SE Harbor Circle
                                 Stuart, FL 34996


          01/08/09               Frank Krawiecki                                 POA Dues                                      1221-000                   1,204.00                                    77,941.88
                                 288 Little Plains Rd.
                                 Huntington, NY 11743


                                                                                                                         Page Subtotals               11,719.00                     0.00
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM          Doc 882         Filed 07/30/13        Page 19 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                  Page:       12
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/08/09               Robert Smylie                                   POA Dues                                      1221-000                   3,866.00                                    81,807.88
                                 217 Commodore Dr.
                                 Jupiter, FL 33477


          01/08/09               J.F. Joyce Real Estate                          POA Dues                                      1221-000                    134.00                                     81,941.88
                                 4725 W. 135 St.
                                 Bldg D
                                 Crestwood, IL 60445


          01/08/09               David Overdorf                                  POA Dues                                      1221-000                   1,169.00                                    83,110.88
                                 7146 Wainscott Ct.
                                 Sarasota, FL 34238


          01/08/09               David Overdorf                                  POA Dues                                      1221-000                   1,271.00                                    84,381.88
                                 7146 Wainscott Ct.
                                 Sarasota, FL 34238


          01/08/09               Rose Conti                                      POA Dues                                      1221-000                   2,414.00                                    86,795.88
                                 234 Santa Rosa Ct.
                                 Holmdel, NJ 07733


          01/08/09               Lee Griffith                                    POADues                                       1221-000                   2,599.00                                    89,394.88
                                 214 Golf Club Drive
                                 New Smyrna Beach, FL 32168


          01/08/09               Nanjappa Subramanian                            POA Dues                                      1221-000                   1,207.00                                    90,601.88
                                 7204 Elyse Circle
                                 Port St. Lucie, FL 34952


                                                                                                                         Page Subtotals               12,660.00                     0.00
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
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                                                                                        FORM 2 "EXHIBIT B"                                                                                 Page:       13
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/08/09               Gerard Griesser                                 POA Dues                                      1221-000                   1,045.54                                    91,647.42
                                 1885 Rose Cottage Ln
                                 Malvern, PA 19355


          01/08/09               Richard Janiak                                  poa dues                                      1221-000                   1,197.00                                    92,844.42
                                 172 Woodbrook Rd.
                                 White Plains, NY 10605


          01/08/09               Alan Levine                                     poa dues                                      1221-000                   1,954.99                                    94,799.41
                                 1701 SE Hillmoor Dr. #11
                                 Port St. Lucie, FL 34952


          01/08/09               John Franklin                                   poa Dues                                      1221-000                   3,123.00                                    97,922.41
                                 143 SE Mira Lavella
                                 Port St. Lucie, FL 34984


          01/08/09               Anthony Vetrano                                 poa dues                                      1221-000                   2,165.00                                100,087.41
                                 149 Chapel Rd.
                                 Manhasset, NY 11030


          01/08/09               Marshall Brothers                               poa dues                                      1221-000                   2,399.00                                102,486.41
                                 5500 Collins Ave. Apt.# 403
                                 Miami Beach, FL 33140


          01/08/09               Stephen Fitzgerald                              poa Dues                                      1221-000                   1,094.00                                103,580.41
                                 880 Peregrine Rd.
                                 Indialantic, FL 32903




                                                                                                                         Page Subtotals               12,978.53                     0.00
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM              Doc 882       Filed 07/30/13        Page 21 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                  Page:       14
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          01/08/09               Jacob Marvin                                    POA dues                                      1221-000                    603.50                                 104,183.91
                                 10940 NW 7th Ct.
                                 Plantation, FL 33324


          01/08/09               Edward Miller                                   poa Dues                                      1221-000                   1,144.00                                105,327.91
                                 15 Meadow Rd.
                                 Baltimore, MD 21212


          01/08/09               Edlin Torralba                                  POA Dues                                      1221-000                   1,144.00                                106,471.91
                                 6081 W. Douneray Loop
                                 Crystal River, FL 34429


          01/12/09               A.T. Tamboli                                    POA                                           1221-000                   2,599.00                                109,070.91
                                 840 Colliers Way
                                 Weirton, WV 26062


          01/12/09               Stephen Simms                                   POA                                           1221-000                   3,123.00                                112,193.91
                                 15 Berkley Ct.
                                 Briarcliff Manor, NY 10510


          01/12/09               McDonough Family LLLP                           POA                                           1221-000                   3,485.00                                115,678.91
                                 5049 N. Highway A1A
                                 Apt 1305
                                 Ft. Pierce, FL 34949


          01/12/09               Armond Ferri                                    POA                                           1221-000                    785.57                                 116,464.48
                                 111 SE Bella Strano
                                 Port St. Lucie, FL 34984




                                                                                                                         Page Subtotals               12,884.07                     0.00
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM              Doc 882           Filed 07/30/13        Page 22 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                       Page:     15
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                  3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          01/12/09               Shannon Johnson                                 POA                                               1221-000                   1,197.00                                117,661.48
                                 6750 Still POint Dr.
                                 Melbourne, FL 32940


          01/12/09               Richard Smith                                   POA                                               1221-000                   8,904.84                                126,566.32
                                 652 Creighton Rd.
                                 Villanova, PA 19085


          01/15/09    003002     Bullet Exterminators, Inc.                      Pest Control                                      2690-000                                          3,520.00         123,046.32
                                 P.O. Box 222071
                                 West Palm Beach, FL 33422


          01/15/09    003003     Home Town Cable TV, LLC                         Invoices 601A & 601                               2690-000                                      22,626.97            100,419.35
                                 10486 SW Village Center Dr.
                                 Port St. Lucie, FL 34987


          01/15/09    003004     Elite Custom Service                            Invoice 1401-Waste pick-up                        2690-000                                           772.05              99,647.30
                                 4683 SW Bermuda Way
                                 Palm City, FL 34990


          01/15/09    003005     Ever Clear Pool Service                         Pool Service #0811201                             2690-000                                      10,900.00                88,747.30
                                 2348 SW Valnera St.
                                 Port St. Lucie, FL 34953


          01/15/09    003006     S & W Electric, Inc.                            Electric Work #14516                              2690-000                                          1,272.00             87,475.30
                                 501 West Coker Rd.
                                 Ft. Pierce, FL 34945


          01/16/09               Larry Wormmeester                               POA                                               1221-000                    782.00                                     88,257.30


                                                                                                                             Page Subtotals               10,883.84                  39,091.02
                                                                                                                                                                                                          Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM            Doc 882             Filed 07/30/13        Page 23 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                      Page:       16
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                  3                                                 4                                            5                       6                    7
    Transaction      Check or                                                                                                         Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                             Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 06823 Kenowa Ave.
                                 Grandville, MI 49418


          01/16/09               Elizabeth Fitzpatrick                           POA                                                 1221-000                   3,028.00                                    91,285.30
                                 109 SE Mira Lavella
                                 Port St. Lucie, FL 34984


          01/16/09               Chaemin Lee                                     POA                                                 1221-000                   2,095.00                                    93,380.30
                                 141 Rosebury Ct.
                                 Mayfield Heights, OH 44124


          01/16/09               Edwin Paul                                      POA                                                 1221-000                   1,271.00                                    94,651.30
                                 POB 266
                                 Salyersville, KY 41465


          01/16/09               Gerard Schiraldi                                POA                                                 1221-000                   2,669.00                                    97,320.30
                                 6 Main Ave.
                                 Garden City, NY 11530


          01/16/09               Hank Weinstein                                  Gate Card Fees                                      1221-000                     75.00                                     97,395.30


          01/16/09               Hank Weinstein                                  Gate card fees                                      1221-000                     75.00                                     97,470.30


          01/16/09               Richard Brennan                                 gate card fees                                      1221-000                     75.00                                     97,545.30


          01/16/09               Antonio Leskovar Borelli                        gate card fees                                      1221-000                     75.00                                     97,620.30
                                 117 SE Bella Strano St.
                                 Port St. Lucie, FL 34984




                                                                                                                               Page Subtotals                   9,363.00                  0.00
                                                                                                                                                                                                            Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM             Doc 882     Filed 07/30/13        Page 24 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                Page:       17
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                                  3                                         4                                            5                       6                    7
    Transaction      Check or                                                                                                 Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          01/16/09               Marc Baldinger                                  POA                                         1221-000                   1,207.00                                    98,827.30
                                 150 SW Lighthouse Dr.
                                 Palm City, FL 34990


          01/16/09               David Welch                                     POA                                         1221-000                   1,197.00                                100,024.30
                                 2651 NE 23 St.
                                 Pompano Beach, FL 33062


          01/16/09               Michael Costello                                POA                                         1221-000                   1,399.00                                101,423.30
                                 113 SE Via Verona
                                 Port St. Lucie, FL 34984


          01/16/09               Braden                                          POA                                         1221-000                   1,197.00                                102,620.30
                                 228 SE Bella Strano


          01/16/09               Land Lot LLC                                    POA                                         1221-000                   1,197.00                                103,817.30
                                 41 King Lane
                                 Sperryville, VA 22740


          01/16/09               Ronald Jachimowicz                              POA                                         1221-000                   1,271.00                                105,088.30
                                 2917 English Dr.
                                 Troy, MI 48085


          01/16/09               DJD Realty LLC                                  POA                                         1221-000                   1,169.00                                106,257.30
                                 950 Glades Rd Suite 5
                                 Boca Raton, FL 33431


          01/16/09               John Traub                                      POA                                         1221-000                   1,207.00                                107,464.30
                                 2765 Antrim CT.


                                                                                                                       Page Subtotals                   9,844.00                  0.00
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM             Doc 882     Filed 07/30/13        Page 25 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                Page:       18
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                                3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                 Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Oakland TWP, MI 48306


          01/16/09               Suresh Katakkar                                 POA                                         1221-000                    991.00                                 108,455.30
                                 1391 E. Placita Mapache
                                 Tucson, AZ 85718


          01/16/09               Joel Bierenbaum                                 POA                                         1221-000                   1,141.00                                109,596.30
                                 46 Gleason Dr.
                                 Thiells, NY 10984


          01/16/09               Marc Abitbol                                    POA                                         1221-000                    603.50                                 110,199.80
                                 12622 Crystal Pointe Dr. Apt B
                                 Boynton Beach, FL 33437


          01/16/09               William I. Mott                                 POA                                         1121-000                   1,197.00                                111,396.80
                                 11 Manning Cove Rd.
                                 Malta, NY 12020


          01/16/09               U.S. Real Estate Services, Inc.                 POA                                         1221-000                   1,197.00                                112,593.80
                                 25520 Commercentre Dr.
                                 2nd Floor
                                 Lake Forest, CA 92630


          01/16/09               Barbara Boroughs                                POA                                         1221-000                    767.00                                 113,360.80
                                 15 Twin Walls Lane
                                 Weston, CT 06883


          01/16/09               Paul Edwards                                    POA                                         1221-000                   1,207.00                                114,567.80
                                 4260 Apple Valley Lane


                                                                                                                       Page Subtotals                   7,103.50                  0.00
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM              Doc 882     Filed 07/30/13        Page 26 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                Page:       19
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                      Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 West Bloomfield, MI 48323


          01/16/09               Regal Properties and Investments, LLC            POA                                         1221-000                   1,197.00                                115,764.80
                                 2003 Alice St.
                                 Waycross, GA 31501


          01/16/09               Melvin Friedberg, PA                             POA                                         1221-000                   1,141.00                                116,905.80


          01/16/09               James Grantz                                     POA                                         1221-000                    584.48                                 117,490.28
                                 4075 E. Pinelake Rd.
                                 New Sprinfield, OH 44443


          01/16/09               Brewster Co.                                     POA                                         1221-000                    584.48                                 118,074.76
                                 133 Mahoning Ave.
                                 New Castle, PA 16102


          01/16/09      17       Dink Investments, LLC                            POA                                         1221-000                    139.43                                 118,214.19
                                 124 Bear's Club Dr.
                                 Jupiter, FL 33477


          01/16/09               Harvey Gideaon                                   POA                                         1221-000                   2,363.34                                120,577.53


          01/16/09               Eleanor Termine                                  POA                                         1221-000                   2,669.00                                123,246.53
                                 131 SE Via Marbella
                                 Port St. Lucie, 34984


          01/16/09               Dr. Ashwin Rumalla                               POA                                         1221-000                   1,271.00                                124,517.53
                                 6934 SE 14 Ct.
                                 Ocala, FL 34480


                                                                                                                        Page Subtotals                   9,949.73                  0.00
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM             Doc 882          Filed 07/30/13        Page 27 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                    Page:       20
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                               3                                                 4                                            5                       6                    7
    Transaction      Check or                                                                                                      Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/16/09               Bo Young Kang                                   POA                                              1221-000                   1,207.00                                125,724.53
                                 7254 SE 12 Cir
                                 Ocala, FL 34480


          01/16/09               William Cicilian                                POA                                              1221-000                   2,357.00                                128,081.53
                                 4330 N A1A Apt 701
                                 Fort Pierce, FL 34949


          01/16/09               Monique Ogilvie                                 POa                                              1221-000                    370.00                                 128,451.53
                                 2670 S. Ocean Blvd.
                                 Apt. 305
                                 Palm Beach, FL 33480


          01/16/09               Richard Henry                                   POA                                              1221-000                    150.00                                 128,601.53
                                 106 Fitzwilliam Blvd.
                                 London, ON N6H 5H4
                                 Canada


          01/16/09      17       Casto Homes, Inc.                               POA                                              1290-000                   6,550.71                                135,152.24
                                 13842 US HWY 1
                                 Juno Beach, FL 33408


          01/20/09               Richard Stover                                  Transponder                                      1221-000                     75.00                                 135,227.24
                                 10 Exeter Ln.
                                 Morristown, NJ 07960


          01/20/09               The Lavelle Group                               POA                                              1221-000                   1,041.00                                136,268.24
                                 4495 Military Trail, Ste 107


                                                                                                                            Page Subtotals               11,750.71                     0.00
                                                                                                                                                                                                         Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM              Doc 882     Filed 07/30/13        Page 28 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                Page:       21
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                                  3                                         4                                            5                       6                    7
    Transaction      Check or                                                                                                 Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Jupiter, FL 33458


          01/20/09               The Lavelle Group, LLC                          POA                                         1221-000                    399.00                                 136,667.24
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          01/20/09               The LAvelle Group, LLC                          POA                                         1221-000                    399.00                                 137,066.24
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          01/20/09               Daniel Rourke                                   POA                                         1221-000                   1,215.00                                138,281.24
                                 POB 2627
                                 Framingham, MA 01703


          01/20/09               Daniel Rourke                                   POA                                         1221-000                   2,669.00                                140,950.24
                                 POB 2627
                                 Framingham, MA 01703-2627


          01/20/09               The Lavelle Group, LLC                          POA                                         1221-000                    389.67                                 141,339.91
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          01/28/09               Joseph Coury                                    POA                                         1221-000                    993.33                                 142,333.24
                                 114 SE Mira Lavella
                                 Port St. Lucie, FL 34984


          01/28/09               Don Ardinger                                    POA                                         1221-000                    555.00                                 142,888.24
                                 13012 Hawkins Circle
                                 Hagerstown, MD 21742


                                                                                                                       Page Subtotals                   6,620.00                  0.00
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM             Doc 882     Filed 07/30/13        Page 29 of 320
                                                                                      FORM 2 "EXHIBIT B"                                                                                Page:       22
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                    Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                     Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                      Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                         Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                      Separate Bond (if applicable):


           1             2                              3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/28/09               Don Ardinger                                   POA                                         1221-000                   1,197.00                                144,085.24
                                 13012 Hawkins Circle
                                 Hagerstown, MD 21742


          01/28/09               Michael Weiss                                  POA                                         1221-000                   2,357.00                                146,442.24
                                 14 Doti Ct.
                                 Huntington, NY 11743


          01/28/09               Karen Bertiger                                 POA                                         1221-000                   2,598.00                                149,040.24
                                 23 Clarington Way
                                 Barrington, IL 60010


          01/28/09               John Long                                      POA                                         1221-000                   2,399.00                                151,439.24
                                 147 SE Rio Angelica
                                 Tesoro Golf & CC
                                 Port St.


          01/28/09               Julio Sanguily                                 POA                                         1221-000                   1,215.00                                152,654.24
                                 4530 SW Longbay Dr.
                                 Palm City, FL 34990


          01/28/09               Karen Frankowiak                               POA                                         1221-000                   1,144.00                                153,798.24
                                 23302 Pargillis Rd.
                                 Perrysburg, OH 43551


          01/28/09               Orton Guy                                      POA                                         1121-000                   1,136.85                                154,935.09
                                 1161 E. 105 St.
                                 Brooklyn, NY 11236


                                                                                                                      Page Subtotals               12,046.85                     0.00
                                                                                                                                                                                                   Ver: 17.02e
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                                                         Case 08-29769-MAM               Doc 882     Filed 07/30/13        Page 30 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                Page:       23
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                  Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/28/09               Trillium Properties & Investments                 POA                                         1221-000                   1,207.00                                156,142.09
                                 1304 Baltimore Circle
                                 Waycross, GA 31501


          01/28/09               Ginn Development Co.                              POA                                         1221-000                   2,599.00                                158,741.09
                                 215 Celebration Place
                                 suite 200
                                 Celebration, FL 34747


          01/28/09               Neelam Kohli                                      POA                                         1221-000                   1,207.00                                159,948.09
                                 2020 SW 40 Ln
                                 Ocala, FL 34474


          01/28/09               Alan Epstein                                      POA                                         1221-000                    415.00                                 160,363.09


          01/28/09      17       Palm Coast Builders & Construction, Inc.          POA                                         1290-000                   8,134.00                                168,497.09
                                 661 Maplewood Dr. #22
                                 Jupiter, FL 33458


          01/28/09               Susan Goble                                       POA                                         1221-000                    151.00                                 168,648.09
                                 5238 Old Hickory Dr.
                                 Brighton, MI 48116


          01/28/09               Charles Horowitz                                  POA                                         1221-000                    206.00                                 168,854.09
                                 101 20th St.
                                 #2701
                                 Miami Beach, FL 33139




                                                                                                                         Page Subtotals               13,919.00                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                             FORM 2 "EXHIBIT B"                                                                                  Page:     24
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                  3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          01/30/09               Stephen Dotson                                  POA                                               1121-000                   1,197.00                                170,051.09
                                 3630 SW Sunset Trace Circle
                                 Palm City, FL 34990


          01/30/09               Drew M. Dillworth, Trustee                      Brennan POA/Mistaken dep. in Tesoro               1221-000                   3,083.00                                173,134.09
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          01/30/09               Drew M. Dillworth, trustee                      Zabytko poa/mistaken dep. to Tesoro               1221-000                   3,465.33                                176,599.42
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          01/30/09    003007     City of Port St. Lucie                          Utilities                                         2690-000                                           499.16          176,100.26


          01/30/09    003008     Bullet Exterminators, Inc.                      Invoice #45045                                    2690-000                                            27.00          176,073.26
                                 PO Box 222071
                                 West Palm Beach, FL 33422


          01/30/09    003009     Ever Clear Pool Service                         Inv #0910200                                      2690-000                                      10,810.00            165,263.26
                                 2348 SW Valnera St.
                                 Port St. Lucie, FL 34953


          01/30/09    003010     World Electric Supply, Inc.                     Inv #S004338171.001                               2690-000                                           404.76          164,858.50
                                 663 NW Enterprise Dr.
                                 Port St. Lucie, FL 34986-2204


          01/30/09    003011     Muzak of West Palm Beach                        #161474                                           2690-000                                            90.74          164,767.76


                                                                                                                             Page Subtotals                   7,745.33               11,831.66
                                                                                                                                                                                                          Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM             Doc 882          Filed 07/30/13       Page 32 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                    Page:     25
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 1000 N. Dixie Hwy Suite A
                                 West Palm Beach, FL 33401


          01/30/09    003012     Muzak of West Palm Beach                        #161474                                         2690-000                                            90.74          164,677.02
                                 1000 N. Dixie Hwy Suite A
                                 West Palm Beach, FL 33401


          01/30/09    003013     Florida City Gas                                Billing date 1/16/09                            2690-000                                          1,772.46         162,904.56
                                 PO Box 11812
                                 Newark, NJ 07101-8112


          01/30/09    003014     FPL                                             Utilities payment                               2690-000                                      19,662.94            143,241.62
                                 General Mail Facility
                                 Miami, FL 33188-0001


          02/02/09               The LAvelle Group, LLC                          POA                                             1221-000                   1,041.00                                144,282.62
                                 4495 Military Trail, Ste 107
                                 Juliter, FL 33458


          02/02/09               The Lavelle Group, LLC                          POA                                             1221-000                    389.67                                 144,672.29
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          02/02/09               The Lavelle Group, LLC                          POA                                             1221-000                    399.00                                 145,071.29
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          02/02/09               Lavelle Group, LLC                              POA                                             1221-000                    399.00                                 145,470.29
                                 4495 Military Trail, Ste 107


                                                                                                                           Page Subtotals                   2,228.67               21,526.14
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                       Page:     26
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                              3                                                   4                                            5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 Jupiter, FL 33458


          02/02/09               FPL                                             FPL Refund                                        1221-000                     25.00                                 145,495.29


          02/03/09    003015     Home Town Cable TV, LLC                         Invoice #610                                      2690-000                                      19,840.58            125,654.71
                                 10486 SW Village Center Dr.
                                 Port St. Lucie, FL 34987


          02/03/09    003016     Home Town Cable TV, LLC                         Invoice #610A                                     2690-000                                          2,786.39         122,868.32
                                 10486 SW Village Center Drive
                                 Port St. Lucie, FL 34987


          02/03/09    003017     S & W Electric, Inc.                            Invoice 14526                                     2690-000                                          2,200.00         120,668.32
                                 501 West Coker Rd.
                                 Ft. Pierce, FL 34945


          02/03/09    003018     Bullet Exterminators, Inc.                      Invoice 45143                                     2690-000                                          2,752.00         117,916.32
                                 PO Box 222071
                                 West Palm Beach, FL 33422


          02/04/09    003019     Home Town Cable, TV, LLC                        Invoice 596, 596-A                                2690-000                                      21,910.65                96,005.67
                                 10486 SW Village Center Dr.
                                 Port St. Lucie, FL 34987


          02/05/09    003020     World Electric Supply, Inc.                     Payment for lights                                2690-000                                          1,426.17             94,579.50
                                 663 NW Enterprise Dr.
                                 Port St. Lucie, FL 34986-2204


          02/06/09               Gina Kopec                                      POA                                               1221-000                   1,197.00                                    95,776.50


                                                                                                                             Page Subtotals                   1,222.00               50,915.79
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                   Page:       27
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                               4                                          5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 11 Manor Ln
                                 Katonah, NY 10536


          02/06/09               Rayne Poussard                                  POA                                             1221-000                    785.66                                     96,562.16
                                 321 Creswell Rd.
                                 Severna Park, MD 21146


          02/06/09               Roy Langernbach                                 POA                                             1221-000                   1,041.00                                    97,603.16
                                 120 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          02/06/09               Armond Ferri                                    POA                                             1221-000                    785.57                                     98,388.73
                                 111 SE Bella Strano
                                 Port St. Lucie, Fl 34984


          02/06/09               Casto Homes, Inc.                               POA                                             1221-000                   6,617.71                                105,006.44
                                 13842 US Hwy 1
                                 Juno Beach, FL 33408


          02/09/09               Chad Quist                                      POA                                             1221-000                   4,338.00                                109,344.44
                                 102 SE Rio Casarano
                                 Port St. Lucie, FL 34984-6618


          02/09/09               John Lenzner                                    POA                                             1221-000                   2,341.00                                111,685.44
                                 619 Duff Rd.
                                 Sewickley, PA 15143


          02/10/09    003021     Tom Zensen                                      Reim./Argus Surveillance                        2690-000                                          118.00           111,567.44




                                                                                                                           Page Subtotals               15,908.94                   118.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                         Case 08-29769-MAM             Doc 882     Filed 07/30/13        Page 35 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                Page:       28
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                                  3                                         4                                            5                       6                    7
    Transaction      Check or                                                                                                 Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          02/13/09               CLI Fleet Inc.                                  POA                                         1221-000                    889.66                                 112,457.10
                                 99 Biltmore Ave.
                                 Rye, NY 10580


          02/13/09               U.S. Real Estate Services, Inc.                 POA                                         1221-000                   1,197.00                                113,654.10
                                 25520 Commercentre Sr.
                                 2nd Floor
                                 Lake Forest, CA 92630


          02/13/09               Linnes Finney, Jr.                              POA                                         1221-000                   1,271.00                                114,925.10
                                 10960 Pine Creek Lane
                                 Port St. Lucie, FL 34986


          02/13/09               Otto Vitale                                     POA                                         1221-000                   2,599.00                                117,524.10
                                 233 SE Bella Strano
                                 Port St. Lucie, FL 34984


          02/13/09               Asialine Investments Corporation                POA                                         1221-000                   1,215.00                                118,739.10
                                 3261 SE Morningside Blvd.
                                 Port St. Lucie, FL 34952


          02/13/09               Bergman Family LTD Partnership                  POA                                         1221-000                   1,861.71                                120,600.81
                                 24 N. Sewell's Point Rd.
                                 Stuart, FL 34996


          02/13/09               Bergman Family LTD Partnership                  POA                                         1221-000                   1,169.00                                121,769.81
                                 24 N. Sewell's Point Rd.
                                 Stuart, FL 34996




                                                                                                                       Page Subtotals               10,202.37                     0.00
                                                                                                                                                                                                    Ver: 17.02e
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                                                          Case 08-29769-MAM             Doc 882           Filed 07/30/13        Page 36 of 320
                                                                                              FORM 2 "EXHIBIT B"                                                                                  Page:     29
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                 3                                                 4                                            5                       6                    7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          02/13/09               Egan East Development Corp III                   POA                                               1221-000                   1,197.00                                122,966.81


          02/13/09               H.N. Corporation                                 POA                                               1221-000                   1,207.00                                124,173.81
                                 1316 N. Hills Blvd.
                                 North Little Rock, AK 72114


          02/13/09               Mark Nichols                                     POA                                               1221-000                   1,177.00                                125,350.81
                                 35 Sherrill Rd.
                                 Little Rock, AR 72202


          02/13/09               FJB & Associates, Inc.                           POA                                               1221-000                   1,207.00                                126,557.81


          02/13/09    003022     City of Port St. Lucie Utilities                 Payment for utilities                             2690-000                                           959.19          125,598.62


          02/13/09    003023     Elite Custom Service                             Payment                                           2690-000                                           772.05          124,826.57


          02/13/09    003024     John Deere Landscapes                            Payment                                           2690-000                                          4,773.89         120,052.68


          02/13/09    003025     Florida Power & Light                            Utilities                                         2690-000                                          4,902.81         115,149.87


          02/13/09    003026     The Tesoro Club                                  Operating Exp-Water bill                          2690-000                                          7,203.62         107,946.25
                                 200 SE Via Tesoro Blvd.
                                 Port St. Lucie, FL 34984


          02/17/09               Nigel McIvor                                     POA                                               1221-000                   1,600.00                                109,546.25
                                 4694 Manderly Dr.
                                 Wellington, FL 33467-7406


          02/17/09               Bob David-Tax Collector                          Refund                                            1221-000                   2,236.14                                111,782.39


                                                                                                                              Page Subtotals                   8,624.14               18,611.56
                                                                                                                                                                                                           Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM             Doc 882           Filed 07/30/13        Page 37 of 320
                                                                                             FORM 2 "EXHIBIT B"                                                                                Page:       30
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                  3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 St. Lucie County Tax Collector


          02/17/09               South Florida Water Management                  Refund                                            1221-000                   1,000.00                                112,782.39
                                 District
                                 PO Box 24682
                                 West Palm Beach, FL 33416


          02/18/09               Elizabeth Buckley Fortner                       POA                                               1121-000                   2,599.00                                115,381.39
                                 104 SE San Fratello Tesoro
                                 Port St. Lucie, FL 34984


          02/18/09    003027     Florida Power & Light                           Utilities                                         2690-000                                          450.64           114,930.75


          02/20/09               Antonini                                        POA                                               1221-000                   3,080.64                                118,011.39
                                 First American Title Insurance Co.
                                 201 SW Port St. Lucie Blvd.
                                 Suite 205
                                 Port St. Lucie, FL 34984


          02/25/09               Joseph Coury                                    POA                                               1221-000                    993.33                                 119,004.72
                                 114 SE Mira Lavella
                                 Port St. Lucie, FL 34984


          02/25/09               Paul Boucher                                    POA                                               1221-000                   1,215.00                                120,219.72
                                 1006 SW Woodcreek Dr.
                                 Palm City, FL 34990


          02/25/09               John Antonini                                   POA                                               1221-000                    225.00                                 120,444.72
                                 571 SE Wallace Ter.


                                                                                                                             Page Subtotals                   9,112.97                450.64
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                     Page:     31
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                  3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 Port St. Lucie, FL 34983


          02/25/09               Philadelphia Insurance Companies                POA                                              1221-000                     29.62                                 120,474.34
                                 One Bala Plaza, Suite 100
                                 Bala Cynwyd, PA 19004


          02/25/09    003028     The Tesoro Club                                 Reimbursement for landscape equip                2690-000                                      10,805.18            109,669.16
                                 200 SE Via Tesoro Blvd.
                                 Port St. Lucie, FL 34984


          02/26/09    003029     Tesoro Preserve POA                             Pymt deposited in POA acct.                      2690-000                                           555.00          109,114.16


          02/26/09    003030     Walker Technical Services                       Irrigation Tech                                  2690-000                                          1,500.00         107,614.16


          02/26/09    003031     Matthew Boyd                                    Employee Reimbursement                           2690-000                                            48.77          107,565.39


          02/27/09               The LAvelle Group, LLC                          POA                                              1221-000                    399.00                                 107,964.39
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          02/27/09               The Lavelle Group, LLC                          POA                                              1221-000                   1,041.00                                109,005.39
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          02/27/09               The LAvelle Group, LLC                          POA                                              1221-000                    389.67                                 109,395.06
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          02/27/09    003032     S & W Electric, Inc.                            Invoice #14518                                   2690-000                                           765.00          108,630.06


                                                                                                                            Page Subtotals                   1,859.29               13,673.95
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                       Page:     32
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                  3                                                4                                            5                       6                    7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 501 West Coker Rd.
                                 Ft. Pierce, FL 34945


          02/27/09    003033     S & W Electric, Inc.                            Invoice #14507                                     2690-000                                            300.00         108,330.06
                                 501 W. Coker Rd.
                                 Ft. Pierce, FL 34945


 *        03/02/09    003034     Florida City Gas                                Gas Utilities                                      2690-004                                          1,925.59         106,404.47
                                 P.O. Box 11812
                                 Newark, NJ 07101-8112


          03/03/09               The LAvelle Group, LLC                          POA                                                1221-000                    399.00                                 106,803.47
                                 4495 Military Trail
                                 Ste 107
                                 Jupiter, FL 33458


          03/03/09               Law Offices of Gordon Koegler, P.A.             POA                                                1221-000                   1,207.00                                108,010.47
                                 One East Broward Blvd.
                                 Ste 700
                                 Ft. Lauderdale, FL 33301


          03/03/09               Harold Fenner                                   POA                                                1221-000                     75.00                                 108,085.47
                                 128 Rio Angelica
                                 Port St. Lucie, FL 34984


 *        03/03/09    003034     Florida City Gas                                Stop Payment Reversal                              2690-004                                          -1,925.59        110,011.06
                                 P.O. Box 11812                                  STOP PAY ADD SUCCESSFUL
                                 Newark, NJ 07101-8112




                                                                                                                              Page Subtotals                   1,681.00                  300.00
                                                                                                                                                                                                           Ver: 17.02e
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                                                         Case 08-29769-MAM             Doc 882            Filed 07/30/13      Page 40 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                   Page:       33
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                3                                                4                                            5                       6                    7
    Transaction      Check or                                                                                                      Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          03/03/09    003035     Florida City Gas                                Payments for utilities                           2690-000                                          817.32           109,193.74
                                 PO Box 11812
                                 Newark, NJ 07101


          03/05/09               Florida Power & Light                           Refund for overpayment                           1221-000               11,875.76                                   121,069.50


          03/05/09               Gary, Dytrych & Ryan, P.A.                      POA                                              1221-000                    933.11                                 122,002.61
                                 701 U.S. Hwy 1-Ste 402
                                 N. Palm Beach, FL 33408


          03/05/09               U.S. Real Estate Services, Inc.                 POA                                              1221-000                   1,144.00                                123,146.61
                                 25520 Commercentre Drive
                                 2nd Floor
                                 Lake Forest, CA 92630


          03/05/09               U.S. Real Estate Services, Inc.                 POA                                              1221-000                   2,669.00                                125,815.61
                                 25520 Commercentre Dr.
                                 2nd Floor
                                 Lake Forest, CA 92630


          03/05/09               Law Offices of Geil Bilu, P.A.                  POA                                              1221-000                   7,163.05                                132,978.66
                                 10 Fairway Drive, Suite 204
                                 Deerfield Beach, FL 33441


          03/05/09               Law Offices of Geil Bilu, P.A.                  POA                                              1221-000                   4,000.00                                136,978.66
                                 10 Fairway Dr. #204
                                 Deerfield Beach, FL 33441


          03/05/09               Casto Homes, Inc.                               POA                                              1221-000                   6,074.37                                143,053.03


                                                                                                                            Page Subtotals               33,859.29                   817.32
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                              FORM 2 "EXHIBIT B"                                                                                  Page:    34
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                  3                                                4                                            5                       6                   7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 13842 U.S. Hwy 1
                                 Juno Beach, FL 33408


          03/05/09    003036     Ever Clear Pool Service                          Pool service for homes                            2690-000                                       10,900.00          132,153.03
                                 2348 SW Valnera St.
                                 Port St. Lucie, FL 34953


          03/05/09    003037     Hometown Cable                                   Cable, Internet Alarm                             2690-000                                       23,398.30          108,754.73
                                 10486 SW Village Center Dr.
                                 Port St. Lucie, FL 34987


          03/05/09    003038     Bullet Exterminators                             Pest Control                                      2690-000                                          2,752.00        106,002.73
                                 PO Box 222071
                                 West Palm Beach, FL 33422


          03/05/09    003039     Kilpatrick                                       COD                                               2690-000                                           670.07         105,332.66


          03/05/09    003040     City of Port St. Lucie Utilities                 Utilities                                         2690-000                                            33.32         105,299.34


 *        03/05/09    003041     Helena Chemical Co.                              Chemicals                                         2690-003                                          2,165.57        103,133.77


          03/05/09    003042     Brennan Golf Sales                               Additional landscaping expenses                   2690-000                                          2,589.08        100,544.69


          03/05/09    003043     Elite Custom Service                             payment                                           2690-000                                           772.05             99,772.64


          03/05/09    003044     The Tesoro Club                                  payment                                           2690-000                                           397.64             99,375.00


 *        03/05/09    003045     Walker Technical Service                         payment                                           2690-004                                           750.00             98,625.00



                                                                                                                              Page Subtotals                        0.00              44,428.03
                                                                                                                                                                                                          Ver: 17.02e
LFORM24
                                                           Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 42 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                    Page:     35
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                 3                                              4                                            5                       6                    7
     Transaction     Check or                                                                                                     Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          03/05/09    003046     Tee Off Temps                                   Add'l labor for landscaping POA                 2690-000                                          4,425.00             94,200.00


          03/05/09    003047     Home Depot Credit Service                       payment                                         2690-000                                           230.74              93,969.26


          03/05/09    003048     Capital Office Products                         Office supplies                                 2690-000                                           100.62              93,868.64


          03/06/09    003049     Recycling Service, LLC                          Recycling service                               2690-000                                           550.00              93,318.64


 *        03/10/09               Camner, Lipsitz and Poller, P.A.                POA                                             1221-003               13,837.00                                   107,155.64
                                 550 Biltmore Way Suite 700
                                 Coral Gables, FL 33134


          03/10/09               Camner, Lipsitz andPoller, P.A.                 POA                                             1221-000                   1,027.48                                108,183.12
                                 550 Biltmore Way Suite 700
                                 Coral Gables, FL 33134


          03/10/09               Rayne Poussard                                  POA                                             1221-000                    544.66                                 108,727.78
                                 321 Creswell Rd.
                                 Severna Park, MD 21146


          03/10/09               Judith Droder                                   POA                                             1221-000                   1,197.00                                109,924.78
                                 2828 NE 40 St.
                                 Ft, Lauderdale, FL 33308


          03/10/09               Braden                                          POA                                             1221-000                   1,197.00                                111,121.78
                                 228 SE Bella Strano


          03/10/09               CLI Fleet Inc.                                  POA                                             1221-000                    889.66                                 112,011.44
                                 99 Biltmore Ave.


                                                                                                                           Page Subtotals               18,692.80                   5,306.36
                                                                                                                                                                                                        Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM            Doc 882          Filed 07/30/13           Page 43 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                        Page:     36
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                  3                                              4                                               5                       6                    7
     Transaction     Check or                                                                                                         Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                          Description Of Transaction            Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 Rye, NY 10580


          03/10/09               Roy Lagenbach                                   POA                                                 1221-000                    776.00                                 112,787.44
                                 120 SE Rio Casarano
                                 Port St. Lucie, FL 34984


 *        03/10/09    003041     Helena Chemical Co.                             Chemicals                                             2690-003                                        -2,165.57        114,953.01
                                                                                 Check was not signed. Will reissue check and sento to
                                                                                 Kimberly.


 *        03/10/09    003045     Walker Technical Service                        Stop Payment Reversal                               2690-004                                           -750.00         115,703.01
                                                                                 STOP PAY ADD SUCCESSFUL


          03/10/09    003050     Helena Chemical Co.                             Chemicals                                           2690-000                                          2,165.57         113,537.44


          03/10/09    003051     Walker Technical Services                       Payment                                             2690-000                                            750.00         112,787.44


          03/10/09    003052     HTC-Plus/Home Town Telephone                    #D9581087                                           2690-000                                          1,078.24         111,709.20
                                 P.O. Box 01-9711
                                 Miami, FL 33101-9711


          03/13/09    003053     The Tesoro Club                                 Payroll/Ins. reimb.                                 2690-000                                      27,650.43                84,058.77


          03/13/09    003054     Matthew Boyd                                    Employee Reimb.                                     2690-000                                             73.16             83,985.61


          03/19/09               Jonathan Mariner                                POA                                                 1221-000                   2,669.00                                    86,654.61
                                 845 United Nations Plz
                                 Apt 9D
                                 New York, NY 10017


                                                                                                                               Page Subtotals                   3,445.00               28,801.83
                                                                                                                                                                                                            Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM             Doc 882           Filed 07/30/13       Page 44 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                                     Page:     37
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                  3                                                4                                           5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          03/19/09               Jonathan Mariner                                 POA                                              1221-000                   3,125.00                                    89,779.61
                                 845 United Nations Plz
                                 Apt 9D
                                 New York, NY 10017


          03/19/09               The Tesoro Club                                  F&B hours used to move furn.                     1221-000                    105.00                                     89,884.61
                                 Drew M. Dillworth Trustee
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          03/19/09               Armond Ferri                                     POA                                              1221-000                    785.57                                     90,670.18
                                 111 SE Bella Strano
                                 Port St. Lucie, FL 34984


          03/20/09    003055     Tee-Off Temps                                    Landscape Contract Labor                         2690-000                                          3,200.00             87,470.18


          03/20/09    003056     Everglades Pinestraw, Inc.                       Mulch                                            2690-000                                           361.62              87,108.56


          03/20/09    003057     MUZAK of West Palm Beach                         Music Security gatehouse                         2690-000                                            90.74              87,017.82


          03/20/09    003058     TEM Systems, Inc.                                Southbend gate repair                            2690-000                                           596.99              86,420.83


          03/20/09    003059     Ginn Security Services LLC                       security services                                2690-000                                      31,395.24                55,025.59


          03/20/09    003060     Ginn Property Management Services                Salary and services                              2690-000                                      17,470.00                37,555.59


          03/20/09    003061     Kauff's of Ft. Pierce                            moved container                                  2690-000                                           125.00              37,430.59


                                                                                                                             Page Subtotals                   4,015.57               53,239.59
                                                                                                                                                                                                          Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM            Doc 882           Filed 07/30/13        Page 45 of 320
                                                                                             FORM 2 "EXHIBIT B"                                                                                  Page:     38
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                  3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          03/20/09    003062     Precision Small Engine                          R&M Parts                                         2690-000                                           500.29              36,930.30


          03/20/09    003063     Florida Power & Light                           Utilities                                         2690-000                                          4,575.72             32,354.58


          03/24/09    003064     Tee-Off Temps.                                  Golf Temps.                                       2690-000                                          6,400.00             25,954.58
                                 PO Box 1097
                                 Palm City, FL 34991


          03/25/09               Robert Budnick                                  POA                                               1221-000                   1,000.00                                    26,954.58
                                 108 SE Saint Lucia
                                 Port St. Lucie, FL 34984


          03/25/09               Stephen Fitzgerald                              POA                                               1221-000                   1,094.00                                    28,048.58
                                 880 Peregrine Dr.
                                 Indialantic, FL 32903


          03/25/09               Joseph Coury                                    POA                                               1221-000                    993.33                                     29,041.91
                                 114 SE Mira Lavella
                                 Port St. Lucie, FL 34984


          03/25/09               Helmut Sima                                     POA                                               1221-000                   1,215.00                                    30,256.91
                                 Bluetenstrasse 13
                                 Wendelstein, 00000


          03/27/09               Florida Power & Light                           Refund                                            1221-000                     21.04                                     30,277.95


          03/27/09               Florida Power & Light                           Refund                                            1221-000                     20.60                                     30,298.55




                                                                                                                             Page Subtotals                   4,343.97               11,476.01
                                                                                                                                                                                                          Ver: 17.02e
LFORM24
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                                                                                              FORM 2 "EXHIBIT B"                                                                                   Page:     39
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                 3                                                  4                                            5                       6                    7
     Transaction     Check or                                                                                                         Uniform                                                      Account / CD
        Date         Reference                 Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          03/28/09    003065     Kilpatrick                                       Land Equip R&M                                     2690-000                                            77.37              30,221.18


          03/28/09    003066     Tee-Off Temps                                    POA Landscape Contract Labor                       2690-000                                          3,200.00             27,021.18


          03/31/09    003067     City of Port St. Lucie Utilities                 Utilities                                          2690-000                                           409.27              26,611.91


          03/31/09    003068     Bullet Exterminators                             Exterminators                                      2690-000                                          2,848.00             23,763.91


          03/31/09    003069     Walker Technical Services                        Services Rendered                                  2690-000                                           750.00              23,013.91


          03/31/09    003070     Florida City Gas                                 Gas                                                2690-000                                           838.37              22,175.54


          03/31/09    003071     Ever Clear Pool Service                          Pool Maint.                                        2690-000                                      10,990.00                11,185.54


          03/31/09    003072     MUZAK of West Palm Beach                         Music                                              2690-000                                            90.74              11,094.80


          03/31/09    003073     Philadelphia Insurance Companies                 Insurance Co.                                      2690-000                                          2,590.32              8,504.48


          04/01/09               Mahmood                                          POA                                                1221-000                   2,073.00                                    10,577.48
                                 420 SE Faxcino Circle
                                 Lot 45


          04/01/09               John Lenzner                                     POA                                                1221-000                   1,144.00                                    11,721.48
                                 619 Duff Rd
                                 Sewickley, PA 15143


 *        04/01/09               John Lenzner                                     POA                                                1221-003                   1,144.00                                    12,865.48
                                 619 Duff Rd.
                                 Sewickley, PA 15143


                                                                                                                               Page Subtotals                   4,361.00               21,794.07
                                                                                                                                                                                                            Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM              Doc 882          Filed 07/30/13       Page 47 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                       Page:    40
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:              *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                          6                  7
     Transaction     Check or                                                                                                     Uniform                                                        Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)         Balance ($)


 *        04/01/09               John Lenzner                                    POA                                             1221-003                   -1,144.00                                    11,721.48
                                 619 Duff Rd.                                    Wrong Amount
                                 Sewickley, PA 15143


          04/01/09               John Lenzner                                    POA                                             1221-000                   1,197.00                                     12,918.48
                                 619 Duff Rd.
                                 Sewickley, PA 15143


 *        04/02/09               Camner, Lipsitz and Poller, P.A.                POA                                             1221-003              -13,837.00                                          -918.52
                                 550 Biltmore Way Suite 700                      Wrong endorsement
                                 Coral Gables, FL 33134


          04/02/09      17       The Tesoro Club, LLC                            Tx from TC to for shortfall at POA              1290-000                   1,000.00                                        81.48


          04/02/09               CLI Fleet Inc.                                  POA                                             1221-000                     889.66                                       971.14
                                 99 Biltmore Ave.
                                 Rye, NY 10580


          04/09/09               Transfer from Acct #*******5721                 Bank Funds Transfer                             9999-000            2,500,000.00                                   2,500,971.14


          04/09/09    003074     Credit Suisse, Cayman Islands Branch            Pre-Petition Secured Claims                     4110-000                                       2,500,000.00               971.14


          04/10/09               Transfer from Acct #*******5721                 Bank Funds Transfer                             9999-000              370,000.00                                    370,971.14


          04/10/09    003075     Eastdil Secured                                 Real Estate Commission-Tesoro                   3510-000                                        354,950.00              16,021.14


          04/10/09    003076     Eastdil Secured                                 Real Estate Expenses-Tesoro                     3520-000                                             9,966.00            6,055.14



                                                                                                                           Page Subtotals            2,858,105.66                2,864,916.00
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page:     41
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                              3                                                4                                            5                       6                  7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
          04/10/09    003077     Continental Real Estate Companies              Real Estate Expenses-Tesoro                     3520-000                                          648.17             5,406.97


          04/21/09      15       FPL                                            Refund                                          1221-000                   309.98                                    5,716.95
                                 PO Box 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                            Refund                                          1221-000                    11.62                                    5,728.57
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                            Refund                                          1221-000                        0.04                                 5,728.61
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                            Refund                                          1221-000                    86.72                                    5,815.33
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                            Refund                                          1221-000                    66.23                                    5,881.56
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                            Refund                                          1221-000                    53.10                                    5,934.66
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                            Refund                                          1221-000                    47.68                                    5,982.34
                                 POB 025576
                                 Miami, FL 33102


                                                                                                                          Page Subtotals                   575.37                  648.17
                                                                                                                                                                                                     Ver: 17.02e
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                                                     Case 08-29769-MAM              Doc 882         Filed 07/30/13        Page 49 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                 Page:      42
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                            3                                                4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                     Account / CD
       Date          Reference              Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)


          04/21/09      15       FPL                                           Refund                                         1221-000                     72.80                                      6,055.14
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     41.77                                      6,096.91
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                        6.63                                    6,103.54
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     48.76                                      6,152.30
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                    240.42                                      6,392.72
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     55.04                                      6,447.76
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                   4,823.58                                    11,271.34
                                 POB 025576
                                 Miami, FL 33102




                                                                                                                        Page Subtotals                   5,289.00                   0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page:       43
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                            3                                                4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference              Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          04/21/09      15       FPL                                           Refund                                         1221-000                     60.31                                     11,331.65
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     73.88                                     11,405.53
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     10.55                                     11,416.08
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                    253.62                                     11,669.70
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     37.75                                     11,707.45
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     59.93                                     11,767.38
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                    621.67                                     12,389.05
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                           Refund                                         1221-000                     59.93                                     12,448.98


                                                                                                                        Page Subtotals                   1,177.64                  0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                       Case 08-29769-MAM              Doc 882         Filed 07/30/13        Page 51 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                              Page:       44
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                              3                                                4                                            5                     6                    7
    Transaction      Check or                                                                                                    Uniform                                                  Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                             Refund                                         1221-000                    17.40                                    12,466.38
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                             Refund                                         1221-000                    56.31                                    12,522.69
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                             Refund                                         1221-000                    47.16                                    12,569.85
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                             Refund                                         1221-000                    65.31                                    12,635.16
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                             Refund                                         1221-000                    61.25                                    12,696.41
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                             Refund                                         1221-000                    62.97                                    12,759.38
                                 POB 025576
                                 Miami, FL 33102


          04/21/09      15       FPL                                             Refund                                         1221-000                   110.40                                    12,869.78
                                 POB 025576


                                                                                                                          Page Subtotals                   420.80                  0.00
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM              Doc 882           Filed 07/30/13       Page 52 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                                 Page:      45
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                3                                                 4                                           5                     6                    7
    Transaction      Check or                                                                                                      Uniform                                                   Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                 Miami, FL 33102


          04/21/09      16       Bob David-Tax Collector                         Refund for real estate taxes                     1290-000              487,930.52                                 500,800.30
                                 St. Lucie County tax Collector


          04/21/09      16       Bob David-Tax Collector                         Refund for real estate taxes                     1290-000                   179.82                                500,980.12
                                 St. Lucie County Tax Collector


          04/23/09               Transfer from Acct #*******5721                 Bank Funds Transfer                              9999-000              413,495.74                                 914,475.86


          04/23/09    003078     Credit Suisse-Cayman Islands Branch             Pre-Petition Secured Claims                      4110-000                                    413,495.74           500,980.12


          04/23/09    003079     Credit Suisse-Cayman Islands Branch             Pre-Petition Secured Claims                      4110-000                                    490,000.00               10,980.12


          04/29/09               Transfer from Acct #*******5721                 Bank Funds Transfer                              9999-000              822,000.00                                 832,980.12


          04/29/09    003080     Stearns Weaver Miller, et al                    DE 239                                           3110-000                                    375,000.00           457,980.12
                                 150 W. Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          04/29/09    003081     Drew M. Dillworth, Trustee                      DE 240                                           2100-000                                    442,847.88               15,132.24
                                 150 W. Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          04/29/09    003082     Drew M. Dillworth, Trustee                      De 240                                           2200-000                                        3,966.27             11,165.97
                                 150 W. Flagler St.
                                 Suite 2200


                                                                                                                            Page Subtotals            1,723,606.08            1,725,309.89
                                                                                                                                                                                                       Ver: 17.02e
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                                                        Case 08-29769-MAM             Doc 882            Filed 07/30/13        Page 53 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                                  Page:      46
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                               3                                                  4                                            5                     6                    7
    Transaction      Check or                                                                                                       Uniform                                                   Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                 Miami, FL 33130


          05/20/09    003083     Christopher M. Bates, Inc.                      Invoice #908                                      3991-000                                        2,500.00              8,665.97
                                 Property Tax Services
                                 2757 NE 14th Ave.
                                 Wilton Manors, FL 33334


          09/23/09      15       FPL                                             Refund                                            1221-000                    11.72                                     8,677.69


          09/23/09      15       FPL                                             Refund                                            1221-000                   752.46                                     9,430.15


          09/23/09      15       FPL                                             Refund                                            1221-000                   129.60                                     9,559.75


          12/17/09               Transfer from Acct #*******5721                 Bank Funds Transfer                               9999-000              164,337.24                                 173,896.99


          12/17/09    003084     Stearns Weaver Miller                           Order dated 12/17/09 DE 386                       3110-000                                    153,564.60               20,332.39
                                 Weissler Alhadeff & Sitterson, P.A.
                                 150 West Flagler Street
                                 Suite 2200
                                 Miami, FL 33130


          12/17/09    003085     Stearns Weaver Miller                           Order dated 12/17/09 DE 386                       3120-000                                        5,543.29             14,789.10
                                 Weissler Alhadeff & Sitterson, P.A.
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          12/17/09    003086     Kapila & Company                                Order dated 12/17/09 DE 387                       3410-000                                        5,169.44              9,619.66
                                 1000 S. Federal Highway


                                                                                                                             Page Subtotals              165,231.02             166,777.33
                                                                                                                                                                                                        Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 54 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                              Page:       47
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                               3                                              4                                            5                     6                    7
    Transaction      Check or                                                                                                   Uniform                                                 Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)     Balance ($)
                                 Suite 200
                                 Ft. Lauderdale, FL 33316


          12/17/09    003087     Kapila & Company                               Order dated 12/17/09 DE 387                    3420-000                                        59.91                9,559.75
                                 1000 South Federal Highway
                                 Suite 200
                                 Ft. Lauderdale, FL 33316


          12/23/09      15       FPL                                            Refund                                         1221-000                    35.26                                    9,595.01


          12/23/09      15       FPL                                            Refund                                         1221-000                    21.32                                    9,616.33


          12/23/09      15       FPL                                            Refund                                         1221-000                    19.74                                    9,636.07


          12/23/09      15       FPL                                            Refund                                         1221-000                    35.04                                    9,671.11


          12/23/09      15       FPL                                            Refund                                         1221-000                    34.87                                    9,705.98


          12/23/09      15       FPL                                            Refund                                         1221-000                    47.38                                    9,753.36


          12/23/09      15       FPL                                            refund                                         1221-000                    41.06                                    9,794.42
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                            Refund                                         1221-000                    38.98                                    9,833.40
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                            Refund                                         1221-000                    24.12                                    9,857.52


                                                                                                                         Page Subtotals                   297.77                59.91
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 55 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                              Page:       48
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                               4                                            5                     6                    7
    Transaction      Check or                                                                                                    Uniform                                                  Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)


          12/23/09      15       FPL                                             Refund                                         1221-000                    47.26                                     9,904.78


          12/23/09      15       FPL                                             Refund                                         1221-000                    38.18                                     9,942.96


          12/23/09      15       FPL                                             Refund                                         1221-000                    29.06                                     9,972.02


          12/23/09      15       FPL                                             Refund                                         1221-000                    25.29                                     9,997.31


          12/23/09      15       FPL                                             Refund                                         1221-000                    12.43                                    10,009.74


          12/23/09      15       FPL                                             Refund                                         1221-000                    47.38                                    10,057.12


          12/23/09      15       FPL                                             refund                                         1221-000                    24.21                                    10,081.33
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                             refund                                         1221-000                    43.33                                    10,124.66
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                             Refund                                         1221-000                    37.92                                    10,162.58


          12/23/09      15       FPL                                             refund                                         1221-000                    53.99                                    10,216.57
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                             refund                                         1221-000                   104.84                                    10,321.41
                                 General Mail Facility


                                                                                                                          Page Subtotals                   463.89                  0.00
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM          Doc 882          Filed 07/30/13        Page 56 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                               Page:       49
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                3                                              4                                            5                     6                    7
    Transaction      Check or                                                                                                    Uniform                                                 Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)     Balance ($)
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                            Refund                                          1221-000                    49.37                                    10,370.78


          12/23/09      15       FPL                                            Refund                                          1221-000                    68.35                                    10,439.13
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                            refund                                          1221-000                    22.61                                    10,461.74
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                            refund                                          1221-000                    23.69                                    10,485.43
                                 General Mail Facility
                                 Miami, FL 33188-0001


          12/23/09      15       FPL                                            Refund                                          1221-000                    42.39                                    10,527.82


          12/23/09      15       FPL                                            Refund                                          1221-000                    42.92                                    10,570.74


          12/23/09      15       FPL                                            Refund                                          1221-000                    38.31                                    10,609.05


          12/23/09      15       FPL                                            Refund                                          1221-000                    43.06                                    10,652.11


          12/23/09      15       FPL                                            Refund                                          1221-000                    38.98                                    10,691.09


          10/11/10               Transfer from Acct #*******5721                Bank Funds Transfer                             9999-000                    57.00                                    10,748.09


          10/11/10    003088     United States Treasury                         Request for Copy of Tax Return                  2810-000                                        57.00                10,691.09


                                                                                                                          Page Subtotals                   426.68                57.00
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM             Doc 882          Filed 07/30/13       Page 57 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                    Page:     50
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                              3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          08/15/11               Transfer from Acct #*******5721                Bank Funds Transfer                            9999-000                   8,000.00                                    18,691.09


          08/15/11    003089     Kapila & Company                               Order dated 8/11/11 ECF 625                    3410-000                                      15,121.20                 3,569.89
                                 1000 S. Federal Highway
                                 Suite 200
                                 Ft. Lauderdale, FL 33316


          08/15/11    003090     Kapila & Company                               Order dated 8/11/11 ECF 625                    3420-000                                           169.98               3,399.91
                                 1000 South Federal Highway
                                 Suite 200
                                 Ft. Lauderdale, FL 33316


          10/31/11               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.08              3,399.83


          11/30/11               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.08              3,399.75


          12/30/11               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.08              3,399.67


          01/31/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.09              3,399.58


          02/29/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.08              3,399.50


          03/30/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.08              3,399.42


          04/30/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.08              3,399.34


          05/31/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                              0.08              3,399.26



                                                                                                                         Page Subtotals                   8,000.00               15,291.83
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM              Doc 882           Filed 07/30/13             Page 58 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                             Page:    51
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                               Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                                Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                                 Account Number / CD #:              *******3778 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                    Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1             2                             3                                                  4                                                  5                         6                   7
     Transaction     Check or                                                                                                            Uniform                                                       Account / CD
        Date         Reference               Paid To / Received From                          Description Of Transaction                Tran. Code      Deposits ($)          Disbursements ($)         Balance ($)
 *        06/04/12               Olga Cartwright                                POA Dues                                                1290-003                  -1,169.00                                    2,230.26
                                                                                This was marked as a chargeback on 1/14/09


          06/05/12    003091     Helena Chemical Co.                            Chemicals                                               2690-000                                           2,165.57               64.69
                                                                                This is being done to correct a stop payment entry on
                                                                                3/10/09, chk #3041. the check was cashed by the
                                                                                company before the stop payment was processed.


          06/22/12               BANK OF AMERICA, N.A.                          BANK FEES                                               2600-000                                               0.06               64.63
                                 901 MAIN STREET
                                 9TH FLOOR
                                 DALLAS, TX 75283


          06/22/12               Trsf To BANK OF KANSAS CITY                    FINAL TRANSFER                                          9999-000                                             64.72                   -0.09



                                                                                                          COLUMN TOTALS                                    5,104,906.02               5,104,906.11                    -0.09
                                                                                                              Less: Bank Transfers/CD's                    4,277,889.98                      64.72
                                                                                                          Subtotal                                           827,016.04               5,104,841.39
                                                                                                              Less: Payments to Debtors                                                       0.00
                                                                                                          Net
                                                                                                                                                             827,016.04               5,104,841.39




                                                                                                                                 Page Subtotals                   -1,169.00                 2,230.35
                                                                                                                                                                                                               Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM             Doc 882        Filed 07/30/13        Page 59 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                   Page:      52
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                 BALANCE FORWARD                                                                                                            0.00


          12/30/08      32       Nike, Inc.                                      Membership Dues                               1121-000                        9.00                                         9.00
                                 One Bowerman Dr.
                                 Beaverton, OR 97005


          12/30/08      32       Richard P. Horner                               Membership dues                               1121-000                   1,292.50                                    1,301.50
                                 24 Mudry Farm Rd.
                                 Brookfield, CT 06804


          12/30/08      32       Vincent Smyth                                   Membership dues                               1121-000                    620.90                                     1,922.40
                                 Mary Smyth
                                 2001 Sailfish Point No 315
                                 Stuart,
                                 FL 34996


          12/30/08      32       Richard Horner                                  Membership dues                               1121-000                   1,863.76                                    3,786.16
                                 24 Mudry Rd.
                                 Brookfield, CT 06804


          12/30/08      32       The Ann C. Fernandez Trust                      Membership dues                               1121-000                    620.90                                     4,407.06
                                 6653 Woodlake Rd.
                                 Jupiter, FL 33458


          12/30/08      32       Janeth Andrade                                  Membership dues                               1121-000                    620.90                                     5,027.96
                                 2025 SE Kilmallie Ct.
                                 Port St. Lucie, FL 34952


 *        12/30/08      32       Auta Hendler                                    Membership Dues                               1121-003                    620.90                                     5,648.86


                                                                                                                         Page Subtotals                   5,648.86                   0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                        Case 08-29769-MAM             Doc 882         Filed 07/30/13        Page 60 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                   Page:       53
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                       6                    7
     Transaction     Check or                                                                                                    Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Sheila Furr
                                 21493 Linwood Ct.
                                 Boca Raton, FL 33433


          12/30/08      32       Lawrence Zielinski                              Membership dues                                1121-000                    938.24                                      6,587.10
                                 Susan Zielinski
                                 14 Spur Rd.
                                 West Redding, CT 06896


 *        12/30/08      32       Gina Kopec                                      Membership dues                                1121-003                    835.00                                      7,422.10
                                 Stephen Kopec
                                 11 Manor Ln.
                                 Katonah, NY 10536


          12/30/08      32       Edward Losty                                    Membership dues                                1121-000                    444.10                                      7,866.20
                                 169 Waterton
                                 Williamsburg, VA 23188


          12/30/08      32       Theresa Turano                                  membership dues                                1121-000                    400.00                                      8,266.20
                                 224 Riverwood Dr.
                                 New Hope, PA 18938


          12/30/08      32       Mitchell Pollak                                 Membership dues                                1121-000                    222.05                                      8,488.25
                                 8100 Royal Palm Blvd. #105
                                 Coral Springs, FL 33065


          12/30/08      32       Michael Atieh                                   Membership dues                                1121-000                   5,722.88                                    14,211.13
                                 105 SE Santa Lucia
                                 Port St. Lucie, FL 34984


                                                                                                                          Page Subtotals                   8,562.27                  0.00
                                                                                                                                                                                                       Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 61 of 320
                                                                                      FORM 2 "EXHIBIT B"                                                                                   Page:       54
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          12/30/08      32       Joseph Vargas                                  Membership dues                                1121-000                    644.33                                     14,855.46
                                 Catherine Vargas
                                 1931 Staimford Cir.
                                 West Palm Beach, FL 33414


          12/30/08      32       McDonough Family LLLP                          membership dues                                1121-000                   2,421.34                                    17,276.80
                                 5049 N. Highway A1A Apt 1305
                                 Ft. Pierce, FL 34949


          12/30/08      32       David McDonough                                Membership dues                                1121-000                    570.65                                     17,847.45
                                 5049 NA1A Unit 135
                                 Ft. Pierce, FL 34949


          12/30/08      32       James Mazzo, Jr.                               membership dues                                1121-000                   1,000.00                                    18,847.45
                                 220 Gardner Rd.
                                 Ridgewood, NJ 07450


          12/30/08      32       Gerard Griesser                                membership dues                                1121-000                    620.90                                     19,468.35
                                 1885 Rose Cottage Ln.
                                 Malvern, PA 19355


          12/30/08      32       Michael Adams                                  Membership dues                                1121-000                     31.95                                     19,500.30
                                 9720 Franlo Rd.
                                 Eden Prairie, MN 55347


          01/05/09      32       Luanne Zabytko                                 Membership dues                                1121-000                   3,465.33                                    22,965.63
                                 222 SE Bella Strano
                                 Tesoro


                                                                                                                         Page Subtotals                   8,754.50                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                   Page:       55
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Port St. Lucie, FL 34984


          01/05/09      32       Mary Brennan                                    membership dues                                1121-000                   3,083.00                                    26,048.63
                                 110 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          01/05/09      32       Lawrence Jerz                                   membership dues                                1121-000                   2,132.77                                    28,181.40
                                 198 SE Via Sanremo
                                 Tesoro
                                 Port St. Lucie, FL 34984


          01/05/09      32       Matthew Deorsey                                 membership dues                                1121-000                     39.90                                     28,221.30
                                 121 Poinciana Dr.
                                 Jupiter, FL 33458-2833


          01/05/09      32       Peter Kozloski                                  membership dues                                1121-000                    239.63                                     28,460.93


          01/05/09      32       Richard Smith                                   membership dues                                1121-000                   6,521.22                                    34,982.15
                                 652 Creighton Rd.
                                 Villanova, PA 19085


          01/05/09      32       Stephan Simms                                   membership dues                                1121-000                   2,246.64                                    37,228.79
                                 126 SE Rio Casariano
                                 Port St. Lucie, FL 34984


          01/05/09      32       Alan Levin, M.D.                                Membership dues                                1121-000                   1,397.64                                    38,626.43
                                 1701 SE Hillmoor Drive
                                 No. 11
                                 Port St. Lucie, FL 34952


                                                                                                                          Page Subtotals               15,660.80                     0.00
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                  Page:       56
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                               3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/05/09      32       Michael Luper                                  membership dues                                1121-000                   3,073.79                                    41,700.22
                                 7 Fairview Ct.
                                 Cross River, NY 10518


          01/05/09      32       KWD Golf, Inc.                                 Dues                                           1121-000                   6,000.00                                    47,700.22
                                 3612 SW Rivers End Way
                                 Palm City, FL 34990


          01/05/09      32       Radiation Medicine Specialists                 Membership dues                                1121-000                   1,521.20                                    49,221.42
                                 of Northeast PA, P.C.
                                 190 Welles St.
                                 Forty Fort, PA 18704


          01/05/09      32       Joseph Grow III                                Membership dues                                1121-000                    449.00                                     49,670.42
                                 POB 698
                                  Uwchland, PA 19480


          01/05/09      32       American Express Travel Related                Dues                                           1121-000                    386.02                                     50,056.44
                                 Service Company, Inc.
                                 20002 N. 19th Ave.
                                 A-17
                                 Phoenix, AZ 85027


          01/05/09      32       Norbert Reich                                  Membership dues                                1121-000                    919.14                                     50,975.58
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          01/05/09      32       Norbert Reich                                  Membership dues                                1121-000                   1,334.51                                    52,310.09


                                                                                                                         Page Subtotals               13,683.66                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                   Page:       57
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          01/05/09      21       Colonial BAnk                                   Turnover of funds                               1129-000               13,068.19                                       65,378.28


          01/05/09      21       Colonial Bank                                   Turnover of funds                               1129-000               23,256.74                                       88,635.02


          01/05/09      22       Colonial Bank                                   Turnover of Funds                               1129-000                   1,000.00                                    89,635.02


          01/05/09      21       Colonial Bank                                   Turnover of funds                               1129-000               41,387.70                                   131,022.72


          01/08/09      32       Robert Ilcsik                                   Dues                                            1121-000                   1,242.86                                132,265.58
                                 619 Pepperbush Ct.
                                 Wilmington, DE 19808


          01/08/09      32       Thomas Zensen, III                              Dues                                            1121-000                    179.05                                 132,444.63
                                 7243 Marsh Ter
                                 Port St. Lucie, Fl 34986


          01/08/09      32       American Express                                dues                                            1121-000                   1,242.86                                133,687.49
                                 Travel Related Services
                                 20002 N. 19th Ave. A-17
                                 Phoenix, AZ 85027


          01/08/09      32       Sunshine Holdings, LLC                          Dues                                            1121-000                    355.70                                 134,043.19
                                 3420 Heirloom Rose Pl
                                 Oviedo, FL 32766


          01/08/09      32       American Express                                Dues                                            1121-000                    254.55                                 134,297.74


                                                                                                                           Page Subtotals               81,987.65                     0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                 4                                           5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Travel Related Services
                                 20002 N. 19th Ave., A-17
                                 Phoenix, AZ 85027


          01/08/09      32       Stephen Fitzgerald                              Dues                                            1121-000                    679.48                                 134,977.22
                                 880 Peregrine Dr.
                                 Indialantic, FL 32903


          01/08/09      32       Edward Miller                                   Dues                                            1121-000                    931.88                                 135,909.10
                                 15 Meadow Rd.
                                 Baltimore, MD 21212


          01/08/09      32       Edward Miller                                   Dues                                            1121-000                    532.50                                 136,441.60
                                 15 Meadow Rd
                                 Baltimore, MD 21212


          01/08/09      32       Drew M. Dillworth, Trustee                      Funds incorrectly deposited in Ginn             1121-000                   7,233.66                                143,675.26
                                 150 West Flagler St.
                                 #2200
                                 Miami, FL 33130


          01/08/09      32       Jacalyn Kennedy                                 dues                                            1121-000                     37.87                                 143,713.13
                                 302 SW Cassine Ct.
                                 Palm City, FL 34990


          01/08/09      32       Rayne Poussard                                  dues                                            1121-000                   1,454.13                                145,167.26


          01/08/09      32       John Marre                                      Dues                                            1121-000                    532.50                                 145,699.76
                                 105 SW Santa Gardenia


                                                                                                                           Page Subtotals               11,402.02                     0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                        Case 08-29769-MAM               Doc 882       Filed 07/30/13        Page 66 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page:     59
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                     6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                 Port St. Lucie, FL 34984


          01/08/09      32       KWD Golf, Inc.                                  payment                                        1121-000               13,207.47                                 158,907.23
                                 3612 SW Rivers End Way
                                 Palm City, FL 34990


          01/08/09      32       American Express                                Dues                                           1121-000               27,560.98                                 186,468.21
                                 Travel Related Services
                                 20002 N. 19th Ave., A-17
                                 Phoenix, AZ 85027


          01/08/09      32       Colonial Bank                                   Turnover of Funds                              1129-000               51,896.63                                 238,364.84


          01/08/09    003001     David Aguilar                                   Wages                                          2690-000                                         977.70          237,387.14
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          01/08/09    003002     Raul Alva Lopez                                 Wages                                          2690-000                                         810.55          236,576.59
                                 6100 SE Michael Dr
                                 Stuart, FL 34997


          01/08/09    003003     Todd A Anderson                                 Wages                                          2690-000                                        1,288.17         235,288.42
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          01/08/09    003004     Tomas T Andres                                  Wages                                          2690-000                                         662.00          234,626.42
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956




                                                                                                                          Page Subtotals               92,665.08                 3,738.42
                                                                                                                                                                                                     Ver: 17.02e
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                                                       Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 67 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    60
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          01/08/09    003005     Eugene P Baker                                 Wages                                         2690-000                                           907.00         233,719.42
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          01/08/09    003006     William J Batusic                              Wages                                         2690-000                                           965.72         232,753.70
                                 825 Sand Tree Drive
                                 Palm Beach Gardens, FL 33403


          01/08/09    003007     Matthew A Boyd                                 Wages                                         2690-000                                          2,339.41        230,414.29
                                 813 SE Starflower Ave
                                 Port St Lucie, FL 34983


          01/08/09    003008     Paul K Brown                                   Wages                                         2690-000                                           958.42         229,455.87
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          01/08/09    003009     Dana M Cates                                   Wages                                         2690-000                                           906.96         228,548.91
                                 1009 Sw Dubuque Ave
                                 Port St Lucie, FL 34953


          01/08/09    003010     Arelis Cohen                                   Wages                                         2690-000                                           991.78         227,557.13
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          01/08/09    003011     Harvey K Congdon                               Wages                                         2690-000                                          4,403.61        223,153.52
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952


          01/08/09    003012     Tomas N Cruz                                   Wages                                         2690-000                                           745.29         222,408.23


                                                                                                                        Page Subtotals                        0.00              12,218.19
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    61
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          01/08/09    003013     Kimberly A Deorsey                             Wages                                         2690-000                                          1,295.17        221,113.06
                                 121 Poinciana Drive
                                 Jupiter, FL 33458


          01/08/09    003014     Menuau Destine                                 Wages                                         2690-000                                           628.76         220,484.30
                                 2686 Bonita Street
                                 Stuart, FL 34997


          01/08/09    003015     Douglas C Feinsinger                           Wages                                         2690-000                                          1,480.89        219,003.41
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          01/08/09    003016     Kenneth D Ferguson                             Wages                                         2690-000                                          1,102.22        217,901.19
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983


          01/08/09    003017     Susano E Figeroa                               Wages                                         2690-000                                           529.35         217,371.84
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          01/08/09    003018     Alfonso F Garcia Lopez                         Wages                                         2690-000                                           688.01         216,683.83
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          01/08/09    003019     David S Gibbons                                Wages                                         2690-000                                           856.57         215,827.26
                                 442 Se Fairchild Ave


                                                                                                                        Page Subtotals                        0.00               6,580.97
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    62
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port Saint Lucie, FL 34984


          01/08/09    003020     Granvel T Griffin                              Wages                                         2690-000                                           718.49         215,108.77
                                 19682 Nw 282nd St
                                 Okeechobee, FL 34972


          01/08/09    003021     Magnus K Gustafsson                            Wages                                         2690-000                                          2,986.07        212,122.70
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967


          01/08/09    003022     Juan J Gutierres                               Wages                                         2690-000                                           508.75         211,613.95
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


          01/08/09    003023     Larry Hoffman                                  Wages                                         2690-000                                          1,683.75        209,930.20
                                 9756 Sw Pueblo Terr
                                 Palm City, FL 34990


          01/08/09    003024     Eric J Hummel                                  Wages                                         2690-000                                          1,003.17        208,927.03
                                 13840 Osprey Links Rd Apt #214
                                 Orlando, FL 32837


          01/08/09    003025     Jacob P Ivey                                   Wages                                         2690-000                                           862.13         208,064.90
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          01/08/09    003026     Anna L Katz                                    Wages                                         2690-000                                          1,086.66        206,978.24
                                 1833 SW Buttercup Avenue
                                 Port St Lucie, FL 34953


                                                                                                                        Page Subtotals                        0.00               8,849.02
                                                                                                                                                                                                    Ver: 17.02e
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                                                        Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 70 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    63
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
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  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                              3                                              4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/08/09    003027     Jacalyn A Kennedy                              Wages                                         2690-000                                          2,421.99        204,556.25
                                 302 Sw Cassine Court
                                 Palm City, FL 34990


          01/08/09    003028     Todd Kitchen                                   Wages                                         2690-000                                          1,197.20        203,359.05
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          01/08/09    003029     Evelina D Klaassen                             Wages                                         2690-000                                          1,230.09        202,128.96
                                 3741 SW Bimini Circle N
                                 Palm City, FL 34990


          01/08/09    003030     Thomas C Knowles                               Wages                                         2690-000                                          2,932.91        199,196.05
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          01/08/09    003031     Julia Lanek                                    Wages                                         2690-000                                          1,140.03        198,056.02
                                 4083 Nw Cinnamon Gr
                                 Jensen Beach, FL 34957


          01/08/09    003032     Heather A Lonergan                             Wages                                         2690-000                                           979.48         197,076.54
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


          01/08/09    003033     Antonio Francisco Lopez                        Wages                                         2690-000                                           530.21         196,546.33
                                 15828 Sw 150th St
                                 Indiantown, FL 34956




                                                                                                                        Page Subtotals                        0.00              10,431.91
                                                                                                                                                                                                    Ver: 17.02e
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                                                         Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 71 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page:    64
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                  7
    Transaction      Check or                                                                                                   Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          01/08/09    003034     Marbin Lopez                                    Wages                                         2690-000                                          562.21         195,984.12
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          01/08/09    003035     Timothy P Marrone                               Wages                                         2690-000                                          916.50         195,067.62
                                 1430 San Ignacio
                                 Port St Lucie, FL 34952


          01/08/09    003036     Philip D Mastronardi                            Wages                                         2690-000                                          792.81         194,274.81
                                 1764 N Dovetail Dr
                                 Fort Pierce, FL 34982


          01/08/09    003037     Pedro Mateo Domingo                             Wages                                         2690-000                                          530.87         193,743.94
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          01/08/09    003038     Miguel A Maxia                                  Wages                                         2690-000                                          529.82         193,214.12
                                 14893 Cherokee St
                                 Indiantown, FL 34956


          01/08/09    003039     Victor Mendez Bravo                             Wages                                         2690-000                                          944.77         192,269.35
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          01/08/09    003040     Andres Miguel Juan                              Wages                                         2690-000                                          560.18         191,709.17
                                 14941 Washington Street
                                 Indiantown, FL 34956




                                                                                                                         Page Subtotals                        0.00              4,837.16
                                                                                                                                                                                                    Ver: 17.02e
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                                                         Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 72 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page:    65
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          01/08/09    003041     Edzer Mondisir                                  Wages                                         2690-000                                           676.81         191,032.36
                                 2651 Se Clayton St
                                 Stuart, FL 34997


          01/08/09    003042     Jose A Montejo                                  Wages                                         2690-000                                           896.35         190,136.01
                                 135 7th Street Apt. 3
                                 Jupiter, FL 33458


          01/08/09    003043     Olegario S Morales                              Wages                                         2690-000                                           642.27         189,493.74
                                 Po Box 1161
                                 Indiantown, FL 34956


          01/08/09    003044     Franklin F Neumann                              Wages                                         2690-000                                           987.12         188,506.62
                                 2386 SW Marshfield Court
                                 Port St Lucie, FL 38953


          01/08/09    003045     Michael B Pascal                                Wages                                         2690-000                                          1,331.67        187,174.95
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


          01/08/09    003046     Rosa M Payamps                                  Wages                                         2690-000                                           815.61         186,359.34
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          01/08/09    003047     Francine M Peach                                Wages                                         2690-000                                          1,222.90        185,136.44
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          01/08/09    003048     Indira Perez Azcona                             Wages                                         2690-000                                           639.30         184,497.14


                                                                                                                         Page Subtotals                        0.00               7,212.03
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 73 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page:    66
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 2226 SW Dapsco Ave
                                 Port St Lucie, FL 34953


          01/08/09    003049     Israel Perez Perez                              Wages                                         2690-000                                           699.12         183,798.02
                                 214 Southview Dr
                                 Jupiter, FL 33458


          01/08/09    003050     Hugo R Perez                                    Wages                                         2690-000                                           561.60         183,236.42
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          01/08/09    003051     Maria Perez                                     Wages                                         2690-000                                          1,060.59        182,175.83
                                 5809 Se Collins Ave
                                 Stuart, FL 34994


          01/08/09    003052     Delmiro A Quinonez                              Wages                                         2690-000                                           740.17         181,435.66
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947


          01/08/09    003053     William W Ramon                                 Wages                                         2690-000                                           569.18         180,866.48
                                 Po Box 14-52
                                 Indiantown, FL 34956


          01/08/09    003054     Luis M Rodriguez Diaz                           Wages                                         2690-000                                           532.12         180,334.36
                                 130 1st Street #5
                                 Jupiter, FL 33458


          01/08/09    003055     Kimberly A Rodriguez                            Wages                                         2690-000                                          1,254.02        179,080.34
                                 2289 SE Melaleuca Blvd


                                                                                                                         Page Subtotals                        0.00               5,416.80
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page:    67
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 34952


          01/08/09    003056     Ryan Ronan                                      Wages                                         2690-000                                          2,460.86        176,619.48
                                 1681 SW Jamesport Drive
                                 Port St Lucie, FL 34953


          01/08/09    003057     Roberin Roselio Castillo                        Wages                                         2690-000                                           587.55         176,031.93
                                 214 Southview Dr
                                 Jupiter, FL 33458


          01/08/09    003058     Janet Suzanne Ruadez                            Wages                                         2690-000                                          1,631.95        174,399.98
                                 703 E. Apix Circle
                                 Jupiter, FL 33458


          01/08/09    003059     Niguer Sales Hernandez                          Wages                                         2690-000                                           531.73         173,868.25
                                 314 Kennedy Street
                                 Jupiter, FL 33458


          01/08/09    003060     Olegario Santizo                                Wages                                         2690-000                                           529.54         173,338.71
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          01/08/09    003061     Jesus B Serrano                                 Wages                                         2690-000                                           780.56         172,558.15
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          01/08/09    003062     Rodolfo Serrano                                 Wages                                         2690-000                                           529.92         172,028.23
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956


                                                                                                                         Page Subtotals                        0.00               7,052.11
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 75 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    68
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/08/09    003063     Shaniqua A Shoe                                Wages                                         2690-000                                          1,177.37        170,850.86
                                 4272 SW Xenon St
                                 Port St Lucie, FL 34953


          01/08/09    003064     Douglas T Sinclair                             Wages                                         2690-000                                           966.17         169,884.69
                                 394 Nw Stratford Ln
                                 Port St Lucie, FL 34983


          01/08/09    003065     Brian R Sprague                                Wages                                         2690-000                                          1,293.70        168,590.99
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          01/08/09    003066     Leroy L Stennett                               Wages                                         2690-000                                           732.69         167,858.30
                                 912 SW Fable Ave
                                 Port St Lucie, FL 34953


          01/08/09    003067     Justin D Stoff                                 Wages                                         2690-000                                           591.21         167,267.09
                                 283 Nabble Ave
                                 Port St Lucie, FL 34953


          01/08/09    003068     Lee E Vanroekel                                Wages                                         2690-000                                          2,088.77        165,178.32
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


          01/08/09    003069     Jacob I Vazquez                                Wages                                         2690-000                                           642.23         164,536.09
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953




                                                                                                                        Page Subtotals                        0.00               7,492.14
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM             Doc 882         Filed 07/30/13        Page 76 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                   Page:    69
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          01/08/09    003070     Luis O Zapeta                                  Wages                                          2690-000                                           518.28         164,017.81
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


 *        01/08/09    003071     INTERNAL REVENUE SERVICE                       FEDERAL WITHHOLDING                            2690-003                                       27,597.33          136,420.48


 *        01/08/09    003072     INTERNAL REVENUE SERVICE                       FICA (SOCIAL SECURITY EMPLOYEE)                2690-003                                          6,844.11        129,576.37


 *        01/08/09    003073     INTERNAL REVENUE SERVICE                       FICA SOCIAL SECURITY EMPLOYER                  5800-003                                          6,844.11        122,732.26


 *        01/08/09    003074     INTERNAL REVENUE SERVICE                       FUTA EMPLOYER PAID                             5800-003                                           883.10         121,849.16


 *        01/08/09    003075     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYER)                       5800-003                                          1,600.63        120,248.53


 *        01/08/09    003076     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYEE)                       5300-003                                          1,600.63        118,647.90


 *        01/08/09    003077     INTERNAL REVENUE SERVICE                       SUTA EMPLOYER PAID                             5800-003                                          2,980.50        115,667.40


          01/08/09    003078     New England Fish Market                        Trade Payable                                  2690-000                                           474.98         115,192.42


          01/08/09    003079     Pitney Bowes                                   Trade Payable                                  2690-000                                          1,385.93        113,806.49


          01/08/09    003080     Publix Supermarkets                            Trade Payables                                 2690-000                                            30.38         113,776.11


          01/08/09    003081     Pitney Bowes Purchase Power                    Trade Payables                                 2690-000                                            56.34         113,719.77


          01/08/09    003082     Robert Erneston Produce, Inc.                  Trade Payables                                 2690-000                                          1,135.14        112,584.63


          01/08/09    003083     Republic National                              Trade Payables                                 2690-000                                           551.76         112,032.87

                                                                                                                         Page Subtotals                        0.00              52,503.22
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM                Doc 882           Filed 07/30/13        Page 77 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                        Page:    70
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                3                                                   4                                            5                       6                   7
     Transaction     Check or                                                                                                         Uniform                                                      Account / CD
        Date         Reference                 Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/08/09    003084     Kim Ross                                         1099                                               2690-000                                           150.00         111,882.87


          01/08/09    003085     Shannon Rios                                     1099                                               2690-000                                          1,988.90        109,893.97


          01/08/09    003086     SimplexGrinnell                                  Trade Payables                                     2690-000                                           460.95         109,433.02


          01/08/09    003087     Anthony Sprague                                  1099                                               2690-000                                           180.00         109,253.02


          01/08/09    003088     US Foodservice, Inc.                             Trade Payables                                     2690-000                                          5,754.49        103,498.53


          01/08/09    003089     Vision Services Plan                             Vision Insurance                                   2690-000                                           566.38         102,932.15


          01/08/09    003090     Waste Pro-Ft. Pierce                             City Contract                                      2690-000                                           835.45         102,096.70


          01/08/09    003091     Sarah Hurt                                       1099                                               2690-000                                          1,408.80        100,687.90


 *        01/08/09    003092     Dione Cantu                                      1099                                               2690-004                                           149.80         100,538.10


          01/08/09    003093     Jannilet Fernandez                               1099                                               2690-000                                            70.00         100,468.10


          01/08/09    003094     Susan Taggart                                    1099                                               2690-000                                            35.00         100,433.10


          01/08/09    003095     Ruth Cooper                                      1099                                               2690-000                                           395.00         100,038.10


          01/08/09    003096     Guardian                                         Dental Insurance                                   2690-000                                          1,972.12            98,065.98


          01/08/09    003097     St. Lucie Rock Waterfalls, Inc.                  Pool Co.                                           2690-000                                           169.05             97,896.93



                                                                                                                               Page Subtotals                        0.00              14,135.94
                                                                                                                                                                                                           Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM                Doc 882         Filed 07/30/13        Page 78 of 320
                                                                                            FORM 2 "EXHIBIT B"                                                                                     Page:    71
                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                 3                                                  4                                            5                       6                   7
    Transaction      Check or                                                                                                         Uniform                                                      Account / CD
       Date          Reference                   Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/08/09    003098     Atlantic Smart Technologies                        Alarm                                            2690-000                                           143.62             97,753.31


          01/08/09    003099     Cassidy's Ice                                      NY EVE                                           2690-000                                           426.00             97,327.31


          01/08/09    003100     Cigna Group Insurance                              Life Insurance                                   2690-000                                          1,742.10            95,585.21


          01/08/09    003101     Brigido Cofresi                                    1099                                             2690-000                                           562.50             95,022.71


          01/08/09    003102     Budget Notary Services                             Payment                                          2690-000                                            72.43             94,950.28


          01/08/09    003103     Entertainment Connection's                         1099 NY Eve                                      2690-000                                          3,350.00            91,600.28


          01/08/09    003104     Eventmakers                                        1099 NY Eve                                      2690-000                                           284.49             91,315.79


          01/08/09    003105     Florida Power & Light                              Invoices                                         2690-000                                          5,834.38            85,481.41


          01/08/09    003106     Aimee Gordon                                       1099                                             2690-000                                           165.00             85,316.41


          01/08/09    003107     Harbour Bay Florist                                1099 NY Eve                                      2690-000                                          1,066.06            84,250.35


          01/08/09    003108     Andrew Kabis                                       1099                                             2690-000                                           135.00             84,115.35


          01/08/09    003109     Lock-N-Go                                          Attic Stock                                      2690-000                                           298.20             83,817.15


          01/08/09    003110     Justin Cook                                        1099                                             2690-000                                           120.00             83,697.15


          01/08/09    003111     Nicole Mercado                                     1099                                             2690-000                                          1,315.48            82,381.67



                                                                                                                               Page Subtotals                        0.00              15,515.26
                                                                                                                                                                                                           Ver: 17.02e
LFORM24
                                                          Case 08-29769-MAM           Doc 882           Filed 07/30/13        Page 79 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                      Page:    72
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                 3                                               4                                            5                       6                   7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/08/09    003112     Florida City Gas                                Gas payment                                      2690-000                                          6,621.01            75,760.66
                                 PO Box 11812
                                 Newark, NJ 07101-8112


          01/08/09    003113     City of Port St. Lucie                          Payment                                          2690-000                                          6,345.27            69,415.39
                                 Utility Systems Dept.
                                 P.O Drawer 8987
                                 Port St. Lucie, FL 34985-8987


          01/08/09    003114     Allegro                                         Payment for goods and services                   2690-000                                           351.83             69,063.56
                                 12799 Claude Court
                                 Thornton, CO 80241


          01/08/09    003115     Republic National                               Payment for goods and services                   2690-000                                           401.60             68,661.96
                                 9423 N. Main St.
                                 Jacksonville, FL 32218


          01/08/09    003116     JJ Taylor Distributing                          Payment for goods and services                   2690-000                                           370.85             68,291.11
                                 5102 16th Ave. S.
                                 Tampa, FL 33619


          01/08/09    003117     Premier                                         Payment for goods and services                   2690-000                                           432.60             67,858.51
                                 9801 Premier Parkway
                                 Hollywood, FL 33025


          01/08/09    003118     Southern Wine & Spirits                         Payment for goods                                2690-000                                           296.32             67,562.19
                                 1600 NW 163 St.
                                 Miami, FL 33169


                                                                                                                            Page Subtotals                        0.00              14,819.48
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                   Page:       73
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)


          01/08/09    003119     Southern Eagle                                                                                 2690-000                                          319.90               67,242.29
                                 5300 Glades Cut Off Road
                                 Ft. Pierce, FL 34981


          01/08/09    003120     Club Forms                                     Payment for goods                               2690-000                                          199.20               67,043.09
                                 100-C Bishop Street
                                 Winston-Salem, NC 27104


          01/12/09      33       Evie Klaassen                                  Membership dues                                 1121-000                    485.52                                     67,528.61
                                 3741 SW Bimini Cir. N.
                                 Palm City, FL 34990


          01/12/09      32       Mark Snure                                     Membership                                      1121-000                   2,377.83                                    69,906.44
                                 15750 SW 77 Ave.
                                 Palmetto Bay, FL 33157


          01/12/09      32       CLI Fleet, Inc.                                Membership dues                                 1121-000                    889.66                                     70,796.10
                                 99 Biltmore Ave.
                                 Rye, NY 10580


          01/12/09      32       Joe Rodriguez                                  Dues                                            1121-000                        6.00                                   70,802.10
                                 2289 SE Melaleuca Blvd
                                 Port St. Lucie, FL 34952


          01/12/09      32       Elizabeth Connelly                             Membership dues                                 1121-000                    888.10                                     71,690.20
                                 22 St. Thomas Dr.
                                 Palm Beach Gardens, FL 33418




                                                                                                                          Page Subtotals                   4,647.11                519.10
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                       Page:     74
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                               3                                                    4                                            5                       6                    7
    Transaction      Check or                                                                                                         Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          01/12/09      32       Olga Cartwright                                  Dues                                               1121-000                    620.90                                     72,311.10


          01/12/09      32       Lee Griffith                                     Dues                                               1121-000                    620.90                                     72,932.00
                                 214 Golf Club Dr,
                                 New Smyrna Beach, FL 32168


          01/15/09               Colonial Bank                                    Turnover of funds                                  1221-000                   4,702.92                                    77,634.92


          01/15/09    003121     Palmdale Oil                                     Fuel delivery                                      2690-000                                          3,500.00             74,134.92
                                 911 N. 2nd St.
                                 Ft. Pierce, FL 34950


          01/15/09    003122     Carquest Auto Parts                              Golf Course Maintenance                            2690-000                                           751.62              73,383.30


          01/15/09    003123     Leslie Watson                                    Contract Labor 1/13/09                             2690-000                                           125.00              73,258.30


          01/15/09    003124     New England Fish Market                          F&B Food                                           2690-000                                           210.05              73,048.25


          01/15/09    003125     Sprint                                           Cell Phone                                         2690-000                                           107.52              72,940.73


          01/15/09    003126     Orkin, Inc.                                      Pest Control                                       2690-000                                           767.86              72,172.87


          01/15/09    003127     Robert Erneston Produce, Inc.                    F&B Produce                                        2690-000                                           203.38              71,969.49


          01/15/09    003128     Anthony Sprague                                  Contract Labor                                     2690-000                                           165.00              71,804.49


          01/15/09    003129     US Foodservice, Inc.                             F&B Food                                           2690-000                                          3,407.75             68,396.74


          01/15/09    003130     Waste Pro-Ft. Pierce                             Waste Removal                                      2690-000                                           475.00              67,921.74

                                                                                                                               Page Subtotals                   5,944.72                9,713.18
                                                                                                                                                                                                            Ver: 17.02e
LFORM24
                                                           Case 08-29769-MAM             Doc 882           Filed 07/30/13       Page 82 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                       Page:     75
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                  3                                                 4                                           5                       6                    7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          01/15/09    003131     5060 Guardian                                    Dental Insurance                                  2690-000                                          1,972.12             65,949.62


          01/15/09    003132     5062 Sesac                                       Music License                                     2690-000                                           293.00              65,656.62


          01/15/09    003133     5063 St. Lucie Rock Waterfalls, Inc.             Pool Cleaning Contract                            2690-000                                          1,859.00             63,797.62


          01/15/09    003134     Shift4 Corporation                               Liquor Inventory Software                         2690-000                                            24.95              63,772.67


          01/15/09    003135     Matthew Boyd                                     Golf Association Dues                             2690-000                                           320.00              63,452.67


          01/15/09    003136     Brigido Cofresi                                  Contract Labor                                    2690-000                                           165.00              63,287.67


          01/15/09    003137     Capital Office Products                          Office Products                                   2690-000                                           197.28              63,090.39


          01/15/09    003138     Andrew Kabis                                     Contract Lobor                                    2690-000                                            90.00              63,000.39


          01/15/09    003139     Justin Cook                                      Contract Labor                                    2690-000                                           150.00              62,850.39


          01/15/09    003140     Premier Beverage                                 Liquor Order                                      2690-000                                           184.70              62,665.69
                                 9801 Premier Parkway
                                 Hollywood, FL 33025


          01/16/09      32       Roy Langenbach                                   Dues                                              1121-000                   1,207.48                                    63,873.17
                                 120 SE Rio Casarano
                                 Port St. Lucie, Fl 34984


          01/16/09      32       Larry Wormmeester                                Dues                                              1121-000                    931.88                                     64,805.05
                                 06823 Kenowa Ave.


                                                                                                                              Page Subtotals                   2,139.36                5,256.05
                                                                                                                                                                                                           Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page:       76
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                  3                                          4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                      Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Grandville, MI 49418


          01/16/09      32       Lavelle Construction & Development Corp         Dues                                         1121-000                    225.66                                     65,030.71
                                 801 Maplewood Dr., #2
                                 Jupiter, FL 33458


          01/16/09      32       Bary Bertiger                                   Dues                                         1121-000                   1,083.68                                    66,114.39
                                 231 SE Bella Strano
                                 Port St. Lucie, FL 34984


          01/16/09      32       Charles Horowitz                                Dues                                         1121-000                    910.57                                     67,024.96
                                 101 20th St. Apt 2701
                                 Miami Beach, FL 33139


          01/16/09      32       Charles Termine                                 Dues                                         1121-000                   1,366.44                                    68,391.40
                                 131 SE Via Marbella
                                 Port St. Lucie, FL 34984


          01/16/09      32       Janeth Andrade                                  dues                                         1121-000                    135.35                                     68,526.75
                                 2025 SE Kilmallie Ct.
                                 Port St. Lucie, FL 34952


          01/16/09      32       Marshall Brothers                               Dues                                         1121-000                   1,172.08                                    69,698.83
                                 5500 Collins Ave. # 403
                                 Miami Beach, Fl 33140


          01/20/09      32       G. Robert Marcus                                Dues                                         1121-000                    931.88                                     70,630.71
                                 11 Butternut Ln.
                                 Basking Ridge, NJ 07920


                                                                                                                        Page Subtotals                   5,825.66                  0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                       Case 08-29769-MAM              Doc 882     Filed 07/30/13        Page 84 of 320
                                                                                      FORM 2 "EXHIBIT B"                                                                                Page:       77
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                    Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                     Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                      Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                         Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                      Separate Bond (if applicable):


           1             2                               3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                Uniform                                                    Account / CD
       Date          Reference              Paid To / Received From                      Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/20/09      32       Graham Torode                                 Dues                                         1121-000                   2,500.00                                    73,130.71
                                 c/o Grand Bahama Development Co.
                                 POB 140939
                                 Coral Gables, FL 33114


          01/20/09      33       Barbara Boroughs                              Dues                                         1121-000                   1,518.53                                    74,649.24
                                 158 Twin Walls Lane
                                 Weston, CT 06883


          01/20/09      32       Frank Consiglio                               Dues                                         1121-000                     50.00                                     74,699.24
                                 8 Thomas Ave.
                                 South Amboy, NJ 08879


          01/20/09      32       Robin Arrighi                                 Dues                                         1121-000                     68.95                                     74,768.19
                                 1141 San Michelle Way
                                 Palm Beach, Gardens, FL 33418


          01/20/09      32       Robin Arrighi                                 Dues                                         1121-000                     78.43                                     74,846.62
                                 1141 San Michelle Way
                                 Palm Beach Gardens, FL 33418


          01/20/09      32       Gus Deribeaux                                 Dues                                         1121-000                    908.99                                     75,755.61
                                 6885 SW 92 St.
                                 Miami, FL 33156


          01/20/09      32       Molly Semerene                                Dues                                         1121-000                    532.50                                     76,288.11
                                 2487 Eagle Watch Lane
                                 Weston, FL 33327


                                                                                                                      Page Subtotals                   5,657.40                  0.00
                                                                                                                                                                                                   Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM             Doc 882        Filed 07/30/13        Page 85 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                   Page:       78
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/20/09      32       Frank Palermo                                  Dues                                            1121-000                    532.50                                     76,820.61
                                 16273 Sierra Palms Dr.
                                 Delray Beach, FL 33484


          01/20/09      32       Egan East Development Corp III                 Dues                                            1121-000                    931.88                                     77,752.49


          01/20/09      32       Egan East Development corp. III                Dues                                            1121-000                    532.50                                     78,284.99


          01/20/09      32       Dink Investments LLC                           Dues                                            1121-000                    931.88                                     79,216.87
                                 Morgan Lefferdink
                                 124 Bear's Club Drive
                                 Jupiter, FL 33477


          01/20/09      32       Stephen Fitzgerald                             Dues                                            1121-000                   1,108.40                                    80,325.27
                                 880 Peregrine Dr.
                                 Indialantic, FL 32903-4748


          01/20/09      32       Paul Boucher                                   Dues                                            1121-000                    957.18                                     81,282.45
                                 1006 SW Woodcreek Dr.
                                 Palm City, FL 34990


          01/20/09      32       Steven Astuto                                  Dues                                            1121-000                    931.88                                     82,214.33
                                 420 S. Avondale St.
                                 Amarillo, TX 79106


          01/21/09    003141     Premier Beverage                               Payment for purchase order                      2690-000                                          470.45               81,743.88
                                 9801 Premier Parkway
                                 Hollywood, FL 33025


                                                                                                                          Page Subtotals                   5,926.22                470.45
                                                                                                                                                                                                       Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM               Doc 882        Filed 07/30/13        Page 86 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                   Page:       79
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
     Transaction     Check or                                                                                                     Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


 *        01/21/09    003142     Helene Falgia                                   Purchase order                                  2690-004                                          110.05               81,633.83
                                 67 S. Windsor Ave.
                                 Bright Waters, NY 11718


 *        01/21/09    003143     Ali Castellini                                  Purchase Order                                  2690-004                                           26.60               81,607.23
                                 513 Burlington Ave.
                                 Bradley Beach, NJ 07720


          01/22/09      32       Martin County Swimming, Inc.                    Dues                                            1121-000                    400.00                                     82,007.23
                                 2801 S. Kanner Hwy
                                 Stuart, FL 34994


          01/22/09      32       Kenneth Mihalik                                 Dues                                            1121-000                    511.47                                     82,518.70
                                 168 SW Fernleaf Trail
                                 Port St. Lucie, FL 34953


          01/22/09      32       Frank Coyne                                     dues                                            1121-000                     11.39                                     82,530.09
                                 72 Bramshill Dr.
                                 Mahwah, NJ 07430


          01/22/09      32       Miranda Victor                                  dues                                            1121-000                   2,554.44                                    85,084.53
                                 124 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          01/22/09      32       Michael Atieh                                   dues                                            1121-000                   7,036.75                                    92,121.28
                                 105 SE Santa Lucia
                                 Port St. Lucie, FL 34984-6655




                                                                                                                           Page Subtotals               10,514.05                   136.65
                                                                                                                                                                                                        Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM                Doc 882     Filed 07/30/13        Page 87 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                Page:       80
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                               3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                 Paid To / Received From                      Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          01/22/09      32       Kevin Sauls                                      dues                                         1121-000                    826.00                                     92,947.28
                                 3472 Queensborough Dr.
                                 Olney, MD 20832


          01/22/09      32       Michael Devlin                                   dues                                         1121-000                    712.00                                     93,659.28
                                 21305 Golf Estates Drive
                                 Laytonsville, MD 20882


          01/22/09      32       Joseph Jacques, CPA, CFP                         Dues                                         1121-000                    474.12                                     94,133.40
                                 15430 Avery Rd.
                                 Rockville, MD 20855


          01/22/09      32       John Feeney                                      Dues                                         1121-000                    932.00                                     95,065.40


          01/22/09      32       Barbara Ann Murray                               Dues                                         1121-000                   1,180.88                                    96,246.28


          01/22/09      32       Suresh Katakkar                                  Dues                                         1121-000                    931.88                                     97,178.16
                                 1391 E. Placita Mapache
                                 Tucson, AZ 85718


          01/22/09      32       DeAngelis & McNamara, P.C.                       dues                                         1121-000                    532.50                                     97,710.66
                                 1177 Greenwich Ave.
                                 Warwick, RI 02886


          01/22/09      32       Rodney Goble                                     Dues                                         1121-000                    240.00                                     97,950.66
                                 2474 Whispering Pines Dr.
                                 Pinckney, MI 48169


          01/22/09      32       Steven Henry                                     dues                                         1121-000                    310.98                                     98,261.64


                                                                                                                         Page Subtotals                   6,140.36                  0.00
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM               Doc 882      Filed 07/30/13        Page 88 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                 Page:       81
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 6527-1 Bay Club Dr.
                                 Ft. Lauderdale, FL 33308


          01/22/09      32       John Marre                                      Dues                                          1121-000                    550.51                                     98,812.15
                                 105 SE Santa Gardenia
                                 Port St. Lucie, FL 34984


          01/22/09      32       Gerard Schiraldi                                dues                                          1121-000                    864.23                                     99,676.38
                                 6 Main Ave.
                                 Garden City, NY 11530


          01/22/09      32       Joel Bierenbaum                                 dues                                          1121-000                   4,194.26                                103,870.64
                                 46 Gleason Drive
                                 Thiells, NY 10984


          01/22/09      32       Elizabeth Buckley Fortner                       Dues                                          1121-000                   2,594.71                                106,465.35
                                 104 SE San Fratello Tesoro
                                 Port St. Lucie, FL 34984


          01/22/09      32       Harvey Liftin                                   dues                                          1121-000                    931.88                                 107,397.23
                                 16705 Sapphire Spgs.
                                 Weston, FL 33331


          01/22/09      32       Janeth Andrade                                  dues                                          1121-000                    620.90                                 108,018.13
                                 2025 SE Kilmallie Ct.
                                 Port St. Lucie, FL 34952


          01/22/09      71       Stearns Weaver Trust Account                    TIP Loan                                      1221-000              100,000.00                                   208,018.13




                                                                                                                         Page Subtotals              109,756.49                     0.00
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 89 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    82
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
     Transaction     Check or                                                                                                  Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
 *        01/22/09    003142     Helene Falgia                                  Stop Payment Reversal                         2690-004                                          -110.05         208,128.18
                                 67 S. Windsor Ave.                             STOP PAY ADD SUCCESSFUL
                                 Bright Waters, NY 11718


 *        01/22/09    003143     Ali Castellini                                 Stop Payment Reversal                         2690-004                                            -26.60        208,154.78
                                 513 Burlington Ave.                            STOP PAY ADD SUCCESSFUL
                                 Bradley Beach, NJ 07720


          01/22/09    003144     David Aguilar                                  Wages                                         2690-000                                           690.12         207,464.66
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          01/22/09    003145     Raul Alva Lopez                                Wages                                         2690-000                                           888.87         206,575.79
                                 6100 SE Michael Dr
                                 Stuart, FL 34997


          01/22/09    003146     Todd A Anderson                                Wages                                         2690-000                                          1,433.36        205,142.43
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          01/22/09    003147     Tomas T Andres                                 Wages                                         2690-000                                           772.44         204,369.99
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956


          01/22/09    003148     Eugene P Baker                                 Wages                                         2690-000                                           732.58         203,637.41
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          01/22/09    003149     William J Batusic                              Wages                                         2690-000                                           866.69         202,770.72


                                                                                                                        Page Subtotals                        0.00               5,247.41
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 90 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    83
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 825 Sand Tree Drive
                                 Palm Beach Gardens, FL 33403


          01/22/09    003150     Matthew A Boyd                                 Wages                                         2690-000                                          2,685.72        200,085.00
                                 813 SE Starflower Ave
                                 Port St Lucie, FL 34983


          01/22/09    003151     Paul K Brown                                   Wages                                         2690-000                                          1,091.95        198,993.05
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          01/22/09    003152     Dana M Cates                                   Wages                                         2690-000                                          1,106.18        197,886.87
                                 1009 Sw Dubuque Ave
                                 Port St Lucie, FL 34953


          01/22/09    003153     Arelis Cohen                                   Wages                                         2690-000                                           646.95         197,239.92
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          01/22/09    003154     Harvey K Congdon                               Wages                                         2690-000                                          4,630.84        192,609.08
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952


          01/22/09    003155     Tomas N Cruz                                   Wages                                         2690-000                                           701.09         191,907.99
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          01/22/09    003156     Kimberly A Deorsey                             Wages                                         2690-000                                          1,350.08        190,557.91
                                 121 Poinciana Drive


                                                                                                                        Page Subtotals                        0.00              12,212.81
                                                                                                                                                                                                    Ver: 17.02e
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                                                        Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 91 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    84
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Jupiter, FL 33458


          01/22/09    003157     Menuau Destine                                 Wages                                         2690-000                                           543.18         190,014.73
                                 2686 Bonita Street
                                 Stuart, FL 34997


          01/22/09    003158     Douglas C Feinsinger                           Wages                                         2690-000                                          1,720.48        188,294.25
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          01/22/09    003159     Kenneth D Ferguson                             Wages                                         2690-000                                          1,191.88        187,102.37
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983


          01/22/09    003160     Susano E Figeroa                               Wages                                         2690-000                                           581.62         186,520.75
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          01/22/09    003161     Alfonso F Garcia Lopez                         Wages                                         2690-000                                           591.22         185,929.53
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          01/22/09    003162     David S Gibbons                                Wages                                         2690-000                                           717.56         185,211.97
                                 442 Se Fairchild Ave
                                 Port Saint Lucie, FL 34984


          01/22/09    003163     Granvel T Griffin                              Wages                                         2690-000                                           828.38         184,383.59
                                 19682 Nw 282nd St
                                 Okeechobee, FL 34972


                                                                                                                        Page Subtotals                        0.00               6,174.32
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    85
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/22/09    003164     Magnus K Gustafsson                            Wages                                         2690-000                                          2,354.96        182,028.63
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967


          01/22/09    003165     Juan J Gutierres                               Wages                                         2690-000                                           588.50         181,440.13
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


          01/22/09    003166     Larry Hoffman                                  Wages                                         2690-000                                          1,971.89        179,468.24
                                 9756 Sw Pueblo Terr
                                 Palm City, FL 34990


          01/22/09    003167     Eric J Hummel                                  Wages                                         2690-000                                          1,141.98        178,326.26
                                 13840 Osprey Links Rd Apt #214
                                 Orlando, FL 32837


          01/22/09    003168     Jacob P Ivey                                   Wages                                         2690-000                                           831.27         177,494.99
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          01/22/09    003169     Anna L Katz                                    Wages                                         2690-000                                           821.84         176,673.15
                                 1833 SW Buttercup Avenue
                                 Port St Lucie, FL 34953


          01/22/09    003170     Jacalyn A Kennedy                              Wages                                         2690-000                                          2,488.95        174,184.20
                                 302 Sw Cassine Court
                                 Palm City, FL 34990




                                                                                                                        Page Subtotals                        0.00              10,199.39
                                                                                                                                                                                                    Ver: 17.02e
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                                                      Case 08-29769-MAM              Doc 882         Filed 07/30/13        Page 93 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page:    86
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                             3                                                4                                            5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          01/22/09    003171     Todd Kitchen                                    Wages                                         2690-000                                          1,387.13        172,797.07
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          01/22/09    003172     Evelina D Klaassen                              Wages                                         2690-000                                          1,596.41        171,200.66
                                 3741 SW Bimini Circle N
                                 Palm City, FL 34990


          01/22/09    003173     Thomas C Knowles                                Wages                                         2690-000                                          3,295.55        167,905.11
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          01/22/09    003174     Julia Lanek                                     Wages                                         2690-000                                          1,343.75        166,561.36
                                 4083 Nw Cinnamon Gr
                                 Jensen Beach, FL 34957


          01/22/09    003175     Heather A Lonergan                              Wages                                         2690-000                                          1,304.15        165,257.21
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


 *        01/22/09    003176     Antonio Francisco Lopez                         Wages                                         5300-003                                          1,583.47        163,673.74
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


          01/22/09    003177     Marbin Lopez                                    Wages                                         2690-000                                           536.92         163,136.82
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          01/22/09    003178     Timothy P Marrone                               Wages                                         2690-000                                           638.05         162,498.77


                                                                                                                         Page Subtotals                        0.00              11,685.43
                                                                                                                                                                                                     Ver: 17.02e
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                                                         Case 08-29769-MAM          Doc 882         Filed 07/30/13        Page 94 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                 Page:    87
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                  7
    Transaction      Check or                                                                                                  Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 1430 San Ignacio
                                 Port St Lucie, FL 34952


          01/22/09    003179     Philip D Mastronardi                           Wages                                         2690-000                                          760.44         161,738.33
                                 1764 N Dovetail Dr
                                 Fort Pierce, FL 34982


          01/22/09    003180     Pedro Mateo Domingo                            Wages                                         2690-000                                          589.92         161,148.41
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          01/22/09    003181     Miguel A Maxia                                 Wages                                         2690-000                                          539.72         160,608.69
                                 14893 Cherokee St
                                 Indiantown, FL 34956


          01/22/09    003182     Victor Mendez Bravo                            Wages                                         2690-000                                          920.40         159,688.29
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          01/22/09    003183     Andres Miguel Juan                             Wages                                         2690-000                                          621.41         159,066.88
                                 14941 Washington Street
                                 Indiantown, FL 34956


          01/22/09    003184     Edzer Mondisir                                 Wages                                         2690-000                                          484.38         158,582.50
                                 2651 Se Clayton St
                                 Stuart, FL 34997


          01/22/09    003185     Jose A Montejo                                 Wages                                         2690-000                                          889.59         157,692.91


                                                                                                                        Page Subtotals                        0.00              4,805.86
                                                                                                                                                                                                   Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 95 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page:    88
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                  7
    Transaction      Check or                                                                                                   Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 135 7th Street Apt. 3
                                 Jupiter, FL 33458


          01/22/09    003186     Olegario S Morales                              Wages                                         2690-000                                          644.69         157,048.22
                                 Po Box 1161
                                 Indiantown, FL 34956


          01/22/09    003187     Franklin F Neumann                              Wages                                         2690-000                                          866.26         156,181.96
                                 2386 SW Marshfield Court
                                 Port St Lucie, FL 38953


          01/22/09    003188     Michael B Pascal                                Wages                                         2690-000                                          925.33         155,256.63
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


          01/22/09    003189     Rosa M Payamps                                  Wages                                         2690-000                                          542.23         154,714.40
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          01/22/09    003190     Francine M Peach                                Wages                                         2690-000                                          845.50         153,868.90
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          01/22/09    003191     Indira Perez Azcona                             Wages                                         2690-000                                          881.27         152,987.63
                                 2226 SW Dapsco Ave
                                 Port St Lucie, FL 34953


          01/22/09    003192     Israel Perez Perez                              Wages                                         2690-000                                          680.52         152,307.11
                                 214 Southview Dr


                                                                                                                         Page Subtotals                        0.00              5,385.80
                                                                                                                                                                                                    Ver: 17.02e
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                                                         Case 08-29769-MAM          Doc 882         Filed 07/30/13        Page 96 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    89
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Jupiter, FL 33458


          01/22/09    003193     Hugo R Perez                                   Wages                                         2690-000                                           504.16         151,802.95
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          01/22/09    003194     Maria Perez                                    Wages                                         2690-000                                           660.41         151,142.54
                                 5809 Se Collins Ave
                                 Stuart, FL 34994


          01/22/09    003195     Delmiro A Quinonez                             Wages                                         2690-000                                           724.66         150,417.88
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947


          01/22/09    003196     William W Ramon                                Wages                                         2690-000                                           637.81         149,780.07
                                 Po Box 14-52
                                 Indiantown, FL 34956


          01/22/09    003197     Luis M Rodriguez Diaz                          Wages                                         2690-000                                           573.19         149,206.88
                                 130 1st Street #5
                                 Jupiter, FL 33458


          01/22/09    003198     Kimberly A Rodriguez                           Wages                                         2690-000                                          1,002.46        148,204.42
                                 2289 SE Melaleuca Blvd
                                 Port St Lucie, FL 34952


          01/22/09    003199     Ryan Ronan                                     Wages                                         2690-000                                          2,843.36        145,361.06
                                 1681 SW Jamesport Drive
                                 Port St Lucie, FL 34953


                                                                                                                        Page Subtotals                        0.00               6,946.05
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 97 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page:    90
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/22/09    003200     Roberin Roselio Castillo                        Wages                                         2690-000                                           648.96         144,712.10
                                 214 Southview Dr
                                 Jupiter, FL 33458


          01/22/09    003201     Janet Suzanne Ruadez                            Wages                                         2690-000                                          1,765.45        142,946.65
                                 703 E. Apix Circle
                                 Jupiter, FL 33458


          01/22/09    003202     Niguer Sales Hernandez                          Wages                                         2690-000                                           573.27         142,373.38
                                 314 Kennedy Street
                                 Jupiter, FL 33458


          01/22/09    003203     Olegario Santizo                                Wages                                         2690-000                                           601.06         141,772.32
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          01/22/09    003204     Jesus B Serrano                                 Wages                                         2690-000                                           741.34         141,030.98
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          01/22/09    003205     Rodolfo Serrano                                 Wages                                         2690-000                                           352.05         140,678.93
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956


          01/22/09    003206     Shaniqua A Shoe                                 Wages                                         2690-000                                           872.17         139,806.76
                                 4272 SW Xenon St
                                 Port St Lucie, FL 34953




                                                                                                                         Page Subtotals                        0.00               5,554.30
                                                                                                                                                                                                     Ver: 17.02e
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                                                       Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 98 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page:    91
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          01/22/09    003207     Douglas T Sinclair                             Wages                                         2690-000                                           678.76         139,128.00
                                 394 Nw Stratford Ln
                                 Port St Lucie, FL 34983


          01/22/09    003208     Brian R Sprague                                Wages                                         2690-000                                           764.39         138,363.61
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          01/22/09    003209     Leroy L Stennett                               Wages                                         2690-000                                           716.83         137,646.78
                                 912 SW Fable Ave
                                 Port St Lucie, FL 34953


          01/22/09    003210     Justin D Stoff                                 Wages                                         2690-000                                           483.02         137,163.76
                                 283 Nabble Ave
                                 Port St Lucie, FL 34953


          01/22/09    003211     Lee E Vanroekel                                Wages                                         2690-000                                          2,208.04        134,955.72
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


          01/22/09    003212     Jacob I Vazquez                                Wages                                         2690-000                                           697.19         134,258.53
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          01/22/09    003213     Luis O Zapeta                                  Wages                                         2690-000                                           537.71         133,720.82
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          01/22/09    003214     Domingo Sapon                                  Wages                                         2690-000                                            70.19         133,650.63


                                                                                                                        Page Subtotals                        0.00               6,156.13
                                                                                                                                                                                                    Ver: 17.02e
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                                                          Case 08-29769-MAM          Doc 882         Filed 07/30/13        Page 99 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page:    92
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                3                                             4                                            5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 273 SE Norfold Blvd
                                 Stuart Fl 34997


          01/22/09    003215     Alan Francoeur                                  Wages                                         2690-000                                           180.08         133,470.55
                                 649 NW Cardinal Dr
                                 Port St Lucie Fl 34983


          01/22/09    003216     Filberto Castillo-Martinez                      Wages                                         2690-000                                            66.50         133,404.05
                                 309 3rd St
                                 Jupiter Fl 33458


          01/22/09    003217     Andrew Kabis                                    Wages                                         2690-000                                            90.04         133,314.01
                                 1885 SW Penrose Ave
                                 Port St Lucie Fl 34953


 *        01/22/09    003218     INTERNAL REVENUE SERVICE                        FICA (SOCIAL SECURITY EMPLOYEE)               5800-003                                          5,921.92        127,392.09


 *        01/22/09    003219     INTERNAL REVENUE SERVICE                        FICA SOCIAL SECURITY EMPLOYER                 5800-003                                          5,921.92        121,470.17


 *        01/22/09    003220     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                            5800-003                                           764.14         120,706.03


 *        01/22/09    003221     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYER)                      5800-003                                          1,384.92        119,321.11


 *        01/22/09    003222     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYEE)                      5300-003                                          1,384.92        117,936.19


 *        01/22/09    003223     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                            5800-003                                          2,566.98        115,369.21


 *        01/22/09    003224     INTERNAL REVENUE SERVICE                        FEDERAL MANUAL                                5300-003                                          8,446.62        106,922.59



                                                                                                                         Page Subtotals                        0.00              26,728.04
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                        Page:    93
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                              3                                                    4                                            5                       6                   7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
 *        01/22/09    003225     CIGNA GROUP INSURANCE                           INSURANCE                                          5300-003                                          4,494.21        102,428.38


          01/22/09    003226     STATE OF FLORIDA                                SUTA EMPLOYER PAID                                 5800-000                                            11.89         102,416.49


          01/22/09    003227     STATE OF FLORIDA DISBURSEMENT UNIT              BRIAN R SPRAGUE                                    5300-000                                           266.00         102,150.49
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          01/22/09    003228     STATE OF FLORIDA DISBURSEMENT UNIT              RODOLFO SERRANO                                    5300-000                                           160.00         101,990.49
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          01/22/09    003229     Kerstin Florian                                 Payable order                                      2690-000                                           136.65         101,853.84
                                 20492 Crescent Bay Dr. Ste 100
                                 Lake Forest, CA 92630


          01/22/09    003230     Discount Vacuum World                           Payable Order COD                                  2690-000                                            46.84         101,807.00
                                 405 US Hwy 1
                                 Stuart, FL 34996


          01/22/09    003231     Republic National                               Purchase Order COD                                 2690-000                                           366.00         101,441.00
                                 441 SW 12 Ave
                                 Deerfield Beach, FL 33442


          01/22/09    003232     Shannon Rios                                    1099 Wages (Spa)                                   2690-000                                          1,410.80        100,030.20


          01/22/09    003233     Anthony Sprague                                 1099 Wages (F&B)                                   2690-000                                           120.00             99,910.20


          01/22/09    003234     Sarah Hurt                                      1099 Wages (Spa)                                   2690-000                                           692.60             99,217.60


                                                                                                                              Page Subtotals                        0.00               7,704.99
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                    Page:    94
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                       6                    7
     Transaction     Check or                                                                                                     Uniform                                                       Account / CD
        Date         Reference                 Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)


          01/22/09    003235     Jannilet Fernandez                               1099 Wages (F&B)                               2690-000                                            140.00             99,077.60


          01/22/09    003236     Ruth Cooper                                      1099 Wages (Spa)                               2690-000                                            285.00             98,792.60


          01/22/09    003237     Deana Ena                                        1099 Wages (Spa)                               2690-000                                             90.00             98,702.60


          01/22/09    003238     Kimberly Kozar                                   1099 Wages (Spa)                               2690-000                                            359.65             98,342.95


          01/22/09    003239     Stacey Siebmann                                  1099 Wages (Wellness)                          2690-000                                             35.00             98,307.95


          01/22/09    003240     Nancy Aldrich                                    1099 Wages (Wellness)                          2690-000                                             35.00             98,272.95


          01/22/09    003241     Ken Ferguson                                     1099 Wages (Expense Reim.)                     2690-000                                            350.00             97,922.95


          01/22/09    003242     Larry Hoffman                                    1099 Wages (Expense Reim)                      2690-000                                            300.00             97,622.95


          01/22/09    003243     Brigido Cofresi                                  1099 Wages (F&B)                               2690-000                                            150.00             97,472.95


          01/22/09    003244     Justin Cook                                      1099 Wages (F&B)                               2690-000                                            120.00             97,352.95


          01/22/09    003245     Nicole Mercado                                   1099 Wages (F&B)                               2690-000                                          1,512.61             95,840.34


 *        01/27/09    003176     Antonio Francisco Lopez                          Wages                                          5300-003                                          -1,583.47            97,423.81
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


 *        01/27/09    003218     INTERNAL REVENUE SERVICE                         FICA (SOCIAL SECURITY EMPLOYEE)                5800-003                                          -5,921.92        103,345.73



                                                                                                                           Page Subtotals                        0.00               -4,128.13
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page:     95
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                     6                    7
     Transaction     Check or                                                                                                  Uniform                                                    Account / CD
        Date         Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)
 *        01/27/09    003219     INTERNAL REVENUE SERVICE                       FICA SOCIAL SECURITY EMPLOYER                 5800-003                                        -5,921.92        109,267.65


 *        01/27/09    003220     INTERNAL REVENUE SERVICE                       FUTA EMPLOYER PAID                            5800-003                                         -764.14         110,031.79


 *        01/27/09    003221     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYER)                      5800-003                                        -1,384.92        111,416.71


 *        01/27/09    003222     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYEE)                      5300-003                                        -1,384.92        112,801.63


 *        01/27/09    003223     INTERNAL REVENUE SERVICE                       SUTA EMPLOYER PAID                            5800-003                                        -2,566.98        115,368.61


          01/27/09    003246     Antonio Francisco Lopez                        Wages                                         2690-000                                          630.21         114,738.40
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


 *        01/27/09    003247     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYEE)                      5300-003                                        1,369.96         113,368.44


 *        01/27/09    003248     INTERNAL REVENUE SERVICE                       FICA (SOCIAL SECURITY EMPLOYEE)               5300-003                                        5,857.92         107,510.52


 *        01/27/09    003249     INTERNAL REVENUE SERVICE                       FICA SOCIAL SECURITY EMPLOYER                 5800-003                                        5,857.92         101,652.60


 *        01/27/09    003250     INTERNAL REVENUE SERVICE                       FUTA EMPLOYER PAID                            5800-003                                          755.88         100,896.72


 *        01/27/09    003251     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYER)                      5800-003                                        1,369.96             99,526.76


 *        01/27/09    003252     INTERNAL REVENUE SERVICE                       SUTA EMPLOYER PAID                            5800-003                                        2,539.11             96,987.65


          01/28/09      32       Gerard Griesser                                Dues                                          1121-000                   931.48                                    97,919.13
                                 1885 Rose Cottage Ln
                                 Malvern, PA 19355

                                                                                                                        Page Subtotals                   931.48                6,358.08
                                                                                                                                                                                                   Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                  3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                      Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/28/09      32       Elizabeth Connelly                              Dues                                             1121-000                   1,065.00                                    98,984.13
                                 22 St. Thomas Dr.
                                 Palm beach Gardens, FL 33418


          01/28/09      32       Ann Fernandez                                   Dues                                             1121-000                   1,242.86                                100,226.99
                                 6653 Woodlake Rd.
                                 Jupiter, FL 33458


          01/28/09      32       Asialines Investments Corp.                     Dues                                             1121-000                    945.86                                 101,172.85
                                 3261 SE Morningside Blvd.
                                 Port St. Lucie, FL 34952


          01/28/09      32       Joseph Vargas                                   Dues                                             1121-000                    532.50                                 101,705.35
                                 1931 Staimford Cir.
                                 West Palm Beach, FL 33414


          01/28/09      32       Southern Eagle Distributing, Inc.               Dues                                             1121-000                     31.00                                 101,736.35
                                 5300 Glades Cut Off Rd.
                                 Ft. Pierce, FL 34981


          01/28/09      32       Stanley Zabytko                                 dues                                             1121-000                   1,756.03                                103,492.38
                                 222 SE Bella Strano
                                 Tesoro
                                 Port St. Lucie, FL 34984


          01/28/09               FPL                                             Refund                                           1221-000               16,592.95                                   120,085.33


          01/28/09      32       Michael Cetta                                   Deposit for party                                1121-000               31,000.00                                   151,085.33


                                                                                                                            Page Subtotals               53,166.20                     0.00
                                                                                                                                                                                                         Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          01/28/09      32       Paul Edwaeds                                    dues                                          1121-000                    532.50                                 151,617.83
                                 4260 Apple Valley Lane
                                 West Bloomfield, MI 48323


          01/28/09      32       Theresa Turano                                  dues                                          1121-000                    600.00                                 152,217.83
                                 224 Riverwood Drive
                                 New Hope, PA 18938


          01/28/09      32       Richard Horner                                  dues                                          1121-000                   1,479.95                                153,697.78
                                 124 SE Rio Angelica
                                 Port St. Lucie, FL 34984


          01/28/09      32       Linnes Finney                                   Dues                                          1121-000                   1,375.98                                155,073.76
                                 10960 Pine Creek Lane
                                 Port St. Lucie, FL 34986


          01/28/09      32       NJ Lahowchic                                    dues                                          1121-000                   4,116.81                                159,190.57
                                 196 SE Via San Remo
                                 Port St. Lucie, FL 34984


          01/28/09      32       Allan Detert                                    dues                                          1121-000                   1,987.45                                161,178.02
                                 Daytona Land Co.
                                 2665 N. Atlantic Ave. Ste 300
                                 Daytona Beach, FL 32118


          01/28/09      32       Frank Gonzalez                                  dues                                          1121-000                   1,427.85                                162,605.87
                                 Ben Amith Toyota
                                 3350 US Hwy 1


                                                                                                                         Page Subtotals               11,520.54                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Ft. Pierce, FL 34982


          01/28/09      32       Stewart Property Holdings, LLC                  dues                                          1121-000                   5,616.28                                168,222.15
                                 49 E. 4th St. #521
                                 Cincinatti, OH 45202


          01/28/09      32       Christopher Thompson                            dues                                          1121-000                    931.88                                 169,154.03
                                 401 Wahackme Rd.
                                 New Canaan, CT 06840


          01/28/09      32       Don Ardinger                                    dues                                          1121-000                   1,065.00                                170,219.03
                                 13012 Hawkins Cur.
                                 Hagerstown, MD 21742


          01/28/09      32       Hill Construction corp.                         Dues                                          1121-000                    532.50                                 170,751.53
                                 POB 36714
                                 San Juan, PR 00936


          01/28/09      32       Sharon Sina                                     dues                                          1121-000                   1,204.76                                171,956.29
                                 108 SE Mira Lavella
                                 Port St. Lucie, FL 34984


          01/28/09      32       Ganesh Arora                                    dues                                          1121-000                   1,693.00                                173,649.29
                                 1716 SW 82 Dr.
                                 Gainesville, FL 32607


          01/28/09      32       Michael Wathen                                  dues                                          1121-000                   1,552.78                                175,202.07
                                 231 Turtleback Rd.
                                 New Canaan, CT 06840


                                                                                                                         Page Subtotals               12,596.20                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                    Page:     99
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                               4                                          5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          01/28/09      32       FJB & Associates of South Fl                    dues                                            1121-000                    931.88                                 176,133.95


          01/28/09      32       Harold Fenner                                   dues                                            1121-000                    925.51                                 177,059.46
                                 128 Rio Angelica
                                 Port St. Lucie, FL 34984


          01/28/09      32       Alan Levine                                     dues                                            1121-000                   1,914.41                                178,973.87
                                 c/o Ameripath, Inc.
                                 1701 SE Hillmoor Dr. #11
                                 Port St. Lucie, FL 34952


          01/28/09      32       Bryant Walker                                   dues                                            1121-000                    931.88                                 179,905.75
                                 542 SW Keats Ave.
                                 Palm City, FL 34990


          01/28/09               Colonial Bank                                   Turnover of Funds                               1221-000                   8,865.62                                188,771.37


          01/28/09    003253     Kerstin Florian                                 FShiipingg for checks #3229                     2690-000                                              6.63         188,764.74
                                 20492 Crescent Bay Dr. #100
                                 Lake Forest, CA 92630


          01/29/09    003254     CGLIC-Chattanooga EASC                          Health Insurance payment                        2690-000                                      64,603.68            124,161.06
                                 5089 Collection Center Dr.
                                 Chicago, IL 60693-0050


          01/29/09    003255     CopyScan, Inc.                                  Copies for mailings                             2690-000                                      11,093.60            113,067.46
                                 1230 S. Andrews Ave.
                                 Ft. Lauderdale, FL 33316


                                                                                                                           Page Subtotals               13,569.30                  75,703.91
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                      Page: 100
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                3                                                   4                                           5                       6                   7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                  Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/29/09    003256     Home Town Telephone                               Club Telephone/Cable                             2690-000                                          2,062.00        111,005.46


          01/29/09    003257     Conney Safety                                     Golf Maint.                                      2690-000                                           398.75         110,606.71
                                 PO Box 44575 (3202 Latham Drive)
                                 Madison, WI 53744-4575


          01/29/09    003258     Safety-Kleen                                      Golf Maint.                                      2690-000                                           191.81         110,414.90


          01/29/09    003259     S&S Air Conditioning                              Building Main HVAC Contract                      2690-000                                          3,205.00        107,209.90
                                 1559 SW 21 Ave.
                                 Ft. Lauderdale, FL 33312


          01/29/09    003260     Hector Turf                                       Golf Maint. Chemicals                            2690-000                                          1,291.49        105,918.41


          01/29/09    003261     Subzero Cooling & Heating                         Home Services                                    2690-000                                           893.50         105,024.91


          01/29/09    003262     New England Fish Market                           F&B 7 days Net                                   2690-000                                           298.88         104,726.03


          01/29/09    003263     Palm Beach Laundry & Linen Svc.                   Spa & Pool Towels/Sheets                         2690-000                                           859.53         103,866.50
                                 3591 MLK Blvd.
                                 Rivar Beach, FL 33404


          01/29/09    003264     NuCO2                                             F&B                                              2690-000                                           217.70         103,648.80
                                 2800 SE Market Pl
                                 Stuart, FL 34997


          01/29/09    003265     Pitney Bowes                                      Postage Meter                                    2690-000                                            66.00         103,582.80
                                 27 Waterview Dr.


                                                                                                                              Page Subtotals                        0.00               9,484.66
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                    Page: 101
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                               3                                                  4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Shelton, CT 06484


          01/29/09    003266     Publix Supermarkets                             Payable                                           2690-000                                           173.63         103,409.17
                                 PO Box 32018
                                 Lakeland, FL 33802


          01/29/09    003267     Robert Erneston Produce, Inc.                   Produce                                           2690-000                                           627.48         102,781.69
                                 630 SE Flagler Ave.
                                 Stuart, FL 34994


          01/29/09    003268     Stardusters Hosecleaning, LLC                   Homeservices                                      2690-000                                          1,330.00        101,451.69
                                 PO Box 6127
                                 Stuart, FL 34997


          01/29/09    003269     SimplexGrinnell                                 Security Monitoring                               2690-000                                          1,574.20            99,877.49


          01/29/09    003270     US Foodservice, Inc.                            F&B                                               2690-000                                          5,745.90            94,131.59
                                 7598 NW 6 Ave.
                                 Boca Raton, FL 33487


          01/29/09    003271     US Kids Golf                                    Gold Operations                                   2690-000                                           102.64             94,028.95


          01/29/09    003272     Vision Service Plan                             Employee Healthcare                               2690-000                                           817.10             93,211.85
                                 3333 Quality Dr.
                                 Rancho Cordova, CA 95670


          01/29/09    003273     Waste Pro-Ft. Pierce                            Club Waste removal                                2690-000                                           815.83             92,396.02
                                 4100 Selvitz Rd.
                                 Ft. Pierce, FL 34981


                                                                                                                             Page Subtotals                        0.00              11,186.78
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                    Page: 102
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/29/09    003274     Dione Cantu                                      Contract Labor                                   2690-000                                           131.00             92,265.02


          01/29/09    003275     Guardian                                         Dental                                           2690-000                                           889.96             91,375.06


          01/29/09    003276     Hi-Tech Sounds                                   Club music system                                2690-000                                          2,416.80            88,958.26
                                 53 Brigham St. Unit 8
                                 Marlborough, MA 01752


          01/29/09    003277     Thyssenkrupp Elevator                            Elevator MAint.                                  2690-000                                          1,415.00            87,543.26
                                 PO Box 933010
                                 Atlanta, GA 31193-3010


          01/29/09    003278     Kilpatrick                                       Golf maint.                                      2690-000                                          1,539.29            86,003.97


          01/29/09    003279     City of Port St. Lucie Utilities                 Property re-use water                            2690-000                                          7,717.00            78,286.97


          01/29/09    003280     St. Lucie County Tax Collector                   Alarm permit/car tag                             2690-000                                           144.10             78,142.87


          01/29/09    003281     Nancy Aldrich                                    Contract labot/spa                               2690-000                                            35.00             78,107.87
                                 1820 SW Oakwater Pt.
                                 Palm City, FL 34990


          01/29/09    003282     New Chef Fashion, Inc.                           Kitchen Uniforms                                 2690-000                                           593.00             77,514.87


          01/29/09    003283     US Golf Association, INc.                        Golf ops                                         2690-000                                           110.00             77,404.87


          01/29/09    003284     Florida State Golf Association                   Golf ops                                         2690-000                                           190.00             77,214.87



                                                                                                                             Page Subtotals                        0.00              15,181.15
                                                                                                                                                                                                         Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                 3                                               4                                            5                       6                  7
    Transaction      Check or                                                                                                      Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          01/29/09    003285     Bullet Exterminators, Inc.                      Home Svcs.                                       2690-000                                          112.00             77,102.87


          01/29/09    003286     Myles' Electric Motors & Pumps                  building maint.                                  2690-000                                           25.54             77,077.33


          01/29/09    003287     Florida Chapter, CMAA                           Assoc. Fees                                      2690-000                                          455.00             76,622.33


          01/29/09    003288     Club Book Series, Inc.                          Accounting & GA                                  2690-000                                          314.18             76,308.15


          01/29/09    003289     TCGCSA                                          Assoc. Fees                                      2690-000                                           95.00             76,213.15


          01/29/09    003290     Matthew Silvano                                 Contract Labor (Cetta Party)                     2690-000                                          375.00             75,838.15


          01/29/09    003291     Robert Shurger                                  Contract Labor (Cetta Party)                     2690-000                                          125.00             75,713.15


          01/29/09    003292     Michael Jean Pierre                             Contract Labor (Cetta party)                     2690-000                                          125.00             75,588.15


          01/29/09    003293     James Dvornski                                  Contract labor (Cetta party)                     2690-000                                          125.00             75,463.15


          01/29/09    003294     AFLAC                                           Employee Ins.                                    2690-000                                          887.40             74,575.75


          01/29/09    003295     Troy Hein                                       Contract Labor (Cetta party)                     2690-000                                          125.00             74,450.75


          01/29/09    003296     Matthew Boyd                                    Employee Reim                                    2690-000                                          290.00             74,160.75


          01/29/09    003297     Brigido Confresi                                Contract Labor                                   2690-000                                          120.00             74,040.75


          01/29/09    003298     Capital Office Products                         G&A Office Supply                                2690-000                                          171.87             73,868.88




                                                                                                                            Page Subtotals                        0.00              3,345.99
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                              FORM 2 "EXHIBIT B"                                                                                  Page: 104
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                  3                                                4                                            5                       6                   7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          01/29/09    003299     Florida Power & Light                            Utilities                                         2690-000                                       39,818.18              34,050.70


          01/29/09    003300     Florida's Finest Linens                          Linens                                            2690-000                                           437.18             33,613.52


          01/29/09    003301     Thomas Knowles, III                              Employee Reim                                     2690-000                                           563.90             33,049.62


          01/29/09    003302     Justin Cook                                      Contract Labor (F&B)                              2690-000                                           120.00             32,929.62


          01/29/09    003303     St. Lucie Rock Waterfalls                        50% Deposit for grates & heaters                  2690-000                                          2,800.00            30,129.62
                                 3832 SW Ramspeck St.
                                 Port St. Lucie, FL 34953


          01/29/09    003304     Green-Way                                        Golf Maint.                                       2690-000                                          1,961.41            28,168.21


          01/29/09    003305     Parts Associates, Inc.                           Golf Maint.                                       2690-000                                           778.94             27,389.27


          01/29/09    003306     Indian River Services, Inc.                      Home Services                                     2690-000                                            70.00             27,319.27


          01/29/09    003307     Gordon Food Services, Inc.                       F&B Food                                          2690-000                                          1,831.76            25,487.51


          01/29/09    003308     Islander Turf Supply                             Golf Maint                                        2690-000                                           155.03             25,332.48


          01/29/09    003309     Callaway Golf Company                            Golf Ops                                          2690-000                                           287.13             25,045.35
                                 2180 Rutherford Rd.
                                 Carlsbad, Ca 92008


          01/29/09    003310     Heritage Creations USA                           Hole in one plaques                               2690-000                                           383.60             24,661.75
                                 21 Court St.
                                 Hudson Falls, NY 12839


                                                                                                                              Page Subtotals                        0.00              49,207.13
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                    Page: 105
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                              3                                                 4                                           5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          01/29/09    003311     Crismann Consulting                            Chiller Bldg water treatment                    2690-000                                           255.60              24,406.15
                                 8100 Belvedere Rd. #4
                                 West Palm Beach, Fl 33411


          01/29/09    003312     Culligan                                       Water                                           2690-000                                            86.46              24,319.69


          01/29/09    003313     G&K Services                                   Uniforms                                        2690-000                                          2,119.28             22,200.41


          01/29/09    003314     Andrew Kabis                                   Contract Labor (F&B)                            2690-000                                           127.50              22,072.91


          01/29/09    003315     Mermaid Maintenance Service, Inc.              Home Services                                   2690-000                                          1,225.00             20,847.91
                                 4521 PGA Blvd #291
                                 Palm Beach Gardens, FL 33418


          01/30/09      32       Stephen Dotson                                 Dues                                            1121-000                    559.07                                     21,406.98
                                 3630 SW SunsetTrace Circle
                                 Palm City, FL 34990


          01/30/09      32       Auta Hendler                                   dues                                            1121-000                    899.93                                     22,306.91
                                 21493 Linwood Ct.
                                 Boca Raton, FL 33433


          01/30/09      32       Joseph Grow III                                dues                                            1121-000                     16.00                                     22,322.91
                                 PO Box 698
                                 Uwchland, PA 19480


          01/30/09    003316     Drew M. Dillworth, Trustee                     Deposited in incorrect case                     2690-000                                          3,465.33             18,857.58
                                 150 West Flagler St.                           Check originally was from


                                                                                                                          Page Subtotals                   1,475.00                7,279.17
                                                                                                                                                                                                       Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                   4                                         5                     6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                 #2200                                           Luanne Zabytko
                                 Miami, FL 33130                                 222 SE Bella Strano
                                                                                 Tesoro
                                                                                 Port St. Lucie, FL 34984


          01/30/09    003317     Drew M. Dillworth, Trustee                      Deposited in wrong case.                        1221-000                                        3,083.00             15,774.58
                                 150 West Flagler St.                            Check was originally from
                                 Suite 2200                                      Mary Brennan
                                 Miami, FL 33130                                 110 SE Rio Casarano
                                                                                 Port St. Lucie, FL 34984


          01/30/09    003318     Florida Power & Light Company                   One month deposit                               2690-000                                    12,478.88                 3,295.70
                                 700 Universe Blvd.
                                 Juno Beach, FL 33408


          02/02/09      71       Stearns Weaver Miler et al.                     TIP Loan                                        1290-000              150,000.00                                 153,295.70
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          02/02/09    003319     Hector Turf                                     COD                                             2690-000                                        9,893.85         143,401.85
                                 1301 NW Third St.
                                 Deerfield Beach, FL 33442


          02/02/09    003320     Palmade Oil                                     COD Diesel Delivery                             2690-000                                        3,500.00         139,901.85
                                 911 N. 2nd Street
                                 Ft. Pierce, FL 34950


          02/03/09    003321     Professional Golf Car Corp.                     COD for carts                                   2690-000                                         284.35          139,617.50


                                                                                                                           Page Subtotals              150,000.00                29,240.08
                                                                                                                                                                                                      Ver: 17.02e
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  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                 3                                                 4                                            5                       6                   7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 5385 Lake Worth Rd.
                                 Greenacres, FL 33463


          02/03/09    003322     Uniforms and Accessories Warehouse              COD Security Badges                                2690-000                                             73.00        139,544.50
                                 18317 Napa St.
                                 Northridge, CA 91325


          02/03/09    003323     Southern Wine & Spirits                         Cetta party                                        2690-000                                            675.00        138,869.50


          02/03/09    003324     Republic National                               Cetta event                                        2690-000                                          6,054.20        132,815.30


          02/04/09    003325     Saint Lucie Battery and Tire                    COD for tires                                      2690-000                                            134.66        132,680.64
                                 3992 SW Bruner Terr.
                                 Palm City, FL 34990


 *        02/04/09    003326     World Electric Supply, Inc.                     payment for lights                                 2690-004                                          1,426.17        131,254.47
                                 663 NW Enterprise Dr.
                                 Port St. Lucie, FL 34986-2204


 *        02/05/09    003326     World Electric Supply, Inc.                     Stop Payment Reversal                              2690-004                                          -1,426.17       132,680.64
                                 663 NW Enterprise Dr.                           STOP PAY ADD SUCCESSFUL
                                 Port St. Lucie, FL 34986-2204


          02/05/09    003327     David Aguilar                                   Wages                                              2690-000                                            764.25        131,916.39
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          02/05/09    003328     Raul Alva Lopez                                 Wages                                              2690-000                                            952.20        130,964.19
                                 6100 SE Michael Dr


                                                                                                                              Page Subtotals                        0.00               8,653.31
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 108
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Stuart, FL 34997


          02/05/09    003329     Todd A Anderson                                Wages                                         2690-000                                          1,446.32        129,517.87
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          02/05/09    003330     Tomas T Andres                                 Wages                                         2690-000                                           815.23         128,702.64
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956


          02/05/09    003331     Eugene P Baker                                 Wages                                         2690-000                                           825.58         127,877.06
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          02/05/09    003332     William J Batusic                              Wages                                         2690-000                                           875.44         127,001.62
                                 825 Sand Tree Drive
                                 Palm Beach Gardens, FL 33403


          02/05/09    003333     Matthew A Boyd                                 Wages                                         2690-000                                          2,700.32        124,301.30
                                 813 SE Starflower Ave
                                 Port St Lucie, FL 34983


          02/05/09    003334     Paul K Brown                                   Wages                                         2690-000                                          1,095.29        123,206.01
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          02/05/09    003335     Dana M Cates                                   Wages                                         2690-000                                          1,099.18        122,106.83
                                 1009 Sw Dubuque Ave
                                 Port St Lucie, FL 34953


                                                                                                                        Page Subtotals                        0.00               8,857.36
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 109
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          02/05/09    003336     Arelis Cohen                                   Wages                                         2690-000                                           792.97         121,313.86
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          02/05/09    003337     Harvey K Congdon                               Wages                                         2690-000                                          4,642.70        116,671.16
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952


          02/05/09    003338     Tomas N Cruz                                   Wages                                         2690-000                                           761.76         115,909.40
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          02/05/09    003339     Kimberly A Deorsey                             Wages                                         2690-000                                          1,345.96        114,563.44
                                 121 Poinciana Drive
                                 Jupiter, FL 33458


          02/05/09    003340     Menuau Destine                                 Wages                                         2690-000                                           580.38         113,983.06
                                 2686 Bonita Street
                                 Stuart, FL 34997


          02/05/09    003341     Douglas C Feinsinger                           Wages                                         2690-000                                          1,738.89        112,244.17
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          02/05/09    003342     Kenneth D Ferguson                             Wages                                         2690-000                                          1,199.70        111,044.47
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983




                                                                                                                        Page Subtotals                        0.00              11,062.36
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 110
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/05/09    003343     Susano E Figeroa                               Wages                                         2690-000                                           595.48         110,448.99
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          02/05/09    003344     Alfonso F Garcia Lopez                         Wages                                         2690-000                                           497.95         109,951.04
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          02/05/09    003345     David S Gibbons                                Wages                                         2690-000                                           860.36         109,090.68
                                 442 Se Fairchild Ave
                                 Port Saint Lucie, FL 34984


          02/05/09    003346     Granvel T Griffin                              Wages                                         2690-000                                           818.78         108,271.90
                                 19682 Nw 282nd St
                                 Okeechobee, FL 34972


          02/05/09    003347     Magnus K Gustafsson                            Wages                                         2690-000                                          2,871.36        105,400.54
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967


          02/05/09    003348     Juan J Gutierres                               Wages                                         2690-000                                           603.21         104,797.33
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


          02/05/09    003349     Larry Hoffman                                  Wages                                         2690-000                                          2,029.85        102,767.48
                                 9756 Sw Pueblo Terr
                                 Palm City, FL 34990


          02/05/09    003350     Eric J Hummel                                  Wages                                         2690-000                                          1,110.52        101,656.96


                                                                                                                        Page Subtotals                        0.00               9,387.51
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 111
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 13840 Osprey Links Rd Apt #214
                                 Orlando, FL 32837


          02/05/09    003351     Jacob P Ivey                                   Wages                                         2690-000                                           855.39         100,801.57
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          02/05/09    003352     Anna L Katz                                    Wages                                         2690-000                                           923.54             99,878.03
                                 1833 SW Buttercup Avenue
                                 Port St Lucie, FL 34953


          02/05/09    003353     Jacalyn A Kennedy                              Wages                                         2690-000                                          2,483.75            97,394.28
                                 302 Sw Cassine Court
                                 Palm City, FL 34990


          02/05/09    003354     Todd Kitchen                                   Wages                                         2690-000                                          2,378.05            95,016.23
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          02/05/09    003355     Evelina D Klaassen                             Wages                                         2690-000                                          1,390.44            93,625.79
                                 3741 SW Bimini Circle N
                                 Palm City, FL 34990


          02/05/09    003356     Thomas C Knowles                               Wages                                         2690-000                                          3,310.39            90,315.40
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          02/05/09    003357     Julia Lanek                                    Wages                                         2690-000                                          1,347.07            88,968.33
                                 4083 Nw Cinnamon Gr


                                                                                                                        Page Subtotals                        0.00              12,688.63
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 112
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Jensen Beach, FL 34957


          02/05/09    003358     Heather A Lonergan                              Wages                                         2690-000                                          1,232.06            87,736.27
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


          02/05/09    003359     Antonio Francisco Lopez                         Wages                                         2690-000                                           602.19             87,134.08
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


          02/05/09    003360     Marbin Lopez                                    Wages                                         2690-000                                           649.04             86,485.04
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          02/05/09    003361     Timothy P Marrone                               Wages                                         2690-000                                           767.57             85,717.47
                                 980 SE San Jeronimo
                                 Port St Lucie, FL 34952


          02/05/09    003362     Philip D Mastronardi                            Wages                                         2690-000                                           867.45             84,850.02
                                 1764 N Dovetail Dr
                                 Fort Pierce, FL 34982


          02/05/09    003363     Pedro Mateo Domingo                             Wages                                         2690-000                                           633.32             84,216.70
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          02/05/09    003364     Miguel A Maxia                                  Wages                                         2690-000                                           536.38             83,680.32
                                 14893 Cherokee St
                                 Indiantown, FL 34956


                                                                                                                         Page Subtotals                        0.00               5,288.01
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 113
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          02/05/09    003365     Victor Mendez Bravo                             Wages                                         2690-000                                           878.78             82,801.54
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          02/05/09    003366     Andres Miguel Juan                              Wages                                         2690-000                                           637.29             82,164.25
                                 14941 Washington Street
                                 Indiantown, FL 34956


          02/05/09    003367     Edzer Mondisir                                  Wages                                         2690-000                                           514.55             81,649.70
                                 2651 Se Clayton St
                                 Stuart, FL 34997


          02/05/09    003368     Jose A Montejo                                  Wages                                         2690-000                                           873.61             80,776.09
                                 135 7th Street Apt. 3
                                 Jupiter, FL 33458


          02/05/09    003369     Olegario S Morales                              Wages                                         2690-000                                           709.80             80,066.29
                                 Po Box 1161
                                 Indiantown, FL 34956


          02/05/09    003370     Franklin F Neumann                              Wages                                         2690-000                                          1,008.04            79,058.25
                                 2386 SW Marshfield Court
                                 Port St Lucie, FL 38953


          02/05/09    003371     Michael B Pascal                                Wages                                         2690-000                                          1,240.46            77,817.79
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


                                                                                                                         Page Subtotals                        0.00               5,862.53
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page: 114
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                  7
    Transaction      Check or                                                                                                   Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)


          02/05/09    003372     Rosa M Payamps                                  Wages                                         2690-000                                          691.94             77,125.85
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          02/05/09    003373     Francine M Peach                                Wages                                         2690-000                                          907.94             76,217.91
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          02/05/09    003374     Indira Perez Azcona                             Wages                                         2690-000                                          794.94             75,422.97
                                 2226 SW Dapsco Ave
                                 Port St Lucie, FL 34953


          02/05/09    003375     Israel Perez Perez                              Wages                                         2690-000                                          696.79             74,726.18
                                 214 Southview Dr
                                 Jupiter, FL 33458


          02/05/09    003376     Hugo R Perez                                    Wages                                         2690-000                                          543.02             74,183.16
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          02/05/09    003377     Maria Perez                                     Wages                                         2690-000                                          953.96             73,229.20
                                 5809 Se Collins Ave
                                 Stuart, FL 34994


          02/05/09    003378     Delmiro A Quinonez                              Wages                                         2690-000                                          777.61             72,451.59
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947




                                                                                                                         Page Subtotals                        0.00              5,366.20
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 115
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/05/09    003379     William W Ramon                                 Wages                                         2690-000                                           650.91             71,800.68
                                 Po Box 14-52
                                 Indiantown, FL 34956


          02/05/09    003380     Luis M Rodriguez Diaz                           Wages                                         2690-000                                           617.74             71,182.94
                                 130 1st Street #5
                                 Jupiter, FL 33458


          02/05/09    003381     Kimberly A Rodriguez                            Wages                                         2690-000                                          1,134.23            70,048.71
                                 2289 SE Melaleuca Blvd
                                 Port St Lucie, FL 34952


          02/05/09    003382     Ryan Ronan                                      Wages                                         2690-000                                          2,856.18            67,192.53
                                 1681 SW Jamesport Drive
                                 Port St Lucie, FL 34953


          02/05/09    003383     Roberin Roselio Castillo                        Wages                                         2690-000                                           666.13             66,526.40
                                 214 Southview Dr
                                 Jupiter, FL 33458


          02/05/09    003384     Janet Suzanne Ruadez                            Wages                                         2690-000                                          1,874.08            64,652.32
                                 703 E. Apix Circle
                                 Jupiter, FL 33458


          02/05/09    003385     Niguer Sales Hernandez                          Wages                                         2690-000                                           619.23             64,033.09
                                 314 Kennedy Street
                                 Jupiter, FL 33458


          02/05/09    003386     Olegario Santizo                                Wages                                         2690-000                                           617.97             63,415.12


                                                                                                                         Page Subtotals                        0.00               9,036.47
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                 Page: 116
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                  7
    Transaction      Check or                                                                                                  Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          02/05/09    003387     Jesus B Serrano                                Wages                                         2690-000                                          839.53             62,575.59
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          02/05/09    003388     Rodolfo Serrano                                Wages                                         2690-000                                          409.37             62,166.22
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956


          02/05/09    003389     Shaniqua A Shoe                                Wages                                         2690-000                                          949.63             61,216.59
                                 4272 SW Xenon St
                                 Port St Lucie, FL 34953


          02/05/09    003390     Douglas T Sinclair                             Wages                                         2690-000                                          829.04             60,387.55
                                 394 Nw Stratford Ln
                                 Port St Lucie, FL 34983


          02/05/09    003391     Brian R Sprague                                Wages                                         2690-000                                          725.78             59,661.77
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          02/05/09    003392     Leroy L Stennett                               Wages                                         2690-000                                          738.94             58,922.83
                                 912 SW Fable Ave
                                 Port St Lucie, FL 34953


          02/05/09    003393     Justin D Stoff                                 Wages                                         2690-000                                          500.88             58,421.95
                                 283 Nabble Ave


                                                                                                                        Page Subtotals                        0.00              4,993.17
                                                                                                                                                                                                   Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 117
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 34953


          02/05/09    003394     Lee E Vanroekel                                 Wages                                         2690-000                                          2,602.68            55,819.27
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


          02/05/09    003395     Jacob I Vazquez                                 Wages                                         2690-000                                           741.66             55,077.61
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          02/05/09    003396     Luis O Zapeta                                   Wages                                         2690-000                                           570.50             54,507.11
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          02/05/09    003397     Domingo Sapon                                   Wages                                         2690-000                                           636.15             53,870.96
                                 273 SE Norfold Blvd
                                 Stuart Fl 34997


          02/05/09    003398     Alan Francoeur                                  Wages                                         2690-000                                           788.27             53,082.69
                                 649 NW Cardinal Dr
                                 Port St Lucie Fl 34983


          02/05/09    003399     Filberto Castillo-Martinez                      Wages                                         2690-000                                           658.93             52,423.76
                                 309 3rd St
                                 Jupiter Fl 33458


          02/05/09    003400     Andrew Kabis                                    Wages                                         2690-000                                           917.61             51,506.15
                                 1885 SW Penrose Ave
                                 Port St Lucie Fl 34953


                                                                                                                         Page Subtotals                        0.00               6,915.80
                                                                                                                                                                                                     Ver: 17.02e
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                                                        Case 08-29769-MAM           Doc 882         Filed 07/30/13        Page 125 of 320
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                  7
    Transaction      Check or                                                                                                   Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)


          02/05/09    003401     Jesse Michalowski                               Wages                                         2690-000                                          280.96             51,225.19
                                 10428 SW West Lawn Blvd.
                                 Port St. Lucie, Fl 34987


          02/05/09    003402     Carlos Santini, Jr.                             Wages                                         2690-000                                          772.64             50,452.55
                                 501 NW Sherbrooke Ave.
                                 Port St. Lucie, FL 34983


          02/05/09    003403     Emilio Sanzano                                  Wages                                         2690-000                                           81.16             50,371.39
                                 785 NW Dupre St.
                                 Port St. Lucie, FL 34983


          02/05/09    003404     John Carlson                                    Wages                                         2690-000                                          280.53             50,090.86
                                 1892 SW Success St.
                                 Port St. Lucie, FL 34953


          02/05/09    003405     Edward Marrone                                  Wages                                         2690-000                                          267.65             49,823.21
                                 2980 SE San Jeronimo
                                 Port St. Lucie, FL 34952


          02/05/09    003406     Jorge Martinez-Cobon                            Wages                                         2690-000                                           66.50             49,756.71
                                 316 Kenedy St.
                                 Jupiter, FL 33458


          02/05/09    003407     Michael Morash                                  Wages                                         2690-000                                          280.96             49,475.75
                                 3957 SW Kakopo St.
                                 Port St. Lucie, FL 34953




                                                                                                                         Page Subtotals                        0.00              2,030.40
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                   Page: 119
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                       6                   7
     Transaction     Check or                                                                                                    Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/05/09    003408     Raymond Negron                                  Wages                                          2690-000                                           301.78             49,173.97
                                 3079 SE Galt Circle
                                 Port St. Lucie, FL 34984


          02/05/09    003409     Jason Paquette                                  Wages                                          2690-000                                            73.36             49,100.61
                                 2573 SW Abate St.
                                 Port St. Lucie, FL 34953


          02/05/09    003410     Lantz Pierre                                    Wages                                          2690-000                                           184.43             48,916.18
                                 2872 SE Nance St.
                                 Port St. Lucie, FL 34984


 *        02/05/09    003411     INTERNAL REVENUE SERVICE                        FICA (SOCIAL SECURITY EMPLOYEE)                5300-003                                          1,564.64            47,351.54


 *        02/05/09    003412     INTERNAL REVENUE SERVICE                        FICA SOCIAL SECURITY EMPLOYER                  5800-003                                          1,564.64            45,786.90


 *        02/05/09    003413     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                             5800-003                                           853.12             44,933.78


 *        02/05/09    003414     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYER)                       5800-003                                           365.90             44,567.88


 *        02/05/09    003415     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYEE)                       5300-003                                           365.90             44,201.98


 *        02/05/09    003416     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                             5800-003                                          2,686.49            41,515.49


          02/05/09    003417     STATE OF FLORIDA                                SUTA EMPLOYER PAID                             5800-000                                           192.78             41,322.71


 *        02/05/09    003418     INTERNAL REVENUE SERVICE                        Federal Manual 2                               5300-003                                          9,658.16            31,664.55


 *        02/05/09    003419     INTERNAL REVENUE SERVICE                        FICA Social Security Manual                    5300-003                                          4,744.28            26,920.27


                                                                                                                          Page Subtotals                        0.00              22,555.48
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                      FORM 2 "EXHIBIT B"                                                                                      Page: 120
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                             3                                                 4                                            5                       6                   7
     Transaction     Check or                                                                                                    Uniform                                                      Account / CD
        Date         Reference              Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


 *        02/05/09    003420     INTERNAL REVENUE SERVICE                      FICA Medicare Employee Manual                    5300-003                                          1,109.55            25,810.72


 *        02/05/09    003421     INTERNAL REVENUE SERVICE                      FICA Medicare Employer Manual                    5800-003                                          1,109.55            24,701.17


 *        02/05/09    003422     INTERNAL REVENUE SERVICE                      FICA Social Security Employer Manua              5800-003                                          4,744.28            19,956.89


 *        02/05/09    003423     CIGNA GROUP INSURANCE                         Insurance Manual 2                               5300-003                                          4,881.73            15,075.16


          02/05/09    003424     American Family Life Assurance Company        American Family Life Assurance Comp              2690-000                                           123.88             14,951.28
                                 Worldwide Headquarters

                                 Columbus, GA 31999


          02/05/09    003425     STATE OF FLORIDA DISBURSEMENT UNIT            Brian Sprague 2                                  2690-000                                           266.00             14,685.28
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          02/05/09    003426     STATE OF FLORIDA DISBURSEMENT UNIT            Rodolfo Serrano 2                                2690-000                                           160.00             14,525.28
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          02/05/09    003427     Eventmakers                                   Cetta Event                                      2690-000                                           511.40             14,013.88
                                 2928 SE Monroe St.
                                 Stuart, FL 34997


          02/05/09    003428     Music Works Talent                            Cetta event                                      2690-000                                          5,350.00             8,663.88
                                 5920 Flatrock Rd.
                                 West Palm Beach, FL 33413


                                                                                                                          Page Subtotals                        0.00              18,256.39
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                     Page: 121
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                  3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          02/05/09    003429     MusArt                                          Cetta event                                      2690-000                                          5,000.00              3,663.88
                                 2400 S. Ocean Drive
                                 Hutchinson Island, FL 34949


          02/06/09      32       Rayne Poussard                                  Dues                                             1121-000                   2,817.38                                     6,481.26
                                 321 Creswell Rd.
                                 Severna Park, MD 21146-2103


          02/06/09      32       Daniel Rourke                                   Dues                                             1121-000                   1,193.90                                     7,675.16
                                 PO Box 2627
                                 Framingham, MA 01703


          02/06/09      32       Matthews Deorsey                                Dues                                             1121-000                    300.00                                      7,975.16
                                 121 Poinciana Dr.
                                 Jupiter, FL 33458


          02/06/09      32       Edward Losty                                    Dues                                             1121-000                    532.50                                      8,507.66
                                 169 Waterton
                                 Williamsburg, VA 23188


          02/06/09      32       Lawrence Jerz                                   Dues                                             1121-000                   1,077.95                                     9,585.61
                                 198 SE Via Sanremo
                                 Tesoro
                                 Port St. Lucie, FL 34984


          02/06/09      32       Mark Nichols                                    Dues                                             1121-000                   4,038.50                                    13,624.11
                                 35 Sherrill Rd.
                                 Little Rock, AR 72202


                                                                                                                            Page Subtotals                   9,960.23                5,000.00
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page: 122
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          02/06/09      32       H.N. Corporation                               Dues                                          1121-000                   8,077.00                                    21,701.11
                                 1316 N. Hills Blvd.
                                 North Little Rock, AR 72114


          02/06/09      32       Edward Miller                                  Dues                                          1121-000                    355.70                                     22,056.81
                                 15 Meadow Rd.
                                 Baltimore, MD 21212


          02/06/09      32       Edward Miller                                  Dues                                          1121-000                    309.92                                     22,366.73
                                 15 Meadow Rd.
                                 Baltimore, MD 21212


          02/06/09      32       Lee Griffith                                   Dues                                          1121-000                    991.88                                     23,358.61
                                 214 Golf Club Dr.
                                 New Smyrna Beach, FL 32168


          02/06/09      32       Sunshine Holdings LLC                          Dues                                          1121-000                    532.50                                     23,891.11
                                 3420 Heirloom Rose Pl
                                 Oviedo, FL 32766


          02/06/09      32       Larry Wormmeester                              Dues                                          1121-000                    931.88                                     24,822.99
                                 06823 Kenowa Ave.
                                 Grandvlille, MI 49418


          02/06/09      32       David McDonough                                Dues                                          1121-000                    534.24                                     25,357.23
                                 5049 N A1A Unit 1305
                                 Ft. Pierce, FL 34949




                                                                                                                        Page Subtotals               11,733.12                     0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                     Page: 123
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                               3                                                  4                                            5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          02/06/09      32       McDonough Family LLLP                            dues                                             1121-000                    931.88                                     26,289.11
                                 5049 N. Hwy A1A Apt 1305
                                 Ft. Pierce, FL 34949


          02/06/09      32       McDonough Family LLLP                            dues                                             1121-000                   2,130.00                                    28,419.11
                                 5049 N Hwy A1A Apt 1305
                                 Ft. Pierce, FL 34949


          02/06/09    003430     Shannon Rios                                     Spa Contract Labor                               2690-000                                          1,122.00             27,297.11


          02/06/09    003431     Sarah Hurt                                       Spa Contract Labor                               2690-000                                           503.50              26,793.61


          02/06/09    003432     Ruth Cooper                                      Spa Contract Labor                               2690-000                                           250.00              26,543.61


          02/06/09    003433     Kimberly Kozar                                   spa contract labor                               2690-000                                           224.50              26,319.11


          02/06/09    003434     Stacey Siebmann                                  Spa Contract Labor                               2690-000                                            70.00              26,249.11


          02/06/09    003435     Nancy Aldrich                                    Spa Contract Labor                               2690-000                                            70.00              26,179.11


          02/06/09    003436     Jennifer Mae Greear                              F&B Contract Labor                               2690-000                                           240.00              25,939.11


          02/06/09    003437     Christina Howe                                   F&B Contract Labor                               2690-000                                           105.00              25,834.11


          02/06/09    003438     Anthony Marasco                                  F&B Contract Labor                               2690-000                                           105.00              25,729.11


          02/06/09    003439     Jason Scholes                                    F&B Contract Labor                               2690-000                                           125.00              25,604.11


          02/06/09    003440     Verla Faye Alma                                  F&B Contract Labor                               2690-000                                           125.00              25,479.11

                                                                                                                             Page Subtotals                   3,061.88                2,940.00
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                   Page: 124
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          02/06/09    003441     Brigidio Confresi                               F&B Contract Labor                             2690-000                                           247.50              25,231.61


          02/06/09    003442     Nicole Mercado                                  Spa Contract Labor                             2690-000                                          1,026.90             24,204.71


          02/09/09      32       Sinclair Thigman Homes II                       Dues                                           1121-000               13,774.67                                       37,979.38
                                 12360 NE 8 St. Ste 100
                                 Bellevue, WA 98005


          02/09/09      32       City Center Investments, Inc.                   Dues                                           1121-000                    532.50                                     38,511.88
                                 400 Broome St.
                                 New York, NY 10013


          02/09/09      32       Norbert Reich                                   Dues                                           1121-000                   1,085.88                                    39,597.76
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          02/09/09      32       Norbert Reich                                   Dues                                           1121-000                    931.88                                     40,529.64
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          02/09/09      32       Radiation Medicine Speclists                    Dues                                           1121-000                   1,360.77                                    41,890.41
                                 of NE PA, P.C.
                                 190 Welles St.
                                 Forty Fort, PA 18704


          02/09/09      32       Stewart Properties                              dues                                           1121-000                   3,106.62                                    44,997.03
                                 PO Box 7002
                                 Laguna Niguel, CA 92607-7002


                                                                                                                          Page Subtotals               20,792.32                   1,274.40
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                   Page: 125
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                             4                                           5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          02/09/09      32       Laurie Weatherford                              dues                                           1121-000                    809.07                                     45,806.10
                                 PO Box 536668
                                 Orlando, FL 32853-6668


          02/10/09    003443     Pitney Bowes Reserve Account                    Pre-Pay Account                                2690-000                                          1,200.00             44,606.10
                                 #42587337
                                 5101 Interchange Way
                                 Louisville, KY 40229


          02/12/09    003444     Mike Budnyk                                     COD for Golf Equipment                         2690-000                                            97.00              44,509.10
                                 Taylor Made


          02/12/09    003445     Prime Turf                                      COD for PH Airway                              2690-000                                          1,437.75             43,071.35
                                 14200 S. Parker Rd.
                                 Homer Glen, IL 60491


          02/13/09      32       FJB & Associates, Inc.                          Dues                                           1121-000                    931.88                                     44,003.23


          02/13/09      32       Thomas Zensen, III                              Dues                                           1121-000                     94.89                                     44,098.12
                                 7243 Marsh Ter
                                 Port St. Lucie, FL 34986


          02/13/09      32       Rolain Lake                                     Dues                                           1121-000                   2,218.64                                    46,316.76
                                 3757 NW 5th Ave.
                                 Boca Raton, FL 33431


          02/13/09      32       Frank Coyne                                     Dues                                           1121-000                   5,081.46                                    51,398.22
                                 72 Bramshill Dr.


                                                                                                                          Page Subtotals                   9,135.94                2,734.75
                                                                                                                                                                                                       Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                              3                                                  4                                          5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 Mahwah, NJ 07430


          02/13/09      32       American Express Travel Related Services       Dues                                            1121-000                   7,539.50                                    58,937.72
                                 20002 N. 19 Ave. A-17
                                 Phoenix, AZ 85027


          02/13/09      32       American Express Travel Related Services       Dues                                            1121-000                   2,139.23                                    61,076.95
                                 20002 N. 19 Ave. A-17
                                 Phoenix, AZ 85027


          02/13/09      32       American Express Travel Related Services       Dues                                            1121-000               16,273.84                                       77,350.79
                                 20002 N. 19 Ave. A-17
                                 Phoenix, AZ 85027


          02/13/09               Ginn-LA St. Lucie LTD, LLLP                    Operating Exp-Water Bill                        1121-000                   7,203.62                                    84,554.41
                                 215 Celebration Place #200
                                 Celebration, FL 34747


          02/13/09    003446     Premier                                        COD for beverage                                2690-000                                           924.00              83,630.41
                                 9801 Premier Pkwy
                                 Hollywood, FL 33025


          02/13/09    003447     Republic National                              COD for Beverage                                2690-000                                          1,768.49             81,861.92


          02/13/09    003448     Southern Wine and Spirits                      COD for beverage                                2690-000                                           824.62              81,037.30
                                 1600 NW 163 St.
                                 Miami, FL 33169


          02/13/09    003449     JJ Taylor                                      COD for beverage                                2690-000                                           548.80              80,488.50


                                                                                                                          Page Subtotals               33,156.19                   4,065.91
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                        Page: 127
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                               3                                                  4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          02/13/09    003450     Southern Eagle                                 COD for beverage                                   2690-000                                           186.70             80,301.80
                                 5300 Glades Cut Off Rd.
                                 Fy. Pierce, FL 34981


          02/13/09    003451     Home Town Telephone                            Cable Phone Service                                2690-000                                          2,079.46            78,222.34


          02/13/09    003452     CarQuest Auto Parts                            Payment                                            2690-000                                           473.86             77,748.48


          02/13/09    003453     New England Fish Market                        F&B payment                                        2690-000                                           404.06             77,344.42


          02/13/09    003454     Sprint                                         Cell Phone service                                 2690-000                                           107.39             77,237.03


          02/13/09    003455     Palm Beach Linen & Laundry Service             Linen Service                                      2690-000                                           385.34             76,851.69


          02/13/09    003456     Publix Supermarkets                            Produce                                            2690-000                                           150.02             76,701.67


          02/13/09    003457     Robert Erneston Produce, Inc.                  Produce                                            2690-000                                          1,484.89            75,216.78


          02/13/09    003458     Shannon Rios                                   Contract Labor (Spa)                               2690-000                                           240.00             74,976.78


          02/13/09    003459     Stardusters Housecleaning LLC                  House cleaning service                             2690-000                                           238.00             74,738.78


          02/13/09    003460     SimplexGrinnell                                Services                                           2690-000                                          2,091.43            72,647.35


          02/13/09    003461     US Foodservice, Inc.                           Food & Beverage                                    2690-000                                          3,736.58            68,910.77


          02/13/09    003462     Vision Services Plan                           Employee health care                               2690-000                                              4.88            68,905.89



                                                                                                                             Page Subtotals                        0.00              11,582.61
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                            FORM 2 "EXHIBIT B"                                                                                   Page: 128
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/13/09    003463     Waste Pro-Ft. Pierce                             Waste removal                                    2690-000                                           314.37             68,591.52


          02/13/09    003464     ThyssenKrupp Elevator                            Elevator service                                 2690-000                                           770.00             67,821.52


          02/13/09    003465     Kilpatrick                                       Services                                         2690-000                                          1,133.27            66,688.25


          02/13/09    003466     City of Port St. Lucie Utilities                 Water utilities                                  2690-000                                       14,124.97              52,563.28


          02/13/09    003467     Helena Chemical Co.                              Golf Course Maint.                               2690-000                                       16,616.71              35,946.57


          02/13/09    003468     Upstart Products                                 Golf Course Maint.                               2690-000                                          6,290.06            29,656.51


          02/13/09    003469     Deana Ens                                        Contract Labor Cetta Party                       2690-000                                           150.00             29,506.51


          02/13/09    003470     Kenneth Ferguson                                 Auto Allowance Loss                              2690-000                                           350.00             29,156.51


          02/13/09    003471     Ready Care Industries, Inc.                      Spa Product                                      2690-000                                          1,466.16            27,690.35


          02/13/09    003472     Recycling Services, LLC                          Organic Waste Removal                            2690-000                                          1,000.00            26,690.35


          02/13/09    003473     Gordon Food Services, Inc.                       Food & Beverage                                  2690-000                                          3,816.33            22,874.02


          02/13/09    003474     Troy Hein                                        Contract Labor Cetta Party                       2690-000                                           125.00             22,749.02


          02/13/09    003475     Allen Roberts Floral Designs                     Flowers                                          2690-000                                           222.69             22,526.33


          02/13/09    003476     Jennifer Mae Greear                              Contract Labor Cetta PArty                       2690-000                                           288.75             22,237.58




                                                                                                                             Page Subtotals                        0.00              46,668.31
                                                                                                                                                                                                         Ver: 17.02e
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                                                        Case 08-29769-MAM               Doc 882           Filed 07/30/13      Page 136 of 320
                                                                                           FORM 2 "EXHIBIT B"                                                                                   Page: 129
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                3                                                     4                                        5                       6                  7
    Transaction      Check or                                                                                                       Uniform                                                     Account / CD
       Date          Reference                  Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          02/13/09    003477     Christina Howe                                    Contract Labor                                  2690-000                                          127.50             22,110.08


          02/13/09    003478     Anthony Marasco                                   Contract Labor                                  2690-000                                          127.50             21,982.58


          02/13/09    003479     Freshpoint A One A Produce                        Food & Beverage                                 2690-000                                          340.94             21,641.64
                                 & Dairy


          02/13/09    003480     Jean P. Beaudet                                   Contract Labor Cetta Party                      2690-000                                          125.00             21,516.64


          02/13/09    003481     Ana Paula Martins                                 Contract Labor Cetta Party                      2690-000                                          165.00             21,351.64


          02/13/09    003482     Claudete Frizo                                    Contract Labor Cetta Party                      2690-000                                          165.00             21,186.64


          02/13/09    003483     Ramiro Telles                                     Contract Labor Cetta Party                      2690-000                                          165.00             21,021.64


          02/13/09    003484     Ana Taggart                                       Contract Labor Cetta party                      2690-000                                          165.00             20,856.64


          02/13/09    003485     Jeremiah Packer                                   Contract labor Cetta party                      2690-000                                          142.50             20,714.14


          02/13/09    003486     Lisa Carnall                                      Contract Labor Cetta party                      2690-000                                          108.75             20,605.39


          02/13/09    003487     Nicole Mirkowski                                  Contract Labor Cetta party                      2690-000                                          135.00             20,470.39


          02/13/09    003488     Mike Mirkowski                                    Contract Labor Cetta Party                      2690-000                                          135.00             20,335.39


          02/13/09    003489     Arica Haering                                     Contract Labor Cetta party                      2690-000                                          165.00             20,170.39


          02/13/09    003490     Sageste Jean-Pierre                               Contract Labor Cetta party                      2690-000                                           78.75             20,091.64



                                                                                                                             Page Subtotals                        0.00              2,145.94
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                    Page: 130
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                3                                                4                                          5                       6                   7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/13/09    003491     Cathleen Erin Lanigan                          Contract Labot Cetta Party                      2690-000                                           127.50             19,964.14


          02/13/09    003492     Show Turf                                      Golf Course Maint.                              2690-000                                           181.85             19,782.29


          02/13/09    003493     Florida Dept. of Revenue                       Payment                                         2690-000                                            50.00             19,732.29


          02/13/09    003494     Home Depot Credit Services                     Payment                                         2690-000                                          1,082.06            18,650.23


          02/13/09    003495     G4 Technologies                                Inventory Software                              2690-000                                           200.00             18,450.23


          02/13/09    003496     Florida Superior Sand                          Top dressing sand                               2690-000                                          1,697.56            16,752.67


          02/13/09    003497     Precision Small Engine Co.                     Golf Course Maint.                              2690-000                                           726.56             16,026.11


          02/13/09    003498     Staples                                        Payment                                         2690-000                                            97.92             15,928.19


          02/13/09    003499     Global Golf Sales                              Golf Operations                                 2690-000                                           576.58             15,351.61


          02/13/09    003500     Cheney Brothers Inc.                           F&B                                             2690-000                                          1,596.98            13,754.63


          02/13/09    003501     Cigna Group Insurance                          LTD-STD Insurance                               2690-000                                          1,725.90            12,028.73


          02/13/09    003502     Brigido Cofresi                                Contract Labor (F&B)                            2690-000                                           465.00             11,563.73


          02/13/09    003503     Culligan                                       Water                                           2690-000                                            26.49             11,537.24


          02/13/09    003504     ESD Waste2Water                                Chiller Tower Water test                        2690-000                                           300.00             11,237.24




                                                                                                                          Page Subtotals                        0.00               8,854.40
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 131
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          02/13/09    003505     Capital Office Products                         Office products                                 2690-000                                           77.30               11,159.94


          02/13/09    003506     Lock-N-Go Storage                               Attic Stock Storage                             2690-000                                          298.20               10,861.74


          02/13/09    003507     Nicole Mercado                                  Contract Labor Cetta party                      2690-000                                          168.75               10,692.99


          02/17/09      32       Nigel McIvor                                    Dues                                            1121-000                    532.50                                     11,225.49
                                 4694 Manderly Dr.
                                 Wellington, Fl 33467


          02/17/09      32       American Express Travel Services                Dues                                            1121-000                   1,064.74                                    12,290.23
                                 20002 N. 19th Ave.
                                 A-17
                                 Phoenix, AZ 85027


          02/17/09      32       Charles Termine                                 Dues                                            1121-000                   2,582.63                                    14,872.86
                                 131 SE Via Marbella
                                 Port St. Lucie, FL 34984


          02/17/09      32       Elenor Termine                                  Dues                                            1121-000                    266.55                                     15,139.41
                                 131 SE Via Marbella
                                 Port St. Lucie, FL 34984


          02/17/09      32       Marshall Brothers                               Dues                                            1121-000                    541.36                                     15,680.77
                                 5500 Collins Ave. Apt 403
                                 Miami Beach, FL 33140


          02/17/09      32       Kamlesh Patel                                   Dues                                            1121-000                    532.50                                     16,213.27
                                 1060 Stratford Pl.


                                                                                                                           Page Subtotals                   5,520.28                544.25
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 132
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Melbourne, FL 32940


          02/17/09      32       Richard Smith                                   Dues                                          1121-000                   2,898.54                                    19,111.81
                                 652 Creighton Rd.
                                 Villanova, PA 19085


          02/17/09      32       Jacalyn Kennedy                                 Dues                                          1121-000                    132.00                                     19,243.81
                                 302 W. Cassine Ct.
                                 lm City, FL 34990


          02/18/09      32       Micheal Cetta                                   Banquet payment                               1121-000               31,654.34                                       50,898.15


          02/18/09      32       DeAngelis & McNamara, P.C.                      Dues                                          1121-000                    532.50                                     51,430.65
                                 1177Greenwich Ave.
                                 Warwick, RI 02886


          02/18/09      32       Frank Palermo                                   Dues                                          1121-000                    532.50                                     51,963.15
                                 16273 Sierra PAlms Sr.
                                 Delray Beach, FL 33484


          02/18/09      32       Marsha Cetta                                    Dues                                          1121-000                    129.04                                     52,092.19
                                 128 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          02/18/09      32       Law offices of Gordon Koeer                     Dues                                          1121-000                   2,000.00                                    54,092.19
                                 One E. Broward Blvd.
                                 Ste 700
                                 Ft. Lauderdale, FL 33301




                                                                                                                         Page Subtotals               37,878.92                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                              Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                               Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                                Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                   Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1             2                                3                                                 4                                               5                       6                    7
     Transaction     Check or                                                                                                           Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                           Description Of Transaction             Tran. Code      Deposits ($)         Disbursements ($)        Balance ($)
          02/18/09               The Tesoro Club                                 Check reissued for Cigna Payment                      1290-000                  4,494.21                                    58,586.40
                                                                                 Software issue. Replacement checks were required to
                                                                                 be issued to estate w/ TCMS linkage would
                                                                                 incorrectly give negative linkage.


          02/18/09               The Tesoro Club                                 Check reissued for Cigna payment                      1290-000                  4,881.73                                    63,468.13
                                                                                 Software issue. Replacement checks were required to
                                                                                 be issued to estate w/ TCMS linkage would
                                                                                 incorrectly give negative linkage.


 *        02/18/09    003225     CIGNA GROUP INSURANCE                           INSURANCE                                             5300-003                                         -4,494.21            67,962.34
                                                                                 Changing payee from Cigna to Tesoro Club


 *        02/18/09    003423     CIGNA GROUP INSURANCE                           Insurance Manual 2                                    5300-003                                         -4,881.73            72,844.07
                                                                                 Changing payee from Cigna to The Tesoro Club


          02/18/09    003508     Florida Power & Light                           Utilities                                             2690-000                                     14,352.76                58,491.31


          02/18/09    003509     The Tesoro Club                                 INSURANCE                                             5300-000                                         4,494.21             53,997.10


          02/18/09    003510     The Tesoro Club                                 Insurance Manual 2                                    5300-000                                         4,881.73             49,115.37


          02/19/09      71       Stearns Weaver Miller, et al                    TIP Loan Credit Suisse                                1290-000             225,000.00                                   274,115.37
                                 Trust Account


          02/19/09               Colonial Bank                                   Turnover of Funds                                     1290-000             121,544.68                                   395,660.05


          02/19/09    003511     Allegro                                         Invoice payment                                       2690-000                                           219.95         395,440.10
                                 12799 Claude Ct.


                                                                                                                                Page Subtotals              355,920.62                  14,572.71
                                                                                                                                                                                                             Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                      Page: 134
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                 3                                               4                                            5                       6                   7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Thornton, CO 80241


          02/19/09    003512     St. Lucie Rock                                 Drain Covers                                      2690-000                                           697.00         394,743.10


          02/19/09    003513     Palmdale Oil                                   Gas shipment                                      2690-000                                          2,500.00        392,243.10
                                 911 N. 2nd St.
                                 Fort Pierce, FL 34950


          02/19/09    003514     CopyScan, Inc.                                 Copy invoices                                     2690-000                                          6,041.66        386,201.44
                                 1230 S. Andrews Ave.                           #117546, 117545, 117511, 117562, 117598, 117433
                                 Ft. Lauderdale, FL 33316


          02/19/09    003515     David Aguilar                                  Wages                                             2690-000                                           957.87         385,243.57
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          02/19/09    003516     Raul Alva Lopez                                Wages                                             2690-000                                          1,110.49        384,133.08
                                 6100 SE Michael Dr
                                 Stuart, FL 34997


          02/19/09    003517     Todd A Anderson                                Wages                                             2690-000                                          1,446.32        382,686.76
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          02/19/09    003518     Tomas T Andres                                 Wages                                             2690-000                                           857.49         381,829.27
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956


          02/19/09    003519     Eugene P Baker                                 Wages                                             2690-000                                           824.59         381,004.68


                                                                                                                            Page Subtotals                        0.00              14,435.42
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 135
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          02/19/09    003520     William J Batusic                              Wages                                         2690-000                                          1,273.17        379,731.51
                                 825 Sand Tree Drive
                                 Palm Beach Gardens, FL 33403


          02/19/09    003521     Matthew A Boyd                                 Wages                                         2690-000                                          2,678.27        377,053.24
                                 813 SE Starflower Ave
                                 Port St Lucie, FL 34983


          02/19/09    003522     Paul K Brown                                   Wages                                         2690-000                                          1,095.29        375,957.95
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          02/19/09    003523     Dana M Cates                                   Wages                                         2690-000                                          1,115.13        374,842.82
                                 1009 Sw Dubuque Ave
                                 Port St Lucie, FL 34953


          02/19/09    003524     Arelis Cohen                                   Wages                                         2690-000                                          1,074.91        373,767.91
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          02/19/09    003525     Harvey K Congdon                               Wages                                         2690-000                                          4,642.70        369,125.21
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952


          02/19/09    003526     Tomas N Cruz                                   Wages                                         2690-000                                           891.05         368,234.16
                                 P.O. Box 1161


                                                                                                                        Page Subtotals                        0.00              12,770.52
                                                                                                                                                                                                    Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Indiantown, FL 34956


          02/19/09    003527     Kimberly A Deorsey                             Wages                                         2690-000                                          1,498.65        366,735.51
                                 121 Poinciana Drive
                                 Jupiter, FL 33458


          02/19/09    003528     Menuau Destine                                 Wages                                         2690-000                                           891.71         365,843.80
                                 2686 Bonita Street
                                 Stuart, FL 34997


          02/19/09    003529     Douglas C Feinsinger                           Wages                                         2690-000                                          1,738.89        364,104.91
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          02/19/09    003530     Kenneth D Ferguson                             Wages                                         2690-000                                          1,189.70        362,915.21
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983


          02/19/09    003531     Susano E Figeroa                               Wages                                         2690-000                                           636.61         362,278.60
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          02/19/09    003532     Alfonso F Garcia Lopez                         Wages                                         2690-000                                           767.56         361,511.04
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          02/19/09    003533     David S Gibbons                                Wages                                         2690-000                                           815.79         360,695.25
                                 442 Se Fairchild Ave
                                 Port Saint Lucie, FL 34984


                                                                                                                        Page Subtotals                        0.00               7,538.91
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 137
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          02/19/09    003534     Granvel T Griffin                              Wages                                         2690-000                                           885.68         359,809.57
                                 19682 Nw 282nd St
                                 Okeechobee, FL 34972


          02/19/09    003535     Magnus K Gustafsson                            Wages                                         2690-000                                          2,367.92        357,441.65
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967


          02/19/09    003536     Juan J Gutierres                               Wages                                         2690-000                                           633.85         356,807.80
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


          02/19/09    003537     Larry Hoffman                                  Wages                                         2690-000                                          1,984.85        354,822.95
                                 9756 Sw Pueblo Terr
                                 Palm City, FL 34990


          02/19/09    003538     Eric J Hummel                                  Wages                                         2690-000                                          1,152.63        353,670.32
                                 13840 Osprey Links Rd Apt #214
                                 Orlando, FL 32837


          02/19/09    003539     Jacob P Ivey                                   Wages                                         2690-000                                          1,021.66        352,648.66
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          02/19/09    003540     Anna L Katz                                    Wages                                         2690-000                                          1,247.36        351,401.30
                                 1833 SW Buttercup Avenue
                                 Port St Lucie, FL 34953




                                                                                                                        Page Subtotals                        0.00               9,293.95
                                                                                                                                                                                                    Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/19/09    003541     Jacalyn A Kennedy                              Wage                                          2690-000                                          2,535.81        348,865.49
                                 302 Sw Cassine Court
                                 Palm City, FL 34990


          02/19/09    003542     Todd Kitchen                                   Wages                                         2690-000                                          1,337.59        347,527.90
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          02/19/09    003543     Evelina D Klaassen                             Wages                                         2690-000                                          1,619.53        345,908.37
                                 3741 SW Bimini Circle N
                                 Palm City, FL 34990


          02/19/09    003544     Thomas C Knowles                               Wages                                         2690-000                                          3,310.39        342,597.98
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          02/19/09    003545     Julia Lanek                                    Wages                                         2690-000                                          1,347.07        341,250.91
                                 4083 Nw Cinnamon Gr
                                 Jensen Beach, FL 34957


          02/19/09    003546     Heather A Lonergan                             Wages                                         2690-000                                          1,201.53        340,049.38
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


          02/19/09    003547     Antonio Francisco Lopez                        Wages                                         2690-000                                           637.55         339,411.83
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


          02/19/09    003548     Marbin Lopez                                   Wages                                         2690-000                                           755.76         338,656.07


                                                                                                                        Page Subtotals                        0.00              12,745.23
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 139
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          02/19/09    003549     Timothy P Marrone                               Wages                                         2690-000                                           991.45         337,664.62
                                 980 SE San Jeronimo
                                 Port St Lucie, FL 34952


          02/19/09    003550     Philip D Mastronardi                            Wages                                         2690-000                                           888.83         336,775.79
                                 1764 N Dovetail Dr
                                 Fort Pierce, FL 34982


          02/19/09    003551     Pedro Mateo Domingo                             Wages                                         2690-000                                           638.34         336,137.45
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          02/19/09    003552     Miguel A Maxia                                  Wages                                         2690-000                                           699.25         335,438.20
                                 14893 Cherokee St
                                 Indiantown, FL 34956


          02/19/09    003553     Victor Mendez Bravo                             Wages                                         2690-000                                          1,088.38        334,349.82
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          02/19/09    003554     Andres Miguel Juan                              Wages                                         2690-000                                           671.82         333,678.00
                                 14941 Washington Street
                                 Indiantown, FL 34956


          02/19/09    003555     Edzer Mondisir                                  Wages                                         2690-000                                           643.79         333,034.21


                                                                                                                         Page Subtotals                        0.00               5,621.86
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 140
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 2651 Se Clayton St
                                 Stuart, FL 34997


          02/19/09    003556     Jose A Montejo                                  Wages                                         2690-000                                           714.49         332,319.72
                                 135 7th Street Apt. 3
                                 Jupiter, FL 33458


          02/19/09    003557     Olegario S Morales                              Wages                                         2690-000                                           835.60         331,484.12
                                 Po Box 1161
                                 Indiantown, FL 34956


          02/19/09    003558     Franklin F Neumann                              Wages                                         2690-000                                          1,086.66        330,397.46
                                 2386 SW Marshfield Court
                                 Port St Lucie, FL 38953


          02/19/09    003559     Michael B Pascal                                Wages                                         2690-000                                          1,505.03        328,892.43
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


          02/19/09    003560     Rosa M Payamps                                  Wages                                         2690-000                                           747.75         328,144.68
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          02/19/09    003561     Francine M Peach                                Wages                                         2690-000                                          1,298.08        326,846.60
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          02/19/09    003562     Indira Perez Azcona                             Wages                                         2690-000                                           828.45         326,018.15
                                 2226 SW Dapsco Ave


                                                                                                                         Page Subtotals                        0.00               7,016.06
                                                                                                                                                                                                     Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 34953


          02/19/09    003563     Israel Perez Perez                              Wages                                         2690-000                                           737.99         325,280.16
                                 214 Southview Dr
                                 Jupiter, FL 33458


          02/19/09    003564     Hugo R Perez                                    Wages                                         2690-000                                           715.41         324,564.75
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          02/19/09    003565     Maria Perez                                     Wages                                         2690-000                                          1,038.23        323,526.52
                                 5809 Se Collins Ave
                                 Stuart, FL 34994


          02/19/09    003566     Delmiro A Quinonez                              Wages                                         2690-000                                           933.67         322,592.85
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947


          02/19/09    003567     William W Ramon                                 Wages                                         2690-000                                           757.12         321,835.73
                                 Po Box 14-52
                                 Indiantown, FL 34956


          02/19/09    003568     Luis M Rodriguez Diaz                           Wages                                         2690-000                                           661.66         321,174.07
                                 130 1st Street #5
                                 Jupiter, FL 33458


          02/19/09    003569     Kimberly A Rodriguez                            Wages                                         2690-000                                          1,258.45        319,915.62
                                 2289 SE Melaleuca Blvd
                                 Port St Lucie, FL 34952


                                                                                                                         Page Subtotals                        0.00               6,102.53
                                                                                                                                                                                                     Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          02/19/09    003570     Ryan Ronan                                      Wages                                         2690-000                                          2,856.18        317,059.44
                                 1681 SW Jamesport Drive
                                 Port St Lucie, FL 34953


          02/19/09    003571     Roberin Roselio Castillo                        Wages                                         2690-000                                           705.26         316,354.18
                                 214 Southview Dr
                                 Jupiter, FL 33458


          02/19/09    003572     Janet Suzanne Ruadez                            Wages                                         2690-000                                          1,874.08        314,480.10
                                 703 E. Apix Circle
                                 Jupiter, FL 33458


          02/19/09    003573     Niguer Sales Hernandez                          Wages                                         2690-000                                           732.58         313,747.52
                                 314 Kennedy Street
                                 Jupiter, FL 33458


          02/19/09    003574     Olegario Santizo                                Wages                                         2690-000                                           599.09         313,148.43
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          02/19/09    003575     Jesus B Serrano                                 Wages                                         2690-000                                           918.01         312,230.42
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          02/19/09    003576     Rodolfo Serrano                                 Wages                                         2690-000                                           475.67         311,754.75
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956




                                                                                                                         Page Subtotals                        0.00               8,160.87
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 143
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/19/09    003577     Shaniqua A Shoe                                Wages                                         2690-000                                          1,405.91        310,348.84
                                 4272 SW Xenon St
                                 Port St Lucie, FL 34953


          02/19/09    003578     Douglas T Sinclair                             Wages                                         2690-000                                           925.51         309,423.33
                                 394 Nw Stratford Ln
                                 Port St Lucie, FL 34983


          02/19/09    003579     Brian R Sprague                                Wages                                         2690-000                                          1,190.57        308,232.76
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          02/19/09    003580     Leroy L Stennett                               Wages                                         2690-000                                           768.37         307,464.39
                                 912 SW Fable Ave
                                 Port St Lucie, FL 34953


          02/19/09    003581     Justin D Stoff                                 Wages                                         2690-000                                           550.00         306,914.39
                                 283 Nabble Ave
                                 Port St Lucie, FL 34953


          02/19/09    003582     Lee E Vanroekel                                Wages                                         2690-000                                          2,602.68        304,311.71
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


          02/19/09    003583     Jacob I Vazquez                                Wages                                         2690-000                                           876.98         303,434.73
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          02/19/09    003584     Luis O Zapeta                                  Wages                                         2690-000                                           669.47         302,765.26


                                                                                                                        Page Subtotals                        0.00               8,989.49
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 144
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          02/19/09    003585     Domingo Sapon                                   Wages                                         2690-000                                           667.66         302,097.60
                                 273 SE Norfold Blvd
                                 Stuart Fl 34997


          02/19/09    003586     Alan Francoeur                                  Wages                                         2690-000                                           825.98         301,271.62
                                 649 NW Cardinal Dr
                                 Port St Lucie Fl 34983


          02/19/09    003587     Filberto Castillo-Martinez                      Wages                                         2690-000                                           827.26         300,444.36
                                 309 3rd St
                                 Jupiter Fl 33458


          02/19/09    003588     Andrew Kabis                                    Wages                                         2690-000                                          1,263.48        299,180.88
                                 1885 SW Penrose Ave
                                 Port St Lucie Fl 34953


          02/19/09    003589     Jesse Michalowski                               Wages                                         2690-000                                           677.17         298,503.71
                                 10428 SW West Lawn Blvd.
                                 Port St. Lucie, Fl 34987


          02/19/09    003590     Carlos Santini, Jr.                             Wages                                         2690-000                                          1,596.65        296,907.06
                                 501 NW Sherbrooke Ave.
                                 Port St. Lucie, FL 34983


          02/19/09    003591     Emilio Sanzano                                  Wages                                         2690-000                                           740.16         296,166.90
                                 785 NW Dupre St.


                                                                                                                         Page Subtotals                        0.00               6,598.36
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page: 145
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                  7
    Transaction      Check or                                                                                                   Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 Port St. Lucie, FL 34983


          02/19/09    003592     John Carlson                                    Wages                                         2690-000                                          706.99         295,459.91
                                 1892 SW Success St.
                                 Port St. Lucie, FL 34953


          02/19/09    003593     Edward Marrone                                  Wages                                         2690-000                                          666.02         294,793.89
                                 2980 SE San Jeronimo
                                 Port St. Lucie, FL 34952


          02/19/09    003594     Jorge Martinez-Cobon                            Wages                                         2690-000                                          745.49         294,048.40
                                 316 Kenedy St.
                                 Jupiter, FL 33458


          02/19/09    003595     Michael Morash                                  Wages                                         2690-000                                          677.17         293,371.23
                                 3957 SW Kakopo St.
                                 Port St. Lucie, FL 34953


          02/19/09    003596     Raymond Negron                                  Wages                                         2690-000                                          646.92         292,724.31
                                 3079 SE Galt Circle
                                 Port St. Lucie, FL 34984


          02/19/09    003597     Jason Paquette                                  Wages                                         2690-000                                          676.99         292,047.32
                                 2573 SW Abate St.
                                 Port St. Lucie, FL 34953


          02/19/09    003598     Lantz Pierre                                    Wages                                         2690-000                                          695.39         291,351.93
                                 2872 SE Nance St.
                                 Port St. Lucie, FL 34984


                                                                                                                         Page Subtotals                        0.00              4,814.97
                                                                                                                                                                                                    Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                              3                                                4                                           5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


 *        02/19/09    003599     INTERNAL REVENUE SERVICE                       FICA (SOCIAL SECURITY EMPLOYEE)                5300-003                                          1,739.20        289,612.73


 *        02/19/09    003600     INTERNAL REVENUE SERVICE                       FICA SOCIAL SECURITY EMPLOYER                  5800-003                                          1,739.20        287,873.53


 *        02/19/09    003601     INTERNAL REVENUE SERVICE                       FUTA EMPLOYER PAID                             5800-003                                           958.46         286,915.07


 *        02/19/09    003602     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYER)                       5800-003                                           406.74         286,508.33


 *        02/19/09    003603     INTERNAL REVENUE SERVICE                       FICA (MEDICARE EMPLOYEE)                       5300-003                                           406.74         286,101.59


 *        02/19/09    003604     INTERNAL REVENUE SERVICE                       SUTA EMPLOYER PAID                             5800-003                                          2,853.53        283,248.06


          02/19/09    003605     STATE OF FLORIDA                               SUTA EMPLOYER PAID                             5800-000                                           381.24         282,866.82


 *        02/19/09    003606     INTERNAL REVENUE SERVICE                       Federal Manual 3                               5300-003                                       10,880.18          271,986.64


 *        02/19/09    003607     INTERNAL REVENUE SERVICE                       FICA Medicare Manual 3                         5300-003                                          1,260.01        270,726.63


 *        02/19/09    003608     INTERNAL REVENUE SERVICE                       FICA Mediare Manual Employer 3                 5800-003                                          1,260.01        269,466.62


 *        02/19/09    003609     INTERNAL REVENUE SERVICE                       FICA Social Security Manual 3                  5300-003                                          5,387.65        264,078.97


 *        02/19/09    003610     INTERNAL REVENUE SERVICE                       FICA Social Security Manual Employ3            5800-003                                          5,387.65        258,691.32


          02/19/09    003611     THE TESORO CLUB                                Insurance Manual 3                             5300-000                                          4,857.31        253,834.01
                                 2000 SE Via Tesoro Blvd
                                 Port St. Lucie, FL 34984



                                                                                                                         Page Subtotals                        0.00              37,517.92
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                      Page: 147
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                               3                                                   4                                            5                       6                   7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/19/09    003612     STATE OF FLORIDA DISBURSEMENT UNIT               Brian Sprague                                     5300-000                                           266.00         253,568.01
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          02/19/09    003613     STATE OF FLORIDA DISBURSEMENT UNIT               Rodolfo Serrano                                   5300-000                                           160.00         253,408.01
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          02/19/09    003614     CopyScan, Inc.                                   Invoice payment                                   2690-000                                          6,041.66        247,366.35
                                 1230 S. Andrews Ave                              117546,117545, 117511, 117562, 117598, 117433
                                 Ft. Lauderdale, FL 33316


          02/19/09    003615     National City Golf Finance                       Golf Equipment Lease                              2690-000                                       41,035.47          206,330.88


          02/19/09    003616     New England Fish Market                          Food & Beverage                                   2690-000                                           342.00         205,988.88


          02/19/09    003617     Orkin, Inc.                                      Pest Control                                      2690-000                                           767.86         205,221.02


          02/19/09    003618     Publix Supermarkets                              F&B                                               2690-000                                           118.04         205,102.98


          02/19/09    003619     Robert Erneston Produce, Inc.                    F & B Produce                                     2690-000                                           537.14         204,565.84


          02/19/09    003620     Shannon Rios                                     Spa Contract Labor                                2690-000                                          1,187.50        203,378.34


          02/19/09    003621     Anthony Sprague                                  F&B Contract Labor                                2690-000                                           273.75         203,104.59


          02/19/09    003622     Waste Pro-Ft. Pierce                             Waste Removal                                     2690-000                                           475.00         202,629.59


          02/19/09    003623     Sarah Hurt                                       Spa contract labor                                2690-000                                          1,037.30        201,592.29


                                                                                                                              Page Subtotals                        0.00              52,241.72
                                                                                                                                                                                                          Ver: 17.02e
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                3                                                  4                                          5                       6                  7
     Transaction     Check or                                                                                                      Uniform                                                     Account / CD
        Date         Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)


          02/19/09    003624     Dione Cantu                                      F&B Contract Labor                              2690-000                                           252.00        201,340.29


          02/19/09    003625     Jannilet Fernandez                               F&B Contract Labor                              2690-000                                           175.00        201,165.29


          02/19/09    003626     Susan Taggart                                    Spa contract Labor                              2690-000                                            35.00        201,130.29


          02/19/09    003627     Ruth Cooper                                      Spa Contract Labor                              2690-000                                           460.00        200,670.29


          02/19/09    003628     St. Lucie Rock Waterfalls, Inc.                  Pool Drain Covers for Code comp                 2690-000                                          2,085.00       198,585.29


          02/19/09    003629     Deana Ens                                        Contract labor                                  2690-000                                            90.00        198,495.29


          02/19/09    003630     GE Capital                                       Golf Cart Lease                                 2690-000                                          9,879.46       188,615.83


          02/19/09    003631     Kimberly Kozar                                   Spa Contract Labor                              2690-000                                           527.20        188,088.63


          02/19/09    003632     Stacey Siebmann                                  Contract Labor Fitness                          2690-000                                            70.00        188,018.63


 *        02/19/09    003633     Tesoro Golf Holdings, LLC                        Palmer Rent Jan & Feb 09                        2690-003                                       54,000.00         134,018.63


          02/19/09    003634     Ginn Development Company, LLC                    Reimbursement for Insurance                     2690-000                                       42,196.84             91,821.79


          02/19/09    003635     Brennan Golf Sales                               Golf Course Maint                               2690-000                                           843.10            90,978.69


          02/19/09    003636     A Copy & Signs, Inc.                             Signs and copies                                2690-000                                            31.42            90,947.27


          02/19/09    003637     Jennifer Mae Greear                              F&B Contract Labor                              2690-000                                           142.50            90,804.77



                                                                                                                            Page Subtotals                        0.00           110,787.52
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                        Page: 149
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                 3                                                 4                                            5                       6                   7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          02/19/09    003638     Music Works Talent                              Wedding DJ                                         2690-000                                           350.00             90,454.77


          02/19/09    003639     Nicole Mirkowski                                Contract Labor F & B                               2690-000                                           221.25             90,233.52


 *        02/19/09    003640     Mike Mirkowski                                  Contract Labor F&B                                 2690-004                                           135.00             90,098.52


          02/19/09    003641     Manpower                                        Cetta Party Labor                                  2690-000                                           784.30             89,314.22


          02/19/09    003642     Advanced Mulch, Inc.                            Golf Course Maint.                                 2690-000                                          3,500.00            85,814.22


          02/19/09    003643     King Tree Service of South Florida              Golf Course Maint                                  2690-000                                           161.10             85,653.12


          02/19/09    003644     Shift4 Corporation                              F&B Inventory                                      2690-000                                            52.63             85,600.49


          02/19/09    003645     Cheney Brothers, Inc                            F&B Product                                        2690-000                                          7,438.34            78,162.15


          02/19/09    003646     Brigidio Cofresi                                Contract Labor                                     2690-000                                           405.00             77,757.15


          02/19/09    003647     Florida's Finest Linen                          Linen Service                                      2690-000                                           879.69             76,877.46


          02/19/09    003648     Aimee Gordon                                    Contract Labor F & B                               2690-000                                           108.75             76,768.71


          02/19/09    003649     IKON Financial Service                          Copier Lease                                       2690-000                                          1,318.23            75,450.48


          02/19/09    003650     Mermaid Maintenance Service, Inc.               Pool Service                                       2690-000                                          1,115.00            74,335.48


          02/19/09    003651     Thomas C. Knowles, III                          Employee Reimbursment                              2690-000                                          1,413.63            72,921.85



                                                                                                                              Page Subtotals                        0.00              17,882.92
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page: 150
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          02/19/09    003652     Nicole Mercado                                  Spa Contract Labor                             2690-000                                          998.40               71,923.45


          02/20/09      32       Jon Arnold                                      Dues                                           1121-000                   1,000.00                                    72,923.45
                                 336 Pablo Ter
                                 Ponte Vedra Beach, FL 32082


          02/20/09      32       Gus Deribeaux                                   Dues                                           1121-000                    931.88                                     73,855.33
                                 6885 SW 92 St.
                                 Miami, FL 33156


          02/20/09      32       Gus Deribeaux                                   Dues                                           1121-000                     80.63                                     73,935.96
                                 6885 SW 92 St.
                                 Miami, FL 33156


          02/20/09      32       Carolyn Haering                                 Dues                                           1121-000                   5,000.00                                    78,935.96


          02/20/09      32       Antonini                                        Dues                                           1121-000                   3,840.61                                    82,776.57
                                 First American Title Insurance Co
                                 201 SW Port St. Lucie Blvd.
                                 Suite 205
                                 Port St. Lucie, FL 34984


          02/20/09      32       Antonini                                        dues                                           1121-000                   2,795.64                                    85,572.21
                                 First American Title InsuranceCo
                                 201 SW Port St. Lucie Blvd.
                                 Suite 205
                                 Port St. Lucie, FL 34984




                                                                                                                          Page Subtotals               13,648.76                   998.40
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                Page: 151
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference                 Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          02/20/09      32       Stephen Dotson                                   Dues                                          1121-000                    724.59                                     86,296.80
                                 3630 SW Sunset Trace Circle
                                 Palm City, FL 34990


          02/20/09      32       Janeth Andrade                                   dues                                          1121-000                    620.90                                     86,917.70
                                 2025 SE Kilmallie Ct.
                                 Port St. Lucie, FL 34952


          02/20/09      32       Joe Rodriguez                                    Dues                                          1121-000                     10.00                                     86,927.70
                                 2289 SE Malaleuca Blvd.
                                 Port St. Lucie, FL 34952


          02/20/09      32       Frank Krawiecki                                  Dues                                          1121-000                     88.55                                     87,016.25
                                 288 Little Plains Rd.
                                 Huntington, NY 11743


          02/20/09      32       Frank Krawiecki                                  Dues                                          1121-000                   2,484.66                                    89,500.91
                                 288 Little Plains Rd.
                                 Huntington, NY 11743


          02/20/09      32       Sharon Sina                                      Dues                                          1121-000                   3,425.71                                    92,926.62
                                 108 SE Mira Lavella
                                 Port St. Lucie, FL 34984


          02/20/09      32       Paul Boucher                                     Dues                                          1121-000                   1,665.56                                    94,592.18
                                 1006 SW Woodcreek Dr.
                                 Palm City, FL 34990


          02/20/09      32       Gary Smiley                                      Dues                                          1121-000                    532.50                                     95,124.68


                                                                                                                          Page Subtotals                   9,552.47                  0.00
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 152
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                             4                                           5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                 6604 SW Woodham St.
                                 Palm City FL 34990


          02/20/09      32       Janeth Andrade                                  Dues                                           1121-000                     61.98                                     95,186.66
                                 2025 SE Kilmallie Ct.
                                 Port St. Lucie, FL 34952


          02/20/09    003653     Frenchman's Creek                               Golf Equipment                                 2690-000                                          930.00               94,256.66


          02/20/09    003654     WastePro                                        Waste Pick Up                                  2690-000                                          305.31               93,951.35


          02/20/09    003655     WastePro                                        Monthly Charge                                 2690-000                                          475.00               93,476.35


          02/20/09    003656     Nancy Aldrich                                   Spa Contract Labor                             2690-000                                           35.00               93,441.35


          02/23/09               The Tesoro Club                                 Cigna Employee Contribution                    1221-000                   4,857.31                                    98,298.66
                                 2000 SE Via Tesoro Blvd.
                                 Port St. Lucie, FL 34984


          02/23/09    003657     Event Makers                                    Erato Wedding event COD                        2690-000                                          552.61               97,746.05
                                 2928 SE Monroe St.
                                 Stuart, FL


          02/23/09    003658     Music Works                                     Music for member event                         2690-000                                          650.00               97,096.05
                                 5920 Ilatrock Rd.
                                 West Palm Beach, FL 33413


          02/23/09    003659     U.S. Food Service Inc.                          Delivery                                       2690-000                                          547.37               96,548.68
                                 7598 NW 6 Ave.


                                                                                                                          Page Subtotals                   4,919.29               3,495.29
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                     Page: 153
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                3                                                 4                                            5                       6                    7
    Transaction      Check or                                                                                                       Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                 Boca Raton, FL 33487


          02/24/09    003660     St. Lucie Battery and Tire                      COD for disposal                                  2690-000                                          332.74               96,215.94
                                 3992 SW Bruner Terr.
                                 Palm City, FL 34990


          02/24/09    003661     JJ Taylor                                       Beer dist. COD                                    2690-000                                          157.95               96,057.99
                                 2040 Park 82 Dr.
                                 Ft. Myers, FL 33905


          02/24/09    003662     National Republic                               Beverages                                         2690-000                                          248.73               95,809.26
                                 441 SW 12 Ave.
                                 Deerfield Beach, FL 33442


          02/24/09    003663     Premier                                         Liquor COD                                        2690-000                                          207.62               95,601.64
                                 9801 Premier Pkwy
                                 Hollywood, FL 33025


          02/24/09    003664     Southern Eagle                                  COD for beer                                      2690-000                                          105.00               95,496.64
                                 5300 Glades Cut Off Rd.
                                 Ft. Pierce, FL 34981


          02/25/09      32       William Callahan                                Dues                                              1121-000                    425.00                                     95,921.64
                                 4104 Great Oak Rd.
                                 Rockville, MD 20853


          02/25/09      32       William Cardoza                                 Dues                                              1121-000                    625.00                                     96,546.64
                                 4300 Norbeck Rd.
                                 Rockville, MD 20853


                                                                                                                             Page Subtotals                   1,050.00               1,052.04
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 154
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          02/25/09      32       Laura Murphy                                    Dues                                          1121-000                    750.00                                     97,296.64
                                 14604 Carrolton Rd.
                                 Rockville, MD 20853


          02/25/09      32       Joseph Jacques                                  Dues                                          1121-000                    556.58                                     97,853.22
                                 15430 Avery Rd.
                                 Rockville, MD 20855


          02/25/09      32       Javier Semerene                                 Dues                                          1121-000                    532.50                                     98,385.72
                                 2487 Eagle Watch Ln
                                 weston, FL 33327


          02/25/09      32       FJB & Associates, Inc.                          Dues                                          1121-000                   1,058.38                                    99,444.10


          02/25/09      32       Chase Online Bill PAyment                       Dues                                          1121-000                   1,251.57                                100,695.67
                                 POB 260169
                                 Baton Rouge, LA 70826


          02/25/09      32       Miranda Victor                                  Dues                                          1121-000                   2,708.01                                103,403.68
                                 124 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          02/25/09      32       Charles Horowitz                                Dues                                          1121-000                   1,205.00                                104,608.68
                                 101 20th St. Apt 2701
                                 Miami Beach, FL 33139


          02/25/09      32       Paul Edwards                                    Dues                                          1121-000                    532.50                                 105,141.18
                                 4260 Apple Valley Lane


                                                                                                                         Page Subtotals                   8,594.54                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 155
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 West Bloomfield, MI 48323


          02/25/09      32       Egan East Development Corp. II                  Dues                                          1121-000                    532.50                                 105,673.68


          02/25/09      32       Egan Development Corp II                        Dues                                          1121-000                    931.88                                 106,605.56


          02/25/09      32       Larry Wormmeester                               Dues                                          1121-000                   1,057.13                                107,662.69
                                 06823 Kenowa Ave.
                                 Grandville, MI 49418


          02/25/09      32       Steven Astuto                                   Dues                                          1121-000                    931.88                                 108,594.57
                                 420 S. Avondale St.
                                 Amarillo, TX 79106


          02/25/09      32       Lawrence Jerz                                   Dues                                          1121-000                   2,969.43                                111,564.00
                                 198 S.E. Via San Remo
                                 Port St. Lucie, FL 34984


          02/25/09      32       Steven Henry                                    Dues                                          1121-000                    931.88                                 112,495.88
                                 6527-1 Bay Club Dr.
                                 Ft. Lauderdale, FL 33308


          02/25/09      32       Barbara Ann Murray                              Dues                                          1121-000                   2,385.80                                114,881.68


          02/25/09      32       Roy Langenbach                                  Dues                                          1121-000                   1,519.38                                116,401.06
                                 12 0 SE Rio Casarano
                                 Port St. Lucie, FL 34984


          02/25/09      32       Daytona Land Co                                 Dues                                          1121-000                    988.81                                 117,389.87


                                                                                                                         Page Subtotals               12,248.69                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 156
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 2665 N. Atlantic Ave.
                                 Suite 300
                                 Daytona Beach, FL 32118


          02/25/09      32       Gulick Construction Company, Inc.               Dues                                          1121-000                   1,015.55                                118,405.42
                                 38 SE Ocean Blvd
                                 Stuart, FL 34994


          02/25/09      32       Linnes Finney, Jr.                              Dues                                          1121-000                   1,464.38                                119,869.80
                                 10960 Pine Creek Lane
                                 Port St. Lucie, FL 34986


          02/25/09      32       N J Lahowchic                                   Dues                                          1121-000                   5,499.63                                125,369.43
                                 196 SE Via San Remo
                                 Port St. Lucie, FL 34984


          02/25/09      32       Mark Nichols                                    Dues                                          1121-000                    931.88                                 126,301.31
                                 35 Sherrill Rd.
                                 Little Rock, AR 72202


          02/25/09      32       Bo Young Kang                                   Dues                                          1121-000                    931.88                                 127,233.19
                                 7254 SE 12 Cir.
                                 Ocala, FL 34480


          02/25/09      32       H.N. Corporation                                Dues                                          1121-000                   1,863.76                                129,096.95
                                 1316 N. Hills Blvd.
                                 North Little Rock, AR 72114


          02/25/09      32       G. Robert Marcus                                Dues                                          1121-000                   1,448.46                                130,545.41


                                                                                                                         Page Subtotals               13,155.54                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                 Page: 157
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 11 Butternut Lane
                                 Basking Ridge, NJ 07920


          02/25/09      32       Dink Investments LLC                           Dues                                          1121-000                    931.88                                 131,477.29
                                 124 Bear's Club Drive
                                 Jupiter, FL 33477


          02/25/09      32       Asialines Investments Corp.                    Dues                                          1121-000                    931.88                                 132,409.17
                                 3261 SE Morningside Blvd.
                                 Port St. Lucie, FL 34952


          02/25/09      32       Stewart Property Holdings, LLC                 Dues                                          1121-000                   5,616.28                                138,025.45
                                 49 E. 4 St.
                                 Ste 521
                                 Cincinnati, OH 45202


          02/25/09      32       Joe Rodriguez                                  Dues                                          1121-000                        7.37                               138,032.82
                                 2289 SE Melaleuca Blvd.
                                 Port St. Lucie, FL 34952


          02/25/09      32       Nigel McIvor                                   Dues                                          1121-000                    532.50                                 138,565.32
                                 4694 Manderly Dr.
                                 Wellington, FL 33467


          02/25/09      32       Harvey Liftin                                  Dues                                          1121-000                    931.88                                 139,497.20
                                 16705 Sapphire Spgs
                                 Weston, FL 33331


          02/25/09      32       Lawrence Zielinski                             Dues                                          1121-000                    589.96                                 140,087.16


                                                                                                                        Page Subtotals                   9,541.75                   0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                     Page: 158
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 14 Spur Rd.
                                 West Redding, CT 06896


          02/25/09      32       Joel Bierenbaum                                dues                                             1121-000                    931.88                                 141,019.04
                                 46 Gleason Dr.
                                 Thiells, NY 10984


          02/25/09      32       Joseph D. Vargas                               Dues                                             1121-000                    532.50                                 141,551.54
                                 1931 Staimford Cir.
                                 West Palm Beach, FL 33414


          02/25/09      32       Gerard Schiraldi                               Dues                                             1121-000                    705.61                                 142,257.15
                                 6 Main Ave.
                                 Garden City, NJ 11530


          02/25/09      32       Theresa Carr                                   Dues                                             1121-000                   1,801.40                                144,058.55
                                 3042 SE Doubleton Dr.
                                 Stuart, FL 34997


          02/25/09               Ginn-LA St. Lucie LTD., LLLP                   Reimb. for landscape equip.                      1221-000               10,805.18                                   154,863.73


          02/25/09    003665     Clerk of the Bankruptcy Court                  Certified copies of Notices of Appt              2700-000                                           159.25          154,704.48


          02/25/09    003666     Golf Ventures                                  Golf purchases                                   2690-000                                          7,414.96         147,289.52
                                 5101 Gateway Blvd.
                                 Lakeland, FL 33811


          02/25/09    003667     Prestige AB Management                         COD order                                        2690-000                                           611.04          146,678.48
                                 4170 Selvitz Rd.


                                                                                                                           Page Subtotals               14,776.57                   8,185.25
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                     Page: 159
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                3                                                 4                                           5                       6                   7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Ft. Pierce, FL 34981


          02/26/09    003668     S&S Air Conditioning                            AC Contract                                      2690-000                                          1,012.00        145,666.48


          02/26/09    003669     Palm Beach Linen and Laundry Service            Pool towel vendor                                2690-000                                           124.13         145,542.35


          02/26/09    003670     Robert Erneston Produce, Inc.                   F&B Produce                                      2690-000                                           385.17         145,157.18


          02/26/09    003671     Shannon Rios                                    F&B Contract Labor                               2690-000                                           181.65         144,975.53


          02/26/09    003672     Anthony Sprague                                 F&B Contract Labor                               2690-000                                           360.00         144,615.53


          02/26/09    003673     Vision Service Plan                             Employee Vision Plan                             2690-000                                           469.62         144,145.91


          02/26/09    003674     Waste Pro-Ft. Pierce                            Property Waste Removal                           2690-000                                           275.26         143,870.65


          02/26/09    003675     Guardian                                        Employee Dental Plan                             2690-000                                          2,866.19        141,004.46


          02/26/09    003676     St. Lucie Rock Waterfalls, Inc.                 Pool Heater                                      2690-000                                          1,374.87        139,629.59


          02/26/09    003677     Deana Ens                                       F&B Contract Labor                               2690-000                                           266.25         139,363.34


          02/26/09    003678     Matthew Salvino                                 Kitchen contract labor                           2690-000                                           125.00         139,238.34


          02/26/09    003679     James Dvornski                                  Kitchen contract labor                           2690-000                                           125.00         139,113.34


          02/26/09    003680     Troy Hein                                       Kitchen contract labor                           2690-000                                           125.00         138,988.34




                                                                                                                            Page Subtotals                        0.00               7,690.14
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                     Page: 160
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                               3                                                      4                                         5                       6                   7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          02/26/09    003681     Jennifer Mae Greear                               F&B Contract Labor                               2690-000                                           135.00         138,853.34


          02/26/09    003682     Jason Scholes                                     Kitchen contract labor                           2690-000                                           125.00         138,728.34


          02/26/09    003683     Mustang Electric                                  Chiller Tower Repair                             2690-000                                          4,221.60        134,506.74


          02/26/09    003684     Richard Brown                                     Tennis contract labor                            2690-000                                           240.00         134,266.74


          02/26/09    003685     Nicole Mirkowski                                  F&B contract labor                               2690-000                                           187.50         134,079.24


          02/26/09    003686     Mike Mirkowski                                    F&B Contract Labor                               2690-000                                           187.50         133,891.74


          02/26/09    003687     Acxiom Information Security Service               Employee background search                       2690-000                                           177.71         133,714.03


          02/26/09    003688     Florida City Gas                                  LP Gas (Utilities)                               2690-000                                          6,419.53        127,294.50


          02/26/09    003689     Jacalyn Kennedy                                   Employee Reimbursement                           2690-000                                            34.00         127,260.50


          02/26/09    003690     Dept. of Business and Professional Reg            Spa License renewal                              2690-000                                           273.00         126,987.50


          02/26/09    003691     All Around Power Wash, Inc.                       Exterior pressure cleaning                       2690-000                                          1,100.00        125,887.50


          02/26/09    003692     Shaun Cassidy                                     F&B Contract Labor                               2690-000                                           138.75         125,748.75


          02/26/09    003693     J.R. Congdon                                      Employee Reimbursement                           2690-000                                           222.50         125,526.25


          02/26/09    003694     Fernanda Noronha de Olivera                       F&B Contract Labor                               2690-000                                           157.50         125,368.75




                                                                                                                              Page Subtotals                        0.00              13,619.59
                                                                                                                                                                                                          Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                     6                    7
    Transaction      Check or                                                                                                       Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
          02/26/09    003695     Tammylee MacKenna                               F&B Contract Labor                                2690-000                                         157.50          125,211.25


          02/26/09    003696     Wesley Drake                                    F&B Contract Labor                                2690-000                                         157.50          125,053.75


          02/26/09    003697     Southern Wine & Spirits                         Liquor                                            2690-000                                         775.83          124,277.92
                                 1600 NW 163 St.
                                 Miami, FL 33169


          02/26/09    003698     Cheney Brothers, Inc.                           Food for F&B                                      2690-000                                        4,749.08         119,528.84


          02/26/09    003699     Brigido Cofresi                                 F&B contract labor                                2690-000                                         345.00          119,183.84


          02/26/09    003700     Florida Power & Light                           Utilities                                         2690-000                                         860.72          118,323.12


          02/26/09    003701     Aimee Gordon                                    F&B Contract Labor                                2690-000                                         187.50          118,135.62


          02/26/09    003702     IKON Financial Services                         Copier Leases                                     2690-000                                        1,438.28         116,697.34


          02/26/09    003703     Nicole Mercado                                  F&B Contract Labor                                2690-000                                         123.75          116,573.59


          03/02/09    003704     Southern Eagle                                  Beer distribution                                 2690-000                                          74.00          116,499.59
                                 5300 Glades Cut Off Rd.
                                 Ft. Pierce, FL 34981


          03/02/09    003705     U.S. Food Service, Inc.                         Food distribution                                 2690-000                                         322.24          116,177.35
                                 7598 NW 6 Ave.
                                 Boca Raton, FL 33487


          03/03/09      32       Mahmood                                         Dues                                              1121-000               19,262.74                                 135,440.09


                                                                                                                             Page Subtotals               19,262.74                 9,191.40
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 162
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          03/03/09      32       Andrews Gallant                                 Dues                                          1121-000                    589.55                                 136,029.64
                                 94 SW Palm Cove Dr.
                                 Palm City, FL 34990


          03/03/09      32       Bryant Walker                                   Dues                                          1121-000                   1,242.86                                137,272.50
                                 542 SW Keats Ave.
                                 Palm City, FL 34990


          03/03/09      32       Stanley Zabytko                                 Dues                                          1121-000                   3,417.03                                140,689.53
                                 222 SE Bella Strano
                                 Tesoro
                                 Port St. Lucie, FL 34984


          03/03/09      32       Michael Athieh                                  Dues                                          1121-000                   3,323.86                                144,013.39
                                 105 SE Santa Lucia
                                 Port St. Lucie, FL 34984


          03/03/09      32       Auta Hendler                                    dues                                          1121-000                    931.88                                 144,945.27
                                 21493 Linwood Ct.
                                 Boca Raton, FL 33433


          03/03/09      32       Micahel Wathen                                  dues                                          1121-000                    931.88                                 145,877.15
                                 231 Turtleback Rd.
                                 New Canaan, CT 06840


          03/03/09      32       Kenneth Mihalik                                 dues                                          1121-000                    115.56                                 145,992.71
                                 168 SW Fernleaf Trail
                                 Port St. Lucie, FL 34953


                                                                                                                         Page Subtotals               10,552.62                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                Page: 163
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                  Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          03/03/09      32       Ben Smith Toyota                                  dues                                          1121-000                   1,401.78                                147,394.49
                                 3350 U.S. Hwy 1
                                 Ft. Pierce, FL 34982


          03/03/09      32       Vincent Insalaco                                  Dues                                          1121-000                    159.26                                 147,553.75
                                 101 Oldfield Rd.
                                 Shavertown, PA 18708


          03/03/09      32       John Marre                                        Dues                                          1121-000                    532.50                                 148,086.25
                                 105 SE Santa Gardenia
                                 Port St. Lucie, FL 34984


          03/03/09      32       Robert Erato                                      Event                                         1121-000                   2,900.00                                150,986.25


          03/03/09      32       Nicole Erato                                      Event                                         1121-000                   2,900.00                                153,886.25


          03/03/09      32       Christopher Ampol                                 evwnt                                         1121-000                   2,900.00                                156,786.25


          03/03/09      32       Nicole Erato                                      Event                                         1121-000                   2,900.00                                159,686.25


          03/03/09      32       Robert Erato                                      Event                                         1121-000                   2,900.00                                162,586.25


          03/03/09      32       Stephanie Erato                                   Event                                         1121-000                   2,900.00                                165,486.25


          03/03/09      32       Nicole Erato                                      Dues                                          1121-000                   2,900.00                                168,386.25


          03/03/09      32       Margaret Zito                                     Event                                         1121-000                   7,831.14                                176,217.39



                                                                                                                           Page Subtotals               30,224.68                     0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          03/03/09      32       Richard Horner                                  Dues                                            1121-000                   1,165.76                                177,383.15
                                 124 SE Rio Angelica
                                 Port St. Lucie, Fl 34984


          03/03/09    003706     Waste Pro                                       Waste pick-up                                   2690-000                                           307.08          177,076.07
                                 4100 Selvitz Rd.
                                 Ft. Pierce, FL 34981


          03/03/09    003707     Prime Turf                                      PH Airway                                       2690-000                                          3,594.37         173,481.70
                                 14200 S. Parker Rd.
                                 Homer Glen, IL 60491


          03/03/09    003708     Mackem Solutions                                Landscape                                       2690-000                                          3,900.03         169,581.67
                                 P.O. Box 7323
                                 Vero Beach, FL 32961


          03/03/09    003709     SPRI Products                                   Yoga class equipment                            2690-000                                           256.85          169,324.82
                                 1600 Northwind Blvd.
                                 Libertyville, IL 60048


          03/03/09    003710     Kerstin Florian                                 beauty products                                 2690-000                                            50.17          169,274.65
                                 20492 Crescent Bay Dr.
                                 Ste 100
                                 Lake Forest, CA 92630


          03/03/09    003711     U.S. Food Service, Inc.                         Remaining balance for food dist.                2690-000                                           200.00          169,074.65
                                 7598 NW 6 Ave.
                                 Boca Raton, FL 33487




                                                                                                                           Page Subtotals                   1,165.76                8,308.50
                                                                                                                                                                                                        Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          03/04/09    003712     Florida Power & Light                           Utility payments                                2690-000                                      33,455.97            135,618.68


          03/05/09      71       Stearns Weaver Miller, et al.                   TIP loan                                        1290-000              200,000.00                                   335,618.68
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          03/05/09               Drew M. Dillworth, Trustee                      Employee Insurance withholdings                 1221-000                   4,881.73                                340,500.41
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          03/05/09               Colonial Bank                                   Turnover of Funds                               1221-000               45,400.00                                   385,900.41


          03/05/09               Florida Power & Light                           Refund for overpayment                          1221-000                   1,435.85                                387,336.26


          03/05/09               Florida Power & Light                           Refund for overpayment                          1221-000                    240.53                                 387,576.79


          03/05/09      32       G.W. Purucker Homes, J.V.                       Dues                                            1121-000                    186.99                                 387,763.78
                                 5608 PGA Blvd.
                                 Suite 208
                                 Palm Beach Gardens, FL 33418


          03/05/09      32       Edward Losty                                    Dues                                            1121-000                    532.50                                 388,296.28
                                 169 Waterton
                                 Williamsburg, VA 23188


          03/05/09      32       Edward Miller                                   Dues                                            1121-000                    532.50                                 388,828.78
                                 15 Meadow Rd.


                                                                                                                           Page Subtotals              253,210.10                  33,455.97
                                                                                                                                                                                                        Ver: 17.02e
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  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                  Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Baltimore, MD 21212


          03/05/09      32       Radiation Medicine Specialists                    Dues                                          1121-000                    532.50                                 389,361.28
                                 Of Northeast PA, P.C.
                                 190 Welles Street
                                 Forty Fort, PA 18704


          03/05/09      32       Elizabeth Connelly                                dues                                          1121-000                   1,065.00                                390,426.28
                                 22 St. Thomas Dr.
                                 Palm Beach Gardens, FL 33418


          03/05/09      32       Ann C. Fernandez                                  Dues                                          1121-000                    931.88                                 391,358.16
                                 6653 Woodlake Rd.
                                 Jupiter, FL 33458


          03/05/09      32       Frank Coyne                                       Dues                                          1121-000                     26.57                                 391,384.73
                                 72 Bramshill Dr.
                                 Mahwah, NJ 07430


          03/05/09      32       Alex Feeney                                       dues                                          1121-000                    932.00                                 392,316.73
                                 32 Deer Field Rd.
                                 Mendham, NJ 07945


          03/05/09      32       Robert Erato                                      Dues                                          1121-000                   2,900.00                                395,216.73


          03/05/09      32       Robert Erato                                      Dues                                          1121-000                   2,110.00                                397,326.73


          03/05/09      32       Law Offices of Geil Bilu, P.A.                    dues                                          1121-000                    150.00                                 397,476.73
                                 10 Fairway Dr. Suite 204


                                                                                                                           Page Subtotals                   8,647.95                  0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 167
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Deerfield Beach, FL 33441


          03/05/09      32       CLI Fleet Inc.                                  dues                                          1121-000                   1,743.91                                399,220.64
                                 99 Baltimore Ave.
                                 Rye, NY 10580


          03/05/09      32       William Mott                                    Dues                                          1121-000                    221.58                                 399,442.22
                                 11 Manning Cove Rd.
                                 Malta, NY 12020


          03/05/09      32       McDonough Family LLLP                           dues                                          1121-000                   1,065.00                                400,507.22
                                 5049 N. Hwy A!A
                                 Apt 1305
                                 Ft. Pierce, FL 34949


          03/05/09      32       David McDonough                                 Dues                                          1121-000                    915.53                                 401,422.75
                                 5049 N. A!A #1305
                                 Ft. Pierce, FL 34949


          03/05/09      32       McDonough Family LLLP                           Dues                                          1121-000                    931.88                                 402,354.63
                                 5049 N. Hwy A!A # 1305
                                 Ft. Pierce, FL 34949


          03/05/09      32       Theresa Turano                                  Dues                                          1121-000                    700.00                                 403,054.63
                                 224 Riverwood Dr.
                                 New Hope, PA 18938


          03/05/09      32       L. Faraj                                        dues                                          1121-000                    532.50                                 403,587.13
                                 Sunshine Holdings, LLC


                                                                                                                         Page Subtotals                   6,110.40                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 3420 Heirloom Rose Pl
                                 Oviedo, FL 32766


          03/05/09      32       Barry Bertiger                                  dues                                          1121-000                   1,406.02                                404,993.15
                                 231 SE Bella Strano
                                 Port St. Lucie, FL 34984


          03/05/09      32       Edward Miller                                   Dues                                          1121-000                    931.88                                 405,925.03
                                 15 Meadow Rd.
                                 Baltimore, MD 21212


          03/05/09      32       Kamlesh Patel                                   Dues                                          1121-000                   1,065.00                                406,990.03
                                 1060 Stratford Pl
                                 Melbourne, FL 32940


          03/05/09      32       Gerard Griesser                                 dues                                          1121-000                    932.28                                 407,922.31
                                 1885 Rose Cottage Ln
                                 Malvern, PA 19355


          03/05/09      32       Lee Griffith                                    dues                                          1121-000                   1,279.91                                409,202.22
                                 214 Golf Club Dr.
                                 New Smyrna Beach, FL 32168


          03/05/09      32       Don Ardinger                                    dues                                          1121-000                   1,065.00                                410,267.22
                                 13012 Hawkins Circle
                                 Hagerstown, MD 21742


          03/05/09      33       Alan Levine, M.D.                               Dues                                          1121-000                   1,876.03                                412,143.25
                                 1701 SE Hillmoor Dr.#11


                                                                                                                         Page Subtotals                   8,556.12                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 169
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St. Lucie, FL 34952


          03/05/09    003713     David Aguilar                                   Wages                                         2690-000                                           939.54         411,203.71
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          03/05/09    003714     Raul Alva Lopez                                 Wages                                         2690-000                                          1,077.13        410,126.58
                                 6100 SE Michael Dr
                                 Stuart, FL 34997


          03/05/09    003715     Todd A Anderson                                 Wages                                         2690-000                                          1,477.09        408,649.49
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          03/05/09    003716     Tomas T Andres                                  Wages                                         2690-000                                           896.62         407,752.87
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956


          03/05/09    003717     Eugene P Baker                                  Wages                                         2690-000                                           831.35         406,921.52
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          03/05/09    003718     William J Batusic                               Wages                                         2690-000                                          1,308.07        405,613.45
                                 825 Sand Tree Drive
                                 Palm Beach Gardens, FL 33403


          03/05/09    003719     Matthew A Boyd                                  Wages                                         2690-000                                          2,710.03        402,903.42
                                 813 SE Starflower Ave
                                 Port St Lucie, FL 34983


                                                                                                                         Page Subtotals                        0.00               9,239.83
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 170
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/05/09    003720     Paul K Brown                                   Wages                                         2690-000                                          1,114.49        401,788.93
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          03/05/09    003721     Dana M Cates                                   Wages                                         2690-000                                          1,114.88        400,674.05
                                 1009 Sw Dubuque Ave
                                 Port St Lucie, FL 34953


          03/05/09    003722     Arelis Cohen                                   Wages                                         2690-000                                          1,107.27        399,566.78
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          03/05/09    003723     Harvey K Congdon                               Wages                                         2690-000                                          4,642.68        394,924.10
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952


          03/05/09    003724     Tomas N Cruz                                   Wages                                         2690-000                                           911.02         394,013.08
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          03/05/09    003725     Kimberly A Deorsey                             Wages                                         2690-000                                          1,519.14        392,493.94
                                 121 Poinciana Drive
                                 Jupiter, FL 33458


          03/05/09    003726     Menuau Destine                                 Wages                                         2690-000                                           779.91         391,714.03
                                 2686 Bonita Street
                                 Stuart, FL 34997




                                                                                                                        Page Subtotals                        0.00              11,189.39
                                                                                                                                                                                                    Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/05/09    003727     Douglas C Feinsinger                            Wages                                         2690-000                                          1,769.66        389,944.37
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          03/05/09    003728     Kenneth D Ferguson                              Wages                                         2690-000                                          1,210.20        388,734.17
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983


          03/05/09    003729     Susano E Figeroa                                Wages                                         2690-000                                           635.05         388,099.12
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          03/05/09    003730     Alfonso F Garcia Lopez                          Wages                                         2690-000                                           669.12         387,430.00
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          03/05/09    003731     David S Gibbons                                 Wages                                         2690-000                                           813.42         386,616.58
                                 442 Se Fairchild Ave
                                 Port Saint Lucie, FL 34984


          03/05/09    003732     Granvel T Griffin                               Wages                                         2690-000                                           904.51         385,712.07
                                 19682 Nw 282nd St
                                 Okeechobee, FL 34972


          03/05/09    003733     Magnus K Gustafsson                             Wages                                         2690-000                                          2,398.69        383,313.38
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967


          03/05/09    003734     Juan J Gutierres                                Wages                                         2690-000                                           635.29         382,678.09


                                                                                                                         Page Subtotals                        0.00               9,035.94
                                                                                                                                                                                                     Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


          03/05/09    003735     Larry Hoffman                                  Wages                                         2690-000                                          2,015.61        380,662.48
                                 9756 Sw Pueblo Terr
                                 Palm City, FL 34990


          03/05/09    003736     Eric J Hummel                                  Wages                                         2690-000                                          1,183.40        379,479.08
                                 13840 Osprey Links Rd Apt #214
                                 Orlando, FL 32837


          03/05/09    003737     Jacob P Ivey                                   Wages                                         2690-000                                           933.56         378,545.52
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          03/05/09    003738     Anna L Katz                                    Wages                                         2690-000                                           970.39         377,575.13
                                 1833 SW Buttercup Avenue
                                 Port St Lucie, FL 34953


          03/05/09    003739     Jacalyn A Kennedy                              Wages                                         2690-000                                          2,566.57        375,008.56
                                 302 Sw Cassine Court
                                 Palm City, FL 34990


          03/05/09    003740     Todd Kitchen                                   Wages                                         2690-000                                          1,694.89        373,313.67
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          03/05/09    003741     Evelina D Klaassen                             Wages                                         2690-000                                          1,586.73        371,726.94
                                 3741 SW Bimini Circle N


                                                                                                                        Page Subtotals                        0.00              10,951.15
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 173
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Palm City, FL 34990


          03/05/09    003742     Thomas C Knowles                                Wages                                         2690-000                                          3,341.14        368,385.80
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          03/05/09    003743     Julia Lanek                                     Wages                                         2690-000                                          1,365.16        367,020.64
                                 4083 Nw Cinnamon Gr
                                 Jensen Beach, FL 34957


          03/05/09    003744     Heather A Lonergan                              Wages                                         2690-000                                          1,214.94        365,805.70
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


          03/05/09    003745     Antonio Francisco Lopez                         Wages                                         2690-000                                           630.11         365,175.59
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


          03/05/09    003746     Marbin Lopez                                    Wages                                         2690-000                                           671.15         364,504.44
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          03/05/09    003747     Timothy P Marrone                               Wages                                         2690-000                                           848.65         363,655.79
                                 980 SE San Jeronimo
                                 Port St Lucie, FL 34952


          03/05/09    003748     Philip D Mastronardi                            Wages                                         2690-000                                          1,026.99        362,628.80
                                 1764 N Dovetail Dr
                                 Fort Pierce, FL 34982


                                                                                                                         Page Subtotals                        0.00               9,098.14
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 174
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                              3                                              4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/05/09    003749     Pedro Mateo Domingo                            Wages                                         2690-000                                           638.22         361,990.58
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          03/05/09    003750     Miguel A Maxia                                 Wages                                         2690-000                                           630.33         361,360.25
                                 14893 Cherokee St
                                 Indiantown, FL 34956


          03/05/09    003751     Victor Mendez Bravo                            Wages                                         2690-000                                           966.04         360,394.21
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          03/05/09    003752     Andres Miguel Juan                             Wages                                         2690-000                                           667.79         359,726.42
                                 14941 Washington Street
                                 Indiantown, FL 34956


          03/05/09    003753     Edzer Mondisir                                 Wages                                         2690-000                                           647.63         359,078.79
                                 2651 Se Clayton St
                                 Stuart, FL 34997


          03/05/09    003754     Olegario S Morales                             Wages                                         2690-000                                           735.29         358,343.50
                                 Po Box 1161
                                 Indiantown, FL 34956


          03/05/09    003755     Franklin F Neumann                             Wages                                         2690-000                                          1,229.19        357,114.31
                                 2386 SW Marshfield Court
                                 Port St Lucie, FL 38953


                                                                                                                        Page Subtotals                        0.00               5,514.49
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 175
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/05/09    003756     Michael B Pascal                                Wages                                         2690-000                                          1,362.14        355,752.17
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


          03/05/09    003757     Rosa M Payamps                                  Wages                                         2690-000                                           819.55         354,932.62
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          03/05/09    003758     Francine M Peach                                Wages                                         2690-000                                          1,314.80        353,617.82
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          03/05/09    003759     Indira Perez Azcona                             Wages                                         2690-000                                           845.73         352,772.09
                                 2226 SW Dapsco Ave
                                 Port St Lucie, FL 34953


          03/05/09    003760     Israel Perez Perez                              Wages                                         2690-000                                           717.65         352,054.44
                                 214 Southview Dr
                                 Jupiter, FL 33458


          03/05/09    003761     Hugo R Perez                                    Wages                                         2690-000                                           630.99         351,423.45
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          03/05/09    003762     Maria Perez                                     Wages                                         2690-000                                          1,039.59        350,383.86
                                 5809 Se Collins Ave
                                 Stuart, FL 34994




                                                                                                                         Page Subtotals                        0.00               6,730.45
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 176
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/05/09    003763     Delmiro A Quinonez                              Wages                                         2690-000                                           843.93         349,539.93
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947


          03/05/09    003764     William W Ramon                                 Wages                                         2690-000                                           681.20         348,858.73
                                 Po Box 14-52
                                 Indiantown, FL 34956


          03/05/09    003765     Luis M Rodriguez Diaz                           Wages                                         2690-000                                           628.85         348,229.88
                                 130 1st Street #5
                                 Jupiter, FL 33458


          03/05/09    003766     Kimberly A Rodriguez                            Wages                                         2690-000                                          1,122.33        347,107.55
                                 2289 SE Melaleuca Blvd
                                 Port St Lucie, FL 34952


          03/05/09    003767     Ryan Ronan                                      Wages                                         2690-000                                          2,886.94        344,220.61
                                 1681 SW Jamesport Drive
                                 Port St Lucie, FL 34953


          03/05/09    003768     Roberin Roselio Castillo                        Wages                                         2690-000                                           702.03         343,518.58
                                 214 Southview Dr
                                 Jupiter, FL 33458


          03/05/09    003769     Janet Suzanne Ruadez                            Wages                                         2690-000                                          1,906.96        341,611.62
                                 703 E. Apix Circle
                                 Jupiter, FL 33458


          03/05/09    003770     Niguer Sales Hernandez                          Wages                                         2690-000                                           626.65         340,984.97


                                                                                                                         Page Subtotals                        0.00               9,398.89
                                                                                                                                                                                                     Ver: 17.02e
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                                                      Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 184 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 177
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 314 Kennedy Street
                                 Jupiter, FL 33458


          03/05/09    003771     Olegario Santizo                               Wages                                         2690-000                                           638.81         340,346.16
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          03/05/09    003772     Jesus B Serrano                                Wages                                         2690-000                                           882.78         339,463.38
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          03/05/09    003773     Rodolfo Serrano                                Wages                                         2690-000                                           442.35         339,021.03
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956


          03/05/09    003774     Shaniqua A Shoe                                Wages                                         2690-000                                          1,134.72        337,886.31
                                 4272 SW Xenon St
                                 Port St Lucie, FL 34953


          03/05/09    003775     Douglas T Sinclair                             Wages                                         2690-000                                           965.92         336,920.39
                                 394 Nw Stratford Ln
                                 Port St Lucie, FL 34983


          03/05/09    003776     Brian R Sprague                                Wages                                         2690-000                                          1,126.74        335,793.65
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          03/05/09    003777     Leroy L Stennett                               Wages                                         2690-000                                           839.93         334,953.72
                                 912 SW Fable Ave


                                                                                                                        Page Subtotals                        0.00               6,031.25
                                                                                                                                                                                                    Ver: 17.02e
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                                                          Case 08-29769-MAM         Doc 882         Filed 07/30/13        Page 185 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 178
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 34953


          03/05/09    003778     Justin D Stoff                                  Wages                                         2690-000                                           513.21         334,440.51
                                 283 Nabble Ave
                                 Port St Lucie, FL 34953


          03/05/09    003779     Lee E Vanroekel                                 Wages                                         2690-000                                          2,633.45        331,807.06
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


          03/05/09    003780     Jacob I Vazquez                                 Wages                                         2690-000                                           610.60         331,196.46
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          03/05/09    003781     Luis O Zapeta                                   Wages                                         2690-000                                           608.67         330,587.79
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          03/05/09    003782     Domingo Sapon                                   Wages                                         2690-000                                           656.13         329,931.66
                                 273 SE Norfold Blvd
                                 Stuart Fl 34997


          03/05/09    003783     Alan Francoeur                                  Wages                                         2690-000                                           854.61         329,077.05
                                 649 NW Cardinal Dr
                                 Port St Lucie Fl 34983


          03/05/09    003784     Filberto Castillo-Martinez                      Wages                                         2690-000                                           707.78         328,369.27
                                 309 3rd St
                                 Jupiter Fl 33458


                                                                                                                         Page Subtotals                        0.00               6,584.45
                                                                                                                                                                                                     Ver: 17.02e
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                                                          Case 08-29769-MAM         Doc 882         Filed 07/30/13        Page 186 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 179
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/05/09    003785     Andrew Kabis                                    Wages                                         2690-000                                          1,342.17        327,027.10
                                 1885 SW Penrose Ave
                                 Port St Lucie Fl 34953


          03/05/09    003786     Jesse Michalowski                               Wages                                         2690-000                                           694.41         326,332.69
                                 10428 SW West Lawn Blvd.
                                 Port St. Lucie, Fl 34987


          03/05/09    003787     Carlos Santini, Jr.                             Wages                                         2690-000                                          1,617.15        324,715.54
                                 501 NW Sherbrooke Ave.
                                 Port St. Lucie, FL 34983


          03/05/09    003788     Emilio Sanzano                                  Wages                                         2690-000                                           757.59         323,957.95
                                 785 NW Dupre St.
                                 Port St. Lucie, FL 34983


          03/05/09    003789     John Carlson                                    Wages                                         2690-000                                           586.61         323,371.34
                                 1892 SW Success St.
                                 Port St. Lucie, FL 34953


          03/05/09    003790     Edward Marrone                                  Wages                                         2690-000                                           683.27         322,688.07
                                 2980 SE San Jeronimo
                                 Port St. Lucie, FL 34952


          03/05/09    003791     Jorge Martinez-Cobon                            Wages                                         2690-000                                           666.25         322,021.82
                                 316 Kenedy St.
                                 Jupiter, FL 33458




                                                                                                                         Page Subtotals                        0.00               6,347.45
                                                                                                                                                                                                     Ver: 17.02e
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                                                       Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 187 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 180
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/05/09    003792     Michael Morash                                  Wages                                         2690-000                                           694.41         321,327.41
                                 3957 SW Kakopo St.
                                 Port St. Lucie, FL 34953


          03/05/09    003793     Raymond Negron                                  Wages                                         2690-000                                           749.19         320,578.22
                                 3079 SE Galt Circle
                                 Port St. Lucie, FL 34984


          03/05/09    003794     Jason Paquette                                  Wages                                         2690-000                                           694.40         319,883.82
                                 2573 SW Abate St.
                                 Port St. Lucie, FL 34953


          03/05/09    003795     Lantz Pierre                                    Wages                                         2690-000                                           712.99         319,170.83
                                 2872 SE Nance St.
                                 Port St. Lucie, FL 34984


          03/05/09    003796     STEPHEN PERASET                                 Wages                                         2690-000                                           359.09         318,811.74
                                 1066 LISSIE LN.
                                 OKEECHOBEE, FL 34974


 *        03/05/09    003797     INTERNAL REVENUE SERVICE                        FICA (SOCIAL SECURITY EMPLOYEE)               5300-003                                          1,612.33        317,199.41


 *        03/05/09    003798     INTERNAL REVENUE SERVICE                        FICA SOCIAL SECURITY EMPLOYER                 5800-003                                          1,612.32        315,587.09


 *        03/05/09    003799     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                            5800-003                                           929.92         314,657.17


 *        03/05/09    003800     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYER)                      5800-003                                           377.07         314,280.10


 *        03/05/09    003801     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYEE)                      5300-003                                           377.07         313,903.03


                                                                                                                         Page Subtotals                        0.00               8,118.79
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                    Page: 181
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                              3                                               4                                            5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


 *        03/05/09    003802     INTERNAL REVENUE SERVICE                       SUTA EMPLOYER PAID                             5800-003                                          2,750.45        311,152.58


          03/05/09    003803     STATE OF FLORIDA                               SUTA EMPLOYER PAID                             5800-000                                           388.08         310,764.50


 *        03/05/09    003804     INTERNAL REVENUE SERVICE                       Federal Manual 4                               5300-003                                          8,932.11        301,832.39


 *        03/05/09    003805     INTERNAL REVENUE SERVICE                       FICA MEDICARE MANUAL 4                         5300-003                                          1,237.66        300,594.73


 *        03/05/09    003806     INTERNAL REVENUE SERVICE                       FICA MEDICARE MANUAL ER 4                      5800-003                                          1,237.66        299,357.07


 *        03/05/09    003807     INTERNAL REVENUE SERVICE                       FICA SS MANUAL 4                               5300-003                                          5,291.93        294,065.14


 *        03/05/09    003808     INTERNAL REVENUE SERVICE                       FICA SS Manual Employer 4                      5800-003                                          5,291.92        288,773.22


          03/05/09    003809     THE TESORO CLUB                                INSURANCE MANUAL 4                             5300-000                                          4,881.73        283,891.49
                                 2000 SE Via Tesoro Blvd
                                 Port St. Lucie, FL 34984


          03/05/09    003810     MASSACHUSETTS DEPARTMENT OF                    JOHN CARLSON 4                                 5300-000                                           150.00         283,741.49
                                 REVENUE
                                 CHILD SUPPORT ENFORCEMENT DIVISION
                                 P.O. BOX 55140
                                 BOSTON, MA 02205-5140


          03/05/09    003811     STATE OF FLORIDA DISBURSEMENT UNIT             BRIAN SPRAGUE 4                                5300-000                                           266.00         283,475.49
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500



                                                                                                                         Page Subtotals                        0.00              30,427.54
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                      Page: 182
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                               3                                                 4                                            5                       6                   7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/05/09    003812     STATE OF FLORIDA DISBURSEMENT UNIT              RODOLFO SERRANO 4                                5300-000                                           160.00         283,315.49
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          03/05/09    003813     OptaComp                                        Workers Comp Insurance                           2690-000                                          4,094.00        279,221.49
                                                                                 Celedinas Insurance Group
                                                                                 4283 Northlake Blvd.
                                                                                 Palm Beach Gardens, FL 33410


          03/05/09    003814     National City Golf Finance                      1/01/09 and 3/01/09 payments                     2690-000                                       82,070.94          197,150.55


          03/05/09    003815     SubZero Cooling and Heating                     A/C Home Services                                2690-000                                          1,359.50        195,791.05


          03/05/09    003816     NuCO2                                           F&B CO2 tank vendor                              2690-000                                            77.99         195,713.06


          03/05/09    003817     Palm Beach Linen & Laundry Service              Towel Service                                    2690-000                                            26.48         195,686.58


          03/05/09    003818     Robert Erneston Produce, Inc.                   Food Vendor                                      2690-000                                           399.74         195,286.84


          03/05/09    003819     Shannon Rios                                    Spa Contract Labor                               2690-000                                          1,107.35        194,179.49


          03/05/09    003820     Stardusters Housecleaning, LLC                  Home Services Cleaning                           2690-000                                           266.00         193,913.49


          03/05/09    003821     Anthony Sprague                                 F&B Contract LAbor                               2690-000                                           180.00         193,733.49


          03/05/09    003822     Waste Pro-Ft. Pierce                            Waste collection                                 2690-000                                           557.36         193,176.13


          03/05/09    003823     Sarah Hurt                                      Spa Contract Labor                               2690-000                                           518.20         192,657.93



                                                                                                                            Page Subtotals                        0.00              90,817.56
                                                                                                                                                                                                        Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM             Doc 882         Filed 07/30/13        Page 190 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                                    Page: 183
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                 3                                               4                                            5                       6                   7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/05/09    003824     Dione Cantu                                      Spa contract Labor                              2690-000                                           104.00         192,553.93


          03/05/09    003825     Ruth Cooper                                      Spa Contract labor                              2690-000                                           756.00         191,797.93


          03/05/09    003826     City of Port St. Lucie Utilities                 Water                                           2690-000                                          6,580.46        185,217.47


          03/05/09    003827     Deana Ens                                        Spa Contract LAbor                              2690-000                                           255.00         184,962.47


          03/05/09    003828     Kimberly Kozar                                   Spa Contract Labor                              2690-000                                           446.44         184,516.03


          03/05/09    003829     Stacey Siebmann                                  Spa contract labor                              2690-000                                            35.00         184,481.03


          03/05/09    003830     AFLAC                                            Employee Insurance                              2690-000                                          1,285.68        183,195.35


          03/05/09    003831     Jennifer Mae Greear                              F&B Contract LAbor                              2690-000                                           161.25         183,034.10


          03/05/09    003832     Nicole Mirkowski                                 F&B contract Labor                              2690-000                                           315.00         182,719.10


          03/05/09    003833     Mike Mirkowski                                   F&B contract labor                              2690-000                                           213.75         182,505.35


          03/05/09    003834     Praxair Distribution Southeast                   GCM tanks                                       2690-000                                           353.46         182,151.89


          03/05/09    003835     MACKEM Solutions                                 GCM Fertilizer                                  2690-000                                          6,581.66        175,570.23


          03/05/09    003836     American Hotel Register Co.                      F&B Supplies                                    2690-000                                           125.49         175,444.74


          03/05/09    003837     Department of Business &                         License Renewal                                 2690-000                                           504.00         174,940.74
                                 Professional Reg.



                                                                                                                            Page Subtotals                        0.00              17,717.19
                                                                                                                                                                                                        Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                3                                              4                                            5                       6                   7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/05/09    003838     J.R. Congdon                                   Reimbursement                                   2690-000                                           712.50         174,228.24


          03/05/09    003839     Dept of Business &                             License Renewal                                 2690-000                                           400.00         173,828.24
                                 Professional Reg.


          03/05/09    003840     Kara Castaldo                                  F&B contract labor                              2690-000                                           438.75         173,389.49


          03/05/09    003841     Cutter & Buck                                  Golf Shop Supplies                              2690-000                                           830.54         172,558.95


          03/05/09    003842     Cheney Brothers, Inc.                          FoodVendor                                      2690-000                                          2,532.04        170,026.91


          03/05/09    003843     Crissman Consulting                            Water test                                      2690-000                                           255.60         169,771.31


          03/05/09    003844     Brigido Cofresi                                F&B contract labor                              2690-000                                           487.50         169,283.81


          03/05/09    003845     G&K Services                                   Uniforms                                        2690-000                                          1,584.64        167,699.17


          03/05/09    003846     Aimee Gordon                                   F&B contract Labor                              2690-000                                           210.00         167,489.17


          03/05/09    003847     Thomas Knowles III                             Reimbursement                                   2690-000                                           131.45         167,357.72


          03/05/09    003848     Nicole Mercado                                 Spa contract labor                              2690-000                                          1,236.98        166,120.74


          03/06/09    003849     G&K Services                                   Uniforms                                        2690-000                                            49.99         166,070.75


          03/06/09    003850     Helena Chemical                                fertilizer                                      2690-000                                       20,501.25          145,569.50
                                 5101 Gateway Blvd. Ste 18
                                 Lakeland, FL 33811



                                                                                                                          Page Subtotals                        0.00              29,371.24
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 185
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                3                                             4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
 *        03/09/09    003640     Mike Mirkowski                                  Stop Payment Reversal                         2690-004                                          -135.00          145,704.50
                                                                                 STOP PAY ADD SUCCESSFUL


          03/09/09    003851     St. Lucie Battery and Tire                      COD payment                                   2690-000                                          743.95           144,960.55
                                 3992 SW Bruner Terr.
                                 Palm City, FL 34990


          03/10/09      32       Elizabeth Buckley Fortner                       dues                                          1121-000                   3,000.00                                147,960.55
                                 104 SE San Fratello Tesoro
                                 Port St. Lucie, FL 34984


          03/10/09      32       Christopher Thompson                            dues                                          1121-000                    931.88                                 148,892.43
                                 401 Wahackme Rd.
                                 New Canaan, CT 06840


          03/10/09      32       Laurie Weatherford                              dues                                          1121-000                    111.23                                 149,003.66
                                 PO Box 536668
                                 Orlando, FL 32853


          03/10/09      32       Daniel Rourke                                   Dues                                          1121-000                    956.88                                 149,960.54
                                 PO Box 2627
                                 Framingham, MA 01703


          03/10/09      32       Stephan Fitzgerald                              dues                                          1121-000                   1,073.91                                151,034.45
                                 880 Peregrine Dr.
                                 Indialantic, FL 32903


          03/10/09      32       Norbert Reich                                   dues                                          1121-000                   1,140.30                                152,174.75
                                 3550 Lander Rd.


                                                                                                                         Page Subtotals                   7,214.20                608.95
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 186
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Pepper Pike, OH 44124


          03/10/09      32       Norbert Reich                                   Dues                                          1121-000                   1,863.76                                154,038.51
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          03/10/09      32       Bradley Cohen                                   dues                                          1121-000                   6,611.15                                160,649.66
                                 1836 SE Gaskins Cir.
                                 Port St. Lucie, FL 34952


          03/10/09      32       Theodore Beringer                               dues                                          1121-000                   1,629.99                                162,279.65
                                 102 Gaither Sr. Ste 5
                                 Mount Laurel, NJ 08054


          03/10/09      32       Barbara Boroughs                                dues                                          1121-000                    672.20                                 162,951.85
                                 15 Twin Walls Lane
                                 Weston, CT 06883


          03/10/09      32       Stewart Properties                              dues                                          1121-000                   2,917.00                                165,868.85
                                 Bruce Stewart
                                 PO Box 7002
                                 Laguna Niguel, CA 92607


          03/10/09      32       Robin Arrighi                                   dues                                          1121-000                    397.37                                 166,266.22
                                 1141 San Michelle Way
                                 Palm Beach Gardens, FL 33418


          03/10/09      32       Todd Friedman                                   dues                                          1121-000                    739.17                                 167,005.39
                                 216 Jensen Ct.


                                                                                                                         Page Subtotals               14,830.64                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page: 187
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                               4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Morganville, NJ 07751


          03/10/09      32       Eliezer Ortiz                                   dues                                           1121-000                   2,795.64                                169,801.03
                                 AIB Plaza
                                 16 Carr 199 Ste 400
                                 Guaynabo, PR 00969


          03/10/09      32       McDonough Family LLLP                           dues                                           1121-000                   3,195.00                                172,996.03
                                 5049 N. Hwy A1A Apt 1305
                                 Ft. Pierce, FL 34949


          03/10/09      32       Luxury Apparel Group, LLC                       Dues                                           1121-000                     54.00                                 173,050.03
                                 DBA Peter Millar
                                 220 James Jackson Ave.
                                 Cary, NC 27513


          03/10/09      32       Camner, Lipsitz and Poller, P.A.                dues                                           1121-000                   3,195.00                                176,245.03
                                 550 Biltmore Way Suite 700
                                 Coral Gables, FL 33134


          03/10/09      32       Camner, Lipsitz andPoller, P.A.                 Dues                                           1121-000                    150.00                                 176,395.03
                                 550 Biltmore Way Ste 700
                                 Coral Gables, FL 33134


          03/10/09               Drew M. Dillworth, Trustee                      Reimbursement for Fuel from POA                1221-000                    397.64                                 176,792.67
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130




                                                                                                                          Page Subtotals                   9,787.28                  0.00
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                   Page: 188
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                     6                    7
    Transaction      Check or                                                                                                       Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
          03/10/09    003852     PalmDale                                        Diesel                                            2690-000                                        4,000.00         172,792.67
                                 911 N. 2nd Street
                                 Ft. Pierce, FL 34950


          03/10/09    003853     J.J. Taylor                                     Beer distribution                                 2690-000                                         239.65          172,553.02
                                 5102 16th Ave., S.
                                 Tampa, FL 33619


          03/10/09    003854     Premier                                         Liquor dist.                                      2690-000                                         422.34          172,130.68
                                 9801 Premier Pkwy
                                 Hollywood, FL 33025


          03/10/09    003855     Republic National                               Wine dist.                                        2690-000                                         846.00          171,284.68
                                 9423 N. Main St.
                                 Jacksonville, FL 32218


          03/10/09    003856     Southern Eagle                                  Beer dist.                                        2690-000                                         180.95          171,103.73
                                 5300 Glades Cut Off Rd.
                                 Ft. Pierce, FL 34981


          03/11/09               Colonial Bank                                   Turnover of funds                                 1221-000              105,860.00                                 276,963.73


          03/11/09    003857     Allegro Coffee Co.                              Coffee COD                                        2690-000                                         438.77          276,524.96
                                 12799 Claude Ct.
                                 Thornton, CO 30241


          03/11/09    003858     Southern Wine & Spirits                         Alcohol purchase                                  2690-000                                         286.20          276,238.76
                                 1600 NW 163 St.
                                 Miami, FL 33169


                                                                                                                             Page Subtotals              105,860.00                 6,413.91
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                    Page: 189
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                               3                                                   4                                            5                     6                    7
    Transaction      Check or                                                                                                        Uniform                                                    Account / CD
       Date          Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)


          03/11/09    003859     Frenchman's Creek                                Clothing COD PO20-20-1024 & 1027                  2690-000                                        3,839.45         272,399.31
                                 13495 Tournament Dr.
                                 Palm Beach Gardens, FL 33410


          03/13/09               Ginn-LA St. Lucie Ltd., LLLP                     Payroll/Ins. Reimbursement                        1221-000               27,650.43                                 300,049.74


          03/13/09    003860     CGLIC-Chattanooga EASC                           Health Insurance                                  2690-000                                    41,536.85            258,512.89


          03/13/09    003861     HTC_Plus/Home Town Telephone                     telephone service                                 2690-000                                        2,045.08         256,467.81


          03/13/09    003862     Conney Safety                                    Golf-Safety Supplies                              2690-000                                         106.85          256,360.96


          03/13/09    003863     S&S Air Conditioning                             A/C Service                                       2690-000                                        1,344.00         255,016.96


          03/13/09    003864     Hector Turf                                      GCM R&M Equipment                                 2690-000                                         163.29          254,853.67


          03/13/09    003865     New England Fish Market                          Food Vendor                                       2690-000                                         643.04          254,210.63


          03/13/09    003866     Sprint                                           Cell Phone                                        2690-000                                         107.39          254,103.24


          03/13/09    003867     Orkin Inc.                                       Exterminator                                      2690-000                                         767.86          253,335.38


          03/13/09    003868     Palm Beach Linen & Laundry Service               Spa & Pool Towels                                 2690-000                                         207.87          253,127.51


          03/13/09    003869     Publix Supermarkets                              Food                                              2690-000                                         113.88          253,013.63


          03/13/09    003870     Robert Erneston Produce, Inc.                    Food                                              2690-000                                         622.25          252,391.38



                                                                                                                              Page Subtotals               27,650.43                51,497.81
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                    Page: 190
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/13/09    003871     Shannon Rios                                     F&b Contract Labor                               2690-000                                           131.25         252,260.13


          03/13/09    003872     Stardusters                                      Home Services                                    2690-000                                           336.00         251,924.13


          03/13/09    003873     Anthony Sprague                                  F&B Contract Labor                               2690-000                                           142.50         251,781.63


          03/13/09    003874     Kilpatrick                                       Equipment R&M                                    2690-000                                           436.82         251,344.81


          03/13/09    003875     City of Port St. Lucie Utilities                 Irrigation Water                                 2690-000                                          9,801.81        241,543.00


          03/13/09    003876     Helena Chemical Co.                              Chemicals                                        2690-000                                          8,088.60        233,454.40


          03/13/09    003877     Upstart Products                                 Fertilizer                                       2690-000                                          3,919.44        229,534.96


          03/13/09    003878     Deana Ens                                        F&B contract labor                               2690-000                                           142.50         229,392.46


          03/13/09    003879     New Chef Fashion Inc.                            Uniforms                                         2690-000                                           538.90         228,853.56


          03/13/09    003880     Kenneth Ferguson                                 Car Allowance                                    2690-000                                           350.00         228,503.56


          03/13/09    003881     Ameri-Kleen Services, Inc.                       GCM R&M                                          2690-000                                           745.50         227,758.06


          03/13/09    003882     Indian River Services, Inc.                      HS Press Wash                                    2690-000                                           100.00         227,658.06


          03/13/09    003883     Recycling Services, LLC                          Recycling                                        2690-000                                           550.00         227,108.06


          03/13/09    003884     Nicole Mirkowski                                 F&B Contract Labor                               2690-000                                           180.00         226,928.06




                                                                                                                             Page Subtotals                        0.00              25,463.32
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                       Page: 191
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                3                                                 4                                            5                       6                   7
     Transaction     Check or                                                                                                       Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/13/09    003885     Tesoro POA                                      F&B Hours used to move furn,.                     2690-000                                           105.00         226,823.06


          03/13/09    003886     Agri-B Technologies                             Chemicals                                         2690-000                                          2,020.00        224,803.06


          03/13/09    003887     Dept of Business & Professional Reg.            Club Rest. License                                2690-000                                           630.00         224,173.06


          03/13/09    003888     Dept of Business & Professional Reg.            Club Liquor License                               2690-000                                           400.00         223,773.06


          03/13/09    003889     Kara Castaldo                                   F&B Contract LAbor                                2690-000                                           157.50         223,615.56


          03/13/09    003890     Eric Hummel                                     Equip Rental                                      2690-000                                           160.00         223,455.56


 *        03/13/09    003891     Technology Training Associates                  Seminar                                           2690-004                                           250.00         223,205.56


          03/13/09    003892     Matthew Boyd                                    Equipment Reimb.                                  2690-000                                           114.90         223,090.66


          03/13/09    003893     G4 Technologies                                 F&B Equipment Rental                              2690-000                                           100.00         222,990.66


          03/13/09    003894     Florida Superior Sand, Inc.                     GCM Sand                                          2690-000                                          2,641.37        220,349.29


          03/13/09    003895     Precision Small Engine Co.                      GCM R&M Parts                                     2690-000                                          1,719.36        218,629.93


          03/13/09    003896     Global Golf Sales                               Golf Shop                                         2690-000                                           339.49         218,290.44


          03/13/09    003897     Cheney Brother, Inc.                            Food Vendor                                       2690-000                                          4,850.36        213,440.08


          03/13/09    003898     Brigido Cofesi                                  F&B Contract Labor                                2690-000                                           307.50         213,132.58




                                                                                                                             Page Subtotals                        0.00              13,795.48
                                                                                                                                                                                                         Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                       6                    7
     Transaction     Check or                                                                                                       Uniform                                                       Account / CD
        Date         Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
          03/13/09    003899     Capital Office Products                         Office Supplies                                   2690-000                                            414.18         212,718.40


          03/13/09    003900     Florida's Finest Linen                          F&B Linens                                        2690-000                                            371.77         212,346.63


          03/13/09    003901     Harbour Bay Florist                             Florist for weddings                              2690-000                                          1,199.21         211,147.42


          03/13/09    003902     IKON Financial Services                         Copies                                            2690-000                                            373.53         210,773.89


          03/13/09    003903     FPL                                             Utilities                                         2690-000                                       32,471.81           178,302.08


 *        03/16/09    003071     INTERNAL REVENUE SERVICE                        FEDERAL WITHHOLDING                               2690-003                                      -27,597.33           205,899.41
                                                                                 incorrect payee


 *        03/16/09    003072     INTERNAL REVENUE SERVICE                        FICA (SOCIAL SECURITY EMPLOYEE)                   2690-003                                          -6,844.11        212,743.52
                                                                                 incorrect payee


 *        03/16/09    003073     INTERNAL REVENUE SERVICE                        FICA SOCIAL SECURITY EMPLOYER                     5800-003                                          -6,844.11        219,587.63
                                                                                 Incorrect payee


 *        03/16/09    003075     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYER)                          5800-003                                          -1,600.63        221,188.26
                                                                                 Incorrect payee


 *        03/16/09    003076     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYEE)                          5300-003                                          -1,600.63        222,788.89
                                                                                 incorrect payee


 *        03/16/09    003224     INTERNAL REVENUE SERVICE                        FEDERAL MANUAL                                    5300-003                                          -8,446.62        231,235.51
                                                                                 Incorrect payee


 *        03/16/09    003247     INTERNAL REVENUE SERVICE                        FICA (MEDICARE EMPLOYEE)                          5300-003                                          -1,369.96        232,605.47


                                                                                                                             Page Subtotals                        0.00              -19,472.89
                                                                                                                                                                                                          Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM             Doc 882         Filed 07/30/13        Page 200 of 320
                                                                                     FORM 2 "EXHIBIT B"                                                                                     Page: 193
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                           3                                                4                                            5                       6                    7
     Transaction     Check or                                                                                                 Uniform                                                       Account / CD
        Date         Reference            Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                                                             incorrect payee


 *        03/16/09    003248     INTERNAL REVENUE SERVICE                    FICA (SOCIAL SECURITY EMPLOYEE)                 5300-003                                          -5,857.92        238,463.39
                                                                             incorrect payee


 *        03/16/09    003249     INTERNAL REVENUE SERVICE                    FICA SOCIAL SECURITY EMPLOYER                   5800-003                                          -5,857.92        244,321.31
                                                                             incorrect payee


 *        03/16/09    003251     INTERNAL REVENUE SERVICE                    FICA (MEDICARE EMPLOYER)                        5800-003                                          -1,369.96        245,691.27
                                                                             incorrect payee


 *        03/16/09    003411     INTERNAL REVENUE SERVICE                    FICA (SOCIAL SECURITY EMPLOYEE)                 5300-003                                          -1,564.64        247,255.91
                                                                             incorrect payee


 *        03/16/09    003412     INTERNAL REVENUE SERVICE                    FICA SOCIAL SECURITY EMPLOYER                   5800-003                                          -1,564.64        248,820.55
                                                                             incorrect payee


 *        03/16/09    003414     INTERNAL REVENUE SERVICE                    FICA (MEDICARE EMPLOYER)                        5800-003                                           -365.90         249,186.45
                                                                             incorrect payee


 *        03/16/09    003415     INTERNAL REVENUE SERVICE                    FICA (MEDICARE EMPLOYEE)                        5300-003                                           -365.90         249,552.35
                                                                             incorrect payee


 *        03/16/09    003418     INTERNAL REVENUE SERVICE                    Federal Manual 2                                5300-003                                          -9,658.16        259,210.51
                                                                             incorrect payee


 *        03/16/09    003419     INTERNAL REVENUE SERVICE                    FICA Social Security Manual                     5300-003                                          -4,744.28        263,954.79
                                                                             incorrect payee



                                                                                                                       Page Subtotals                        0.00              -31,349.32
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 201 of 320
                                                                                    FORM 2 "EXHIBIT B"                                                                                     Page: 194
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                    Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                     Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                      Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                         Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                      Separate Bond (if applicable):


           1             2                           3                                                4                                           5                       6                    7
     Transaction     Check or                                                                                                Uniform                                                       Account / CD
        Date         Reference            Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
 *        03/16/09    003420     INTERNAL REVENUE SERVICE                    FICA Medicare Employee Manual                  5300-003                                          -1,109.55        265,064.34
                                                                             incorrect payee


 *        03/16/09    003421     INTERNAL REVENUE SERVICE                    FICA Medicare Employer Manual                  5800-003                                          -1,109.55        266,173.89
                                                                             incorrect payee


 *        03/16/09    003422     INTERNAL REVENUE SERVICE                    FICA Social Security Employer Manua            5800-003                                          -4,744.28        270,918.17
                                                                             incorrect payee


 *        03/16/09    003599     INTERNAL REVENUE SERVICE                    FICA (SOCIAL SECURITY EMPLOYEE)                5300-003                                          -1,739.20        272,657.37
                                                                             incorrect payee


 *        03/16/09    003600     INTERNAL REVENUE SERVICE                    FICA SOCIAL SECURITY EMPLOYER                  5800-003                                          -1,739.20        274,396.57
                                                                             incorrect payee


 *        03/16/09    003602     INTERNAL REVENUE SERVICE                    FICA (MEDICARE EMPLOYER)                       5800-003                                           -406.74         274,803.31
                                                                             incorrect payee


 *        03/16/09    003603     INTERNAL REVENUE SERVICE                    FICA (MEDICARE EMPLOYEE)                       5300-003                                           -406.74         275,210.05
                                                                             incorrect payee


 *        03/16/09    003606     INTERNAL REVENUE SERVICE                    Federal Manual 3                               5300-003                                      -10,880.18           286,090.23
                                                                             incorrect payee


 *        03/16/09    003607     INTERNAL REVENUE SERVICE                    FICA Medicare Manual 3                         5300-003                                          -1,260.01        287,350.24
                                                                             incorrect payee


 *        03/16/09    003608     INTERNAL REVENUE SERVICE                    FICA Mediare Manual Employer 3                 5800-003                                          -1,260.01        288,610.25
                                                                             incorrect payee


                                                                                                                      Page Subtotals                        0.00              -24,655.46
                                                                                                                                                                                                   Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM            Doc 882          Filed 07/30/13       Page 202 of 320
                                                                                    FORM 2 "EXHIBIT B"                                                                                     Page: 195
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                    Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                     Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                      Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                         Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                      Separate Bond (if applicable):


           1             2                           3                                               4                                            5                       6                    7
     Transaction     Check or                                                                                                Uniform                                                       Account / CD
        Date         Reference            Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)


 *        03/16/09    003609     INTERNAL REVENUE SERVICE                    FICA Social Security Manual 3                  5300-003                                          -5,387.65        293,997.90
                                                                             incorrect payee


 *        03/16/09    003610     INTERNAL REVENUE SERVICE                    FICA Social Security Manual Employ3            5800-003                                          -5,387.65        299,385.55
                                                                             incorrect payee


 *        03/16/09    003797     INTERNAL REVENUE SERVICE                    FICA (SOCIAL SECURITY EMPLOYEE)                5300-003                                          -1,612.33        300,997.88
                                                                             incorrect payee


 *        03/16/09    003798     INTERNAL REVENUE SERVICE                    FICA SOCIAL SECURITY EMPLOYER                  5800-003                                          -1,612.32        302,610.20
                                                                             incorrect payee


 *        03/16/09    003800     INTERNAL REVENUE SERVICE                    FICA (MEDICARE EMPLOYER)                       5800-003                                           -377.07         302,987.27
                                                                             incorrect payee


 *        03/16/09    003801     INTERNAL REVENUE SERVICE                    FICA (MEDICARE EMPLOYEE)                       5300-003                                           -377.07         303,364.34
                                                                             incorrect payee


 *        03/16/09    003804     INTERNAL REVENUE SERVICE                    Federal Manual 4                               5300-003                                          -8,932.11        312,296.45
                                                                             incorrect payee


 *        03/16/09    003805     INTERNAL REVENUE SERVICE                    FICA MEDICARE MANUAL 4                         5300-003                                          -1,237.66        313,534.11
                                                                             incorrect payee


 *        03/16/09    003806     INTERNAL REVENUE SERVICE                    FICA MEDICARE MANUAL ER 4                      5800-003                                          -1,237.66        314,771.77
                                                                             incorrect payee


 *        03/16/09    003807     INTERNAL REVENUE SERVICE                    FICA SS MANUAL 4                               5300-003                                          -5,291.93        320,063.70


                                                                                                                      Page Subtotals                        0.00              -31,453.45
                                                                                                                                                                                                   Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM               Doc 882         Filed 07/30/13        Page 203 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                    Page: 196
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                            3                                                 4                                            5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference              Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                               incorrect payee


 *        03/16/09    003808     INTERNAL REVENUE SERVICE                      FICA SS Manual Employer 4                       5800-003                                          -5,291.92       325,355.62
                                                                               INCORRECT PAYEE


          03/16/09    003904     Bank of America                               FEDERAL WITHHOLDING                             5300-000                                       27,597.33          297,758.29


          03/16/09    003905     Bank of America                               FICA (SOCIAL SECURITY EMPLOYEE)                 5300-000                                          6,844.11        290,914.18


          03/16/09    003906     Bank of America                               FICA SOCIAL SECURITY EMPLOYER                   5800-000                                          6,844.11        284,070.07


          03/16/09    003907     Bank of America                               FICA (MEDICARE EMPLOYER)                        5800-000                                          1,600.63        282,469.44


          03/16/09    003908     Bank of America                               FICA (MEDICARE EMPLOYEE)                        5300-000                                          1,600.63        280,868.81


          03/16/09    003909     Bank of America                               FEDERAL MANUAL                                  5300-000                                          8,446.62        272,422.19


          03/16/09    003910     Bank of America                               FICA (MEDICARE EMPLOYEE)                        5300-000                                          1,369.96        271,052.23


          03/16/09    003911     Bank of America                               FICA (SOCIAL SECURITY EMPLOYEE)                 5300-000                                          5,857.92        265,194.31


          03/16/09    003912     Bank of America                               FICA SOCIAL SECURITY EMPLOYER                   5800-000                                          5,857.92        259,336.39


          03/16/09    003913     Bank of America                               FICA (MEDICARE EMPLOYER)                        5800-000                                          1,369.96        257,966.43


          03/16/09    003914     Bank of America                               FICA (SOCIAL SECURITY EMPLOYEE)                 5300-000                                          1,564.64        256,401.79


          03/16/09    003915     Bank of America                               FICA SOCIAL SECURITY EMPLOYER                   5800-000                                          1,564.64        254,837.15



                                                                                                                         Page Subtotals                        0.00              65,226.55
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM              Doc 882         Filed 07/30/13        Page 204 of 320
                                                                                      FORM 2 "EXHIBIT B"                                                                                    Page: 197
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                            3                                                 4                                           5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference              Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/16/09    003916     Bank of America                               FICA (MEDICARE EMPLOYER)                       5800-000                                           365.90         254,471.25


          03/16/09    003917     Bank of America                               FICA (MEDICARE EMPLOYEE)                       5300-000                                           365.90         254,105.35


          03/16/09    003918     Bank of America                               Federal Manual 2                               5300-000                                          9,658.16        244,447.19


          03/16/09    003919     Bank of America                               FICA Social Security Manual                    5300-000                                          4,744.28        239,702.91


          03/16/09    003920     Bank of America                               FICA Medicare Employee Manual                  5300-000                                          1,109.55        238,593.36


          03/16/09    003921     Bank of America                               FICA Medicare Employer Manual                  5800-000                                          1,109.55        237,483.81


          03/16/09    003922     Bank of America                               FICA Social Security Employer Manua            5800-000                                          4,744.28        232,739.53


          03/16/09    003923     Bank of America                               FICA (SOCIAL SECURITY EMPLOYEE)                5300-000                                          1,739.20        231,000.33


          03/16/09    003924     Bank of America                               FICA SOCIAL SECURITY EMPLOYER                  5800-000                                          1,739.20        229,261.13


          03/16/09    003925     Bank of America                               FICA (MEDICARE EMPLOYER)                       5800-000                                           406.74         228,854.39


          03/16/09    003926     Bank of America                               FICA (MEDICARE EMPLOYEE)                       5300-000                                           406.74         228,447.65


          03/16/09    003927     Bank of America                               Federal Manual 3                               5300-000                                       10,880.18          217,567.47


          03/16/09    003928     Bank of America                               FICA Medicare Manual 3                         5300-000                                          1,260.01        216,307.46


          03/16/09    003929     Bank of America                               FICA Mediare Manual Employer 3                 5800-000                                          1,260.01        215,047.45




                                                                                                                        Page Subtotals                        0.00              39,789.70
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM              Doc 882           Filed 07/30/13       Page 205 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                     Page: 198
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                               3                                                    4                                         5                       6                   7
     Transaction     Check or                                                                                                      Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/16/09    003930     Bank of America                                 FICA Social Security Manual 3                    5300-000                                          5,387.65        209,659.80


          03/16/09    003931     Bank of America                                 FICA Social Security Manual Employ3              5800-000                                          5,387.65        204,272.15


          03/16/09    003932     Bank of America                                 FICA (SOCIAL SECURITY EMPLOYEE)                  5300-000                                          1,612.33        202,659.82


          03/16/09    003933     Bank of America                                 FICA SOCIAL SECURITY EMPLOYER                    5800-000                                          1,612.32        201,047.50


          03/16/09    003934     Bank of America                                 FICA (MEDICARE EMPLOYER)                         5800-000                                           377.07         200,670.43


          03/16/09    003935     Bank of America                                 FICA (MEDICARE EMPLOYEE)                         5300-000                                           377.07         200,293.36


          03/16/09    003936     Bank of America                                 Federal Manual 4                                 5300-000                                          8,932.11        191,361.25


          03/16/09    003937     Bank of America                                 FICA MEDICARE MANUAL 4                           5300-000                                          1,237.66        190,123.59


          03/16/09    003938     Bank of America                                 FICA MEDICARE MANUAL ER 4                        5800-000                                          1,237.66        188,885.93


          03/16/09    003939     Bank of America                                 FICA SS MANUAL 4                                 5300-000                                          5,291.93        183,594.00


          03/16/09    003940     Bank of America                                 FICA SS Manual Employer 4                        5800-000                                          5,291.92        178,302.08


 *        03/16/09    003941     Department of Agriculture                       Pest Control Certification                       2690-004                                           150.00         178,152.08
                                 Consumer Services
                                 1203 Governor's Square Blvd.
                                 Tallahassee, FL 32301


          03/16/09    003942     Saint Lucie Rock Waterfalls, Inc.               Redurfacing of Spa                               2690-000                                          1,224.00        176,928.08
                                 3832 SW Ramspeck St.

                                                                                                                            Page Subtotals                        0.00              38,119.37
                                                                                                                                                                                                        Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM            Doc 882       Filed 07/30/13        Page 206 of 320
                                                                                      FORM 2 "EXHIBIT B"                                                                                    Page: 199
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                                  3                                         4                                            5                       6                    7
     Transaction     Check or                                                                                                 Uniform                                                       Account / CD
        Date         Reference                Paid To / Received From                     Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                 Port St. Lucie, FL 34953


 *        03/17/09    003074     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                          5800-003                                           -883.10         177,811.18
                                                                                 incorrect payee


 *        03/17/09    003077     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                          5800-003                                          -2,980.50        180,791.68
                                                                                 incorrect payee


 *        03/17/09    003250     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                          5800-003                                           -755.88         181,547.56
                                                                                 incorrect payee


 *        03/17/09    003252     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                          5800-003                                          -2,539.11        184,086.67
                                                                                 incorrect payee


 *        03/17/09    003413     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                          5800-003                                           -853.12         184,939.79
                                                                                 incorrect payee


 *        03/17/09    003416     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                          5800-003                                          -2,686.49        187,626.28
                                                                                 incorrect payee


 *        03/17/09    003601     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                          5800-003                                           -958.46         188,584.74
                                                                                 incorrect payee


 *        03/17/09    003604     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                          5800-003                                          -2,853.53        191,438.27
                                                                                 Incorrect payee


 *        03/17/09    003799     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                          5800-003                                           -929.92         192,368.19
                                                                                 incorrect payee



                                                                                                                       Page Subtotals                        0.00              -15,440.11
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM              Doc 882         Filed 07/30/13        Page 207 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                    Page: 200
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                       6                   7
     Transaction     Check or                                                                                                     Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
 *        03/17/09    003802     INTERNAL REVENUE SERVICE                         SUTA EMPLOYER PAID                             5800-003                                          -2,750.45       195,118.64
                                                                                  Incorrect payee


          03/17/09    003943     Bank of America                                  FUTA EMPLOYER PAID                             5800-000                                            883.10        194,235.54


          03/17/09    003944     Bank of America                                  SUTA EMPLOYER PAID                             5800-000                                          2,980.50        191,255.04


          03/17/09    003945     Bank of America                                  FUTA EMPLOYER PAID                             5800-000                                            755.88        190,499.16


          03/17/09    003946     Bank of America                                  SUTA EMPLOYER PAID                             5800-000                                          2,539.11        187,960.05


          03/17/09    003947     Bank of America                                  FUTA EMPLOYER PAID                             5800-000                                            853.12        187,106.93


          03/17/09    003948     Bank of America                                  SUTA EMPLOYER PAID                             5800-000                                          2,686.49        184,420.44


          03/17/09    003949     Bank of America                                  FUTA EMPLOYER PAID                             5800-000                                            958.46        183,461.98


          03/17/09    003950     Bank of America                                  SUTA EMPLOYER PAID                             5800-000                                          2,853.53        180,608.45


          03/17/09    003951     Bank of America                                  FUTA EMPLOYER PAID                             5800-000                                            929.92        179,678.53


          03/17/09    003952     Bank of America                                  SUTA EMPLOYER PAID                             5800-000                                          2,750.45        176,928.08


          03/18/09    003953     Eastdil Secured Broker Services, Inc.            Invoice M2429                                  2690-000                                          6,754.00        170,174.08
                                 40 West 57th Street
                                 New York, NY 10019


          03/18/09    003954     Continental R/E/ Companies                       Inv. 20090227                                  2690-000                                          4,743.15        165,430.93
                                 2121 Ponce De Leon Blvd.

                                                                                                                           Page Subtotals                        0.00              26,937.26
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 201
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Ste 1250
                                 Coral Gables, FL 33134


          03/19/09               Drew M. Dillworth, Trustee                      Employee insurance contribution                 1221-000                   4,881.73                                170,312.66
                                 150 west Flagler St. Suite 2200
                                 Miami, FL 33130


          03/19/09      32       Marshall Brothers                               dues                                            1121-000                    532.50                                 170,845.16
                                 5500 Collins Ave. Apt 403
                                 Miami Beach, FL 33140


          03/19/09      32       Robin Arrighi                                   dues                                            1121-000                     61.99                                 170,907.15
                                 1141 San Michelle Way
                                 Palm Beach Gardens, FL 33418


          03/19/09      32       Erich Schuett                                   dues                                            1121-000                    342.19                                 171,249.34
                                 142 SE Rio Angelica
                                 Port St. Lucie, FL 34984


          03/19/09      32       Jacalyn Kennedy                                 dues                                            1121-000                    208.61                                 171,457.95
                                 302 SW Cassine Court
                                 Palm City, FL 34990


          03/19/09      32       Bo Kang                                         dues                                            1121-000                   1,931.88                                173,389.83
                                 7254 SE 12 Cir
                                 Ocala, FL 34480


          03/19/09      32       Vincent Insalaco                                dues                                            1121-000                    115.65                                 173,505.48
                                 101 Oldfield Rd.


                                                                                                                           Page Subtotals                   8,074.55                  0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page: 202
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Shavertown, PA 18708


          03/19/09      32       Eliezer Ortiz                                  dues                                          1121-000                   2,795.64                                176,301.12
                                 16 Carr 199 Ste 400
                                 Guaynabo, PR 00969


          03/19/09      32       Gerard Schiraldi                               dues                                          1121-000                    723.22                                 177,024.34
                                 6 Main Ave.
                                 Garden City, NY 11530


          03/19/09      32       Christopher Thompson                           dues                                          1121-000                    931.88                                 177,956.22
                                 401 Wahackme Rd.
                                 New Canaan, CT 06840


          03/19/09      32       Marc Levine                                    dues                                          1121-000                    931.88                                 178,888.10
                                 3500 SW Center St.
                                 Palm City, FL 34990


          03/19/09      32       Daytona Land Co.                               dues                                          1121-000                   1,301.27                                180,189.37
                                 2665 N. Atlantic Ave.
                                 Ste 300
                                 Daytona Beach, FL 32118


          03/19/09      32       Victor Ardito                                  dues                                          1121-000                     35.42                                 180,224.79
                                 875 SW Whisper Ridge Trl
                                 Palm City, Fl 34990


          03/19/09      32       Frank Palermo                                  dues                                          1121-000                    532.50                                 180,757.29
                                 16273 Sierra Palms Dr.


                                                                                                                        Page Subtotals                   7,251.81                  0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 203
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Delray Beach, FL 33484


          03/19/09      32       Gus Deribeaux                                   Dues                                          1121-000                    931.88                                 181,689.17
                                 6885 SE 92 St.
                                 Miami, FL 33156


          03/19/09      32       Ceridian Cobra Services                         dues                                          1121-000                   1,325.55                                183,014.72
                                 Attn:Operations/R
                                 3201 34th St. South
                                 St. Petersburg, FL 33711-3828


          03/19/09      32       Larry Wormmeester                               Dues                                          1121-000                   1,174.47                                184,189.19
                                 06823 Kenowa Ave.
                                 Grandville, MI 49418


          03/19/09      32       Michael Wathen                                  dues                                          1121-000                    944.53                                 185,133.72
                                 231 Turtleback Rd.
                                 New Canaan, CT 06840


          03/19/09      32       Bary & Karen Bertiger                           dues                                          1121-000                   1,042.26                                186,175.98
                                 231 SE Bella Strano
                                 Port St. Lucie, FL 34984


          03/19/09      32       Neelam Kohli                                    dues                                          1121-000                   1,065.00                                187,240.98
                                 2020 SW 44 Ln.
                                 Ocala, FL 34474


          03/19/09      32       LaVelle Construction & Dev. Corp.               dues                                          1121-000                    922.11                                 188,163.09
                                 801 Maplewood Dr. Suite 2


                                                                                                                         Page Subtotals                   7,405.80                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page: 204
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                3                                            4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Jupiter, FL 33458


          03/19/09      32       Harvey Liftin                                  dues                                          1121-000                    987.54                                 189,150.63
                                 16705 Sapphire Spgs.
                                 Weston, FL 33331


          03/19/09      32       David McDonough                                dues                                          1121-000                    451.42                                 189,602.05
                                 5049 NA1A Unit 1305
                                 Ft. Pierce, FL 34949


          03/19/09      32       McDonough Family LLLP                          dues                                          1121-000                    931.88                                 190,533.93
                                 5049 N. Highway A1A Apt 1305
                                 Ft. Pierce, Fl 34949


          03/19/09      32       Jon Arnold                                     dues                                          1121-000                   1,000.00                                191,533.93
                                 336 Pablo Ter
                                 Ponte Vedra Beach, FL 32082


          03/19/09      32       Frank Consiglio                                dues                                          1121-000                     50.00                                 191,583.93
                                 8 Thomas Ave.
                                 South Amboy, NJ 08879


          03/19/09      32       Gary Smiley                                    dues                                          1121-000                    532.50                                 192,116.43
                                 6604 SW Woodham St.
                                 Palm City, FL 34990


          03/19/09      32       Adams & Cesario, P.A.                          dues                                          1121-000                    462.25                                 192,578.68
                                 10390 Lee Drive
                                 Eden Prairie, MN 55347


                                                                                                                        Page Subtotals                   4,415.59                  0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                Page: 205
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                 3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          03/19/09      32       John Feeney Revocable Trust                     dues                                           1121-000                   2,500.00                                195,078.68


          03/19/09      32       Hill Construction Corp.                         dues                                           1121-000                    532.50                                 195,611.18
                                 PO Box 362714
                                 San Juan, PR 00936


          03/19/09      32       Joseph Grow III                                 dues                                           1121-000                    174.90                                 195,786.08
                                 PO Box 698
                                 Uwchland, PA 19480


          03/19/09      32       Bryant Walker                                   dues                                           1121-000                    931.00                                 196,717.08
                                 542 SW Keats Ave.
                                 Palm City, FL 34990


          03/19/09      32       G.W. Purucker Homes J.V.                        Dues                                           1121-000                     69.53                                 196,786.61
                                 5608 PGA Blvd. Suite 208
                                 Palm Beach Gardens, FL 33418


          03/19/09               AFLAC                                           Refund                                         1221-000                    327.10                                 197,113.71
                                 1932 Wynnton Rd.
                                 Columbus, GA 31999


          03/19/09               Aflac                                           refund                                         1221-000                     76.60                                 197,190.31
                                 1932 Wynnton Rd.
                                 Columbus, GA 31999


          03/19/09               AFLAC                                           Refund                                         1221-000                    549.80                                 197,740.11
                                 1932 Wynnton Rd.


                                                                                                                          Page Subtotals                   5,161.43                  0.00
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                Page: 206
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference                 Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Columbus, GA 31999


          03/19/09               AFLAC                                            Refund                                         1221-000                    128.80                                 197,868.91
                                 1932 Wynnton Rd.
                                 Columbus, GA 31999


          03/19/09      32       NNN Old Line Professional Center                 dues                                           1121-000                   1,082.69                                198,951.60
                                 15 & 16 LLC
                                 Rayne G & Constance Poussard
                                 107 S. Bella Strano
                                 Port St. Lucie, FL 34984


          03/19/09      32       Richard Smith                                    dues                                           1121-000                   3,213.19                                202,164.79
                                 652 Creighton Rd.
                                 Villanova, PA 19085


          03/19/09      32       Richard Horner                                   Dues                                           1121-000                   1,863.76                                204,028.55
                                 24 Mudry Farm Rd.
                                 Brookfield, CT 06804


          03/19/09      32       Thomas Zensen III                                dues                                           1121-000                    141.06                                 204,169.61
                                 7243 Marsh Ter
                                 Port St. Lucie, FL 34986


          03/19/09      32       City Center Investments, Inc.                    dues                                           1121-000                    532.50                                 204,702.11
                                 400 Broome St.
                                 New York, NY 10013


          03/19/09      32       Frank Coyne                                      dues                                           1121-000                   2,242.72                                206,944.83


                                                                                                                           Page Subtotals                   9,204.72                  0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 207
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 72 Bramshill Dr.
                                 Mahwah, NJ 07430


          03/19/09    003955     David Aguilar                                  Wages                                         2690-000                                           839.54         206,105.29
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          03/19/09    003956     Raul Alva Lopez                                Wages                                         2690-000                                          1,005.93        205,099.36
                                 6100 SE Michael Dr
                                 Stuart, FL 34997


          03/19/09    003957     Todd A Anderson                                Wages                                         2690-000                                          1,477.09        203,622.27
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          03/19/09    003958     Tomas T Andres                                 Wages                                         2690-000                                          1,002.49        202,619.78
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956


          03/19/09    003959     Eugene P Baker                                 Wages                                         2690-000                                           853.06         201,766.72
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          03/19/09    003960     William J Batusic                              Wages                                         2690-000                                           960.24         200,806.48
                                 825 Sand Tree Drive
                                 Palm Beach Gardens, FL 33403


          03/19/09    003961     Matthew A Boyd                                 Wages                                         2690-000                                          2,710.04        198,096.44
                                 813 SE Starflower Ave


                                                                                                                        Page Subtotals                        0.00               8,848.39
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 208
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 34983


          03/19/09    003962     Paul K Brown                                   Wages                                         2690-000                                          1,114.49        196,981.95
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          03/19/09    003963     Dana M Cates                                   Wages                                         2690-000                                           722.27         196,259.68
                                 1009 Sw Dubuque Ave
                                 Port St Lucie, FL 34953


          03/19/09    003964     Arelis Cohen                                   Wages                                         2690-000                                           799.08         195,460.60
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          03/19/09    003965     Harvey K Congdon                               Wages                                         2690-000                                          4,642.70        190,817.90
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952


          03/19/09    003966     Tomas N Cruz                                   Wages                                         2690-000                                           796.73         190,021.17
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          03/19/09    003967     Kimberly A Deorsey                             Wages                                         2690-000                                          1,519.16        188,502.01
                                 121 Poinciana Drive
                                 Jupiter, FL 33458


          03/19/09    003968     Menuau Destine                                 Wages                                         2690-000                                           653.26         187,848.75
                                 2686 Bonita Street
                                 Stuart, FL 34997


                                                                                                                        Page Subtotals                        0.00              10,247.69
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 209
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
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  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/19/09    003969     Douglas C Feinsinger                           Wages                                         2690-000                                          1,808.39        186,040.36
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          03/19/09    003970     Kenneth D Ferguson                             Wages                                         2690-000                                          1,210.20        184,830.16
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983


          03/19/09    003971     Susano E Figeroa                               Wages                                         2690-000                                           636.81         184,193.35
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          03/19/09    003972     Alfonso F Garcia Lopez                         Wages                                         2690-000                                           668.58         183,524.77
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          03/19/09    003973     David S Gibbons                                Wages                                         2690-000                                           846.15         182,678.62
                                 442 Se Fairchild Ave
                                 Port Saint Lucie, FL 34984


          03/19/09    003974     Granvel T Griffin                              Wages                                         2690-000                                           895.65         181,782.97
                                 19682 Nw 282nd St
                                 Okeechobee, FL 34972


          03/19/09    003975     Magnus K Gustafsson                            Wages                                         2690-000                                          3,023.02        178,759.95
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967




                                                                                                                        Page Subtotals                        0.00               9,088.80
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 210
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
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  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/19/09    003976     Juan J Gutierres                               Wages                                         2690-000                                           640.11         178,119.84
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


          03/19/09    003977     Larry Hoffman                                  Wages                                         2690-000                                          2,015.63        176,104.21
                                 9756 Sw Pueblo Terr
                                 Palm City, FL 34990


          03/19/09    003978     Eric J Hummel                                  Wages                                         2690-000                                          1,183.40        174,920.81
                                 13840 Osprey Links Rd Apt #214
                                 Orlando, FL 32837


          03/19/09    003979     Jacob P Ivey                                   Wages                                         2690-000                                           899.62         174,021.19
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          03/19/09    003980     Anna L Katz                                    Wages                                         2690-000                                          1,117.43        172,903.76
                                 1833 SW Buttercup Avenue
                                 Port St Lucie, FL 34953


          03/19/09    003981     Jacalyn A Kennedy                              Wages                                         2690-000                                          2,566.59        170,337.17
                                 302 Sw Cassine Court
                                 Palm City, FL 34990


          03/19/09    003982     Todd Kitchen                                   Wages                                         2690-000                                          1,752.48        168,584.69
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          03/19/09    003983     Evelina D Klaassen                             Wages                                         2690-000                                          1,529.80        167,054.89


                                                                                                                        Page Subtotals                        0.00              11,705.06
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 211
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 3741 SW Bimini Circle N
                                 Palm City, FL 34990


          03/19/09    003984     Thomas C Knowles                                Wages                                         2690-000                                          3,341.16        163,713.73
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          03/19/09    003985     Julia Lanek                                     Wages                                         2690-000                                          1,365.16        162,348.57
                                 4083 Nw Cinnamon Gr
                                 Jensen Beach, FL 34957


          03/19/09    003986     Heather A Lonergan                              Wages                                         2690-000                                          1,196.53        161,152.04
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


          03/19/09    003987     Antonio Francisco Lopez                         Wages                                         2690-000                                           636.46         160,515.58
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


          03/19/09    003988     Marbin Lopez                                    Wages                                         2690-000                                           671.99         159,843.59
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          03/19/09    003989     Timothy P Marrone                               Wages                                         2690-000                                           813.25         159,030.34
                                 980 SE San Jeronimo
                                 Port St Lucie, FL 34952


          03/19/09    003990     Philip D Mastronardi                            Wages                                         2690-000                                           917.35         158,112.99
                                 1764 N Dovetail Dr


                                                                                                                         Page Subtotals                        0.00               8,941.90
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 212
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Fort Pierce, FL 34982


          03/19/09    003991     Pedro Mateo Domingo                            Wages                                         2690-000                                           635.87         157,477.12
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          03/19/09    003992     Miguel A Maxia                                 Wages                                         2690-000                                           633.63         156,843.49
                                 14893 Cherokee St
                                 Indiantown, FL 34956


          03/19/09    003993     Victor Mendez Bravo                            Wages                                         2690-000                                          1,117.85        155,725.64
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          03/19/09    003994     Andres Miguel Juan                             Wages                                         2690-000                                           673.03         155,052.61
                                 PO BOX 1601
                                 Indiantown, FL 34956


          03/19/09    003995     Edzer Mondisir                                 Wages                                         2690-000                                           580.87         154,471.74
                                 2651 Se Clayton St
                                 Stuart, FL 34997


          03/19/09    003996     Olegario S Morales                             Wages                                         2690-000                                           732.33         153,739.41
                                 Po Box 1161
                                 Indiantown, FL 34956


          03/19/09    003997     Franklin F Neumann                             Wages                                         2690-000                                          1,004.53        152,734.88
                                 2386 SW Marshfield Court


                                                                                                                        Page Subtotals                        0.00               5,378.11
                                                                                                                                                                                                    Ver: 17.02e
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                                                       Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 220 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 213
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 38953


          03/19/09    003998     Michael B Pascal                                Wages                                         2690-000                                          1,105.48        151,629.40
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


          03/19/09    003999     Rosa M Payamps                                  Wages                                         2690-000                                           723.72         150,905.68
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          03/19/09    004000     Francine M Peach                                Wages                                         2690-000                                          1,081.69        149,823.99
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          03/19/09    004001     Indira Perez Azcona                             Wages                                         2690-000                                           826.88         148,997.11
                                 2226 SW Dapsco Ave
                                 Port St Lucie, FL 34953


          03/19/09    004002     Israel Perez Perez                              Wages                                         2690-000                                           749.54         148,247.57
                                 214 Southview Dr
                                 Jupiter, FL 33458


          03/19/09    004003     Hugo R Perez                                    Wages                                         2690-000                                           634.44         147,613.13
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          03/19/09    004004     Maria Perez                                     Wages                                         2690-000                                           978.40         146,634.73
                                 5809 Se Collins Ave
                                 Stuart, FL 34994


                                                                                                                         Page Subtotals                        0.00               6,100.15
                                                                                                                                                                                                     Ver: 17.02e
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                                                         Case 08-29769-MAM          Doc 882         Filed 07/30/13        Page 221 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 214
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/19/09    004005     Delmiro A Quinonez                              Wages                                         2690-000                                           842.62         145,792.11
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947


          03/19/09    004006     William W Ramon                                 Wages                                         2690-000                                           682.46         145,109.65
                                 Po Box 14-52
                                 Indiantown, FL 34956


          03/19/09    004007     Luis M Rodriguez Diaz                           Wages                                         2690-000                                           636.46         144,473.19
                                 130 1st Street #5
                                 Jupiter, FL 33458


          03/19/09    004008     Kimberly A Rodriguez                            Wages                                         2690-000                                          1,134.44        143,338.75
                                 2289 SE Melaleuca Blvd
                                 Port St Lucie, FL 34952


          03/19/09    004009     Ryan Ronan                                      Wages                                         2690-000                                          2,886.94        140,451.81
                                 1681 SW Jamesport Drive
                                 Port St Lucie, FL 34953


          03/19/09    004010     Roberin Roselio Castillo                        Wages                                         2690-000                                           702.00         139,749.81
                                 214 Southview Dr
                                 Jupiter, FL 33458


          03/19/09    004011     Janet Suzanne Ruadez                            Wages                                         2690-000                                          1,894.58        137,855.23
                                 703 E. Apix Circle
                                 Jupiter, FL 33458




                                                                                                                         Page Subtotals                        0.00               8,779.50
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 215
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/19/09    004012     Niguer Sales Hernandez                         Wages                                         2690-000                                           635.29         137,219.94
                                 316 Kennedy St.
                                 Jupiter, FL 33458


          03/19/09    004013     Olegario Santizo                               Wages                                         2690-000                                           638.34         136,581.60
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          03/19/09    004014     Jesus B Serrano                                Wages                                         2690-000                                           861.04         135,720.56
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          03/19/09    004015     Rodolfo Serrano                                Wages                                         2690-000                                           442.54         135,278.02
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956


          03/19/09    004016     Shaniqua A Shoe                                Wages                                         2690-000                                          1,148.75        134,129.27
                                 4272 SW Xenon St
                                 Port St Lucie, FL 34953


          03/19/09    004017     Douglas T Sinclair                             Wages                                         2690-000                                           911.04         133,218.23
                                 394 Nw Stratford Ln
                                 Port St Lucie, FL 34983


          03/19/09    004018     Brian R Sprague                                Wages                                         2690-000                                           994.73         132,223.50
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          03/19/09    004019     Leroy L Stennett                               Wages                                         2690-000                                           827.63         131,395.87


                                                                                                                        Page Subtotals                        0.00               6,459.36
                                                                                                                                                                                                    Ver: 17.02e
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                                                          Case 08-29769-MAM         Doc 882         Filed 07/30/13        Page 223 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 216
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 912 SW Fable Ave
                                 Port St Lucie, FL 34953


          03/19/09    004020     Justin D Stoff                                  Wages                                         2690-000                                           693.59         130,702.28
                                 283 Nabble Ave
                                 Port St Lucie, FL 34953


          03/19/09    004021     Lee E Vanroekel                                 Wages                                         2690-000                                          2,931.11        127,771.17
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


          03/19/09    004022     Luis O Zapeta                                   Wages                                         2690-000                                           608.70         127,162.47
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          03/19/09    004023     Domingo Sapon                                   Wages                                         2690-000                                           683.43         126,479.04
                                 273 SE Norfold Blvd
                                 Stuart Fl 34997


          03/19/09    004024     Alan Francoeur                                  Wages                                         2690-000                                           857.82         125,621.22
                                 649 NW Cardinal Dr
                                 Port St Lucie Fl 34983


          03/19/09    004025     Filberto Castillo-Martinez                      Wages                                         2690-000                                           704.72         124,916.50
                                 309 3rd St
                                 Jupiter Fl 33458


          03/19/09    004026     Andrew Kabis                                    Wages                                         2690-000                                          1,293.95        123,622.55
                                 1885 SW Penrose Ave


                                                                                                                         Page Subtotals                        0.00               7,773.32
                                                                                                                                                                                                     Ver: 17.02e
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                                                          Case 08-29769-MAM         Doc 882         Filed 07/30/13        Page 224 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 217
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie Fl 34953


          03/19/09    004027     Jesse Michalowski                               Wages                                         2690-000                                           694.41         122,928.14
                                 10428 SW West Lawn Blvd.
                                 Port St. Lucie, Fl 34987


          03/19/09    004028     Carlos Santini, Jr.                             Wages                                         2690-000                                          1,617.15        121,310.99
                                 501 NW Sherbrooke Ave.
                                 Port St. Lucie, FL 34983


          03/19/09    004029     Emilio Sanzano                                  Wages                                         2690-000                                           757.59         120,553.40
                                 785 NW Dupre St.
                                 Port St. Lucie, FL 34983


          03/19/09    004030     John Carlson                                    Wages                                         2690-000                                           586.61         119,966.79
                                 1892 SW Success St.
                                 Port St. Lucie, FL 34953


          03/19/09    004031     Edward Marrone                                  Wages                                         2690-000                                           683.27         119,283.52
                                 2980 SE San Jeronimo
                                 Port St. Lucie, FL 34952


          03/19/09    004032     Jorge Martinez-Cobon                            Wages                                         2690-000                                           670.74         118,612.78
                                 316 Kenedy St.
                                 Jupiter, FL 33458


          03/19/09    004033     Michael Morash                                  Wages                                         2690-000                                           330.27         118,282.51
                                 3957 SW Kakopo St.
                                 Port St. Lucie, FL 34953


                                                                                                                         Page Subtotals                        0.00               5,340.04
                                                                                                                                                                                                     Ver: 17.02e
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                                                       Case 08-29769-MAM            Doc 882         Filed 07/30/13        Page 225 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                 Page: 218
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                  7
     Transaction     Check or                                                                                                   Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)


          03/19/09    004034     Raymond Negron                                  Wages                                         2690-000                                          749.19         117,533.32
                                 3079 SE Galt Circle
                                 Port St. Lucie, FL 34984


          03/19/09    004035     Lantz Pierre                                    Wages                                         2690-000                                          712.99         116,820.33
                                 2872 SE Nance St.
                                 Port St. Lucie, FL 34984


          03/19/09    004036     STEPHEN PERASET                                 Wages                                         2690-000                                          646.72         116,173.61
                                 1066 LISSIE LN.
                                 OKEECHOBEE, FL 34974


          03/19/09    004037     Victorino Camposeco                             Wages                                         2690-000                                          453.90         115,719.71
                                 309 3rd St.
                                 Jupiter, FL 33458


          03/19/09    004038     Christopher Robinson                            Wages                                         2690-000                                          782.86         114,936.85
                                 1943 SW Burlington
                                 Port St. Lucie, FL 34984


          03/19/09    004039     Samuel Dorval                                   Wages                                         2690-000                                          372.96         114,563.89
                                 1604 SE 7th St.
                                 Stuart, FL 34996


 *        03/19/09    004040     INTERNAL REVENUE SERVICE                        FICA SOCIAL SECURITY EMPLOYER                 5800-003                                             0.01        114,563.88


 *        03/19/09    004041     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                            5800-003                                          920.00         113,643.88




                                                                                                                         Page Subtotals                        0.00              4,638.63
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                      FORM 2 "EXHIBIT B"                                                                                     Page: 219
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                              3                                               4                                            5                       6                   7
     Transaction     Check or                                                                                                   Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
 *        03/19/09    004042     INTERNAL REVENUE SERVICE                       SUTA EMPLOYER PAID                             5800-003                                          2,649.29        110,994.59


          03/19/09    004043     STATE OF FLORIDA                               SUTA EMPLOYER PAID                             5800-000                                           455.65         110,538.94


 *        03/19/09    004044     INTERNAL REVENUE SERVICE                       FICA Mediare Manual Employer 3                 5800-003                                              1.00        110,537.94


 *        03/19/09    004045     INTERNAL REVENUE SERVICE                       FICA SS Manual Employer 4                      5800-003                                              0.01        110,537.93


          03/19/09    004046     BANK OF AMERICA                                FEDERAL MANUAL 5                               5300-000                                          8,790.57        101,747.36


          03/19/09    004047     BANK OF AMERICA                                FICA MEDICARE MANUAL 5                         5300-000                                          1,596.68        100,150.68


          03/19/09    004048     BANK OF AMERICA                                FICA MEDICARE MANUAL ER 5                      5800-000                                          1,586.69            98,563.99


          03/19/09    004049     BANK OF AMERICA                                FICA SS MANUAL 5                               5300-000                                          6,772.70            91,791.29


          03/19/09    004050     BANK OF AMERICA                                FICA SS MANUAL ER 5                            5800-000                                          6,748.13            85,043.16


          03/19/09    004051     THE TESORO CLUB                                INSURANCE MANUAL 5                             5300-000                                          4,881.73            80,161.43
                                 2000 SE Via Tesoro Blvd
                                 Port St. Lucie, FL 34984


          03/19/09    004052     MASSACHUSETTS DEPARTMENT OF                    JOHN CARLSON 5                                 5300-000                                           150.00             80,011.43
                                 REVENUE
                                 CHILD SUPPORT ENFORCEMENT DIVISION
                                 P.O. BOX 55140
                                 BOSTON, MA 02205-5140


          03/19/09    004053     STATE OF FLORIDA DISBURSEMENT UNIT             BRIAN SPRAGUE                                  5300-000                                           266.00             79,745.43


                                                                                                                         Page Subtotals                        0.00              33,898.45
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                 Page: 220
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                               3                                                 4                                            5                     6                    7
    Transaction      Check or                                                                                                      Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          03/19/09    004054     STATE OF FLORIDA DISBURSEMENT UNIT              RODOLFO SERRANO 5                                5300-000                                         160.00              79,585.43
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          03/19/09    004055     Sterling Cut Glass                              Invoice 0214083-IN & 0214037-IN                  2690-000                                        2,183.61             77,401.82
                                 3233 Mineola Pike
                                 Erlanger, KY 41018


          03/19/09    004056     Anthony Sprague                                 Fitzpatrick Party                                2690-000                                         116.25              77,285.57


          03/19/09    004057     Nicole Mirkowski                                Fitzpatrick party                                2690-000                                          86.25              77,199.32


          03/19/09    004058     Brigido Cofresi                                 Fitzpatrick party                                2690-000                                         138.75              77,060.57


          03/19/09    004059     Kara Castaldo                                   Fitzpatrick party                                2690-000                                         116.25              76,944.32


          03/19/09    004060     WastePro                                        Pick up                                          2690-000                                         307.08              76,637.24
                                 4100 Selvitz Rd.
                                 Ft. Pierce, FL 34981


          03/20/09      71       Stearns Weaver Miller, et al.                   DIP Loan                                         1290-000              400,000.00                                 476,637.24
                                 150 West Flagler St. Suite 2200
                                 Miami, FL 33130


          03/20/09    004061     Kerstin Florian                                 Beauty products                                  2690-000                                        1,087.47         475,549.77



                                                                                                                            Page Subtotals              400,000.00                 4,195.66
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                             FORM 2 "EXHIBIT B"                                                                                     Page: 221
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                              Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                               Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                                Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                   Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1             2                                3                                                    4                                            5                       6                   7
    Transaction      Check or                                                                                                          Uniform                                                      Account / CD
       Date          Reference                  Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/20/09    004062     Conney Safety                                     Safety products                                    2690-000                                           397.45         475,152.32


          03/20/09    004063     Safety Kleen                                      Products                                           2690-000                                           189.71         474,962.61


          03/20/09    004064     S&S Air Conditioning                              AC Services                                        2690-000                                          3,010.00        471,952.61


          03/20/09    004065     CarQuest Auto Parts                               Auto Parts                                         2690-000                                           537.95         471,414.66


          03/20/09    004066     Hector Turf                                       Turf products                                      2690-000                                           804.31         470,610.35


          03/20/09    004067     SubZero Cooling and Heating                       Sevices                                            2690-000                                           240.00         470,370.35


          03/20/09    004068     NuCO2                                             products                                           2690-000                                           831.39         469,538.96


          03/20/09    004069     Palm Beach Linen & Laundry Service                Linen Service                                      2690-000                                           587.28         468,951.68


          03/20/09    004070     Publix Supermarkets                               Food                                               2690-000                                            49.66         468,902.02


          03/20/09    004071     Robert Erneston Produce, Inc.                     Produce                                            2690-000                                           650.38         468,251.64


          03/20/09    004072     Shannon Rios                                      Contract Labor                                     2690-000                                           992.75         467,258.89


          03/20/09    004073     Stardusters Housecleaning, Inc.                   Home Services                                      2690-000                                           518.00         466,740.89


          03/20/09    004074     WastePro-Ft. Pierce                               Garbage pick up                                    2690-000                                           475.00         466,265.89


          03/20/09    004075     Sarah Hurt                                        Contract Labor                                     2690-000                                           564.60         465,701.29




                                                                                                                                Page Subtotals                        0.00               9,848.48
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                                                                                          FORM 2 "EXHIBIT B"                                                                                      Page: 222
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                3                                                  4                                            5                       6                   7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/20/09    004076     Dione Cantu                                      Contract Labor                                    2690-000                                           175.30         465,525.99


          03/20/09    004077     Ruth Cooper                                      Contract LAbor                                    2690-000                                           558.00         464,967.99


          03/20/09    004078     St. Lucie Rock Waterfalls, Inc.                  Pool Service                                      2690-000                                          1,340.00        463,627.99


          03/20/09    004079     Helena Chemical, Inc.                            Chemicals                                         2690-000                                          3,212.57        460,415.42


          03/20/09    004080     GE Capital                                       Property Taxes                                    2690-000                                            95.62         460,319.80


          03/20/09    004081     Kimberly Kozar                                   Contract Labor                                    2690-000                                           123.34         460,196.46


          03/20/09    004082     Stacey Siebmann                                  Contract Labor                                    2690-000                                            35.00         460,161.46


          03/20/09    004083     Nancy Aldrich                                    Contract Labor                                    2690-000                                            35.00         460,126.46


          03/20/09    004084     Bullet Exterminators, Inc.                       Exterminating Services                            2690-000                                           172.00         459,954.46


          03/20/09    004085     Brennan Golf Sales                               Golf                                              2690-000                                          1,727.94        458,226.52


          03/20/09    004086     Show Turf                                        Gold course Maint.                                2690-000                                           639.47         457,587.05


          03/20/09    004087     Ginn Golf                                        Golf                                              2690-000                                          2,689.29        454,897.76


          03/20/09    004088     Acxiom Information Security Svc.                 Security                                          2690-000                                           130.46         454,767.30


          03/20/09    004089     Kara Castaldo                                    contract Labor                                    2690-000                                           142.50         454,624.80




                                                                                                                              Page Subtotals                        0.00              11,076.49
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                               3                                                  4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/20/09    004090     Rapco-Trailer Connection, Inc.                  Payment                                           2690-000                                           170.34         454,454.46


          03/20/09    004091     OptaComp                                        payment                                           2690-000                                          3,825.92        450,628.54


          03/20/09    004092     Accent Wall Finishes, Inc.                      payment                                           2690-000                                           500.00         450,128.54


          03/20/09    004093     BellaVerde Turf Solutions                       Turf Maint.                                       2690-000                                          3,180.00        446,948.54


          03/20/09    004094     DU-ALL Sewer and Drain, Inc.                    Sewer Services                                    2690-000                                           225.00         446,723.54


          03/20/09    004095     All County Lock and Key                         Locksmith                                         2690-000                                           103.31         446,620.23


          03/20/09    004096     Cobblestone Limo Service                        Limo service                                      2690-000                                           599.88         446,020.35


          03/20/09    004097     Shift4 Corporation                              payment                                           2690-000                                            53.67         445,966.68


          03/20/09    004098     Matthew Boyd                                    Contract LAbor                                    2690-000                                            35.00         445,931.68


          03/20/09    004099     HomeDepot Credit Service                        Payment                                           2690-000                                          1,340.17        444,591.51


          03/20/09    004100     Precision Small Engine Co.                      Payment                                           2690-000                                           363.06         444,228.45


          03/20/09    004101     Titleist                                        Golf Equipment                                    2690-000                                           561.52         443,666.93


          03/20/09    004102     Staples                                         Office products                                   2690-000                                           159.69         443,507.24


          03/20/09    004103     Cutter & Buck                                   Golf Club supplies                                2690-000                                          1,408.08        442,099.16




                                                                                                                             Page Subtotals                        0.00              12,525.64
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                       Page: 224
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                 3                                                 4                                            5                       6                   7
    Transaction      Check or                                                                                                        Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/20/09    004104     Cheney Brothers, Inc.                           F&B                                                2690-000                                          2,587.91        439,511.25


          03/20/09    004105     Crissman Consulting                             Water test                                         2690-000                                           255.60         439,255.65


          03/20/09    004106     Brigido Cofresi                                 Contract Labor                                     2690-000                                           127.50         439,128.15


          03/20/09    004107     Culligan                                        Water                                              2690-000                                            92.49         439,035.66


          03/20/09    004108     ESD Waste2Water                                 payment                                            2690-000                                           300.00         438,735.66


          03/20/09    004109     Capital Office Products                         Office supplies                                    2690-000                                           873.10         437,862.56


          03/20/09    004110     Florida's Finest Linen                          Linen Service                                      2690-000                                           784.37         437,078.19


          03/20/09    004111     G&K Services                                    payment                                            2690-000                                           557.19         436,521.00


          03/20/09    004112     Mermaid Maintenance Service                     Pool Maint.                                        2690-000                                           285.00         436,236.00


          03/20/09    004113     Nicole Mercado                                  Contract Labor                                     2690-000                                           737.93         435,498.07


          03/20/09    004114     LINA                                            CIGNA Payment                                      2690-000                                          1,937.31        433,560.76
                                 PO Box 13701
                                 Philadelphia, PA 19101


          03/20/09    004115     Republic National                               Wine Dist.                                         2690-000                                          1,517.56        432,043.20
                                 9423 N. Main St.
                                 Jacksonville, FL 32218


          03/20/09    004116     Island Princess Cruises                         Cruise Tix for member event                        2690-000                                           988.00         431,055.20

                                                                                                                              Page Subtotals                        0.00              11,043.96
                                                                                                                                                                                                          Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                3                                                 4                                             5                       6                   7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                           Description Of Transaction          Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 PO Box 598
                                 Stuart, FL 34995


          03/20/09    004117     Florida Power & Light                           Utilities                                          2690-000                                            76.73         430,978.47


          03/23/09    004118     The Bank of New York Mellon                     Invoice #1390554                                   2690-000                                          7,500.00        423,478.47
                                 Financial Control Billing Department
                                 P.O. Box 19445A
                                 Newark, NJ 07195-0445


          03/23/09    004119     CopyScan, Inc.                                  payments                                           2690-000                                          2,637.16        420,841.31
                                 1230S. Andrews Ave.                             Invoices 117761, 117816, 117817, 117819, 117844,
                                 Ft. Lauderdale, FL 33316                        117864, 118115, 118128, 118114,118191, 118268.


          03/23/09    004120     U.S. Food Service                               Food & Beverage                                    2690-000                                          1,143.43        419,697.88
                                 7598 NW 6 Ave
                                 Boca Raton, FL 33487


          03/24/09    004121     National City Golf Finance                      GCM Equipment Lease                                2690-000                                       41,035.47          378,662.41


          03/24/09    004122     New England Fish Market                         Food Vendor                                        2690-000                                           267.68         378,394.73


          03/24/09    004123     Pitney Bowes                                    Postage Meter Lease                                2690-000                                          1,556.93        376,837.80


 *        03/24/09    004124     Tesoro Golf Holdings, LLC                       Palmer Lease                                       2690-003                                       27,000.00          349,837.80


          03/24/09    004125     Allen Roberts Floral Designs                    Florist                                            2690-000                                            88.93         349,748.87


          03/24/09    004126     Florida City Gas                                LP Gas                                             2690-000                                          5,489.98        344,258.89


                                                                                                                             Page Subtotals                         0.00              86,796.31
                                                                                                                                                                                                          Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                  3                                              4                                            5                       6                    7
    Transaction      Check or                                                                                                      Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)


          03/24/09    004127     Kara Castaldo                                   F&B Contract Labor                               2690-000                                          120.00           344,138.89


          03/24/09    004128     Phillio Colbaugh, Ph.D.                         Water Test                                       2690-000                                          120.00           344,018.89


          03/24/09    004129     Michael Pascal                                  Employee Reimb.                                  2690-000                                          132.68           343,886.21


          03/24/09    004130     FETSS, LLC                                      Spa Equipment R&M                                2690-000                                          319.50           343,566.71


          03/24/09    004131     Imagination Overdrive                           Entertainment                                    2690-000                                          250.00           343,316.71


          03/24/09    004132     Cheney Brothers, Inc.                           Food Vendor                                      2690-000                                          671.31           342,645.40


          03/24/09    004133     Brigido Cofresi                                 F&B Contract Labor                               2690-000                                          120.00           342,525.40


          03/24/09    004134     Myles' Electric Motiors and Pumps               Equipment                                        2690-000                                          600.68           341,924.72
                                 3101 SE Carnivale Ct.
                                 Stuart, FL 34994


          03/25/09               AFLAC                                           Refund                                           1221-000                    123.88                                 342,048.60
                                 1932 Wynnton Rd.
                                 Columbus, GA 31999


          03/25/09      32       Linnes Finney, Jr.                              Dues                                             1121-000                    532.50                                 342,581.10
                                 10960 Pine Creek Lane
                                 Port St. Lucie, FL 34986


          03/25/09      32       Linnes Finney, Jr.                              Dues                                             1121-000                    952.76                                 343,533.86
                                 10960 Pine Creek Ln.


                                                                                                                            Page Subtotals                   1,609.14               2,334.17
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 227
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Port St. Lucie, FL 34986


          03/25/09      32       Ann C. Fernandez, Trustee                       Dues                                          1121-000                    931.88                                 344,465.74
                                 6653 Woodlake Rd.
                                 Jupiter, FL 33458


          03/25/09      32       Don Ardinger                                    Dues                                          1121-000                   1,065.00                                345,530.74
                                 13012 Hawkins Circle
                                 Hagerstown, MD 21742


          03/25/09      32       Barbara Ann Murray                              Dues                                          1121-000                   2,816.30                                348,347.04


          03/25/09      32       Stewart Property Holdings, Inc.                 Dues                                          1121-000                   5,616.28                                353,963.32
                                 49 E. 4th St. Ste 521
                                 Cincinnati, OH 45202


          03/25/09      32       Joseph Vargas                                   Dues                                          1121-000                    532.50                                 354,495.82
                                 1931 Staimford Cir.
                                 West Palm Beach, FL 33414


          03/25/09      32       Michael Lewis                                   Dues                                          1121-000                   1,242.86                                355,738.68
                                 9650 S. Ocean Dr.
                                 Apt. 102
                                 Jensen Beach, FL 34957


          03/25/09      32       Gulick Construction Company, Inc.               Dues                                          1121-000                    612.06                                 356,350.74
                                 38 SE Ocean Blvd.
                                 Stuart, FL 34994




                                                                                                                         Page Subtotals               12,816.88                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          03/25/09      32       Casto Homes, Inc.                               Dues                                          1121-000                        5.06                               356,355.80
                                 13842 US HWY 1
                                  Juno Beach, FL 33408


          03/25/09      32       Sharon Sina                                     dues                                          1121-000                   1,066.80                                357,422.60
                                 108 SE Mira LAvella
                                 Port St. Lucie, FL 34984


          03/25/09      32       Eleanor Termine                                 Dues                                          1121-000                    255.76                                 357,678.36
                                 131 SE Via Marbella
                                 Port Saint Lucie, FL 34984


          03/25/09      32       Charles Termine                                 dues                                          1121-000                    931.88                                 358,610.24
                                 131 SE Via Marbella
                                 Port St. Lucie, FL 34984


          03/25/09      32       Dink Investments LLC                            dues                                          1121-000                    931.88                                 359,542.12
                                 124 Bear's Club Drive
                                 Jupiter, FL 33477


          03/25/09      32       A.T. Tamboli                                    dues                                          1121-000                   2,500.00                                362,042.12
                                 840 Colliers Way
                                 Weirton, WV 26062


          03/25/09      32       Richard P. Horner                               dues                                          1121-000                   1,850.40                                363,892.52
                                 24 Mudry Farm Rd.
                                 Brookfield, CT 06804


          03/25/09      32       Stephen Dotson                                  dues                                          1121-000                    609.67                                 364,502.19


                                                                                                                         Page Subtotals                   8,151.45                   0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 3630 SW Trace Circle
                                 Palm City, FL 34990


          03/25/09      32       Ben Smith Toyota                                Dues                                          1121-000                   1,125.46                                365,627.65
                                 3350 US HWY 1
                                 Ft. Pierce, FL 34982


          03/25/09      32       G. Robert Marcus                                dues                                          1121-000                    931.88                                 366,559.53
                                 11 Butternut Lane
                                 Basking Ridge, NJ 07920


          03/25/09      32       Barbara Boroughs                                dues                                          1121-000                   3,071.78                                369,631.31
                                 15 Twin Walls Lane
                                 Weston, CT 06883


          03/25/09      32       Graham Torode                                   dues                                          1121-000                   1,662.11                                371,293.42
                                 c/o Grand Bahama Development Co
                                 PO Box 140939
                                 Coral Gables, FL 33114


          03/25/09      32       Janeth Andrade                                  Dues                                          1121-000                    620.90                                 371,914.32
                                 2025 SE Kilmallie Ct.
                                 Port St. Lucie, FL 34952


          03/25/09      32       DeAngelis & McNamara, P.C.                      dues                                          1121-000                    532.50                                 372,446.82
                                 1177 Greenwich Ave.
                                 Warwick, RI 02886


          03/25/09      32       Joseph Jacques, CPA                             Dues                                          1121-000                    899.60                                 373,346.42


                                                                                                                         Page Subtotals                   8,844.23                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                               4                                            5                       6                    7
     Transaction     Check or                                                                                                    Uniform                                                     Account / CD
        Date         Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                 15430 Avery Rd.
                                 Rockville, MD 20855


          03/25/09      32       Mott Thoroughbred Stables, Inc.                dues                                            1121-000                   1,034.35                                374,380.77
                                 58 SW Palm Cove Drive
                                 Palm City, FL 34990


          03/25/09      32       Theresa Carr                                   Dues                                            1121-000                   1,502.55                                375,883.32
                                 3042 SE Doubleton Dr.
                                 Stuart, FL 34997


          03/26/09    004135     Eventmakers                                    Wedding                                         2690-000                                          367.14           375,516.18
                                 2928 SE Monroe St.
                                 Stuart, FL


 *        03/26/09    004136     Premier                                        Liquor delivery                                 2690-004                                          220.40           375,295.78
                                 9801 Premier Pkwy
                                 Hollywood, FL 33025


          03/26/09    004137     Southern Eagle                                 Liqor delivery                                  2690-000                                          207.80           375,087.98
                                 5300 Glades Cut Off Rd.
                                 Ft. Pierce, FL 34981


 *        03/26/09    004138     Republic National                              Liquor delivery                                 2690-004                                          636.00           374,451.98
                                 441 SW 12 Ave.
                                 Deerfield Beach, FL 33442


          03/26/09    004139     JJ Taylor                                      Liquor delivery                                 2690-000                                          201.40           374,250.58
                                 2040 Park 82 Dr.


                                                                                                                          Page Subtotals                   2,536.90               1,632.74
                                                                                                                                                                                                       Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                3                                               4                                            5                     6                    7
     Transaction     Check or                                                                                                     Uniform                                                   Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)       Balance ($)
                                 Ft. Myers, FL 33905


          03/26/09    004140     Division of Hotels and Restaurants              SEA6602756; License Renewal                     2690-000                                        315.00           373,935.58
                                 P.O. Box 6300
                                 Tallahassee, FL 32314


          03/26/09    004141     Division of Hotels and Restaurants              SEA6602757; License Renewal                     2690-000                                        315.00           373,620.58
                                 P.O. Box 6300
                                 Tallahassee, FL 32314


          03/26/09    004142     Department of Business and                      BEV6602547 400; License Renewal                 2690-000                                        400.00           373,220.58
                                 Professional Regulation
                                 PO Box 6300
                                 Tallahassee, FL 32314


 *        03/27/09               Florida Power & Light                           FPL Refund                                      1221-003                    21.04                                373,241.62


 *        03/27/09               Florida Power & Light                           FPL Refund                                      1221-003                   -21.04                                373,220.58
                                                                                 Wrong account


          03/27/09      32       The Lavelle Group, LLC                          Dues                                            1121-000                   389.67                                373,610.25
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          03/27/09      32       The Lavelle Group                               Dues                                            1121-000                   399.00                                374,009.25
                                 4495 Military Trail
                                 Ste 107
                                 Jupiter, FL 33458




                                                                                                                           Page Subtotals                   788.67               1,030.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                 3                                             4                                            5                       6                    7
     Transaction     Check or                                                                                                    Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          03/27/09      32       The Lavelle Group, LLC                          Dues                                           1121-000                    399.00                                 374,408.25
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          03/27/09      32       The LAvelle Group, LLC                          Dues                                           1121-000                   1,041.00                                375,449.25
                                 4495 Military Trail, Ste 107
                                 Jupiter, FL 33458


          03/27/09               Colonial Bank                                   Turnover of Funds                              1221-000               48,300.00                                   423,749.25


 *        03/27/09    004138     Republic National                               Stop Payment Reversal                          2690-004                                          -636.00          424,385.25
                                 441 SW 12 Ave.                                  STOP PAY ADD SUCCESSFUL
                                 Deerfield Beach, FL 33442


          03/28/09    004143     David Aguilar                                   Wages                                          2690-000                                           943.59          423,441.66
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          03/28/09    004144     Raul Alva Lopez                                 Wages                                          2690-000                                          1,098.98         422,342.68
                                 6100 SE Michael Dr
                                 Stuart, FL 34997


          03/28/09    004145     Todd A Anderson                                 Wages                                          2690-000                                          1,633.51         420,709.17
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          03/28/09    004146     Tomas T Andres                                  Wages                                          2690-000                                           963.24          419,745.93
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956


                                                                                                                          Page Subtotals               49,740.00                   4,003.32
                                                                                                                                                                                                       Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/28/09    004147     Eugene P Baker                                 Wages                                         2690-000                                          1,066.65        418,679.28
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          03/28/09    004148     William J Batusic                              Wages                                         2690-000                                          1,162.17        417,517.11
                                 825 Sand Tree Drive
                                 Palm Beach Gardens, FL 33403


          03/28/09    004149     Matthew A Boyd                                 Wages                                         2690-000                                          2,886.19        414,630.92
                                 813 SE Starflower Ave
                                 Port St Lucie, FL 34983


          03/28/09    004150     Paul K Brown                                   Wages                                         2690-000                                          1,154.94        413,475.98
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          03/28/09    004151     Dana M Cates                                   Wages                                         2690-000                                           141.90         413,334.08
                                 1009 Sw Dubuque Ave
                                 Port St Lucie, FL 34953


          03/28/09    004152     Arelis Cohen                                   Wages                                         2690-000                                          1,068.43        412,265.65
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          03/28/09    004153     Harvey K Congdon                               Wages                                         2690-000                                          4,785.73        407,479.92
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952




                                                                                                                        Page Subtotals                        0.00              12,266.01
                                                                                                                                                                                                    Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/28/09    004154     Tomas N Cruz                                   Wages                                         2690-000                                          1,009.88        406,470.04
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          03/28/09    004155     Kimberly A Deorsey                             Wages                                         2690-000                                          1,612.64        404,857.40
                                 121 Poinciana Drive
                                 Jupiter, FL 33458


          03/28/09    004156     Menuau Destine                                 Wages                                         2690-000                                           750.93         404,106.47
                                 2686 Bonita Street
                                 Stuart, FL 34997


          03/28/09    004157     Douglas C Feinsinger                           Wages                                         2690-000                                          1,991.90        402,114.57
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          03/28/09    004158     Kenneth D Ferguson                             Wages                                         2690-000                                          1,304.69        400,809.88
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983


          03/28/09    004159     Susano E Figeroa                               Wages                                         2690-000                                           695.14         400,114.74
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          03/28/09    004160     Alfonso F Garcia Lopez                         Wages                                         2690-000                                           906.92         399,207.82
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          03/28/09    004161     David S Gibbons                                Wages                                         2690-000                                           965.63         398,242.19


                                                                                                                        Page Subtotals                        0.00               9,237.73
                                                                                                                                                                                                    Ver: 17.02e
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 442 Se Fairchild Ave
                                 Port Saint Lucie, FL 34984


          03/28/09    004162     Granvel T Griffin                              Wages                                         2690-000                                           986.69         397,255.50
                                 19682 Nw 282nd St
                                 Okeechobee, FL 34972


          03/28/09    004163     Magnus K Gustafsson                            Wages                                         2690-000                                          3,512.82        393,742.68
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967


          03/28/09    004164     Juan J Gutierres                               Wages                                         2690-000                                           699.25         393,043.43
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


          03/28/09    004165     Larry Hoffman                                  Wages                                         2690-000                                          2,217.04        390,826.39
                                 9756 Sw Pueblo Terr
                                 Palm City, FL 34990


          03/28/09    004166     Eric J Hummel                                  Wages                                         2690-000                                          1,268.20        389,558.19
                                 13840 Osprey Links Rd Apt #214
                                 Orlando, FL 32837


          03/28/09    004167     Jacob P Ivey                                   Wages                                         2690-000                                           965.20         388,592.99
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          03/28/09    004168     Anna L Katz                                    Wages                                         2690-000                                          1,082.37        387,510.62
                                 1833 SW Buttercup Avenue


                                                                                                                        Page Subtotals                        0.00              10,731.57
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 236
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 34953


          03/28/09    004169     Jacalyn A Kennedy                              Wages                                         2690-000                                          2,661.07        384,849.55
                                 302 Sw Cassine Court
                                 Palm City, FL 34990


          03/28/09    004170     Todd Kitchen                                   Wages                                         2690-000                                          2,157.12        382,692.43
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          03/28/09    004171     Evelina D Klaassen                             Wages                                         2690-000                                          1,529.79        381,162.64
                                 3741 SW Bimini Circle N
                                 Palm City, FL 34990


          03/28/09    004172     Thomas C Knowles                               Wages                                         2690-000                                          3,520.38        377,642.26
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          03/28/09    004173     Julia Lanek                                    Wages                                         2690-000                                          1,405.60        376,236.66
                                 4083 Nw Cinnamon Gr
                                 Jensen Beach, FL 34957


          03/28/09    004174     Heather A Lonergan                             Wages                                         2690-000                                          2,044.63        374,192.03
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


          03/28/09    004175     Antonio Francisco Lopez                        Wages                                         2690-000                                           694.54         373,497.49
                                 15828 Sw 150th St
                                 Indiantown, FL 34956


                                                                                                                        Page Subtotals                        0.00              14,013.13
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 237
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/28/09    004176     Marbin Lopez                                    Wages                                         2690-000                                           738.52         372,758.97
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          03/28/09    004177     Timothy P Marrone                               Wages                                         2690-000                                           875.99         371,882.98
                                 980 SE San Jeronimo
                                 Port St Lucie, FL 34952


          03/28/09    004178     Philip D Mastronardi                            Wages                                         2690-000                                          1,116.57        370,766.41
                                 1764 N Dovetail Dr
                                 Fort Pierce, FL 34982


          03/28/09    004179     Pedro Mateo Domingo                             Wages                                         2690-000                                           696.08         370,070.33
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          03/28/09    004180     Miguel A Maxia                                  Wages                                         2690-000                                           695.33         369,375.00
                                 14893 Cherokee St
                                 Indiantown, FL 34956


          03/28/09    004181     Victor Mendez Bravo                             Wages                                         2690-000                                          1,145.24        368,229.76
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          03/28/09    004182     Andres Miguel Juan                              Wages                                         2690-000                                           736.15         367,493.61
                                 PO BOX 1601
                                 Indiantown, FL 34956


                                                                                                                         Page Subtotals                        0.00               6,003.88
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 238
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/28/09    004183     Edzer Mondisir                                 Wages                                         2690-000                                           627.19         366,866.42
                                 2651 Se Clayton St
                                 Stuart, FL 34997


          03/28/09    004184     Olegario S Morales                             Wages                                         2690-000                                           904.51         365,961.91
                                 Po Box 1161
                                 Indiantown, FL 34956


          03/28/09    004185     Franklin F Neumann                             Wages                                         2690-000                                          1,209.23        364,752.68
                                 2386 SW Marshfield Court
                                 Port St Lucie, FL 38953


          03/28/09    004186     Michael B Pascal                               Wages                                         2690-000                                          1,216.99        363,535.69
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


          03/28/09    004187     Rosa M Payamps                                 Wages                                         2690-000                                           817.33         362,718.36
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          03/28/09    004188     Francine M Peach                               Wages                                         2690-000                                          1,173.81        361,544.55
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          03/28/09    004189     Indira Perez Azcona                            Wages                                         2690-000                                           910.72         360,633.83
                                 2226 SW Dapsco Ave
                                 Port St Lucie, FL 34953




                                                                                                                        Page Subtotals                        0.00               6,859.78
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 239
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/28/09    004190     Israel Perez Perez                              Wages                                         2690-000                                           815.88         359,817.95
                                 214 Southview Dr
                                 Jupiter, FL 33458


          03/28/09    004191     Hugo R Perez                                    Wages                                         2690-000                                           786.27         359,031.68
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          03/28/09    004192     Maria Perez                                     Wages                                         2690-000                                          1,149.14        357,882.54
                                 5809 Se Collins Ave
                                 Stuart, FL 34994


          03/28/09    004193     Delmiro A Quinonez                              Wages                                         2690-000                                           961.90         356,920.64
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947


          03/28/09    004194     William W Ramon                                 Wages                                         2690-000                                           748.26         356,172.38
                                 Po Box 14-52
                                 Indiantown, FL 34956


          03/28/09    004195     Luis M Rodriguez Diaz                           Wages                                         2690-000                                           696.31         355,476.07
                                 130 1st Street #5
                                 Jupiter, FL 33458


          03/28/09    004196     Kimberly A Rodriguez                            Wages                                         2690-000                                          1,309.43        354,166.64
                                 2289 SE Melaleuca Blvd
                                 Port St Lucie, FL 34952


          03/28/09    004197     Roberin Roselio Castillo                        Wages                                         2690-000                                           771.04         353,395.60


                                                                                                                         Page Subtotals                        0.00               7,238.23
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                  Page: 240
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                 3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 214 Southview Dr
                                 Jupiter, FL 33458


          03/28/09    004198     Janet Suzanne Ruadez                           Wages                                         2690-000                                          2,596.55        350,799.05
                                 703 E. Apix Circle
                                 Jupiter, FL 33458


          03/28/09    004199     Niguer Sales Hernandez                         Wages                                         2690-000                                           694.54         350,104.51
                                 316 Kennedy St.
                                 Jupiter, FL 33458


          03/28/09    004200     Olegario Santizo                               Wages                                         2690-000                                           687.82         349,416.69
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          03/28/09    004201     Jesus B Serrano                                Wages                                         2690-000                                           927.56         348,489.13
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          03/28/09    004202     Rodolfo Serrano                                Wages                                         2690-000                                           762.01         347,727.12
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956


          03/28/09    004203     Shaniqua A Shoe                                Wages                                         2690-000                                          1,351.81        346,375.31
                                 4272 SW Xenon St
                                 Port St Lucie, FL 34953


          03/28/09    004204     Douglas T Sinclair                             Wages                                         2690-000                                          1,011.41        345,363.90
                                 394 Nw Stratford Ln


                                                                                                                        Page Subtotals                        0.00               8,031.70
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 241
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Port St Lucie, FL 34983


          03/28/09    004205     Brian R Sprague                                 Wages                                         2690-000                                          1,175.02        344,188.88
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          03/28/09    004206     Leroy L Stennett                                Wages                                         2690-000                                          1,075.40        343,113.48
                                 912 SW Fable Ave
                                 Port St Lucie, FL 34953


          03/28/09    004207     Justin D Stoff                                  Wages                                         2690-000                                           758.99         342,354.49
                                 283 Nabble Ave
                                 Port St Lucie, FL 34953


          03/28/09    004208     Lee E Vanroekel                                 Wages                                         2690-000                                          2,541.07        339,813.42
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


          03/28/09    004209     Luis O Zapeta                                   Wages                                         2690-000                                           654.83         339,158.59
                                 825 Sw Belmont Cir
                                 Port St Lucie, FL 34953


          03/28/09    004210     Domingo Sapon                                   Wages                                         2690-000                                           734.32         338,424.27
                                 273 SE Norfold Blvd
                                 Stuart Fl 34997


          03/28/09    004211     Alan Francoeur                                  Wages                                         2690-000                                           903.24         337,521.03
                                 649 NW Cardinal Dr
                                 Port St Lucie Fl 34983


                                                                                                                         Page Subtotals                        0.00               7,842.87
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 242
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                   7
    Transaction      Check or                                                                                                   Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          03/28/09    004212     Filberto Castillo-Martinez                      Wages                                         2690-000                                           777.97         336,743.06
                                 309 3rd St
                                 Jupiter Fl 33458


          03/28/09    004213     Andrew Kabis                                    Wages                                         2690-000                                          1,266.20        335,476.86
                                 1885 SW Penrose Ave
                                 Port St Lucie Fl 34953


          03/28/09    004214     Jesse Michalowski                               Wages                                         2690-000                                           734.86         334,742.00
                                 10428 SW West Lawn Blvd.
                                 Port St. Lucie, Fl 34987


          03/28/09    004215     Carlos Santini, Jr.                             Wages                                         2690-000                                          1,657.59        333,084.41
                                 501 NW Sherbrooke Ave.
                                 Port St. Lucie, FL 34983


          03/28/09    004216     Emilio Sanzano                                  Wages                                         2690-000                                           849.09         332,235.32
                                 785 NW Dupre St.
                                 Port St. Lucie, FL 34983


          03/28/09    004217     John Carlson                                    Wages                                         2690-000                                           740.99         331,494.33
                                 1892 SW Success St.
                                 Port St. Lucie, FL 34953


          03/28/09    004218     Edward Marrone                                  Wages                                         2690-000                                           737.03         330,757.30
                                 2980 SE San Jeronimo
                                 Port St. Lucie, FL 34952




                                                                                                                         Page Subtotals                        0.00               6,763.73
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                  Page: 243
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                       6                   7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/28/09    004219     Jorge Martinez-Cobon                             Wages                                         2690-000                                           737.65         330,019.65
                                 316 Kenedy St.
                                 Jupiter, FL 33458


          03/28/09    004220     Raymond Negron                                   Wages                                         2690-000                                           913.96         329,105.69
                                 3079 SE Galt Circle
                                 Port St. Lucie, FL 34984


          03/28/09    004221     Lantz Pierre                                     Wages                                         2690-000                                           875.79         328,229.90
                                 2872 SE Nance St.
                                 Port St. Lucie, FL 34984


          03/28/09    004222     STEPHEN PERASET                                  Wages                                         2690-000                                           699.78         327,530.12
                                 1066 LISSIE LN.
                                 OKEECHOBEE, FL 34974


          03/28/09    004223     Victorino Camposeco                              Wages                                         2690-000                                           938.54         326,591.58
                                 309 3rd St.
                                 Jupiter, FL 33458


          03/28/09    004224     Christopher Robinson                             Wages                                         2690-000                                           856.38         325,735.20
                                 1943 SW Burlington
                                 Port St. Lucie, FL 34984


          03/28/09    004225     Samuel Dorval                                    Wages                                         2690-000                                           764.35         324,970.85
                                 1604 SE 7th St.
                                 Stuart, FL 34996


          03/28/09    004226     Tori Warner                                      Wages                                         2690-000                                          1,741.05        323,229.80


                                                                                                                          Page Subtotals                        0.00               7,527.50
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                      FORM 2 "EXHIBIT B"                                                                                    Page: 244
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                                  3                                          4                                            5                       6                   7
     Transaction     Check or                                                                                                  Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                      Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 1913 SW Golden Ave
                                 Port St. Lucie, FL 34953


 *        03/28/09    004227     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                           5800-003                                           971.99         322,257.81


 *        03/28/09    004228     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                           5800-003                                          2,715.85        319,541.96


          03/28/09    004229     STATE OF FLORIDA                                SUTA EMPLOYER PAID                           5800-000                                           564.65         318,977.31


          03/28/09    004230     BANK OF AMERICA                                 FEDERAL MANUAL 6                             5300-000                                       10,441.18          308,536.13


          03/28/09    004231     BANK OF AMERICA                                 FICA MEDICARE MANUAL 6                       5300-000                                          1,761.73        306,774.40


          03/28/09    004232     BANK OF AMERICA                                 FICA MEDICARE MANUAL ER 6                    5800-000                                          1,761.72        305,012.68


          03/28/09    004233     BANK OF AMERICA                                 FICA SS MANUAL 6                             5300-000                                          7,472.99        297,539.69


          03/28/09    004234     BANK OF AMERICA                                 FICA SS ER MANUAL 6                          5800-000                                          7,472.97        290,066.72


          03/28/09    004235     MASSACHUSETTS DEPARTMENT OF                     JOHN CARLSON 6                               5300-000                                           150.00         289,916.72
                                 REVENUE
                                 CHILD SUPPORT ENFORCEMENT DIVISION
                                 P.O. BOX 55140
                                 BOSTON, MA 02205-5140


 *        03/28/09    004236     THE TESORO CLUB                                 INSURANCE 6                                  5300-003                                            92.35         289,824.37
                                 2000 SE Via Tesoro Blvd
                                 Port St. Lucie, FL 34984



                                                                                                                        Page Subtotals                        0.00              33,405.43
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                     Page: 245
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                               3                                                   4                                            5                       6                   7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                 Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/28/09    004237     STATE OF FLORIDA DISBURSEMENT UNIT               BRIAN SPRAGUE 6                                   5300-000                                           266.00         289,558.37
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          03/28/09    004238     STATE OF FLORIDA DISBURSEMENT UNIT               RODOLFO SERRANO 6                                 5300-000                                           160.00         289,398.37
                                 PO BOX 8500
                                 TALLAHASSEE FL 32314-8500


          03/28/09    004239     CGLIC-Chattanooga EASC                           Cigna Health                                      2690-000                                       39,888.03          249,510.34


          03/28/09    004240     Hector Turf                                      GCM R&M                                           2690-000                                           694.99         248,815.35


          03/28/09    004241     New England Fish Market                          Food Vendor                                       2690-000                                           280.32         248,535.03


          03/28/09    004242     Palm Beach Linen & Laundry Service               Towels                                            2690-000                                           373.05         248,161.98


          03/28/09    004243     Publix Supermarkets                              Food Vendor                                       2690-000                                           168.98         247,993.00


          03/28/09    004244     Robert Erneston Produce, Inc.                    Food Vendor                                       2690-000                                           742.89         247,250.11


          03/28/09    004245     Shannon Rios                                     Spa Contract Labor                                2690-000                                           472.89         246,777.22


          03/28/09    004246     Stardusters Housecleaning LLC                    HS Cleaning                                       2690-000                                           350.00         246,427.22


          03/28/09    004247     Vision Service Plan                              Nision Insurance                                  2690-000                                           503.02         245,924.20


 *        03/28/09    004248     Waste Pro-St. Pierce                             Waste P/U-GCM                                     2690-003                                           705.70         245,218.50


 *        03/28/09    004248     Waste Pro-St. Pierce                             Waste P/U-GCM                                     2690-003                                           -705.70        245,924.20

                                                                                                                              Page Subtotals                        0.00              43,900.17
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                     Page: 246
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                 Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                  Wrong payee


          03/28/09    004249     Waste Pro-Ft. Pierce                             Waste P/U GCM                                    2690-000                                           557.36         245,366.84


          03/28/09    004250     Sarah Hurt                                       Spa-Contract Labor                               2690-000                                           705.70         244,661.14


          03/28/09    004251     Ruth Cooper                                      Spa Contract Labor                               2690-000                                           453.00         244,208.14


          03/28/09    004252     Guardian                                         Dental Insurance                                 2690-000                                          3,571.46        240,636.68


          03/28/09    004253     Kilpatrick                                       Equip R&M                                        2690-000                                            94.86         240,541.82


          03/28/09    004254     City of Port St. Lucie Utilities                 Water                                            2690-000                                          6,137.25        234,404.57


          03/28/09    004255     Helena Chemical Co.                              Chemicals                                        2690-000                                          3,931.93        230,472.64


          03/28/09    004256     Upstart Productions                              Equipment R&M                                    2690-000                                          2,396.87        228,075.77


          03/28/09    004257     Deana Ens                                        F&B Contract Labor                               2690-000                                           105.00         227,970.77


          03/28/09    004258     Kimberly Kozar                                   Spa Contract Labor                               2690-000                                           220.00         227,750.77


          03/28/09    004259     Stacey Siebmann                                  Spa Contract Labor                               2690-000                                           105.00         227,645.77


          03/28/09    004260     Nancy Aldrich                                    Spa Contract Labor                               2690-000                                            70.00         227,575.77


          03/28/09    004261     The Ginn Companies                               Labor HR Posters                                 2690-000                                           124.75         227,451.02




                                                                                                                             Page Subtotals                        0.00              18,473.18
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                     Page: 247
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                            Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                             Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                 Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                  3                                                4                                            5                       6                   7
     Transaction     Check or                                                                                                        Uniform                                                      Account / CD
        Date         Reference                  Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/28/09    004262     Brennan Golf Sales                                Equipment R&M                                    2690-000                                          1,402.15        226,048.87


          03/28/09    004263     Jennifer Mae Greear                               F&B Contract Labor                               2690-000                                           105.00         225,943.87


          03/28/09    004264     Mustang Electric                                  Electrician                                      2690-000                                          2,930.00        223,013.87


          03/28/09    004265     Music Works Talent                                Entertainment                                    2690-000                                           650.00         222,363.87


          03/28/09    004266     Lisa Carnall                                      F&B Contract Labor                               2690-000                                           105.00         222,258.87


          03/28/09    004267     Alicia Haering                                    F&B Contract LAbor                               2690-000                                           105.00         222,153.87


 *        03/28/09    004268     Tesoro POA                                        Property Maint.                                  2690-003                                       11,873.75          210,280.12


          03/28/09    004269     SEI Communications                                Supplies                                         2690-000                                           370.62         209,909.50


          03/28/09    004270     Bound 2 Grow                                      Mulch                                            2690-000                                          1,677.38        208,232.12


          03/28/09    004271     Tri Brothers Tree Inc,                            Tree trim service                                2690-000                                          1,210.00        207,022.12


          03/28/09    004272     Dixie Blueprint Services                          CDPrints                                         2690-000                                           133.35         206,888.77


          03/28/09    004273     Florida Superior Sand, Inc.                       Sand                                             2690-000                                           899.07         205,989.70


          03/28/09    004274     Cheney Brothers, Inc.                             Food Vendor                                      2690-000                                          2,769.30        203,220.40


          03/28/09    004275     Cigna Group Insurance                             Life Insurance                                   2690-000                                          1,936.33        201,284.07




                                                                                                                              Page Subtotals                        0.00              26,166.95
                                                                                                                                                                                                          Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                      Page: 248
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                  3                                                 4                                            5                       6                   7
     Transaction     Check or                                                                                                         Uniform                                                      Account / CD
        Date         Reference                 Paid To / Received From                            Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/28/09    004276     Brigido Cofresi                                  F&B Contract Labor                                 2690-000                                           120.00         201,164.07


          03/28/09    004277     ESD Waste2Water                                  Water testing                                      2690-000                                           300.00         200,864.07


          03/28/09    004278     Capital Office Products                          office supplies                                    2690-000                                           810.37         200,053.70


 *        03/28/09    004279     Eventmakers                                      Equip. Rental                                      2690-004                                           367.14         199,686.56


          03/28/09    004280     Florida's Finest Linen                           Linen Service                                      2690-000                                           408.78         199,277.78


          03/28/09    004281     G&K Services                                     Uniforms                                           2690-000                                           288.34         198,989.44


          03/28/09    004282     IKON Financial Services                          Copier                                             2690-000                                          1,883.76        197,105.68


          03/28/09    004283     Nicole Mercado                                   Spa & F&B Contract Labor                           2690-000                                          1,189.81        195,915.87


          03/30/09    004284     Harvey K. Congdon                                Wage                                               2690-000                                          4,785.74        191,130.13
                                 2562 SE Snapper St.
                                 Port St. Lucie, FL 34952


          03/30/09    004285     Thomas C. Knowles                                Wages                                              2690-000                                          3,520.37        187,609.76
                                 961 NE Town Terr.
                                 Jensen Beach, FL 34957


 *        03/31/09    004268     Tesoro POA                                       Property Maint.                                    2690-003                                      -11,873.75          199,483.51
                                                                                  Net against amount due from POA


          03/31/09    004286     S&S Air Conditioning                             A/C                                                2690-000                                           207.50         199,276.01



                                                                                                                               Page Subtotals                        0.00               2,008.06
                                                                                                                                                                                                           Ver: 17.02e
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                                                                                             FORM 2 "EXHIBIT B"                                                                                  Page: 249
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                3                                                 4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/31/09    004287     CarQuest Auto Parts                             Parts                                             2690-000                                           105.34         199,170.67


          03/31/09    004288     Sprint                                          Cell phones                                       2690-000                                           107.39         199,063.28


          03/31/09    004289     Palm Beach Linen & Laundry Service              Linens                                            2690-000                                           259.28         198,804.00


          03/31/09    004290     Robert Erneston Produce, Inc.                   Produce                                           2690-000                                           152.69         198,651.31


          03/31/09    004291     Stardusters Housecleaning, LLC                  Home services                                     2690-000                                           308.00         198,343.31


          03/31/09    004292     Larry Hoffman                                   Contract Labor                                    2690-000                                           300.00         198,043.31


          03/31/09    004293     Florida State Golf Association                  Golf                                              2690-000                                          1,080.00        196,963.31


          03/31/09    004294     Bullet Exterminators, Inc.                      Exterminators                                     2690-000                                            35.00         196,928.31


          03/31/09    004295     Richard Brown                                   Contract Labor                                    2690-000                                           300.00         196,628.31


          03/31/09    004296     American Hotel Register Co.                     Register                                          2690-000                                           125.38         196,502.93


          03/31/09    004297     Cheney Brothers Inc.                            Food                                              2690-000                                          1,574.29        194,928.64


          03/31/09    004298     Culligan                                        Water                                             2690-000                                            65.49         194,863.15


          03/31/09    004299     Florida Power & Light                           Utilities                                         2690-000                                          5,854.71        189,008.44


          03/31/09    004300     Thomas C. Knowles III                           Reimbursement                                     2690-000                                          1,061.05        187,947.39




                                                                                                                             Page Subtotals                        0.00              11,328.62
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 250
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          04/01/09      32       Janeth Andrade                                  Dues                                          1121-000                    162.75                                 188,110.14
                                 2025 SE Kilmallie Ct.
                                 Port St. Lucie, FL 34952


          04/01/09      32       Steven Henry                                    Dues                                          1121-000                    931.88                                 189,042.02
                                 6527-1 Bay Club Dr.
                                 Fort Lauderdale, FL 33308


          04/01/09      32       Evie Klaassen                                   Dues                                          1121-000                    557.50                                 189,599.52
                                 3741 SW Bimini Cir N.
                                 Palm City, FL 34990


          04/01/09      32       Javier Semerene                                 Dues                                          1121-000                    532.50                                 190,132.02
                                 2487 Eagle Watch Ln
                                 Weston, FL 33327


          04/01/09      32       FJB & Associates, Inc.                          Dues                                          1121-000                    532.50                                 190,664.52


          04/01/09      32       Lawrence Zielinski                              Dues                                          1121-000                    424.63                                 191,089.15
                                 14 Spur Rd.
                                 West Redding, CT 06896


          04/01/09      32       Hill Construction Corp.                         Dues                                          1121-000                    532.50                                 191,621.65
                                 PO Box 362714
                                 San Juan, PR 00936-2714


          04/01/09      32       Law Offices of Gordon Koegler, P.A.             Dues                                          1121-000                   2,525.20                                194,146.85
                                 One E. Broward Blvd. Ste 700
                                 Ft. Lauderdale, FL 33301


                                                                                                                         Page Subtotals                   6,199.46                  0.00
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                         Case 08-29769-MAM              Doc 882     Filed 07/30/13        Page 258 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 251
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          04/01/09      32       G.W. Puruker Homes J.V.                         Dues                                          1121-000                    442.64                                 194,589.49
                                 5608 PGA Blvd.
                                 Suite 208
                                 Palm Beach Gardens, FL 33418


          04/01/09      32       Rolain Lake                                     Dues                                          1121-000                    532.50                                 195,121.99
                                 3757 NW 5th Ave.
                                 Boca Raton, FL 33431


          04/01/09      32       Joseph Grow III                                 Dues                                          1121-000                    716.21                                 195,838.20
                                 PO Box 698
                                 Uwchland, PA 19480


          04/01/09      32       John Marre                                      Dues                                          1121-000                    595.11                                 196,433.31
                                 105 SE Santa Gardenia
                                 Port St. Lucie, Fl 34984


          04/01/09      32       Stephen Fitzgerald                              Dues                                          1121-000                   1,025.35                                197,458.66
                                 880 Peregrine Dr.
                                 Indialantic, FL 32903


          04/01/09      32       Michael Atieh                                   Dues                                          1121-000                   2,008.77                                199,467.43
                                 105 SE Santa Lucia
                                 Port St. Lucie, FL 34984


          04/02/09      32       Alan Levine MD                                  Dues                                          1121-000                   1,839.73                                201,307.16
                                 1701 SE Hillmoor Drive No 11
                                 Port St. Lucie, FL 34952


                                                                                                                         Page Subtotals                   7,160.31                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 252
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          04/02/09      32       Lawrence Jerz                                   Dues                                          1121-000                   2,890.21                                204,197.37
                                 198 SE Via SanRemo
                                 Port St. Lucie, Fl 34984


          04/02/09      32       Theresa Turano                                  Dues                                          1121-000                    700.00                                 204,897.37
                                 224 Riverwood Drive
                                 New Hope, PA 18938


          04/02/09      32       Lee Griffith                                    Dues                                          1121-000                    972.88                                 205,870.25
                                 214 Golf Club Drive
                                 New Smyrna Beach, FL 32168


          04/02/09      32       Joel Bierenbaum                                 Dues                                          1121-000                    931.88                                 206,802.13
                                 46 Gleason Drive
                                 Thiells, NY 10984


          04/02/09      32       Edward Losty                                    Dues                                          1121-000                    532.50                                 207,334.63
                                 169 Waterton
                                 Williamsburg, VA 23188


          04/02/09      32       Sunshine Holdings LLC                           Dues                                          1121-000                    532.50                                 207,867.13
                                 3420 Heirloom Rose PL
                                 Oviedo, FL 32766


          04/02/09      32       Crossroads Environmental Consultants Inc        Dues                                          1121-000                     63.26                                 207,930.39
                                 1251 SW 27 St.
                                 Suite 2
                                 Palm City, FL 34990


                                                                                                                         Page Subtotals                   6,623.23                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                    Page: 253
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                              4                                           5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)


          04/02/09      32       Elizabeth Connelly                              Dues                                            1121-000                   2,130.00                                210,060.39
                                 22 St. Thomas Drive
                                 Palm Beach Gardens, FL 33418


          04/02/09      32       Frank coyne                                     Dues                                            1121-000                     11.39                                 210,071.78
                                 72 Bramshill Dr.
                                 Mahwah, NJ 07430


          04/02/09      32       Stanley Zabytko                                 Dues                                            1121-000                   1,248.50                                211,320.28
                                 222 SE Bella Strano
                                 Port St. Lucie, FL 34984


          04/02/09      32       Radiation Medicine Specialists                  Dues                                            1121-000                    600.18                                 211,920.46
                                 of Northeast PA, PC
                                 190 Welles St.
                                 Forty Fort, PA 18704


          04/02/09      32       Gerard Griesser                                 Dues                                            1121-000                   3,810.61                                215,731.07
                                 1885 Rose Cottage LN
                                 Malvern, PA 19355


          04/02/09      32       Ingred Lin                                      Dues                                            1121-000                    532.50                                 216,263.57
                                 3978 Hanover Circle
                                 Loxahatchee, FL 33470


          04/02/09    004301     Ginn-LA St. Lucie, Ltd., LLLP                   Cover shortfall for POA                         2690-000                                          1,000.00         215,263.57


          04/03/09               Colonial Bank                                   Turnover of funds                               1221-000               18,300.00                                   233,563.57


                                                                                                                           Page Subtotals               26,633.18                   1,000.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                 Page: 254
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                     6                    7
     Transaction     Check or                                                                                                     Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)


          04/06/09    004302     Todd Kitchen                                    Expense Reimbursement                           2690-000                                         248.51          233,315.06
                                 53 Balfour Rd. E.
                                 Palm Beach Gardens, FL


          04/06/09    004303     Kimberly Rodriguez                              Reimbursement                                   2690-000                                         137.98          233,177.08
                                 SE Melaleuca Blvd.
                                 Port St. Lucie, FL 34952


          04/06/09    004304     Eric Hummel                                     Employee Reimbursement                          2690-000                                          92.35          233,084.73
                                 2503 St. Albans Dr. West
                                 Lawn, PA 19609


          04/06/09    004305     Olegario Morales                                Reimbursement                                   2690-000                                          10.97          233,073.76
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          04/09/09    004306     CopyScan, Inc.                                  Payment for outstanding invoices                2690-000                                        6,441.45         226,632.31
                                 1230 S. Andrews Ave.
                                 Ft. Lauderdale, FL 33316


          04/21/09               Ceridian Cobra Services                         Refund                                          1221-000                   441.85                                227,074.16
                                 Attn: Operations/R
                                 3201 34th St. South
                                 St. Petersberg, FL 33711-3828


          04/27/09               Colonial Bank                                   Turnover of funds                               1221-000               72,674.69                                 299,748.85


 *        04/30/09    004040     INTERNAL REVENUE SERVICE                        FICA SOCIAL SECURITY EMPLOYER                   5800-003                                           -0.01         299,748.86


                                                                                                                           Page Subtotals               73,116.54                 6,931.25
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM               Doc 882         Filed 07/30/13        Page 262 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                     Page: 255
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                            3                                                 4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                       Account / CD
        Date         Reference              Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                                                               incorrect payee


 *        04/30/09    004041     INTERNAL REVENUE SERVICE                      FUTA EMPLOYER PAID                              5800-003                                           -920.00         300,668.86
                                                                               incorrect payee


 *        04/30/09    004042     INTERNAL REVENUE SERVICE                      SUTA EMPLOYER PAID                              5800-003                                          -2,649.29        303,318.15
                                                                               incorrect payee


 *        04/30/09    004044     INTERNAL REVENUE SERVICE                      FICA Mediare Manual Employer 3                  5800-003                                              -1.00        303,319.15
                                                                               incorrect payee


 *        04/30/09    004045     INTERNAL REVENUE SERVICE                      FICA SS Manual Employer 4                       5800-003                                              -0.01        303,319.16
                                                                               incorrect payee


 *        04/30/09    004227     INTERNAL REVENUE SERVICE                      FUTA EMPLOYER PAID                              5800-003                                           -971.99         304,291.15
                                                                               incorrect payee


 *        04/30/09    004228     INTERNAL REVENUE SERVICE                      SUTA EMPLOYER PAID                              5800-003                                          -2,715.85        307,007.00
                                                                               Incorrect payee


          04/30/09    004307     Bank of America                               FUTA EMPLOYER PAID                              5800-000                                            971.99         306,035.01


          04/30/09    004308     Bank of America                               SUTA EMPLOYER PAID                              5800-000                                          2,715.85         303,319.16


          04/30/09    004309     Bank of America                               FICA SOCIAL SECURITY EMPLOYER                   5800-000                                              0.01         303,319.15


          04/30/09    004310     Bank of America                               FUTA EMPLOYER PAID                              5800-000                                            920.00         302,399.15


          04/30/09    004311     Bank of America                               SUTA EMPLOYER PAID                              5800-000                                          2,649.29         299,749.86


                                                                                                                         Page Subtotals                        0.00                   -1.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                           FORM 2 "EXHIBIT B"                                                                                   Page: 256
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                3                                                4                                            5                       6                   7
     Transaction     Check or                                                                                                      Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          04/30/09    004312     Bank of America                                 FICA Mediare Manual Employer 3                   5800-000                                              1.00        299,748.86


          04/30/09    004313     Bank of America                                 FICA SS Manual Employer 4                        5800-000                                              0.01        299,748.85


          04/30/09    004314     BANK OF AMERICA                                 FICA SS IRS                                      5800-000                                          3,250.00        296,498.85


          04/30/09    004315     BANK OFAMERICA                                  FICA MEDICARE IRS                                5800-000                                          2,000.00        294,498.85


          04/30/09    004316     Florida U. C. Fund                              SUTA Unemployment tax                            5800-000                                       14,553.00          279,945.85


 *        04/30/09    004317     Global Golf Sales                               Invoice #8129                                    2690-004                                           238.79         279,707.06
                                 12233 SW 55 St.
                                 Suite 802
                                 Ft. Lauderdale, FL 33330


          04/30/09    004318     Car Quest                                       Ref#133508                                       2690-000                                           105.34         279,601.72
                                 Auto Parts


          04/30/09    004319     Cheney Brothers, Inc.                           Invoice for 4/1/09                               2690-000                                          2,441.73        277,159.99
                                 One Cheney Way
                                 Riviera Beach, FL 33404-7000


 *        04/30/09    004320     Capital Office Products                         Invoice                                          2690-004                                           810.37         276,349.62
                                 700 Ballough Rd.
                                 P.O. Box 1671
                                 Daytona Beach, FL 32115


 *        04/30/09    004321     Dixie Blueprint Services, Inc.                  Invoice dated 3/31/09                            2690-004                                           133.35         276,216.27


                                                                                                                            Page Subtotals                        0.00              23,533.59
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                    Page: 257
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                3                                                4                                           5                       6                  7
     Transaction     Check or                                                                                                     Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 1195 N. Military Trail, Suite 4
                                 West Palm Beach, FL 33409


          04/30/09    004322     Advanced Mulch, Inc.                            Invoice dated 3/31/09                           2690-000                                          1,750.00       274,466.27
                                 P.O. Box 32943
                                 Palm Beach Gardens, FL 33420


 *        05/05/09    004317     Global Golf Sales                               Stop Payment Reversal                           2690-004                                          -238.79        274,705.06
                                 12233 SW 55 St.                                 STOP PAY ADD SUCCESSFUL
                                 Suite 802
                                 Ft. Lauderdale, FL 33330


          06/15/09    004323     Credit Suisse-Cayman Islands Branch             Pre-Petition Secured Claim                      4110-000                                      126,625.85         148,079.21


          06/15/09               Transfer to Acct #*******6063                   Bank Funds Transfer                             9999-000                                      140,000.00             8,079.21


          06/18/09    004324     Boast                                           Invoice 251540                                  2690-000                                           100.87            7,978.34
                                 P.O. Box 2121
                                 Dept. 1245
                                 Memphis, TN 38159


          06/18/09    004325     Fromuth Tennis                                  Invoice 283946                                  2690-000                                           139.00            7,839.34
                                 1100 Rocky Drive
                                 West Lawn, PA 19609


          06/18/09    004326     G&K Services-W. Palm Beach                      Invoice #1080878563                             2690-000                                           394.20            7,445.14
                                 3874 Fiscal Ct. Suite 300
                                 Riviera Beach, FL 33404




                                                                                                                           Page Subtotals                        0.00           268,771.13
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                       Page: 258
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                               3                                                  4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          06/18/09    004327     Tee-Off Temps-Indiantown                        Invoice 209097-00                                 2690-000                                          1,280.00            6,165.14
                                 P.O. Box 2392
                                 New York, NY 10116-2392


          06/18/09    004328     NuCO2                                           Invoice NI23946254                                2690-000                                           167.15             5,997.99
                                 P.O. Box 9011
                                 Staurt, Fl 34995


          06/18/09    004329     Callaway Golf                                   Invoice 917056731/917181450                       2690-000                                           311.31             5,686.68
                                 P.O. Box 9002
                                 Calsbad, CA 92018-9002


          06/18/09    004330     Florida Dept. of Revenue                        Payment of Sales Tax                              4800-000                                            10.00             5,676.68
                                 5050 W. Tennessee St.
                                 Tallahassee, FL 32399.0125


          06/18/09    004331     Belding Golf Bag Company                        Invoice 521931                                    2690-000                                            73.86             5,602.82
                                 1500 Beacon Place
                                 Oxnard, CA 93033-1846


          06/18/09    004332     Global Equipment Company                        Invoice 103015516                                 2690-000                                           556.49             5,046.33
                                 P.O. Box 905713
                                 Charlotte, NC 28290


          06/18/09    004333     Global Equipment Company                        Invoice 103019085                                 2690-000                                           240.28             4,806.05
                                 P.O. Box 905713
                                 Charlotte, NC 20290


          06/18/09    004334     Allen Roberts Floral Designs                    Invoice 2876                                      2690-000                                            62.21             4,743.84


                                                                                                                             Page Subtotals                        0.00               2,701.30
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                   Page: 259
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                       6                    7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                 Marketplace
                                 8843 SE Bridge Rd.
                                 Hobe Sound, FL 33455


          06/18/09    004335     Kerstin Florian, Inc.                           Statement 5/29/09                               2690-000                                            24.37               4,719.47
                                 20492 Crescent Bay Drive
                                 Suite 100
                                 Lake Forest, CA 92630


          06/18/09    004336     S&S Air Conditioning                            A/C service 25495                               2690-000                                          1,484.00              3,235.47
                                 1559 SW 21 Ave.
                                 Ft. Lauderdale, FL 33312


          09/23/09      32       Publix Super Markets, Inc.                      Refund                                          1221-000                     80.66                                      3,316.13
                                 P.O. Box 407
                                 Lakeland, Fl 33802


          09/23/09      32       Citibank, N.A.                                  Refund from Home Depot                          1121-000                    261.34                                      3,577.47
                                 P.O. Box 6500
                                 Sioux Falls, SD 57117-6500


          09/23/09      32       Theodore Beringer                               Dues                                            1121-000                   1,621.95                                     5,199.42
                                 102 Gaither Dr. Ste 5
                                 Mount Laurel, NJ 08054-1714


          09/23/09      32       Stewart Property Holdings, Inc.                 Dues                                            1121-000                   5,616.28                                    10,815.70
                                 49 E. 4th St.
                                 Ste 521
                                 Cincinnati, OH 45202


                                                                                                                           Page Subtotals                   7,580.23                1,508.37
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page: 260
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                       6                    7
     Transaction     Check or                                                                                                  Uniform                                                    Account / CD
        Date         Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          09/23/09      32       Molly Semerene                                 Dues                                          1121-000                    532.50                                     11,348.20
                                 2487 Eagle Watch Lane
                                 Weston, Fl 33327


          09/23/09      32       Paul Edwards                                   Dues                                          1121-000                    532.50                                     11,880.70
                                 4260 Apple Valley Lane
                                 West Bloomfield, MI 48323


 *        09/23/09      32       Jacalyn Kennedy                                Due                                           1121-003                   2,445.41                                    14,326.11
                                 302 SW Cassine Court
                                 Palm City,FL 34990


 *        09/23/09      32       Gary Smiley                                    Dues                                          1121-003                    532.50                                     14,858.61
                                 6604 SW Woodham St.
                                 Palm City, FL 34990


          09/23/09      32       Elizabeth Fortner                              dues                                          1121-000                   3,000.00                                    17,858.61
                                 104 SE San Fratello Tesoro
                                 Port St. Lucie, FL 34984


 *        09/23/09      32       Christopher Thompson                           dues                                          1121-003                    931.88                                     18,790.49
                                 401 Wahackme Rd.
                                 New Canaan, CT 06840


          09/23/09      32       Dink Investments LLC                           Dues                                          1121-000                    931.88                                     19,722.37
                                 124 Bear's Club Drive
                                 Jupiter, Fl 33477




                                                                                                                        Page Subtotals                   8,906.67                  0.00
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 261
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          09/23/09      32       Daytona Land Co                                 Dues                                          1121-000                   1,220.17                                    20,942.54
                                 2665 N. Atlantic Ave.
                                 Ste 300
                                 Daytona Beach, FL 32118


          09/23/09      32       Status Data, Inc.                               dues                                          1121-000                    710.41                                     21,652.95
                                 One Comac Loop
                                 Ronkonkoma, NY 11779


          09/23/09      32       Sharon Sina                                     Dues                                          1121-000                    954.48                                     22,607.43
                                 108 SE Mira Lavella
                                 Port St. Lucie, Fl 34984


          09/23/09      32       Michael Wathen                                  Dues                                          1121-000                    932.00                                     23,539.43
                                 231 Turtleback Rd.
                                 New Canaan, CT 06840


 *        09/23/09      32       Asialines Investments Corp                      dues                                          1121-003                    931.88                                     24,471.31
                                 3261 SW Morningside Blvd.
                                 Port St. Lucie, Fl 34952


          09/23/09      32       Hill Construction Corp.                         Dues                                          1121-000                    532.50                                     25,003.81
                                 P.O. Box 362714
                                 San Juan, PR 00936-2714


          09/23/09      32       Janeth Andrade                                  Dues                                          1121-000                    537.93                                     25,541.74
                                 2025 SW Kilmallie Ct.
                                 Port St. Lucie, FL 34952




                                                                                                                         Page Subtotals                   5,819.37                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                       Case 08-29769-MAM                Doc 882     Filed 07/30/13        Page 269 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 262
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          09/23/09      32       Ana Dascalu                                     Dues                                          1121-000                   1,863.76                                    27,405.50
                                 2392 NW 49 Ln
                                 Boca Raton, FL 33431


 *        09/23/09      32       Robin Arrighi                                   Dues                                          1121-003                    137.42                                     27,542.92
                                 1141 San Michelle Way
                                 Palm Beach Gardens, FL 33418


 *        09/23/09      32       Kenneth Ekers                                   Dues                                          1121-003                     47.12                                     27,590.04


          09/23/09      32       LaVelle Construction Corp                       dues                                          1121-000                    348.86                                     27,938.90
                                 801 Maplewood Drive
                                 Suite 2
                                 Jupiter, FL 33458


 *        09/23/09      32       Kenneth Ekers                                   Dues                                          1121-003                   1,553.84                                    29,492.74


          09/23/09      32       G. Robert Marcus                                Dues                                          1121-000                    931.88                                     30,424.62
                                 11 Butternut Ln
                                 Basking Ridge, NJ 07920


          09/23/09      32       Vincent Insalaco                                dues                                          1121-000                    190.17                                     30,614.79
                                 101 Oldfield Rd.
                                 Shaverton, PA 18708


          09/23/09      32       Linnes Finney, Jr.                              dues                                          1121-000                    959.71                                     31,574.50
                                 10960 Pine Creek Lane
                                 Port St. Lucie, FL 34986




                                                                                                                         Page Subtotals                   6,032.76                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 263
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          09/23/09      32       Linnes Finney, Jr.                              Dues                                          1121-000                    532.50                                     32,107.00
                                 10960 Pine Creek Lane
                                 Port St. Lucie, FL 34986


          09/23/09      32       Marshall Brothers                               Dues                                          1121-000                   1,117.09                                    33,224.09
                                 5500 Collins Ave.
                                 Apt 403
                                 Miami Beach, FL 33140


          09/23/09      32       Frank Palermo                                   Dues                                          1121-000                    532.50                                     33,756.59
                                 16273 Sierra Palms Dr.
                                 Delray Beach, FL 33484


          09/24/09      32       Murano Properties                               Dues                                          1121-000                    434.05                                     34,190.64
                                 10390 Lee Drive
                                 Eden Prairie, MN 55347


          09/24/09      32       DeAngelis & McNamara, P.C.                      Dues                                          1121-000                    532.50                                     34,723.14
                                 1177 Greenwich Ave.
                                 Warwick, NJ 02886


 *        09/24/09      32       Miranda Victor                                  Dues                                          1121-003                   3,681.64                                    38,404.78
                                 124 SE Rio Casarano
                                 Port St. Lucie, 34984


          09/24/09      32       Charles Horowitz                                Dues                                          1121-000                    983.55                                     39,388.33
                                 101 20th St. Apt 2701
                                 Miami Beach, FL 33139




                                                                                                                         Page Subtotals                   7,813.83                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 264
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
 *        09/24/09      32       William & Linda Shroll                          Dues                                          1121-003                    111.23                                     39,499.56


          09/24/09      32       NJ Lahowchic                                    Dues                                          1121-000                   7,686.72                                    47,186.28
                                 196 SE Via San Remo
                                 Port St. Lucie, FL 34984


          09/24/09      32       Karen Bertiger                                  Dues                                          1121-000                    972.89                                     48,159.17
                                 23 Clarington Way
                                 Barrington, IL 60010


          09/24/09      32       Harold Fenner                                   Dues                                          1121-000                     42.00                                     48,201.17
                                 128 Rio Angelica
                                 Port St. Lucie, FL 34984


          09/24/09      32       Thomas Taylor                                   Dues                                          1121-000                   2,951.08                                    51,152.25
                                 5013 John Ticer Dr.
                                 Alexandria, VA 22304


          09/24/09      32       Frank Coyne                                     Dues                                          1121-000                   1,006.85                                    52,159.10
                                 72 Bramshill Drive
                                 Mahwah, NJ 07430


          09/24/09      32       Richard P. Hormer                               Dues                                          1121-000                   1,344.61                                    53,503.71
                                 124 SE Rio Angelica
                                 Port St. Lucie, FL 34984


          09/24/09      32       Kenneth Mihalik                                 dues                                          1121-000                    181.06                                     53,684.77
                                 168 SW Fernleaf Trail
                                 Port St. Lucie, FL 34953


                                                                                                                         Page Subtotals               14,296.44                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page: 265
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                       6                    7
    Transaction      Check or                                                                                                  Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          09/24/09      32       Barbara Boroughs                               dues                                          1121-000                   1,819.57                                    55,504.34
                                 15 Twin Walls Lane
                                 Weston, CT 06883


          09/24/09      32       Paul Boucher                                   Dues                                          1121-000                    931.88                                     56,436.22
                                 1006 SW Woodcreek Dr.
                                 Palm City, FL 34990


          09/24/09      32       Gerard Schiraldi                               Dues                                          1121-000                    710.03                                     57,146.25
                                 6 Main Ave.
                                 Garden City, NY 11530


          09/24/09      32       Jon Arnold                                     Dues                                          1121-000                   1,000.00                                    58,146.25
                                 336 Pablo Ter
                                 Ponte Verde Beach, FL 32082


          09/24/09      32       Gus Deribeaux                                  Dues                                          1121-000                    931.88                                     59,078.13
                                 6885 SW 92 St.
                                 Miami, FL 33156


          09/24/09      32       Theresa Carr                                   Dues                                          1121-000                    493.72                                     59,571.85
                                 3042 SE Doubleton Dr.
                                 Stuart, FL 34997


          09/24/09      32       FJB & Associates                               Dues                                          1121-000                    133.12                                     59,704.97


          09/24/09      32       Ben Smith Toyota                               Dues                                          1121-000                    931.88                                     60,636.85
                                 3350 U.S. Hwy #1


                                                                                                                        Page Subtotals                   6,952.08                  0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 266
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Ft. Pierce, FL 34982


 *        09/24/09      32       Asialines Investments Corporation               Dues                                          1121-003                    931.88                                     61,568.73
                                 3261 SE Morningside Blvd
                                 Port St. Lucie., FL 34952


          09/24/09      32       Edward Miller                                   Dues                                          1121-000                    532.50                                     62,101.23
                                 15 Meadow Rd.
                                 baltimore, MD 21212-1022


          09/24/09      32       Charles Horowitz                                Dues                                          1121-000                   1,225.48                                    63,326.71
                                 101 20th Street Apt. 2701
                                 Miami Beach, FL 33139


 *        09/24/09      32       Steven Astuto                                   Dues                                          1121-003                    931.88                                     64,258.59
                                 420 S. Avondale St.
                                 Amarillo, TX 79106


          09/24/09      32       Bryant Walker                                   Dues                                          1121-000                    931.88                                     65,190.47
                                 542 SW Keats Ave.
                                 Palm City, FL 34990


          09/24/09      32       Charles Termine                                 Dues                                          1121-000                   1,353.44                                    66,543.91
                                 131 SE Via Marbella
                                 Port St. Lucie, FL 34984


          09/24/09      32       John Marre                                      dues                                          1121-000                    532.50                                     67,076.41
                                 105 SE Santa Gardenia
                                 Port St. Lucie, FL 34984


                                                                                                                         Page Subtotals                   6,439.56                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                        Case 08-29769-MAM               Doc 882     Filed 07/30/13        Page 274 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 267
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


 *        09/24/09      32       Larry Wormmeester                               Dues                                          1121-003                   1,207.76                                    68,284.17
                                 06823 Kenowa Ave
                                 Grandville, MI 49418


 *        09/24/09      32       Roy Langenbach                                  Dues                                          1121-003                   1,238.06                                    69,522.23
                                 120 SE Rio Casarano
                                 Port St. Lucie, Fl 34984


          09/24/09      32       Norbert Reich                                   Dues                                          1121-000                   2,000.12                                    71,522.35
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          09/24/09      32       Norbert Reich                                   Dues                                          1121-000                   1,122.04                                    72,644.39
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          09/24/09      32       Neelam Kohli                                    Dues                                          1121-000                    532.50                                     73,176.89
                                 2020 SW 44 Ln
                                 Ocala, FL 34474


          09/24/09      32       Stewart Properties                              Dues                                          1121-000                   1,102.52                                    74,279.41
                                 P.O. Box 7002
                                 Laguna Niguel, CA 92607


          09/24/09      32       Paul Edwards                                    Dues                                          1121-000                    532.50                                     74,811.91
                                 4260 Apple Valley Lane
                                 West Bloomfield, MI 48323




                                                                                                                         Page Subtotals                   7,735.50                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                         Case 08-29769-MAM              Doc 882      Filed 07/30/13        Page 275 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                                Page: 268
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                       6                    7
     Transaction     Check or                                                                                                    Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          09/24/09      32       Edward Miller                                   Dues                                           1121-000                    931.88                                     75,743.79
                                 15 Meadow RD
                                 Baltimore, MD 21212


          09/24/09      32       Jennifer D'Angelo                               Dues                                           1121-000                   1,109.28                                    76,853.07
                                 106 SE Mira LAvella
                                 Port St. Lucie, Fl 34984


 *        09/24/09      32       Auta Hendler                                    Dues                                           1121-003                    931.88                                     77,784.95
                                 21493 Linwoodt.
                                 Boca Raton, FL 33433


          09/25/09      32       FPL                                             Refund                                         1121-000                   1,581.84                                    79,366.79


          09/25/09      32       Optacomp                                        Refund f/ BCBS                                 1121-000                   4,811.92                                    84,178.71
                                 P.O. Box 45132
                                 Jaksonville, FL 32232


          09/25/09      32       Aflac                                           Refund                                         1121-000                     33.34                                     84,212.05
                                 1932 Wynnton Rd.
                                 Columbus, GA 31999


          09/25/09      32       Paul Hyman                                      Dues                                           1121-000                   5,469.92                                    89,681.97
                                 8 Winthrop Dr.
                                 Dix Hills, NY 11746


          09/25/09      32       John Lockhart II                                Dues                                           1121-000                   8,000.00                                    97,681.97
                                 16 N. Main St.
                                 Pittsford, NY 14534


                                                                                                                          Page Subtotals               22,870.06                     0.00
                                                                                                                                                                                                       Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                 3                                            4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


 *        09/25/09      32       William K. Shroll                               Dues                                          1121-003                     40.80                                     97,722.77
                                 Linda Shroll


 *        09/25/09      32       American Express                                dues                                          1121-003                   1,628.22                                    99,350.99
                                 Travel Related Services
                                 20002 N. 19 Ave.
                                 A-17
                                 Phoenix, AZ 85027


 *        09/25/09      32       American Express                                dues                                          1121-003                   1,116.99                                100,467.98
                                 Travel Related Services
                                 20002 N. 19 Ave.
                                 A-17
                                 Phoenix, AZ 85027


 *        09/25/09      32       American Express                                Dues                                          1121-003                   2,648.51                                103,116.49
                                 Travel Related Services
                                 20002 N. 19 Ave
                                 A-17
                                 Phoeniz, AZ 85027


          09/25/09      32       Edward Miller                                   Dues                                          1121-000                    931.88                                 104,048.37
                                 15Meadow Rd
                                 Baltimore, MD 21212


          09/25/09      32       Sunshine Holdings LLC                           Dues                                          1121-000                    532.50                                 104,580.87
                                 3420 Heirloom Rose PL
                                 Oviedo, FL 32766



                                                                                                                         Page Subtotals                   6,898.90                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                Page: 270
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                               3                                             4                                            5                       6                    7
     Transaction     Check or                                                                                                  Uniform                                                    Account / CD
        Date         Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          09/25/09      32       Norbert Reich                                  Dues                                          1121-000                     26.63                                 104,607.50
                                 3550 Lander Rd.
                                 Pepper Pike, OH 44124


          09/25/09      32       Norbert Reich                                  Dues                                          1121-000                   1,563.27                                106,170.77
                                 3550 LanderRd.
                                 Pepper Pike, OH 44124


          09/25/09      32       Frank Consiglio                                Dues                                          1121-000                     50.00                                 106,220.77
                                 8 Thomas Ave.
                                 South Amboy, NJ 08879


          09/25/09      32       Radiation Medicine Specialists                 Dues                                          1121-000                    944.96                                 107,165.73
                                 of NE PA, P.C.
                                 190 Welles St.
                                 Forty Fort, PA 18704


 *        09/25/09      32       Theresa Turano                                 Dues                                          1121-003                    700.00                                 107,865.73
                                 224 Riverwood Drive
                                 New Hope, PA 18938


 *        09/25/09      32       Lee Griffith                                   Dues                                          1121-003                    931.88                                 108,797.61
                                 214 Golf Club Drive
                                 New Smyrna Beach, FL 32168


          09/25/09      32       Joel Bierenbaum                                Dues                                          1121-000                    931.88                                 109,729.49
                                 46 Gleason Dr
                                 Thiells, NY 10984


                                                                                                                        Page Subtotals                   5,148.62                  0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 271
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          09/25/09      32       Donald Ashley                                   Dues                                          1121-000                   1,161.49                                110,890.98


          09/25/09      32       Gerard Griesser                                 Dues                                          1121-000                    931.88                                 111,822.86
                                 1885 Rose Cottage Ln
                                 Malvern, PA 19355


          09/25/09      32       Sheila Furr                                     Dues                                          1121-000                     48.99                                 111,871.85
                                 21349 Greenwood Ct
                                 Boca Raton, FL 33433


          09/25/09      32       Paul Boucher                                    Dues                                          1121-000                    979.81                                 112,851.66
                                 1006 SW Woodcreek Dr.
                                 Palm City, FL 34990


          09/25/09      32       Lawrence Jerz                                   Dues                                          1121-000                   1,619.45                                114,471.11
                                 198 SE Via San Remo
                                 Port St. Lucie, FL 34984


          09/25/09      32       Joseph Coury                                    Dues                                          1121-000                   1,169.88                                115,640.99
                                 114 SE Mira LaVella
                                 Port St. Lucie, FL 34984


          09/25/09      32       Stewart Properties                              Dues                                          1121-000                    620.90                                 116,261.89
                                 P.O. Box 7002
                                 Laguna Niguel, CA 92607-7002


          09/25/09      32       Alan Levin. M.D.                                Dues                                          1121-000                   2,487.39                                118,749.28
                                 1701 SE Hillmoor Drive #11


                                                                                                                         Page Subtotals                   9,019.79                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
     Transaction     Check or                                                                                                   Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                 Port St. Lucie, FL 34952


 *        09/25/09      32       Edward Losty                                    Dues                                          1121-003                    532.50                                 119,281.78
                                 169 Waterton
                                 Williamburg, VA 23188


 *        09/25/09      32       Auta Hendler                                    Dues                                          1121-003                    991.66                                 120,273.44
                                 21496 Linwood Ct.
                                 Boca Raton, FL 33433


          09/25/09      32       Barbara Murray                                  Dues                                          1121-000                   2,711.44                                122,984.88


 *        09/25/09      32       Stephen Fitzgerald                              Dues                                          1121-003                   1,126.66                                124,111.54
                                 880 Peregrine Dr.
                                 Indialantic, FL 32903


          09/25/09      32       Lawrence Zielinski                              Dues                                          1121-000                   1,152.54                                125,264.08
                                 14 Spur Rd.
                                 west Redding, CT 06896


          09/25/09      32       Don Ardinger                                    Dues                                          1121-000                   1,065.00                                126,329.08
                                 13012 Hawkins Cir
                                 Hagerstown, MD 21742


          09/25/09      32       Stanley Zabytko                                 Dues                                          1121-000                   2,035.36                                128,364.44
                                 222 SEBella Strano
                                 Port St. Lucie, FL 34984


 *        09/25/09      32       Jennifer D'Angelo                               Dues                                          1121-003                    541.15                                 128,905.59


                                                                                                                         Page Subtotals               10,156.31                     0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                       Case 08-29769-MAM                Doc 882     Filed 07/30/13        Page 280 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                Page: 273
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                                  3                                           4                                            5                       6                    7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)


          09/25/09      32       Joseph Jacques                                  Dues                                          1121-000                    863.97                                 129,769.56
                                 15430 Avery Rd.
                                 Rockville, MD 20855


          09/25/09      32       Joseph Grow III                                 Dues                                          1121-000                     39.22                                 129,808.78
                                 P.O. Box 698
                                 Uwchland, PA 19480


          09/25/09      32       Daniel Rourke                                   Dues                                          1121-000                    209.99                                 130,018.77
                                 P.O. Box 2627
                                 Framingham, MA 01703


          09/25/09      32       Ann C. Fernandez Trustee                        Dues                                          1121-000                    931.88                                 130,950.65
                                 6653 Woodlake Rd.
                                 Juoiter, FL 33458


          09/25/09      32       Joseph Vargas                                   Dues                                          1121-000                    532.50                                 131,483.15
                                 1931 Staimford Cir
                                 West Palm Beach, FL 33414


          09/25/09      32       Janeth Andrade                                  Dues                                          1121-000                    620.90                                 132,104.05
                                 2025 SE Kilmallie Ct
                                 Port St. Lucie, FL 34952


          09/25/09      32       City Center Investments, Inc.                   Dues                                          1121-000                    532.50                                 132,636.55
                                 400 Broome St.
                                 New York, NY 10013




                                                                                                                         Page Subtotals                   3,730.96                  0.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                       Case 08-29769-MAM                Doc 882      Filed 07/30/13        Page 281 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 274
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:              *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                        6                    7
     Transaction     Check or                                                                                                    Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          09/25/09      32       Edward Burke                                    Dues                                           1121-000                   1,771.75                                 134,408.30
                                 1012 Quail Place
                                 Brielle, NJ 08730


          09/25/09      32       NNN Old Line                                    Dues                                           1121-000                   1,174.52                                 135,582.82
                                 Professional Center
                                 107 SE Bella Strano
                                 Port St. Lucie, FL 34984


 *        10/11/09      32       Jacalyn Kennedy                                 Due                                            1121-003                   -2,445.41                                133,137.41
                                 302 SW Cassine Court                            stop payment issued by member
                                 Palm City,FL 34990


 *        10/11/09      32       Gary Smiley                                     Dues                                           1121-003                    -532.50                                 132,604.91
                                 6604 SW Woodham St.                             stop payment issued by member
                                 Palm City, FL 34990


 *        10/11/09      32       Christopher Thompson                            dues                                           1121-003                    -931.88                                 131,673.03
                                 401 Wahackme Rd.                                stop payment issued by member
                                 New Canaan, CT 06840


 *        10/11/09      32       Asialines Investments Corp                      dues                                           1121-003                    -931.88                                 130,741.15
                                 3261 SW Morningside Blvd.                       stop payment issued by member
                                 Port St. Lucie, Fl 34952


 *        10/11/09      32       Robin Arrighi                                   Dues                                           1121-003                    -137.42                                 130,603.73
                                 1141 San Michelle Way                           stop payment issued by member
                                 Palm Beach Gardens, FL 33418




                                                                                                                          Page Subtotals                   -2,032.82                  0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                         Case 08-29769-MAM           Doc 882           Filed 07/30/13       Page 282 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                    Page: 275
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:              *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                        6                    7
     Transaction     Check or                                                                                                     Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
 *        10/11/09      32       Kenneth Ekers                                   Dues                                            1121-003                     -47.12                                 130,556.61
                                                                                 stop payment issued by member


 *        10/11/09      32       Kenneth Ekers                                   Dues                                            1121-003                   -1,553.84                                129,002.77
                                                                                 stop payment issued by member


 *        10/11/09      32       Miranda Victor                                  Dues                                            1121-003                   -3,681.64                                125,321.13
                                 124 SE Rio Casarano                             stop payment issued by member
                                 Port St. Lucie, 34984


 *        10/11/09      32       William & Linda Shroll                          Dues                                            1121-003                    -111.23                                 125,209.90
                                                                                 stop payment issued


 *        10/11/09      32       Asialines Investments Corporation               Dues                                            1121-003                    -931.88                                 124,278.02
                                 3261 SE Morningside Blvd                        stop payment issued by member
                                 Port St. Lucie., FL 34952


 *        10/11/09      32       Steven Astuto                                   Dues                                            1121-003                    -931.88                                 123,346.14
                                 420 S. Avondale St.                             stop payment issued by member
                                 Amarillo, TX 79106


 *        10/11/09      32       Larry Wormmeester                               Dues                                            1121-003                   -1,207.76                                122,138.38
                                 06823 Kenowa Ave                                stop payment issued by member
                                 Grandville, MI 49418


 *        10/11/09      32       Roy Langenbach                                  Dues                                            1121-003                   -1,238.06                                120,900.32
                                 120 SE Rio Casarano                             stop payment issued by member
                                 Port St. Lucie, Fl 34984




                                                                                                                           Page Subtotals                   -9,703.41                  0.00
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                  Page: 276
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:              *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                 3                                             4                                            5                        6                    7
     Transaction     Check or                                                                                                    Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
 *        10/11/09      32       Auta Hendler                                    Dues                                           1121-003                    -931.88                                 119,968.44
                                 21493 Linwoodt.                                 stop payment issued by member
                                 Boca Raton, FL 33433


 *        10/11/09      32       William K. Shroll                               Dues                                           1121-003                     -40.80                                 119,927.64
                                 Linda Shroll                                    stop payment issued by member


 *        10/11/09      32       Theresa Turano                                  Dues                                           1121-003                    -700.00                                 119,227.64
                                 224 Riverwood Drive                             stop p ayment issued by member
                                 New Hope, PA 18938


 *        10/11/09      32       Jennifer D'Angelo                               Dues                                           1121-003                    -541.15                                 118,686.49
                                                                                 stop payment issued by member


          10/20/09      32       Auta Hendler                                    Dues                                           1121-000                     931.88                                 119,618.37
                                 21493 Linwood Ct
                                 Boca Raton, Fl 33433


          10/20/09      32       Auta Hendler                                    Dues                                           1121-000                     997.66                                 120,616.03
                                 21493 Linwood Ct
                                 Boca Raton, FL 33433


 *        10/30/09      32       American Express                                dues                                           1121-003                   -1,628.22                                118,987.81
                                 Travel Related Services                         Stop payment issued
                                 20002 N. 19 Ave.
                                 A-17
                                 Phoenix, AZ 85027


 *        10/30/09      32       American Express                                dues                                           1121-003                   -1,116.99                                117,870.82


                                                                                                                          Page Subtotals                   -3,029.50                  0.00
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                  Page: 277
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:              *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                 3                                              4                                            5                        6                    7
     Transaction     Check or                                                                                                     Uniform                                                     Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 Travel Related Services                         Stop Payment issued
                                 20002 N. 19 Ave.
                                 A-17
                                 Phoenix, AZ 85027


 *        10/30/09      32       American Express                                Dues                                            1121-003                   -2,648.51                                115,222.31
                                 Travel Related Services                         stop payment issued
                                 20002 N. 19 Ave
                                 A-17
                                 Phoeniz, AZ 85027


 *        10/30/09      32       Lee Griffith                                    Dues                                            1121-003                    -931.88                                 114,290.43
                                 214 Golf Club Drive                             Stop payment issued
                                 New Smyrna Beach, FL 32168


 *        10/30/09      32       Edward Losty                                    Dues                                            1121-003                    -532.50                                 113,757.93
                                 169 Waterton                                    Stop payment issued
                                 Williamburg, VA 23188


          11/03/09      32       Philadelphia Insurance Companies                Refund                                          1121-000                     721.00                                 114,478.93
                                 One Bala Plaza
                                 Suite 100
                                 Bala Cynwyd, PA 19004


          11/10/09      32       Mariner Title Co                                A/R                                             1121-000               12,000.00                                    126,478.93
                                 601 Heritage Dr.
                                 Ste 103
                                 Jupiter, FL 33458




                                                                                                                           Page Subtotals                   8,608.11                   0.00
                                                                                                                                                                                                         Ver: 17.02e
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                                                                                        FORM 2 "EXHIBIT B"                                                                                   Page: 278
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                               4                                          5                     6                    7
     Transaction     Check or                                                                                                     Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
          11/18/09    004337     Florida's Finest Linens                         Invoice #3202890-IN                             2690-000                                         123.39          126,355.54
                                 2610 Orange Ave.
                                 Ft. Pierce, FL 34947


 *        12/04/09    003633     Tesoro Golf Holdings, LLC                       Palmer Rent Jan & Feb 09                        2690-003                                    -54,000.00           180,355.54
                                                                                 check was never cashed.


 *        12/04/09    004124     Tesoro Golf Holdings, LLC                       Palmer Lease                                    2690-003                                    -27,000.00           207,355.54
                                                                                 check was never cashed


          12/14/09    004338     Tesoro Golf Holdings, LLC                       Palmer Course Rent                              2690-000                                    81,000.00            126,355.54


          12/18/09               Transfer from Acct #*******5802                 Bank Funds Transfer                             9999-000               10,000.00                                 136,355.54


          12/18/09    004339     David Aguilar                                   Wages - 507(a)(3)                               5300-000                                        1,271.99         135,083.55
                                 3048 SE Wake Rd
                                 Port St Lucie, FL 34984


          12/18/09    004340     Raul Alva Lopez                                 Wages - 507(a)(3)                               5300-000                                        1,287.76         133,795.79
                                 6100 SE Michael Dr
                                 Stuart, FL 34997


          12/18/09    004341     Todd A Anderson                                 Wages - 507(a)(3)                               5300-000                                        3,009.57         130,786.22
                                 19786 NW 282ND St
                                 Okeechobee, FL 34972


          12/18/09    004342     Tomas T Andres                                  Wages - 507(a)(3)                               5300-000                                         585.78          130,200.44
                                 15103 SW Yalaha St
                                 Indiantown, FL 34956


                                                                                                                           Page Subtotals               10,000.00                 6,278.49
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                     Page: 279
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                 3                                             4                                            5                       6                   7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          12/18/09    004343     Eugene P Baker                                 Wages - 507(a)(3)                               5300-000                                           923.34         129,277.10
                                 721 SE Thanksgiving Ave
                                 Port St Lucie, FL 34984


          12/18/09    004344     Matthew A Boyd                                 Wages - 507(a)(3)                               5300-000                                          5,009.38        124,267.72
                                 813 SE Starflower Ave
                                 Port St Lucie, FL 34983


          12/18/09    004345     Paul K Brown                                   Wages - 507(a)(3)                               5300-000                                          1,126.52        123,141.20
                                 1185 Nw 13th Terr
                                 Stuart, FL 34994


          12/18/09    004346     Arelis Cohen                                   Wages - 507(a)(3)                               5300-000                                           669.84         122,471.36
                                 2561 SW Savage Blvd
                                 Port St Lucie, FL 34953


          12/18/09    004347     Harvey K Congdon                               Wages - 507(a)(3)                               5300-000                                          7,374.82        115,096.54
                                 2562 Se Snapper St
                                 Port St Lucie, FL 34952


          12/18/09    004348     Tomas N Cruz                                   Wages - 507(a)(3)                               5300-000                                          1,215.94        113,880.60
                                 P.O. Box 1161
                                 Indiantown, FL 34956


          12/18/09    004349     Kimberly A Deorsey                             Wages - 507(a)(3)                               5300-000                                           608.13         113,272.47
                                 121 Poinciana Drive
                                 Jupiter, FL 33458




                                                                                                                          Page Subtotals                        0.00              16,927.97
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                          FORM 2 "EXHIBIT B"                                                                                     Page: 280
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                           Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                             Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                 3                                                4                                            5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                  Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          12/18/09    004350     Menuau Destine                                    Wages - 507(a)(3)                               5300-000                                           109.91         113,162.56
                                 2686 Bonita Street
                                 Stuart, FL 34997


          12/18/09    004351     Douglas C Feinsinger                              Wages - 507(a)(3)                               5300-000                                          2,065.88        111,096.68
                                 1703 Se Lafayette St
                                 Stuart, FL 34997


          12/18/09    004352     Kenneth D Ferguson                                Wages - 507(a)(3)                               5300-000                                          2,945.89        108,150.79
                                 518 Sw Ester Avenue
                                 Port St Lucie, FL 34983


          12/18/09    004353     Susano E Figeroa                                  Wages - 507(a)(3)                               5300-000                                           359.63         107,791.16
                                 135 7th St Apt 2
                                 Jupiter, FL 33458


          12/18/09    004354     Alfonso F Garcia Lopez                            Wages - 507(a)(3)                               5300-000                                           523.43         107,267.73
                                 5202 Erika Pl
                                 Lake Worth, FL 33463


          12/18/09    004355     David S Gibbons                                   Wages - 507(a)(3)                               5300-000                                           414.55         106,853.18
                                 442 Se Fairchild Ave
                                 Port Saint Lucie, FL 34984


          12/18/09    004356     Magnus K Gustafsson                               Wages - 507(a)(3)                               5300-000                                          3,145.50        103,707.68
                                 1865 Bridgepointe Circle #28
                                 Vero Beach, FL 32967


          12/18/09    004357     Jacob P Ivey                                      Wages - 507(a)(3)                               5300-000                                          1,121.22        102,586.46


                                                                                                                             Page Subtotals                        0.00              10,686.01
                                                                                                                                                                                                         Ver: 17.02e
LFORM24
                                                        Case 08-29769-MAM           Doc 882          Filed 07/30/13        Page 288 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                     Page: 281
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                 3                                             4                                            5                       6                   7
     Transaction     Check or                                                                                                    Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 2180 SW Quarry Street
                                 Port St Lucie, FL 34953


          12/18/09    004358     Jacalyn A Kennedy                              Wages - 507(a)(3)                               5300-000                                          1,439.06        101,147.40
                                 302 Sw Cassine Court
                                 Palm City, FL 34990


          12/18/09    004359     Todd Kitchen                                   Wages - 507(a)(3)                               5300-000                                          1,824.55            99,322.85
                                 53 Balfour Rd E
                                 Palm Beach Garden, FL 33418


          12/18/09    004360     Evelina D Klaassen                             Wages - 507(a)(3)                               5300-000                                          2,422.16            96,900.69
                                 3741 SW Bimini Circle N
                                 Palm City, FL 34990


          12/18/09    004361     Thomas C Knowles                               Wages - 507(a)(3)                               5300-000                                          6,801.97            90,098.72
                                 961 Ne Town Terrace
                                 Jensen Beach, FL 34957


          12/18/09    004362     Julia Lanek                                    Wages - 507(a)(3)                               5300-000                                          1,211.63            88,887.09
                                 4083 Nw Cinnamon Gr
                                 Jensen Beach, FL 34957


 *        12/18/09    004363     Heather A Lonergan                             Wages - 507(a)(3)                               5300-003                                           617.11             88,269.98
                                 5445 Nw Dunn Rd
                                 Port St Lucie, FL 34983


          12/18/09    004364     Antonio Francisco Lopez                        Wages - 507(a)(3)                               5300-000                                           596.06             87,673.92
                                 15828 Sw 150th St


                                                                                                                          Page Subtotals                        0.00              14,912.54
                                                                                                                                                                                                      Ver: 17.02e
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                                                         Case 08-29769-MAM           Doc 882          Filed 07/30/13        Page 289 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                     Page: 282
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                 3                                              4                                            5                       6                   7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Indiantown, FL 34956


          12/18/09    004365     Marbin Lopez                                    Wages - 507(a)(3)                               5300-000                                            33.58             87,640.34
                                 6600 Jupiter Gardens Boulevard Apt A
                                 Jupiter, FL 33458


          12/18/09    004366     Timothy P Marrone                               Wages - 507(a)(3)                               5300-000                                           415.23             87,225.11
                                 980 SE San Jeronimo
                                 Port St Lucie, FL 34952


          12/18/09    004367     Philip D Mastronardi                            Wages - 507(a)(3)                               5300-000                                           633.55             86,591.56
                                 1764 N Dovetail Dr
                                 Fort Pierce, FL 34982


          12/18/09    004368     Pedro Mateo Domingo                             Wages - 507(a)(3)                               5300-000                                           637.97             85,953.59
                                 3007 SE Golden Gate Ave
                                 Stuart, FL 34997


          12/18/09    004369     Miguel A Maxia                                  Wages - 507(a)(3)                               5300-000                                           317.14             85,636.45
                                 14893 Cherokee St
                                 Indiantown, FL 34956


          12/18/09    004370     Victor Mendez Bravo                             Wages - 507(a)(3)                               5300-000                                          1,093.83            84,542.62
                                 15155 Sw Fox St
                                 Po Box 2058
                                 Indiantown, FL 34956


          12/18/09    004371     Edzer Mondisir                                  Wages - 507(a)(3)                               5300-000                                           704.88             83,837.74
                                 2651 Se Clayton St


                                                                                                                           Page Subtotals                        0.00               3,836.18
                                                                                                                                                                                                       Ver: 17.02e
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                                                      Case 08-29769-MAM              Doc 882          Filed 07/30/13        Page 290 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                     Page: 283
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                 3                                              4                                            5                       6                   7
     Transaction     Check or                                                                                                     Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 Stuart, FL 34997


          12/18/09    004372     Olegario S Morales                              Wages - 507(a)(3)                               5300-000                                           820.93             83,016.81
                                 Po Box 1161
                                 Indiantown, FL 34956


          12/18/09    004373     Franklin F Neumann                              Wages - 507(a)(3)                               5300-000                                          1,102.66            81,914.15
                                 2386 SW Marshfield Court
                                 Port St Lucie, FL 38953


          12/18/09    004374     Michael B Pascal                                Wages - 507(a)(3)                               5300-000                                           380.32             81,533.83
                                 1574 Sw Gadsan Ave
                                 Port St Lucie, FL 34953


          12/18/09    004375     Rosa M Payamps                                  Wages - 507(a)(3)                               5300-000                                           821.67             80,712.16
                                 1576 Sw Pitts Ave
                                 Port St Lucie, FL 34953


          12/18/09    004376     Francine M Peach                                Wages - 507(a)(3)                               5300-000                                           958.62             79,753.54
                                 981 Sw Dalton Ave
                                 Port St Lucie, FL 34953


          12/18/09    004377     Indira Perez Azcona                             Wages - 507(a)(3)                               5300-000                                           547.04             79,206.50
                                 2226 SW Dapsco Ave
                                 Port St Lucie, FL 34953


 *        12/18/09    004378     Israel Perez Perez                              Wages - 507(a)(3)                               5300-004                                          1,562.72            77,643.78
                                 214 Southview Dr
                                 Jupiter, FL 33458


                                                                                                                           Page Subtotals                        0.00               6,193.96
                                                                                                                                                                                                       Ver: 17.02e
LFORM24
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                                                                                        FORM 2 "EXHIBIT B"                                                                                     Page: 284
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                  3                                             4                                            5                       6                   7
     Transaction     Check or                                                                                                     Uniform                                                      Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


 *        12/18/09    004379     Hugo R Perez                                    Wages - 507(a)(3)                               5300-003                                           520.92             77,122.86
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          12/18/09    004380     Maria Perez                                     Wages - 507(a)(3)                               5300-000                                           875.56             76,247.30
                                 5809 Se Collins Ave
                                 Stuart, FL 34994


          12/18/09    004381     Delmiro A Quinonez                              Wages - 507(a)(3)                               5300-000                                          1,221.82            75,025.48
                                 2607 Citrus Ave
                                 Fort Pierce, FL 34947


 *        12/18/09    004382     Luis M Rodriguez Diaz                           Wages - 507(a)(3)                               5300-003                                           484.54             74,540.94
                                 130 1st Street #5
                                 Jupiter, FL 33458


          12/18/09    004383     Kimberly A Rodriguez                            Wages - 507(a)(3)                               5300-000                                          7,374.82            67,166.12
                                 2289 SE Melaleuca Blvd
                                 Port St Lucie, FL 34952


 *        12/18/09    004384     Roberin Roselio Castillo                        Wages - 507(a)(3)                               5300-004                                          1,165.89            66,000.23
                                 214 Southview Dr
                                 Jupiter, FL 33458


          12/18/09    004385     Janet Suzanne Ruadez                            Wages - 507(a)(3)                               5300-000                                          1,485.06            64,515.17
                                 703 E. Apix Circle
                                 Jupiter, FL 33458




                                                                                                                           Page Subtotals                        0.00              13,128.61
                                                                                                                                                                                                       Ver: 17.02e
LFORM24
                                                      Case 08-29769-MAM             Doc 882          Filed 07/30/13        Page 292 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                     Page: 285
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                 3                                             4                                            5                       6                   7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          12/18/09    004386     Niguer Sales Hernandez                         Wages - 507(a)(3)                               5300-000                                           839.13             63,676.04
                                 316 Kennedy St.
                                 Jupiter, FL 33458


          12/18/09    004387     Olegario Santizo                               Wages - 507(a)(3)                               5300-000                                           683.65             62,992.39
                                 14966 SW Dr Martin Luther King
                                 Indiantown, FL 34956


          12/18/09    004388     Jesus B Serrano                                Wages - 507(a)(3)                               5300-000                                          1,490.78            61,501.61
                                 11500 Sw Kanner Hwy #323
                                 Indiantown, FL 34956


          12/18/09    004389     Rodolfo Serrano                                Wages - 507(a)(3)                               5300-000                                           779.36             60,722.25
                                 11500 Sw Kanner Hwy Lot 339
                                 Indiantown, FL 34956


          12/18/09    004390     Douglas T Sinclair                             Wages - 507(a)(3)                               5300-000                                           288.75             60,433.50
                                 394 Nw Stratford Ln
                                 Port St Lucie, FL 34983


          12/18/09    004391     Brian R Sprague                                Wages - 507(a)(3)                               5300-000                                          1,117.13            59,316.37
                                 825 Sandtree Dr
                                 Palm Beach Garden, FL 33403


          12/18/09    004392     Justin D Stoff                                 Wages - 507(a)(3)                               5300-000                                           298.49             59,017.88
                                 283 Nabble Ave
                                 Port St Lucie, FL 34953


          12/18/09    004393     Lee E Vanroekel                                Wages - 507(a)(3)                               5300-000                                          1,411.06            57,606.82


                                                                                                                          Page Subtotals                        0.00               6,908.35
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                      Case 08-29769-MAM             Doc 882          Filed 07/30/13        Page 293 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                     Page: 286
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                               3                                               4                                            5                       6                   7
     Transaction     Check or                                                                                                    Uniform                                                      Account / CD
        Date         Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 1826 SW Stratford Way
                                 Palm City, FL 34990


 *        12/18/09    004394     Carlos Santini, Jr.                            Wages - 507(a)(3)                               5300-003                                              0.01            57,606.81
                                 501 NW Sherbrooke Ave.
                                 Port St. Lucie, FL 34983


 *        12/18/09    004394     Carlos Santini, Jr.                            Wages - 507(a)(3)                               5300-003                                             -0.01            57,606.82
                                 501 NW Sherbrooke Ave.                         cut in error
                                 Port St. Lucie, FL 34983


 *        12/18/09    004395     INTERNAL REVENUE SERVICE                       FUTA EMPLOYER PAID                              5800-003                                           935.42             56,671.40


 *        12/18/09    004396     INTERNAL REVENUE SERVICE                       SUTA EMPLOYER PAID                              5800-003                                          3,112.18            53,559.22


 *        12/18/09    004397     STATE OF FLORIDA                               SUTA EMPLOYER PAID                              5800-003                                            44.78             53,514.44


 *        12/18/09    004398     INTERNAL REVENUE SERVICE                       FICA SS Manual Employer 4                       5800-003                                              1.00            53,513.44


 *        12/18/09    004399     BANK OF AMERICA                                FICA MEDICARE MANUAL ER 6                       5800-003                                              0.01            53,513.43


 *        12/18/09    004400     BANK OF AMERICA                                FICA SS ER MANUAL 6                             5800-003                                              0.02            53,513.41


 *        12/18/09    004401     BANK OF AMERICA                                Federal Manual 7                                5300-003                                       29,231.32              24,282.09


 *        12/18/09    004402     BANK OF AMERICA                                FICA MEDICARE MANUAL 7                          5300-003                                          1,694.90            22,587.19


 *        12/18/09    004403     BANK OF AMERICA                                FICA MEDICARE MANUAL ER 7                       5800-003                                          1,694.90            20,892.29



                                                                                                                          Page Subtotals                        0.00              36,714.53
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                           Page: 287
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                                Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                                 Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                                  Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                     Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1             2                               3                                               4                                                    5                     6                    7
     Transaction     Check or                                                                                                            Uniform                                                    Account / CD
        Date         Reference               Paid To / Received From                         Description Of Transaction                 Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)
 *        12/18/09    004404     BANK OF AMERICA                                FICA SS MANUAL 7                                        5300-003                                        7,250.09             13,642.20


 *        12/18/09    004405     BANK OF AMERICA                                FICA SS MANUAL ER 7                                     5800-003                                        7,250.09              6,392.11


          01/27/10               Transfer from Acct #*******5802                Bank Funds Transfer                                     9999-000                   743.07                                     7,135.18


 *        01/27/10    004379     Hugo R Perez                                   Wages - 507(a)(3)                                       5300-003                                         -520.92              7,656.10
                                 6620 Jupiter Gardens Blvd                      Check never reached the person. Am issuing stop
                                 Jupiter, FL 33458                              payment due to the check being lost.


 *        01/27/10    004382     Luis M Rodriguez Diaz                          Wages - 507(a)(3)                                       5300-003                                         -484.54              8,140.64
                                 130 1st Street #5                              Check was lost in the mail. Reissuing and sending
                                 Jupiter, FL 33458                              again.


          01/27/10    004406     Hugo R Perez                                   Wages - 507(a)(3)                                       5300-000                                         520.92               7,619.72
                                 6620 Jupiter Gardens Blvd
                                 Jupiter, FL 33458


          01/27/10    004407     Luis M Rodriguez Diaz                          Wages - 507(a)(3)                                       5300-000                                         484.54               7,135.18
                                 130 1st Street #5
                                 Jupiter, FL 33458


          01/27/10    004408     Juan J Gutierres                               Wages - 507(a)(3)                                       5300-000                                         478.62               6,656.56
                                 14796 Sw 174 Ct
                                 Indiantown, FL 34956


 *        01/27/10    004409     BANK OF AMERICA                                Federal Manual 7                                        5300-003                                         185.77               6,470.79


 *        01/27/10    004410     BANK OF AMERICA                                FICA MEDICARE MANUAL 7                                  5300-003                                          10.77               6,460.02


                                                                                                                                  Page Subtotals                   743.07               15,175.34
                                                                                                                                                                                                             Ver: 17.02e
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                                                       Case 08-29769-MAM             Doc 882           Filed 07/30/13      Page 295 of 320
                                                                                          FORM 2 "EXHIBIT B"                                                                                Page: 288
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                                  3                                            4                                            5                     6                    7
     Transaction     Check or                                                                                                    Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)


 *        01/27/10    004411     BANK OF AMERICA                                 FICA MEDICARE MANUAL ER 7                      5800-003                                            4.14              6,455.88


 *        01/27/10    004412     BANK OF AMERICA                                 FICA SS MANUAL 7                               5300-003                                           46.07              6,409.81


 *        01/27/10    004413     BANK OF AMERICA                                 FICA SS MANUAL ER 7                            5800-003                                           17.70              6,392.11


          02/05/10               Transfer from Acct #*******5802                 Bank Funds Transfer                            9999-000               12,000.00                                     18,392.11


          02/05/10    004414     TMG Real Estate Services, LLC                   DE 373                                         7100-000                                    12,000.00                 6,392.11
                                 P.O. Box 4253
                                 Sarasota, FL 34230


          02/10/10               Transfer from Acct #*******5802                 Bank Funds Transfer                            9999-000               55,753.36                                     62,145.47


          02/10/10    004415     TMG Real Estate Services, LLC                   DE 373                                         7100-000                                    55,753.36                 6,392.11
                                 P.O. Box 4253
                                 Sarasota, FL 34230


 *        02/11/10    004378     Israel Perez Perez                              Stop Payment Reversal                          5300-004                                        -1,562.72             7,954.83
                                 214 Southview Dr                                STOP PAY ADD SUCCESSFUL
                                 Jupiter, FL 33458


 *        02/11/10    004384     Roberin Roselio Castillo                        Stop Payment Reversal                          5300-004                                        -1,165.89             9,120.72
                                 214 Southview Dr                                STOP PAY ADD SUCCESSFUL
                                 Jupiter, FL 33458


          02/12/10               Transfer from Acct #*******5802                 Bank Funds Transfer                            9999-000                   350.76                                     9,471.48



                                                                                                                          Page Subtotals               68,104.12                65,092.66
                                                                                                                                                                                                     Ver: 17.02e
LFORM24
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                                                                                          FORM 2 "EXHIBIT B"                                                                                     Page: 289
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                  3                                                  4                                        5                       6                    7
     Transaction     Check or                                                                                                      Uniform                                                       Account / CD
        Date         Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
          02/12/10    004416     Florida UC Fund                                 taxes                                            2690-000                                            350.76              9,120.72


          02/17/10    004417     Israel Perez Perez                              Wages - 507(a)(3)                                5300-000                                          1,562.72              7,558.00
                                 309 Third St.
                                 Jupiter, FL 33458


          02/17/10    004418     Roberin Roselio Castillo                        Wages - 507(a)(3)                                5300-000                                          1,165.89              6,392.11
                                 214 Southview Dr
                                 Jupiter, FL 33458


 *        04/13/10    004363     Heather A Lonergan                              Wages - 507(a)(3)                                5300-003                                           -617.11              7,009.22
                                 5445 Nw Dunn Rd                                 check was lost in the mail.
                                 Port St Lucie, FL 34983


          04/13/10    004419     Heather A Lonergan                              Wages - 507(a)(3)                                5300-000                                            617.11              6,392.11
                                 2131 SE Destin Dr.
                                 Port St Lucie, FL 34952


 *        09/21/10    004236     THE TESORO CLUB                                 INSURANCE 6                                      5300-003                                            -92.35              6,484.46
                                 2000 SE Via Tesoro Blvd
                                 Port St. Lucie, FL 34984


 *        09/23/10    004395     INTERNAL REVENUE SERVICE                        FUTA EMPLOYER PAID                               5800-003                                           -935.42              7,419.88
                                                                                 Payment was not accepted by Bof A


 *        09/23/10    004396     INTERNAL REVENUE SERVICE                        SUTA EMPLOYER PAID                               5800-003                                          -3,112.18            10,532.06
                                                                                 Payment was not accepted by Bof A


 *        09/23/10    004397     STATE OF FLORIDA                                SUTA EMPLOYER PAID                               5800-003                                            -44.78             10,576.84


                                                                                                                            Page Subtotals                        0.00               -1,105.36
                                                                                                                                                                                                         Ver: 17.02e
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                                                    Case 08-29769-MAM            Doc 882          Filed 07/30/13       Page 297 of 320
                                                                                    FORM 2 "EXHIBIT B"                                                                                     Page: 290
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                    Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                     Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                      Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                         Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                      Separate Bond (if applicable):


           1             2                           3                                               4                                            5                       6                    7
     Transaction     Check or                                                                                                Uniform                                                       Account / CD
        Date         Reference            Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004398     INTERNAL REVENUE SERVICE                    FICA SS Manual Employer 4                      5800-003                                              -1.00            10,577.84
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004399     BANK OF AMERICA                             FICA MEDICARE MANUAL ER 6                      5800-003                                              -0.01            10,577.85
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004400     BANK OF AMERICA                             FICA SS ER MANUAL 6                            5800-003                                              -0.02            10,577.87
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004401     BANK OF AMERICA                             Federal Manual 7                               5300-003                                      -29,231.32               39,809.19
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004402     BANK OF AMERICA                             FICA MEDICARE MANUAL 7                         5300-003                                          -1,694.90            41,504.09
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004403     BANK OF AMERICA                             FICA MEDICARE MANUAL ER 7                      5800-003                                          -1,694.90            43,198.99
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004404     BANK OF AMERICA                             FICA SS MANUAL 7                               5300-003                                          -7,250.09            50,449.08
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004405     BANK OF AMERICA                             FICA SS MANUAL ER 7                            5800-003                                          -7,250.09            57,699.17
                                                                             Payment was not accepted by Bof A


 *        09/23/10    004409     BANK OF AMERICA                             Federal Manual 7                               5300-003                                           -185.77             57,884.94
                                                                             Payment was not accepted by Bof A



                                                                                                                      Page Subtotals                        0.00              -47,308.10
                                                                                                                                                                                                   Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                    Page: 291
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                       6                   7
     Transaction     Check or                                                                                                     Uniform                                                      Account / CD
        Date         Reference                 Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
 *        09/23/10    004410     BANK OF AMERICA                                  FICA MEDICARE MANUAL 7                         5300-003                                           -10.77             57,895.71
                                                                                  Payment was not accepted by Bof A


 *        09/23/10    004411     BANK OF AMERICA                                  FICA MEDICARE MANUAL ER 7                      5800-003                                             -4.14            57,899.85
                                                                                  Payment was not accepted by Bof A


 *        09/23/10    004412     BANK OF AMERICA                                  FICA SS MANUAL 7                               5300-003                                           -46.07             57,945.92
                                                                                  Payment was not accepted by Bof A


 *        09/23/10    004413     BANK OF AMERICA                                  FICA SS MANUAL ER 7                            5800-003                                           -17.70             57,963.62
                                                                                  Payment was not accepted by Bof A


 *        09/24/10    003092     Dione Cantu                                      Stop Payment Reversal                          2690-004                                          -149.80             58,113.42
                                                                                  STOP PAY ADD SUCCESSFUL


 *        09/24/10    003891     Technology Training Associates                   Stop Payment Reversal                          2690-004                                          -250.00             58,363.42
                                                                                  STOP PAY ADD SUCCESSFUL


 *        09/24/10    003941     Department of Agriculture                        Stop Payment Reversal                          2690-004                                          -150.00             58,513.42
                                 Consumer Services                                STOP PAY ADD SUCCESSFUL
                                 1203 Governor's Square Blvd.
                                 Tallahassee, FL 32301


 *        09/24/10    004136     Premier                                          Stop Payment Reversal                          2690-004                                          -220.40             58,733.82
                                 9801 Premier Pkwy                                STOP PAY ADD SUCCESSFUL
                                 Hollywood, FL 33025


 *        09/24/10    004279     Eventmakers                                      Stop Payment Reversal                          2690-004                                          -367.14             59,100.96
                                                                                  STOP PAY ADD SUCCESSFUL


                                                                                                                           Page Subtotals                        0.00              -1,216.02
                                                                                                                                                                                                       Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                       Page: 292
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                             Trustee Name:                     DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                              Bank Name:                        BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:            *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                  Blanket Bond (per case limit):    $ 1,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1             2                                3                                                4                                               5                      6                    7
     Transaction     Check or                                                                                                          Uniform                                                    Account / CD
        Date         Reference                Paid To / Received From                         Description Of Transaction              Tran. Code      Deposits ($)        Disbursements ($)        Balance ($)


 *        09/24/10    004320     Capital Office Products                         Stop Payment Reversal                                2690-004                                         -810.37             59,911.33
                                 700 Ballough Rd.                                STOP PAY ADD SUCCESSFUL
                                 P.O. Box 1671
                                 Daytona Beach, FL 32115


 *        09/24/10    004321     Dixie Blueprint Services, Inc.                  Stop Payment Reversal                                2690-004                                         -133.35             60,044.68
                                 1195 N. Military Trail, Suite 4                 STOP PAY ADD SUCCESSFUL
                                 West Palm Beach, FL 33409


 *        10/11/10    004420     Internal Revenue Service                        941 tax pymt for 4th quarter 09                      2810-003                                    20,735.11                39,309.57


 *        10/11/10    004420     Internal Revenue Service                        941 tax pymt for 4th quarter 09                      2810-003                                    -20,735.11               60,044.68
                                                                                 Incorrect payee


          10/11/10    004421     United States Treasury                          941 tax pymt for 4th quarter 09                      2810-000                                    20,735.11                39,309.57
                                                                                 EIN XX-XXXXXXX


          10/31/11               BANK OF AMERICA, N.A.                           BANK SERVICE FEE                                     2600-000                                          45.53              39,264.04


          11/30/11               BANK OF AMERICA, N.A.                           BANK SERVICE FEE                                     2600-000                                          44.00              39,220.04


          12/30/11               BANK OF AMERICA, N.A.                           BANK SERVICE FEE                                     2600-000                                          43.95              39,176.09


          01/31/12               BANK OF AMERICA, N.A.                           BANK SERVICE FEE                                     2600-000                                          46.69              39,129.40


 *        06/21/12      32       Auta Hendler                                    Membership Dues                                      1121-003                  -620.90                                    38,508.50
                                 Sheila Furr                                     Chargeback issued by the bank on 1/16/09. See bank
                                 21493 Linwood Ct.                               statement from 12/31/08-1/30/09


                                                                                                                               Page Subtotals                   -620.90               19,971.56
                                                                                                                                                                                                           Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                             Page: 293
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                                Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                                 Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                                  Account Number / CD #:              *******3794 BofA - Checking Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                                     Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1             2                                3                                                4                                                  5                         6                   7
     Transaction     Check or                                                                                                             Uniform                                                       Account / CD
        Date         Reference                Paid To / Received From                          Description Of Transaction                Tran. Code      Deposits ($)          Disbursements ($)         Balance ($)
                                 Boca Raton, FL 33433


 *        06/21/12      32       Gina Kopec                                      Membership dues                                         1121-003                   -835.00                                     37,673.50
                                 Stephen Kopec                                   Chargeback issued by the back. See bank statement
                                 11 Manor Ln.                                    dated 12/31/08-1/30/09.
                                 Katonah, NY 10536


 *        06/21/12      32       Auta Hendler                                    Dues                                                    1121-003                   -991.66                                     36,681.84
                                 21496 Linwood Ct.                               A chargeback was issued by the bank on 10/2/09.
                                 Boca Raton, FL 33433


 *        06/21/12      32       Stephen Fitzgerald                              Dues                                                    1121-003                  -1,126.66                                    35,555.18
                                 880 Peregrine Dr.                               A stop payment was issued by the payee on 9/28/09.
                                 Indialantic, FL 32903                           See bank file for copy of check and letter from bank.


          06/22/12               Trsf To BANK OF KANSAS CITY                     FINAL TRANSFER                                          9999-000                                        35,555.18                   0.00



                                                                                                            COLUMN TOTALS                                   2,560,145.28               2,560,145.28                   0.00
                                                                                                                Less: Bank Transfers/CD's                      78,847.19                 175,555.18
                                                                                                            Subtotal                                        2,481,298.09               2,384,590.10
                                                                                                                Less: Payments to Debtors                                                      0.00
                                                                                                            Net
                                                                                                                                                            2,481,298.09               2,384,590.10




                                                                                                                                  Page Subtotals                   -2,953.32                35,555.18
                                                                                                                                                                                                                Ver: 17.02e
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                                                       Case 08-29769-MAM              Doc 882          Filed 07/30/13       Page 301 of 320
                                                                                         FORM 2 "EXHIBIT B"                                                                                   Page: 294
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******5721 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                3                                                   4                                        5                       6                  7
    Transaction      Check or                                                                                                     Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)          Balance ($)
                                                                                 BALANCE FORWARD                                                                                                          0.00


          03/27/09      1        Stearns Weaver Miller, et al                    Funds for Tesoro prop; (WCI)                    1110-000            4,995,000.00                                4,995,000.00
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          03/31/09    000301     St. Lucie County Tax Collector                  2008 Real and tangible prop. taxes              2690-000                                    4,711,327.91         283,672.09


          03/31/09    000302     St. Lucie County Tax Collector                  2008 tangible taxes                             2690-000                                      12,034.40          271,637.69


          04/01/09      1        Stearns Weaver Miller et al                     Sale Proceeds-Tesoro Assets                     1110-000            5,160,565.00                                5,432,202.69
                                 Trust Account
                                 150 W. Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          04/03/09    000303     Credit Suisse, Cayman Islands Branch            Payment of TIP Loan                             2690-000                                    1,089,031.95        4,343,170.74


          04/09/09    000304     American Surveying & Mapping                    Surveyor Fees                                   2690-000                                      58,600.00         4,284,570.74
                                 1030 N. Orlando Ave., Suite B
                                 Winter Park, FL 32789


          04/09/09    000305     Stewart Title Guaranty                          Title Search Fee; Inv 2062                      2690-000                                          1,075.00      4,283,495.74
                                 201 N. Franklin St.
                                 Suite 2400
                                 Tampa, FL 33602


          04/09/09               Transfer to Acct #*******3778                   Bank Funds Transfer                             9999-000                                    2,500,000.00        1,783,495.74


                                                                                                                           Page Subtotals           10,155,565.00             8,372,069.26
                                                                                                                                                                                                      Ver: 17.02e
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                                                     Case 08-29769-MAM               Doc 882          Filed 07/30/13       Page 302 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                   Page: 295
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******5721 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                             3                                                 4                                            5                       6                 7
    Transaction      Check or                                                                                                    Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)


          04/10/09               Transfer to Acct #*******3778                  Bank Funds Transfer                             9999-000                                      370,000.00       1,413,495.74


          04/23/09               Transfer to Acct #*******3778                  Bank Funds Transfer                             9999-000                                      413,495.74       1,000,000.00


          04/29/09               Transfer to Acct #*******3778                  Bank Funds Transfer                             9999-000                                      822,000.00        178,000.00


          04/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                   112.15                               178,112.15


          05/29/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        7.56                            178,119.71


          06/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        7.33                            178,127.04


          07/31/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        7.56                            178,134.60


          08/31/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        7.56                            178,142.16


          09/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        7.32                            178,149.48


          10/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        7.56                            178,157.04


          11/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        7.33                            178,164.37


          12/17/09               Transfer to Acct #*******3778                  Bank Funds Transfer                             9999-000                                      164,337.24            13,827.13


          12/31/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        4.08                                13,831.21


          01/29/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                13,831.56



                                                                                                                          Page Subtotals                   168.80            1,769,832.98
                                                                                                                                                                                                    Ver: 17.02e
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                                                                                       FORM 2 "EXHIBIT B"                                                                                     Page: 296
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******5721 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                             3                                                 4                                            5                       6                   7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          02/26/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.32                                  13,831.88


          03/31/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.36                                  13,832.24


          04/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.34                                  13,832.58


          05/28/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                  13,832.93


          06/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                  13,833.28


          07/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                  13,833.63


          08/31/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                  13,833.98


          09/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.34                                  13,834.32


          10/11/10               Transfer to Acct #*******3778                  Bank Funds Transfer                             9999-000                                            57.00             13,777.32


          10/29/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                  13,777.67


          11/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.34                                  13,778.01


          12/31/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                  13,778.36


          01/31/11     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.35                                  13,778.71


          08/15/11               Transfer to Acct #*******3778                  Bank Funds Transfer                             9999-000                                          8,000.00             5,778.71



                                                                                                                          Page Subtotals                        4.15               8,057.00
                                                                                                                                                                                                      Ver: 17.02e
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                                                                                      FORM 2 "EXHIBIT B"                                                                               Page: 297
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******5721 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                              3                                              4                                            5                     6                 7
    Transaction      Check or                                                                                                  Uniform                                                 Account / CD
       Date          Reference              Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)      Balance ($)


          10/31/11               BANK OF AMERICA, N.A.                         BANK SERVICE FEE                               2600-000                                         7.36              5,771.35


          11/23/11      18       Austin Outdoor, LLC                           Order pending ECF 637                          1249-000               24,000.00                                  29,771.35
                                 P.O. Box 849
                                 Bunnell, FL 32110


          11/30/11               BANK OF AMERICA, N.A.                         BANK SERVICE FEE                               2600-000                                        10.02             29,761.33


          12/28/11      18       Austin Outdoor, LLC                           Order pending ECF 637                          1249-000               24,000.00                                  53,761.33
                                 P.O. Box 849
                                 Bunnell, FL 32110


          12/30/11               BANK OF AMERICA, N.A.                         BANK SERVICE FEE                               2600-000                                        37.62             53,723.71


          01/25/12      18       Austin Outdoor, LLC                           Order pending ECF 637                          1249-000               24,000.00                                  77,723.71
                                 P.O. Box 849
                                 Bunnell, FL 32110


          01/31/12               BANK OF AMERICA, N.A.                         BANK SERVICE FEE                               2600-000                                        75.02             77,648.69


          02/24/12      18       Austin Outdoor, LLC                           Order pending ECF 637                          1249-000               24,000.00                              101,648.69
                                 P.O. Box 849
                                 Bunnell, FL 32110


          02/29/12               BANK OF AMERICA, N.A.                         BANK SERVICE FEE                               2600-000                                        94.20         101,554.49


          03/28/12      18       Austin Outdoor, LLC                           Order pending ECF 637                          1249-000               24,000.00                              125,554.49
                                 P.O. Box 849


                                                                                                                        Page Subtotals              120,000.00                224.22
                                                                                                                                                                                                Ver: 17.02e
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                                                                                     FORM 2 "EXHIBIT B"                                                                                       Page: 298
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:           *******5721 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                             3                                                4                                               5                       6                 7
    Transaction      Check or                                                                                                      Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
                                 Bunnell, FL 32110


          03/30/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                                  2600-000                                          125.79        125,428.70


          04/30/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                                  2600-000                                          159.24        125,269.46


          05/31/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                                  2600-000                                          159.15        125,110.31


          06/22/12               BANK OF AMERICA, N.A.                          BANK FEES                                         2600-000                                          107.68        125,002.63
                                 901 MAIN STREET
                                 9TH FLOOR
                                 DALLAS, TX 75283


          06/22/12               Trsf To BANK OF KANSAS CITY                    FINAL TRANSFER                                    9999-000                                      125,002.63                0.00



                                                                                                        COLUMN TOTALS                                10,275,737.95           10,275,737.95                 0.00
                                                                                                            Less: Bank Transfers/CD's                         0.00            4,402,892.61
                                                                                                        Subtotal                                     10,275,737.95             5,872,845.34
                                                                                                            Less: Payments to Debtors                                                  0.00
                                                                                                        Net
                                                                                                                                                     10,275,737.95             5,872,845.34




                                                                                                                            Page Subtotals                        0.00           125,554.49
                                                                                                                                                                                                      Ver: 17.02e
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                                                        Case 08-29769-MAM             Doc 882          Filed 07/30/13       Page 306 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                     Page: 299
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******5802 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                3                                               4                                            5                       6                   7
    Transaction      Check or                                                                                                     Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                            0.00


          04/01/09      72       Stearns Weaver Miller, et al.                   Employee Carve Out Letter -3/30/09              1221-000              100,000.00                                  100,000.00
                                 Trust Account
                                 150 West Flagler St.
                                 Suite 2200
                                 Miami, FL 33130


          04/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        3.42                              100,003.42


          05/29/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.24                              100,007.66


          06/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.11                              100,011.77


          07/31/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.25                              100,016.02


          08/31/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.25                              100,020.27


          09/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.11                              100,024.38


          10/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.24                              100,028.62


          11/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.12                              100,032.74


          12/18/09               Transfer to Acct #*******3794                   Bank Funds Transfer                             9999-000                                       10,000.00              90,032.74


          12/31/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                             1270-000                        4.06                                  90,036.80


          01/27/10               Transfer to Acct #*******3794                   Bank Funds Transfer                             9999-000                                           743.07             89,293.73

                                                                                                                           Page Subtotals              100,036.80                  10,743.07
                                                                                                                                                                                                       Ver: 17.02e
LFORM24
                                                     Case 08-29769-MAM               Doc 882          Filed 07/30/13       Page 307 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                     Page: 300
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******5802 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                             3                                                 4                                            5                       6                   7
    Transaction      Check or                                                                                                    Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          01/29/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        3.81                                  89,297.54


          02/05/10               Transfer to Acct #*******3794                  Bank Funds Transfer                             9999-000                                       12,000.00              77,297.54


          02/10/10               Transfer to Acct #*******3794                  Bank Funds Transfer                             9999-000                                       55,753.36              21,544.18


          02/12/10               Transfer to Acct #*******3794                  Bank Funds Transfer                             9999-000                                           350.76             21,193.42


          02/26/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        1.40                                  21,194.82


          03/31/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.54                                  21,195.36


          04/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.52                                  21,195.88


          05/28/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.54                                  21,196.42


          06/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.52                                  21,196.94


          07/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.53                                  21,197.47


          08/31/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.55                                  21,198.02


          09/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.52                                  21,198.54


          10/29/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.54                                  21,199.08


          11/30/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.030                             1270-000                        0.53                                  21,199.61



                                                                                                                          Page Subtotals                   10.00                  68,104.12
                                                                                                                                                                                                      Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM             Doc 882          Filed 07/30/13       Page 308 of 320
                                                                                    FORM 2 "EXHIBIT B"                                                                                   Page: 301
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:           *******5802 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                           3                                                4                                            5                       6                 7
    Transaction      Check or                                                                                                 Uniform                                                    Account / CD
       Date          Reference            Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)


          12/31/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.030                             1270-000                        0.54                                21,200.15


          01/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.030                             1270-000                        0.54                                21,200.69


          02/28/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.16                                21,200.85


          03/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.18                                21,201.03


          04/29/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.17                                21,201.20


          05/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.19                                21,201.39


          06/30/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.17                                21,201.56


          07/29/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.18                                21,201.74


          08/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.18                                21,201.92


          09/30/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.17                                21,202.09


          10/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.18                                21,202.27


          10/31/11               BANK OF AMERICA, N.A.                       BANK SERVICE FEE                                2600-000                                           27.01            21,175.26


          11/30/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        0.17                                21,175.43


          11/30/11               BANK OF AMERICA, N.A.                       BANK SERVICE FEE                                2600-000                                           26.11            21,149.32



                                                                                                                       Page Subtotals                        2.83                53.12
                                                                                                                                                                                                 Ver: 17.02e
LFORM24
                                                    Case 08-29769-MAM              Doc 882          Filed 07/30/13       Page 309 of 320
                                                                                     FORM 2 "EXHIBIT B"                                                                                     Page: 302
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                      Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                       Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                        Account Number / CD #:           *******5802 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                           Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                        Separate Bond (if applicable):


           1             2                           3                                                 4                                            5                       6                   7
    Transaction      Check or                                                                                                  Uniform                                                      Account / CD
       Date          Reference             Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)


          12/30/11     INT       BANK OF AMERICA, N.A.                        Interest Rate 0.010                             1270-000                        0.17                                  21,149.49


          12/30/11               BANK OF AMERICA, N.A.                        BANK SERVICE FEE                                2600-000                                            26.07             21,123.42


          01/31/12     INT       BANK OF AMERICA, N.A.                        Interest Rate 0.010                             1270-000                        0.18                                  21,123.60


          01/31/12               BANK OF AMERICA, N.A.                        BANK SERVICE FEE                                2600-000                                            27.70             21,095.90


          02/29/12     INT       BANK OF AMERICA, N.A.                        Interest Rate 0.010                             1270-000                        0.17                                  21,096.07


          03/30/12     INT       BANK OF AMERICA, N.A.                        Interest Rate 0.010                             1270-000                        0.17                                  21,096.24


          04/30/12     INT       BANK OF AMERICA, N.A.                        INTEREST REC'D FROM BANK                        1270-000                        0.18                                  21,096.42


          05/31/12     INT       BANK OF AMERICA, N.A.                        Interest Rate 0.010                             1270-000                        0.18                                  21,096.60


          06/22/12     INT       BANK OF AMERICA, N.A.                        INTEREST REC'D FROM BANK                        1270-000                        0.12                                  21,096.72


          06/22/12               Trsf To BANK OF KANSAS CITY                  FINAL TRANSFER                                  9999-000                                       21,096.72                   0.00




                                                                                                                        Page Subtotals                        1.17              21,150.49
                                                                                                                                                                                                    Ver: 17.02e
LFORM24
                                                   Case 08-29769-MAM           Doc 882      Filed 07/30/13           Page 310 of 320
                                                                                 FORM 2 "EXHIBIT B"                                                                                    Page: 303
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          08-29769 -PGH                                                                                   Trustee Name:                    DREW M. DILLWORTH
  Case Name:        GINN-LA ST. LUCIE LTD., LLLP                                                                    Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                    Account Number / CD #:           *******5802 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                       Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                    Separate Bond (if applicable):


          1            2                            3                                           4                                               5                       6                  7
    Transaction    Check or                                                                                                Uniform                                                     Account / CD
       Date        Reference             Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                                COLUMN TOTALS                                   100,050.80              100,050.80                  0.00
                                                                                                    Less: Bank Transfers/CD's                         0.00               99,943.91
                                                                                                Subtotal                                        100,050.80                  106.89
                                                                                                    Less: Payments to Debtors                                                 0.00
                                                                                                Net
                                                                                                                                                100,050.80                  106.89




                                                                                                                    Page Subtotals                        0.00                  0.00
                                                                                                                                                                                               Ver: 17.02e
LFORM24
                                                      Case 08-29769-MAM              Doc 882          Filed 07/30/13       Page 311 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                Page: 304
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                        Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                         Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:           *******5828 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                             Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1             2                              3                                                4                                            5                     6                 7
    Transaction      Check or                                                                                                    Uniform                                                 Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)      Balance ($)
                                                                                BALANCE FORWARD                                                                                                       0.00


          04/03/09      3        Stewart Titile Insurance Company               Order 3/18/09 Turnover of funds                 1129-000              568,402.60                              568,402.60
                                 825 Third Ave. 30th Floor
                                 New York, NY 10022


          04/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   25.01                              568,427.61


          05/29/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   33.79                              568,461.40


          06/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   32.71                              568,494.11


          07/31/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   33.80                              568,527.91


          08/31/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   33.80                              568,561.71


          09/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   32.71                              568,594.42


          10/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   33.80                              568,628.22


          11/30/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   32.72                              568,660.94


          12/31/09     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   33.81                              568,694.75


          01/29/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   33.81                              568,728.56


          02/26/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   30.54                              568,759.10


          03/31/10     INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                   33.82                              568,792.92

                                                                                                                          Page Subtotals              568,792.92                  0.00
                                                                                                                                                                                                  Ver: 17.02e
LFORM24
                                                       Case 08-29769-MAM              Doc 882          Filed 07/30/13       Page 312 of 320
                                                                                        FORM 2 "EXHIBIT B"                                                                                 Page: 305
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******5828 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                               3                                                4                                            5                     6                 7
    Transaction      Check or                                                                                                     Uniform                                                  Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)


          04/30/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    32.72                             568,825.64


          05/28/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    33.82                             568,859.46


          06/30/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    32.73                             568,892.19


          07/30/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    33.82                             568,926.01


          08/31/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    33.82                             568,959.83


          09/30/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    32.73                             568,992.56


          10/29/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    33.83                             569,026.39


          11/30/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    32.74                             569,059.13


          12/31/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    33.83                             569,092.96


          01/31/11     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.070                             1270-000                    33.83                             569,126.79


          10/31/11               BANK OF AMERICA, N.A.                           BANK SERVICE FEE                                2600-000                                        725.05        568,401.74


          11/30/11               BANK OF AMERICA, N.A.                           BANK SERVICE FEE                                2600-000                                        700.77        567,700.97


          12/30/11               BANK OF AMERICA, N.A.                           BANK SERVICE FEE                                2600-000                                        699.91        567,001.06


          01/09/12    000301     Weitz Golf International                        Order dated 1/6/12 ECF 645                      2990-000                                    442,001.06        125,000.00
                                 c/o Alvin S. Goldstein, Esquire

                                                                                                                           Page Subtotals                   333.87            444,126.79
                                                                                                                                                                                                   Ver: 17.02e
LFORM24
                                                      Case 08-29769-MAM             Doc 882          Filed 07/30/13       Page 313 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                  Page: 306
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                       Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******5828 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                            Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1             2                              3                                               4                                            5                       6                 7
    Transaction      Check or                                                                                                   Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
                                 Furr & Cohen, P.A.
                                 2255 Glades Road, #337W
                                 Boca Raton, FL 33431


          01/09/12    000302     West Coast Investors, Inc.                     Order dated 1/6/12 ECF 645                     2990-000                                      100,000.00            25,000.00
                                 c/o Luis Salazar, Esq.
                                 Infante Zumpano
                                 500 S. Dixie Hwy, Suite 302
                                 Coral Gables, FL 33146


          01/31/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                          440.82            24,559.18


          02/29/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                           29.19            24,529.99


          03/30/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                           30.16            24,499.83


          04/30/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                           31.13            24,468.70


          05/31/12               BANK OF AMERICA, N.A.                          BANK SERVICE FEE                               2600-000                                           31.09            24,437.61


          06/22/12               BANK OF AMERICA, N.A.                          BANK FEES                                      2600-000                                           21.03            24,416.58
                                 901 MAIN STREET
                                 9TH FLOOR
                                 DALLAS, TX 75283


          06/22/12               Trsf To BANK OF KANSAS CITY                    FINAL TRANSFER                                 9999-000                                       24,416.58                 0.00




                                                                                                                         Page Subtotals                        0.00           125,000.00
                                                                                                                                                                                                   Ver: 17.02e
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                                                   Case 08-29769-MAM           Doc 882      Filed 07/30/13           Page 314 of 320
                                                                                 FORM 2 "EXHIBIT B"                                                                                    Page: 307
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          08-29769 -PGH                                                                                   Trustee Name:                    DREW M. DILLWORTH
  Case Name:        GINN-LA ST. LUCIE LTD., LLLP                                                                    Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                    Account Number / CD #:           *******5828 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                       Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                    Separate Bond (if applicable):


          1            2                            3                                           4                                               5                       6                  7
    Transaction    Check or                                                                                                Uniform                                                     Account / CD
       Date        Reference             Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                                COLUMN TOTALS                                   569,126.79              569,126.79                  0.00
                                                                                                    Less: Bank Transfers/CD's                         0.00               24,416.58
                                                                                                Subtotal                                        569,126.79              544,710.21
                                                                                                    Less: Payments to Debtors                                                 0.00
                                                                                                Net
                                                                                                                                                569,126.79              544,710.21




                                                                                                                    Page Subtotals                        0.00                  0.00
                                                                                                                                                                                               Ver: 17.02e
LFORM24
                                                      Case 08-29769-MAM             Doc 882           Filed 07/30/13        Page 315 of 320
                                                                                       FORM 2 "EXHIBIT B"                                                                                    Page: 308
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******6063 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                             3                                                  4                                            5                       6                 7
    Transaction      Check or                                                                                                     Uniform                                                    Account / CD
       Date          Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                                BALANCE FORWARD                                                                                                          0.00


          06/15/09               Transfer from Acct #*******3794                Bank Funds Transfer                              9999-000              140,000.00                                140,000.00


          06/18/09      33       Cigna                                          Receivables                                      1121-000                    901.69                              140,901.69


          06/18/09      33       FPL                                            Receivables                                      1121-000                    149.93                              141,051.62


          06/18/09      33       FPL                                            Receivables                                      1121-000                   3,059.15                             144,110.77


          06/18/09      33       FPL                                            Receivables                                      1121-000                    507.89                              144,618.66


          06/18/09      33       FPL                                            Recievables                                      1121-000                    428.46                              145,047.12


          06/18/09      33       FPL                                            Receivables                                      1121-000                   1,426.84                             146,473.96


          06/18/09      33       FPL                                            Receivables                                      1121-000                    533.42                              147,007.38


          06/18/09      33       FPL                                            Receivables                                      1121-000                   1,252.33                             148,259.71


          06/23/09      32       Luarie Weatherford                             Membership dues for Shroll                       1121-000                    111.23                              148,370.94
                                 P.O. Box 536668
                                 Orlando, Fl 32853


          06/23/09      32       Julio Rodriguez, Esq.                          membership dues/claim of lien                    1121-000               10,112.40                                158,483.34
                                 6177 Miami Lakes Drive East
                                 Miami Lakes, FL 33014


          06/23/09      33       Bob David-Tax Collector                        Tax payment refund                               1121-000               15,539.92                                174,023.26

                                                                                                                           Page Subtotals              174,023.26                     0.00
                                                                                                                                                                                                     Ver: 17.02e
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                                                                                         FORM 2 "EXHIBIT B"                                                                                     Page: 309
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                          Trustee Name:                      DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                           Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******6063 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                               Blanket Bond (per case limit):     $ 1,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1             2                               3                                                   4                                          5                       6                   7
    Transaction      Check or                                                                                                      Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                 St. Lucie County Tax Collector


          06/23/09      33       First Horizon Insurance Company                 Insurance refund                                 1121-000                   7,333.00                               181,356.26
                                 200 Galleria, Suite 600
                                 200 Galleria Parkway, SE
                                 Atlanta, GA 30339


          06/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        3.39                              181,359.65


          07/14/09    000301     The Bank of New York                            Credit Suisse transaction                        2690-000                                          2,900.55        178,459.10
                                 101 Barclay Street-8th Floor
                                 Corporate Finance Unit
                                 NewYork, NY 10286


          07/31/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        7.69                              178,466.79


          08/31/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        7.58                              178,474.37


          09/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        7.33                              178,481.70


          10/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        7.57                              178,489.27


          11/30/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        7.34                              178,496.61


          12/31/09     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        7.58                              178,504.19


          01/29/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        7.57                              178,511.76


          02/26/10     INT       BANK OF AMERICA, N.A.                           Interest Rate 0.050                              1270-000                        6.85                              178,518.61


                                                                                                                            Page Subtotals                   7,395.90                2,900.55
                                                                                                                                                                                                        Ver: 17.02e
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                                                                                    FORM 2 "EXHIBIT B"                                                                                    Page: 310
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:           *******6063 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                           3                                                4                                            5                       6                  7
    Transaction      Check or                                                                                                 Uniform                                                     Account / CD
       Date          Reference            Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)


          03/31/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.59                             178,526.20


          04/30/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.34                             178,533.54


          05/28/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.58                             178,541.12


          06/30/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.34                             178,548.46


          07/30/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.58                             178,556.04


          08/31/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.59                             178,563.63


          09/30/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.34                             178,570.97


          10/29/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.57                             178,578.54


          11/30/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.35                             178,585.89


          12/31/10     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.58                             178,593.47


          01/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.050                             1270-000                        7.58                             178,601.05


          02/28/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.37                             178,602.42


          03/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.52                             178,603.94


          04/29/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.46                             178,605.40



                                                                                                                       Page Subtotals                   86.79                      0.00
                                                                                                                                                                                                  Ver: 17.02e
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                                                                                    FORM 2 "EXHIBIT B"                                                                                   Page: 311
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                     Trustee Name:                    DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                      Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                       Account Number / CD #:           *******6063 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                          Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                       Separate Bond (if applicable):


           1             2                           3                                                4                                            5                       6                 7
    Transaction      Check or                                                                                                 Uniform                                                    Account / CD
       Date          Reference            Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)


          05/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.53                            178,606.93


          06/30/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.47                            178,608.40


          07/29/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.51                            178,609.91


          08/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.52                            178,611.43


          09/30/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.47                            178,612.90


          10/31/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.52                            178,614.42


          10/31/11               BANK OF AMERICA, N.A.                       BANK SERVICE FEE                                2600-000                                          227.55        178,386.87


          11/30/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.47                            178,388.34


          11/30/11               BANK OF AMERICA, N.A.                       BANK SERVICE FEE                                2600-000                                          219.93        178,168.41


          12/30/11     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.50                            178,169.91


          12/30/11               BANK OF AMERICA, N.A.                       BANK SERVICE FEE                                2600-000                                          219.66        177,950.25


          01/31/12     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.52                            177,951.77


          01/31/12               BANK OF AMERICA, N.A.                       BANK SERVICE FEE                                2600-000                                          233.38        177,718.39


          02/29/12     INT       BANK OF AMERICA, N.A.                       Interest Rate 0.010                             1270-000                        1.41                            177,719.80



                                                                                                                       Page Subtotals                   14.92                   900.52
                                                                                                                                                                                                 Ver: 17.02e
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                                                                                     FORM 2 "EXHIBIT B"                                                                                                Page: 312
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           08-29769 -PGH                                                                                         Trustee Name:                       DREW M. DILLWORTH
  Case Name:         GINN-LA ST. LUCIE LTD., LLLP                                                                          Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:              *******6063 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                              Blanket Bond (per case limit):      $ 1,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1             2                           3                                                 4                                                 5                         6                         7
    Transaction      Check or                                                                                                     Uniform                                                              Account / CD
       Date          Reference             Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)             Balance ($)


          03/30/12     INT       BANK OF AMERICA, N.A.                        Interest Rate 0.010                                1270-000                        1.50                                         177,721.30


          04/30/12     INT       BANK OF AMERICA, N.A.                        INTEREST REC'D FROM BANK                           1270-000                        1.47                                         177,722.77


          05/31/12     INT       BANK OF AMERICA, N.A.                        Interest Rate 0.010                                1270-000                        1.51                                         177,724.28


          06/22/12     INT       BANK OF AMERICA, N.A.                        INTEREST REC'D FROM BANK                           1270-000                        1.02                                         177,725.30


          06/22/12               Trsf To BANK OF KANSAS CITY                  FINAL TRANSFER                                     9999-000                                          177,725.30                         0.00



                                                                                                       COLUMN TOTALS                                    181,526.37                 181,526.37                          0.00
                                                                                                           Less: Bank Transfers/CD's                    140,000.00                 177,725.30
                                                                                                       Subtotal                                           41,526.37              3,801.07
                                                                                                           Less: Payments to Debtors                                                 0.00
                                                                                                       Net
                                                                                                                                                          41,526.37              3,801.07
                                                                                                                                                                               NET                            ACCOUNT
                                                                                                       TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                       BALANCE
                                                                                                       Checking Account - ********0179               25,234,377.20                8,490,766.83             16,893,094.30
                                                                                                       Checking Account - ********0190                            0.00              234,377.20                          0.00
                                                                                                BofA - Checking Account - ********3778                   827,016.04               5,104,841.39                         -0.09
                                                                                                BofA - Checking Account - ********3794                 2,481,298.09               2,384,590.10                          0.00
                                                                                            BofA - Money Market Account - ********5721               10,275,737.95                5,872,845.34                          0.00
                                                                                            BofA - Money Market Account - ********5802                   100,050.80                      106.89                         0.00
                                                                                            BofA - Money Market Account - ********5828                   569,126.79                 544,710.21                          0.00
                                                                                            BofA - Money Market Account - ********6063                     41,526.37                   3,801.07                         0.00
                                                                                                                                               ------------------------   ------------------------   ------------------------
                                                                                                                                                     39,529,133.24              22,636,039.03              16,893,094.21
                                                                                                                                               ==============             ==============             ==============


                                                                                                                           Page Subtotals                        5.50               177,725.30
                                                                                                                                                                                                                 Ver: 17.02e
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                                                                                 FORM 2 "EXHIBIT B"                                                                                 Page: 313
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:          08-29769 -PGH                                                                                Trustee Name:                    DREW M. DILLWORTH
  Case Name:        GINN-LA ST. LUCIE LTD., LLLP                                                                 Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                 Account Number / CD #:           *******6063 BofA - Money Market Account
  Taxpayer ID No:    *******5632
  For Period Ending: 06/30/13                                                                                    Blanket Bond (per case limit):   $ 1,000,000.00
                                                                                                                 Separate Bond (if applicable):


          1            2                            3                                           4                                            5                       6                  7
    Transaction    Check or                                                                                             Uniform                                                     Account / CD
       Date        Reference             Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                                                                     (Excludes Account        (Excludes Payments         Total Funds
                                                                                                                                             Transfers)              To Debtors)           On Hand




                                                                                                                 Page Subtotals                        0.00                  0.00
                                                                                                                                                                                            Ver: 17.02e
LFORM24
